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                                                                   1   Richard M. Pachulski (CA Bar No. 90073)
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                                                                   2   Malhar S. Pagay (CA Bar No. 189289)
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                                                                   6           mpagay@pszjlaw.com

                                                                   7   Attorneys for Debtor and Debtor in Possession

                                                                   8                                    UNITED STATES BANKRUPTCY COURT
                                                                                                         CENTRAL DISTRICT OF CALIFORNIA
                                                                   9                                          LOS ANGELES DIVISION
                                                                  10
                                                                       In re:                                                      Case No.: 2:19-bk-24804-VZ
                                                                  11
                                                                       YUETING JIA,1
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12                                                                Chapter 11
                                                                                                           Debtor.
                                        LOS ANGELES, CALIFORNIA




                                                                  13                                                                NOTICE OF FILING OF BLACKLINE
                                           ATTORNEYS AT LAW




                                                                                                                                    VERSION OF FOURTH AMENDED
                                                                  14                                                                DISCLOSURE STATEMENT WITH
                                                                                                                                    RESPECT TO DEBTOR’S THIRD
                                                                  15                                                                AMENDED PLAN OF
                                                                                                                                    REORGANIZATION UNDER
                                                                  16                                                                CHAPTER 11 OF THE BANKRUPTCY
                                                                                                                                    CODE
                                                                  17

                                                                  18                                                               Hearing
                                                                                                                                   Date:         March 19, 2020
                                                                  19                                                               Time:         9:30 a.m.
                                                                                                                                   Place:        Courtroom 1368
                                                                  20                                                                             Roybal Federal Building
                                                                                                                                                 255 E. Temple Street
                                                                  21                                                                             Los Angeles, California 90012
                                                                                                                                   Judge:        Hon. Vincent P. Zurzolo
                                                                  22
                                                                                                                                   [Relates to Docket No. 465]
                                                                  23
                                                                                 PLEASE TAKE NOTICE that Yueting Jia, debtor and debtor in possession herein
                                                                  24
                                                                       (the “Debtor”), attaches hereto as Exhibit “A” a blackline version of Fourth Amended Disclosure
                                                                  25
                                                                       Statement with Respect to Debtor’s Third Amended Plan of Reorganization Under Chapter 11 of the
                                                                  26

                                                                  27

                                                                  28   1
                                                                           The last four digits of the Debtor’s federal tax identification number are 8972. The Debtor’s mailing address is 91
                                                                           Marguerite Drive, Rancho Palos Verdes, CA 90275.
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                                                                   1   Bankruptcy Code [Docket No. 465] compared to the Third Amended Disclosure Statement with

                                                                   2   Respect to Debtor’s Second Amended Plan of Reorganization Under Chapter 11 of the Bankruptcy

                                                                   3   Code [Docket No. 397] (the “Third Amended Disclosure Statement”).

                                                                   4            PLEASE TAKE FURTHER NOTICE that the Debtor attaches hereto as Exhibit “B” a

                                                                   5   chart summarizing the substantive changes to the Third Amended Disclosure Statement, including

                                                                   6   changes made in response to the Bankruptcy Court’s tentative ruling issued on March 16, 2020, with

                                                                   7   respect to approval of the Debtor’s proposed disclosure statement (the “Tentative Ruling”).

                                                                   8   Revisions made to conform the Third Amended Disclosure Statement to the Debtor’s amended plan

                                                                   9   are shown in the Notice of Filing of Blackline Version of Debtor’s Third Amended Plan of

                                                                  10                                                                      466
                                                                       Reorganization Under Chapter 11 of the Bankruptcy Code [Docket No. ____] filed

                                                                  11   contemporaneously herewith.
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12
                                        LOS ANGELES, CALIFORNIA




                                                                  13   Dated:    March 17, 2020                   PACHULSKI STANG ZIEHL & JONES LLP
                                           ATTORNEYS AT LAW




                                                                  14
                                                                                                                  By     /s/ Malhar S. Pagay
                                                                  15                                                     Richard M. Pachulski
                                                                                                                         Jeffrey W. Dulberg
                                                                  16                                                     Malhar S. Pagay
                                                                  17                                                     Attorneys for Debtor and Debtor in
                                                                                                                         Possession
                                                                  18

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                                                                   1                                       Exhibit A

                                                                   2                             Disclosure Statement Blackline

                                                                   3

                                                                   4

                                                                   5

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                                                                   8

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P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




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14   Special Corporate, Litigation, and International
     Counsel for Debtor and Debtor in Possession
15

16
                                                                    Case No. 2:19-bk-24804-VZ
17
                                                                    Chapter 11
18
                                                                    THIRDFOURTH AMENDED
19                                                                  DISCLOSURE STATEMENT WITH
                                                                    RESPECT TO DEBTOR’S
20                                                                  SECONDTHIRD AMENDED PLAN OF
                                                                    REORGANIZATION UNDER CHAPTER
21                                                                  11 OF THE BANKRUPTCY CODE

22                                                                     Confirmation Hearing
                                                                       Date: TBD
23                                                                     Time: TBD
                                                                       Place: Courtroom 1368
24                                                                              Roybal Federal Building
                                                                                  255 E. Temple Street
25   1The last four digits of the Debtor’s federal tax identification numberLos   Angeles,
                                                                             are 8972.      California
                                                                                       The Debtor’s      90012
                                                                                                    mailing address is 91
     Marguerite Drive, Rancho Palos Verdes, CA 90275.                  Judge: Hon. Vincent P. Zurzolo
26

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                           UNITED
                          Main     STATES Page
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                                CENTRAL DISTRICT OF CALIFORNIA
                                LOS ANGELES DIVISION

     In re:

     YUETING JIA,1

                        Debtor.
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                             THIS DISCLOSURE STATEMENT HAS
                   NOT YET BEEN APPROVED BY THE BANKRUPTCY COURT
 2            THIS IS NOT A SOLICITATION OF ACCEPTANCE OR REJECTION OF THE PLAN.

 3   THE DEBTOR MAY NOT SOLICIT ACCEPTANCES OR REJECTIONS UNTIL A
     DISCLOSURE STATEMENT HAS BEEN APPROVED BY THE BANKRUPTCY COURT. THE
 4
     DEBTOR IS SUBMITTING THIS DISCLOSURE STATEMENT FOR APPROVAL, BUT THE
 5   BANKRUPTCY COURT HAS NOT YET APPROVED THIS DISCLOSURE STATEMENT.

 6   THE DEBTOR MAY REVISE THIS DISCLOSURE STATEMENT TO REFLECT EVENTS
     THAT OCCUR AFTER THE DATE HEREOF, BUT PRIOR TO THE BANKRUPTCY COURT’S
 7
     APPROVAL OF THIS DISCLOSURE STATEMENT.
 8
                     IMPORTANT INFORMATION FOR YOU TO READ
 9            THE DEADLINE TO VOTE ON THE DEBTOR’S SECONDTHIRD AMENDED

10   PLAN OF REORGANIZATION UNDER CHAPTER 11 OF THE BANKRUPTCY CODE
     (AS MAY BE AMENDED OR MODIFIED, THE “PLAN”) IS [],                                     2020     AT      4:00    P.M.
11
     BEIJING
12   TIME (THE “VOTING DEADLINE”).

13            FOR YOUR VOTE TO BE COUNTED, YOUR BALLOT MUST BE ACTUALLY
     RECEIVED BY THE VOTING AGENT BEFORE THE VOTING DEADLINE AS
14
     DESCRIBED HEREIN.
15            Yueting Jia, an individual in the United States (“YT” or the “Debtor”), as debtor and debtor

16   in possession, in the above-captioned chapter 11 case pending in the United States Bankruptcy Court
     for the Central District of California (the “Bankruptcy Court”), is providing you with the information
17
     in this amended disclosure statement with respect to the Plan (as may be amended or modified, the
18   “Disclosure Statement”) because you may be a creditor entitled to vote on the Plan.2

19            The Debtor believes that the Plan is in the best interests of his creditors. All creditors entitled
     to vote on the Plan are urged to vote in favor of the Plan. A summary of the voting instructions is set
20
     forth in Article I.B of this Disclosure Statement and in the order approving, among other things,
21
     2Except as otherwise set forth herein, capitalized terms used in this Disclosure Statement but not defined herein have
22   the meanings used in the Plan. Unless otherwise indicated, all amounts in this Disclosure Statement are reflected in
     U.S. dollars.
23

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     the Disclosure Statement [Docket No. [__]] (the “Disclosure Statement Order”). More detailed
 1
     instructions are contained on the ballots distributed to the creditors entitled to vote on the Plan. To
 2
     be counted, your ballot must be properly completed in accordance with the voting instructions on
 3   the ballot and actually received by the Voting Agent, via the e-balloting portal, regular mail,
     overnight courier, or personal delivery at the appropriate address, by the Voting Deadline.
 4
            The effectiveness of the Plan is subject to material conditions precedent. See Article IV.N
 5
     below entitled “Conditions Precedent to Confirmation and the Effective Date” and Article X of the
 6   Plan. There is no assurance that these conditions will be satisfied or waived.
            This Disclosure Statement, the Plan Supplement, and any attachments, exhibits,
 7
     supplements, and annexes hereto are the only documents to be used in connection with the
 8
     solicitation of votes on the Plan. YT has not authorized any person to give any information or to
 9   make any representation in connection with the Plan or the solicitation of acceptances of the Plan
     other than as contained in this Disclosure Statement, the Plan Supplement, and any attachments,
10
     exhibits, supplements, and annexes attached hereto or incorporated by reference or referred to
11
     herein. If given or made, such information or representation may not be relied upon as having been
12   authorized by YT. The delivery of this Disclosure Statement will not under any circumstances imply
     that the information herein is correct as of any time after the date hereof.
13
            ALL CREDITORS ENTITLED TO VOTE ON THE PLAN ARE ENCOURAGED
14
     TO READ AND CAREFULLY CONSIDER THIS ENTIRE DISCLOSURE STATEMENT,
15   INCLUDING THE PLAN ATTACHED AS EXHIBIT A, THE PLAN SUPPLEMENT, AND
     THE RISK FACTORS DESCRIBED IN ARTICLE VI BELOW, BEFORE SUBMITTING
16
     BALLOTS IN RESPONSE TO THIS SOLICITATION.
17
            ARTICLES VI AND XI OF THE PLAN CONTAIN RELEASE, EXCULPATION,
18   AND INJUNCTION PROVISIONS, WHICH ARE DISCUSSED IN ARTICLE IV.M OF
     THIS DISCLOSURE STATEMENT. YOU SHOULD REVIEW AND CONSIDER THE
19
     PLAN CAREFULLY BECAUSE IT MAY AFFECT YOUR RIGHTS.
20
            The summaries of the Plan and other documents contained in this Disclosure Statement are
21   qualified in their entirety by reference to the Plan itself, the exhibits thereto, and documents

22

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     described therein as filed prior to approval of this Disclosure Statement or subsequently as part of
 1
     the Plan Supplement. In the event that any inconsistency or conflict exists between this Disclosure
 2
     Statement and the Plan, or between the Plan Supplement and the Plan, the terms of the Plan will
 3   control. Except as otherwise indicated herein or in the Plan, YT will file all Plan Supplement
     documents with the Bankruptcy Court and make them available for review on the Debtor’s case
 4
     website located online at https://dm.epiq11.com/yt1 no later than five days before the Voting
 5
     Deadline or such later date as the Bankruptcy Court may approve.
 6          This Disclosure Statement contains, among other things, descriptions and summaries of
     provisions of the Plan. YT reserves the right to amend or modify the Plan consistent with section
 7
     1127 of the Bankruptcy Code and Bankruptcy Rule 3019.
 8
            The statements contained in this Disclosure Statement are made only as of the date of this
 9   Disclosure Statement, and there can be no assurance that the statements contained herein will be correct
     at any time after this date. The information contained in this Disclosure Statement, including the
10
     information regarding the background of YT and his businesses and the financial and valuation
11
     information regarding YT and his businesses is included for purposes of soliciting acceptances of the
12   Plan, but, as to contested matters and adversary proceedings, is not to be construed as an admission or
     stipulation, but rather as a statement made in settlement negotiations as part of YT’s attempt to settle
13
     and resolve claims and controversies pursuant to the Plan. The information contained in this Disclosure
14
     Statement will not be admissible in any non-bankruptcy proceeding, nor will it be construed to be
15   conclusive advice on the tax, securities, or other legal effects of the Plan as to holders of Allowed
     claims against either the Debtor or the Debtor as reorganized under the Plan, and any successor thereto
16
     on or after the Effective Date (the “Reorganized Debtor”). Except where specifically noted, the
17
     financial information contained in this Disclosure Statement and in its exhibits has not been audited by
18   a certified public accountant and has not been prepared in accordance with generally accepted
     accounting principles in the United States.
19

20                             FORWARD-LOOKING STATEMENTS
            This Disclosure Statement contains “Forward-Looking Statements.” All statements (other
21
     than statements of historical facts) included in this Disclosure Statement regarding operations,
22

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     financial position, plans, and business strategy of YT or FF Intelligent Mobility Global Holdings Ltd.
 1
     (“FF GlobalIntelligent”),3 the parent company of Faraday & Future Inc. (“FF” and collectively with
 2
     other operational entities owned and/or controlled by FF GlobalIntelligent and together with FF
 3   GlobalIntelligent, the “FF Group”), and statements regarding the industry in which the FF Group
     operates, may constitute forward-looking statements. Forward-looking statements generally can be
 4
     identified by the use of forward-looking terminology such as “may,” “will,” “expect,” “intend,”
 5
     “estimate,” “anticipate,” “believe,” or “continue” or the negative thereof or variations thereon or
 6   similar terminology. Although the expectations reflected in such forward-looking statements are
     believed by YT to be reasonable at this time, YT can give no assurance that such expectations will
 7
     prove to have been correct. Important factors that could cause actual results to differ materially from
 8
     such expectations are disclosed in Article VI of this Disclosure Statement, including, without
 9   limitation, in conjunction with the forward-looking statements included in this Disclosure Statement
     under the heading “Certain Risk Factors to be Considered.” All subsequent written and oral forward-
10
     looking statements attributable to YT, the FF Group, or persons acting on his or their behalf are
11
     qualified in their entirety by these cautionary statements.
12           Although stated with particularity, the recovery scenarios included in the “Recovery
     Scenarios and Liquidation Analysis” attached as Exhibit F of this Disclosure Statement are based
13
     on a variety of generalizations, estimates, and assumptions. Such generalizations, estimates, and
14
     assumptions are considered reasonable by YT, although they may prove to have been incorrect or
15   unfounded; further, they are inherently subject to significant economic, competitive, tax, and other
     uncertainties beyond the control of YT or the FF Group. There can be no assurance that the results
16
     will be realized, and actual results may vary materially and adversely from those projected.
17
             This Disclosure Statement has been prepared in accordance with section 1125 of the
18   Bankruptcy Code and Bankruptcy Rule 3016 and not necessarily in accordance with federal or
     state securities laws or other non-bankruptcy laws. This Disclosure Statement has not been
19

20   3Pursuant to the Sixth Amended and Restated Memorandum and Articles of Association of FF Intelligent Mobility
     Global Holdings Ltd. (f/k/a Smart King Ltd.) adopted February 10, 2020 (the “FF GlobalIntelligent M&A”), Smart
21   King Ltd. (“Smart King”) was renamed as FF Intelligent Mobility Global Holdings Ltd. (“FF Global”) to align the
     corporate names of the entities of the FF Group.
22

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     approved or disapproved by the United States Securities and Exchange Commission (the
 1
     “SEC”), any state securities commission or any securities exchange or association nor has the
 2
     SEC, any state securities commission or any securities exchange or association passed upon
 3   the accuracy or adequacy of the statements contained herein.

 4
                       QUESTIONS AND ADDITIONAL INFORMATION
            If you would like to obtain copies of this Disclosure Statement, the Plan, the Plan
 5
     Supplement, or any of the documents attached hereto or referenced herein, or have questions about
 6
     the solicitation and voting process or YT’s chapter 11 case generally, please contact Epiq Corporate
 7   Restructuring, LLC, by (i) visiting YT’s case website at https://dm.epiq11.com/yt1, (ii) calling (855)
     963-0391 (for U.S. callers), (400) 120-3077 (for Chinese callers), or (503-520-4401 (for
 8
     international callers), or (iii) sending e-mail correspondence to ProjectR@epiqglobal.com (please
 9
     reference “YT” in the subject line).
10

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 4
 5    Exhibit A        Debtor’s SecondThird Amended Plan of Reorganization Under Chapter
                       11 of the Bankruptcy Code
 6
 7    Exhibit B        Amended Plan Term Sheet

 8    Exhibit C        Management’s Discussion and Analysis of Financial Condition and Results
 9                     of Operations of the FF Group

10    Exhibit D        Summary of Selected Financial Information of the FF Group
11    Exhibit E        Simplified Organizational Chart of the FF Group
12    Exhibit F        Recovery Scenarios and Liquidation Analysis
13    Exhibit G        Five Year Cash Flow Projections
14    Exhibit H        Cash Flow Statement for 2018-2019
15    Exhibit I        Pre and Post-Effective Date Structure of FF GlobalIntelligent
16
17
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19
20
21
22
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 1
                                                         I.
 2
                                               INTRODUCTION
 3
              YT submits this Disclosure Statement pursuant to section 1125 of title 11 of the United
 4
     States Code (the “Bankruptcy Code”) in connection with the solicitation of acceptances of the Plan.
 5
     A copy of the Plan is attached as Exhibit A. Please note that to the extent any inconsistencies
 6
     exist between this Disclosure Statement and the Plan, the Plan governs.
 7
              The Plan provides for the reorganization of YT under chapter 11 of the Bankruptcy Code.
 8
     Under the Plan, YT is proposing to satisfy his debts by contributing his interests in FF Global,
 9      theIntelligent,

10   the parent company of FF, which consist of all of his legally recognized personal assets (other than

11   those assets that have been frozen or seized in the People’s Republic of China (the “PRC”)), to a

12   liquidating trust (the “Trust”) for the benefit of his creditors as “Trust Assets.” YT’s interests in FF

13   GlobalIntelligent consist of his economic rights with respect to the 40.8% of FF
        Global’sIntelligent’s equity currently
14
     currently owned by FF Top Holding Ltd. (“FF Top”) (the remaining equity of FF GlobalIntelligent
15       being owned by

16   owned by Season Smart Limited (“Season Smart”), an affiliate of Evergrande Health Industry
       Group
17
     Group (“Evergrande”), and the option holders and Class A ordinary shareholders under FF
18      Global’s

19   Intelligent’s equity incentive plan)).

20           Specifically, YT’s interests consist of:

21   •   The right to direct Pacific Technology Holding LLC (“Pacific Technology”) to direct FF Top
         to transfer 147,058,823 Class B shares of FF GlobalIntelligent currently owned by FF Top,
22       representing 10% of FF Global’sIntelligent’s equity interests, to a creditor trust at the direction
         of YT; and
23
     •   100% of the preferred units of Pacific Technology, which entitle YT to (1) a priority distribution
24       of up to $815.7 million (subject to certain adjustments) plus 8% interest per annum from Pacific
         Technology’s 30.8% of FF Global’s equity interest, after the return of capital to the management
25       (plus 8% interest per annum), from Pacific Technology’s 30.8% of FF Intelligent’s equity interest,
         (2) a special distribution of 10% of the remaining amounts from Pacific Technology’s 30.8% of
26       FF Global’sIntelligent’s equity interest, and (3) thereafter a distribution based on YT’s 20%
         percentage interest of the units of Pacific Technology.
27                                                     28 -
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      Please review the charts in the “Pre and Post-Effective Date Structure of FF GlobalIntelligent”

     attached at Exhibit I to this Disclosure Statement for an illustration of the corporate structure of

     FF GlobalIntelligent before and after the contribution of YT’s assets to the Trust.

             The Plan contemplates that YT’s assets will be transferred to the Trust through an

     amendment of that certain Third Amended and Restated Limited Liability Company Agreement of




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 1
     Pacific Technology (the “PT LLCA”) to effect ownership of these rights by the Trust. The Trust will
 2   be governed by a trust agreement, the terms of which are described below in Article V and the

 3   Amended Plan Term Sheet (the “Trust Agreement”). A form of the Trust Agreement will be included
     in the Plan Supplement. You are encouraged to read carefully the “Amended Plan Term Sheet,” a
 4
     copy of which is attached as Exhibit B to this Disclosure Statement and the quantification of these
 5   rights under the different recovery scenarios set forth in the “Recovery Scenarios and Liquidation

 6   Analysis” attached as Exhibit F to this Disclosure Statement. This discussion is qualified in its
     entirety by reference to the full text of the Amended Plan Term Sheet.
 7
            The Plan also provides for the satisfaction in full of all Allowed Administrative Expense
 8   Claims, Priority Tax Claims, Priority Non-Tax Claims, U.S. Secured Claims, and China Secured

 9   Claims. In addition, the Plan includes certain release, injunctive, and exculpatory provisions
     described in greater detail below. Please note that the Debtor is seeking a discharge pursuant
10
     to section 1141(d)(5) of the Bankruptcy Code as of the Effective Date of the Plan.
11          This Disclosure Statement sets forth certain information regarding YT and the FF Group

12   (particularly, FF GlobalIntelligent and FF). This Disclosure Statement also describes the terms and
     provisions of the Plan, including certain effects of confirmation of the Plan, certain risk factors
13
     (including those associated with securities to be issued under the Plan), the manner in which
14   distributions will be made under the Plan, and certain alternatives to the Plan.

15          On [              ], 2020, the Bankruptcy Court entered an order approving this Disclosure
     Statement as containing “adequate information,” i.e., information of a kind and in sufficient detail
16
     to enable a hypothetical reasonable investor typical of the holders of claims to make an informed
17   judgment about the Plan. THE BANKRUPTCY COURT’S APPROVAL OF THIS DISCLOSURE

18   STATEMENT CONSTITUTES NEITHER A GUARANTY OF THE ACCURACY OR
     COMPLETENESS           OF    THE     INFORMATION          CONTAINED          HEREIN    NOR      AN
19
     ENDORSEMENT BY THE BANKRUPTCY COURT OF THE MERITS OF THE PLAN.
20
     A.     Material Terms of the Plan
21
            Because of YT’s significant relationship with the FF Group, YT believes that it is
22
     imperative to confirm the Plan as swiftly as possible to enable the FF Group to obtain necessary
23
                                                     - 2 -
24

25

26

27                                                   28 -
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 1
     financing and reestablish normal relations with its suppliers and other parties that do business with YT
 2   and the FF Group. If the Plan is not consummated in a timely manner, YT believes that the value of

 3   his interests in FF GlobalIntelligent, his primary asset and the basis for the settlement of claims in the
     Plan, will be substantially reduced and may even lose their entire value. If, as a result of not being able
 4
     to consummate the Plan in a timely manner, the FF Group is not able to once again pursue its business
 5   plan, it is likely that the FF Group will not be able to continue as a going concern, it may be forced to

 6   liquidate its remaining assets, and/or initiate bankruptcy proceedings, and the value of YT’s interests
     in the FF Group will be greatly reduced or eliminated. See Article VI of this Disclosure Statement
 7
     entitled “Certain Risk Factors to be Considered.”
 8           The Plan is the product of extensive negotiations over several months among YT and the

 9   Creditors’ Committee (as defined below). As reflected in the Plan Term Sheet, YT and the
     Creditors’ Committee have agreed to the material terms of the Plan, which are described in detail
10
     in this Disclosure Statement and the Amended Plan Term Sheet.
11           YT BELIEVES THAT THE IMPLEMENTATION OF THE PLAN IS IN THE BEST

12   INTERESTS OF YT AND HIS CREDITORS. FOR ALL OF THE REASONS DESCRIBED IN
     THIS DISCLOSURE STATEMENT, YT URGES YOU TO RETURN YOUR BALLOT
13
     ACCEPTING THE PLAN BY THE VOTING DEADLINE (I.E., THE DATE BY WHICH YOUR
14   BALLOT MUST BE ACTUALLY RECEIVED), WHICH IS [                                     ], 2020, AT 4:00 P.M.

15   (BEIJING TIME).
             The following table summarizes the material terms of the Plan. For a complete description
16
     of the Plan, please refer to the discussion in Article IV of this Disclosure Statement entitled “The
17   Plan” and the Plan itself:

18

19

20
      Treatment of Certain
21    Claims

22

23

24

25

26                                                    -3-

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     As further detailed in the Plan, the Plan contemplates the following
     treatment of certain claims:

     • Administrative Expense Claims – Except to the extent that an
       Administrative Expense Claim has already been paid during the
       chapter 11 case, the holder of an Allowed Administrative Expense
       Claim agrees to a less favorable treatment, or the holder of an Allowed
       Administrative Expense Claim makes a Trust Election, and except as
       provided in Article 2.2 of the Plan, each holder of an Allowed
       Administrative Expense Claim against YT shall receive, in full and
       complete settlement, release, and discharge of




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 1
                                such Administrative Expense Claim, cash equal to the unpaid
 2                             amount of such Administrative Expense Claim on the latest of
                                (i) the Effective Date or as soon thereafter as reasonably
 3                             practicable; (ii) thirty (30) days after the date on which such
                               Administrative Expense Claim becomes Allowed; (iii) the date on
 4                             which such Administrative Expense Claim becomes due and
                               payable in the ordinary course of YT’s business or personal affairs
 5                             in accordance with the terms and subject to the conditions of any
                               agreements or understandings governing, or other documents
 6                             relating to, such Administrative Expense Claim; and (iv) such
                               other date as may be agreed to by such holder and YT or the
 7                             Reorganized Debtor. These claims are unclassified under the
                               Plan and are not entitled to vote.
 8
                               •     Priority Tax Claims – Except to the extent that a holder of an
 9                             Allowed Priority Tax Claim agrees to a less favorable treatment,
                               each holder of an Allowed Priority Tax Claim against YT shall
10                             receive, in full and complete settlement, release, and discharge of
                               such Priority Tax Claim, cash equal to the unpaid amount of such
11                             Priority Tax Claim on the latest of (i) the Effective Date or as soon
                               thereafter as reasonably practicable; (ii) thirty (30) days after the
12                             date on which such Priority Tax Claim becomes Allowed; (iii) the
                               date on which such Priority Tax Claim becomes due and payable;
13                             and (iv) such other date as may be mutually agreed to by and among
                               such holder and YT or the Reorganized Debtor; provided, however,
14                             that the Reorganized Debtor shall be authorized, at his option, and
                               in lieu of payment in full, in cash, of an Allowed Priority Tax Claim
15                             as provided above, to make deferred cash payments on account
                               thereof in the manner and to the extent permitted under section
16                             1129(a)(9)(C) of the Bankruptcy Code. These claims are
                               unclassified under the Plan and are not entitled to vote.
17
                               •      Priority Non-Tax Claims – Except to the extent that a holder
18                             of an Allowed Priority Non-Tax Claim agrees to less favorable
                               treatment or makes a Trust Election, on the Effective Date or as
19                             soon thereafter as practicable, each holder of an Allowed Priority
                               Non-Tax Claim shall receive, at the option of YT and in full and
20                             complete settlement, release, and discharge of, and in exchange
                               for, such Priority Non-Tax Claim (i) payment in full in cash; or
21                               (ii) other treatment rendering such Priority Non-Tax Claim
                               unimpaired. Any Allowed Priority Non-Tax Claim not due and
22                             owing on the Effective Date shall be paid in full, in cash, when it
                               becomes due and owing. These claims are unimpaired under the
23                             Plan and are not entitled to vote.
24                             •    China Secured Claims – Except to the extent that a holder of
                               an Allowed China Secured Claim agrees to less favorable
25                             treatment, on the Effective Date or as soon thereafter as
26                                          -5-

27
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                               practicable, each holder of an Allowed China Secured Claim shall
                               receive, at the option of YT and in full and complete settlement,
                               release, and discharge of, and in exchange for, such China Secured
                               Claim (i) the proceeds of the sale or disposition of the collateral
                               securing such China Secured Claim in accordance with applicable
                               law, to the extent of the value of such holder’s secured interest in
                               such




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 1                                  collateral, (ii) other treatment rendering such China Secured Claim
                                    unimpaired, or (iii) such other treatment as may be mutually
 2                                  agreed to by and among such holder and YT or the Reorganized
                                    Debtor, as applicable; provided, however that if the holder of an
 3                                  Allowed China Secured Claim has not received the value of the
                                    collateral securing its Allowed China Secured Claim on or before
 4                                  the initial Trust Distribution Date (as defined below), such
                                    Allowed China Secured Claim shall be treated as a Debt Claim for
 5                                  all purposes under the Plan. These claims are unimpaired under
                                    the Plan and are not entitled to vote. For the avoidance of
 6                                  doubt, the Allowed amount of a China Secured Claim shall
                                    equal the value of the collateral securing such Allowed China
 7                                  Secured Claim in accordance with section 506(a) of the
                                    Bankruptcy Code.
 8
                                •   U.S. Secured Claims – Except to the extent that a holder of an
 9                                  Allowed U.S. Secured Claim agrees to less favorable treatment or
                                    makes a Trust Election, on the Effective Date or as soon thereafter
10                                  as practicable, each holder of an Allowed U.S. Secured Claim
                                    shall receive, at the option of YT and in full and complete
11                                  settlement, release, and discharge of, and in exchange for, such
                                    U.S. Secured Claim (i) payment in full in cash, (ii) delivery of
12                                  collateral securing any such U.S. Secured Claim, (iii)
                                    reinstatement pursuant to section 1124 of the Bankruptcy Code, or
13                                  (iv) other treatment rendering such U.S. Secured Claim
                                    unimpaired. These claims are unimpaired under the Plan and
14                                  are not entitled to vote.
15                              •    Debt Claims – Except to the extent that a holder of an Allowed
                                     Debt Claim agrees to less favorable treatment, each holder of an
16                                   Allowed Debt Claim shall receive, in full and complete settlement,
                                     release, and discharge of, and in exchange for, such Debt Claim,
17                                   its Pro Ratapro rata share of the Trust Interests (as defined below)
                                     based on its Debt Claim Allocation Amount (as defined below) in
18    DIP Facility Claims       In the  event to
                                     relation  thatthe
                                                     there are proceeds
                                                       aggregate   Debt remaining    from theAmounts
                                                                         Claim Allocation      Exit Financing
                                                                                                        of all
                                (as defined
                                     Allowedbelow)
                                                 Debt after  (a) funding
                                                         Claims,   which the  operations shall
                                                                           distribution   of the be
                                                                                                 Trust for the
                                                                                                     made   in
19                              Initial  Term (as with
                                     accordance       defined  below)
                                                           Article  6.2and
                                                                         of (b)
                                                                             the making   all cashclaims
                                                                                  Plan. These       payments
                                                                                                          are
                                required   to be under
                                     impaired    made intheconnection
                                                              Plan andwith
                                                                        are the  Plan pursuant
                                                                              entitled to vote. to Article 6.4
20                              of the Plan, the remaining proceeds of the Exit Financing shall be used
                                to pay all amounts outstanding under the DIP Facility (as defined
21                              below) in cash on the Effective Date or as soon thereafter as practicable.
                                Once such payment in full has been made, any agreements and
22                              instruments related thereto shall be deemed terminated and all liens and
                                security interests granted to secure YT’s obligations under the DIP
23                              Facility shall be satisfied, discharged, and terminated in full and of no
                                further force and effect.
24
                                In the event that there are not sufficient proceeds remaining from the
25                              Exit Financing to pay all amounts outstanding under the DIP Facility,
                                in satisfaction of - YT’s
                                                     7 - obligations under the DIP Facility, on the
26                              Effective Date or as soon thereafter as practicable and in accordance
                                with the terms and conditions of the DIP Note (as defined below) (a)
27
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 1
                             Effective Date or as soon thereafter as practicable and in accordance
 2                           with the terms and conditions of the DIP Note (as defined below) (a)
                             the maturity date of the DIP Facility shall be automatically extended
 3                           for one year from the Effective Date, (b) all obligations of the Debtor
                             under the DIP Facility shall be assumed by the Trust, (c) all liens and
 4                           security interests on any collateral transferred to the Trust in
                             accordance with the Trust Agreement shall remain in place as
 5                           perfected first priority liens and survive against the Trust, subject only
                             to the liens securing the Exit Financing, (d) the interest rate per annum
 6                           shall be increased to twelve percent (12% per annum), and (e) all other
                             liens and security interests shall be satisfied, discharged, and
 7                           terminated   in full Date,
                                                  and ofYT
                                                         no shall
                                                            further forceany
                                                                           andpayments
                                                                               effect. to comply with
      Domestic Support        On the Effective                    make
 8    Obligations            any postpetition unfunded obligations on account of any Domestic
                             Support Obligations, if any such obligations exist, as may be required
 9                           for YT to be current with respect to such Domestic Support
                             Obligations as of the Effective Date pursuant to section 1129(a)(14)
10                           of the Bankruptcy Code. After the Effective Date, YT shall timely
                             make all payments on account of Domestic Support Obligations to the
11                           parties entitled to receive such payments, if any such obligations exist,
                             including, without limitation, any Wei Gan Domestic Support
12                           Obligations (as defined below), in each case at the times and in the
                             amounts required by the agreements and orders evidencing such
13                           Domestic Support Obligations, as such agreements may from time to
                             time be modified in accordance with applicable law. The sole source
14                           of payment for any Domestic Support Obligations will be YT’s post-
                             Effective Date cash and no holder of a Domestic Support Obligation
15                           will have any recourse against the Trust.

16                           As discussed in Article IV.D of this Disclosure Statement, YT may
                             have  Domestic
                             avoidance          Support
                                        of doubt,        Obligations
                                                   the Wei Gan Domestic arising out Obligations
                                                                            Support  of the Divorce
                                                                                                 shall
17                           Complaint
                             not         (as claims
                                 constitute  definedagainst
                                                      below)the
                                                              filed by his
                                                                 Trust     wife, Weihave
                                                                       or otherwise  Gan any
                                                                                           pending  in
                                                                                               claims
                             the PRC  (the “Wei   Gan  Domestic    Support
                             against or interest in the Trust Assets.       Obligations”). For the
18
      Good Faith              The Plan constitutes a good faith compromise and settlement of all
      Compromise              claims and controversies, and entry of the Confirmation Order will
19
                              constitute the Bankruptcy Court’s approval of such compromise and
                              settlement under section      1123        of the Bankruptcy Code and
20
                              Bankruptcy Rule 9019, as well as a finding by the Bankruptcy Court
                              that such settlement and compromise is fair, equitable, reasonable,
21
                              and in the best interests of YT and his estate.
      The Trust              The Plan contemplates that the contribution of the assets to the Trust
22
                             will be effected through an amendment of the PT LLCA such that the
                             Trust will own the following: (i) 100% of the Preferred PT Units (as
23
                             defined below); (ii) 100% of the New PT Units (as defined below); (iii)
                             the Warrant (as defined below); (iv) following the exercise of the
24
                             Warrant and the indefeasible transfer of the Trust FF GlobalIntelligent
                             Shares (as defined below) to the Trust, the Trust FF GlobalIntelligent
25
                             Shares; (v) all financial assets of YT (i.e., accounts, security, or real
26                                               -8-

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                            property) wherever located, whether owned directly or through any
                            nominee, including, but not limited, to any Seized China Assets (as
 1                          defined below) of YT in existence as of the Effective Date and
                            remaining after the satisfaction of any claims recoverable from such
 2                          assets under applicable law but excluding (x) any exempt assets of YT
                            under section 522 of the Bankruptcy Code and (y) income of YT after
 3                          the Petition Date (as defined below) listed on Schedule J of the
                            Schedules (as defined below), or (z) YT’s rental agreements with
 4                          Warm Time

 5

 6
                             nominee, including, but not limited, to any Seized China Assets (as
                             defined below) of YT in existence as of the Effective Date and
 7
                             remaining after the satisfaction of any claims recoverable from such
                             assets under
                             YT under     applicable
                                       section 522 oflaw
                                                       thebut excludingCode
                                                           Bankruptcy   (x) any
                                                                             andexempt  assetsofofYT
                                                                                 (y) income
 8
                             after the Petition Date (as defined below) listed on Schedule J of the
 9                           Schedules (as defined below), or (z) YT’s rental agreements with
                             Warm Time Inc. (“Warm Time”) and any income derived from such
10                           rental
                              rental agreements, or the proceeds thereof, or the proceeds thereof,
11                            provided that the inclusion of such assets in the Trust does not include
                              the right to assert (A) any YT Claims (as defined below) except as set
12                            forth in Article 11.4(c) of the Plan and (B) Causes of Action (as defined
                              below) of
                             Article     YT’s estate
                                       11.4(c)  of theexcept
                                                         Plan for
                                                              andthose
                                                                    (B) expressly
                                                                        Causes ofpermitted
                                                                                   Action in
                                                                                           (as defined
13                           below) of YT’s estate except for those expressly permitted in Article
                             Article 11.9 of the Plan; (vi) all interests, claims, and Causes of
14                           Action owned by YT (including through any nominee) in connection
                             with Beijing
15                           Action owned by YT (including through any nominee) in connection
                             with Beijing Dongfang Cheyun Information Technology Co., Ltd. (see
16                           Article
                             (see Article II.D.2 below); (vii) the rights to recover property in
17                           accordance with Article 11.9 of the Plan and all proceeds thereof (see
                              Article 11.9 of the Plan and all proceeds thereof (see Article IV.J
                              below); (viii) the Call Option (as defined below), subject to certain
18                            rights of FF Global Partners LLC (“FF GP”), as set forth below in
                              below in Article V.K of this Disclosure Statement, which Call Option
19
                              may not be exercised or transferred by the Trust without the consent of
                              FF GP; (ix) the proceeds of the Exit Financing (as defined below); and
20
                              (x) YT’s interests in Ford Field International Limited, a company
                              organized
                             (ix)         in the British
                                  the proceeds    of the Virgin Islands (“Ford
                                                         Exit Financing        Field”).
                                                                         (as defined below); and
21
                             (x) YT’s interests in Ford Field International Limited, a company
22                           organized in the British Virgin Islands (“Ford Field”).
      Future Equity          In order to align incentives and reward the Reorganized Debtor for
23    Incentive Plan         achieving the FF Group’s strategic goals, it is anticipated that a
                             management incentive equity plan will be adopted to grant certain
24                           stock-based awards to or at the direction of the Reorganized Debtor
                             upon the achievement of financial targets upon a Distribution Event
25

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                              (as defined below), provided that the stock-based awards granted to the
                              Reorganized Debtor shall not exceed the awards set forth below in
                              Article II.C.6 without the consent of the Trustee (as defined below)
                             (which consent shall not be unreasonably withheld) (the “Future
                             Equity Incentive Plan”).

      Discharge, Releases,    Articles 6.6, 11.3, 11.4, 11.5, and 11.6 of the Plan contain certain
      Injunction and          release, injunction, and exculpation provisions that are set forth in
      Exculpation             Article IV.M below.

                              PURSUANT TO ARTICLE 11.3 OF THE PLAN, THE DEBTOR
                              SEEKS A DISCHARGE PURSUANT TO SECTION 1141(D)(5)
                              OF THE BANKRUPTCY CODE AS OF THE EFFECTIVE
                              DATE OF THE PLAN. THE DEBTOR BELIEVES THAT CAUSE
                              EXISTS TO GRANT A DISCHARGE ON THE EFFECTIVE DATE
                              OF THE PLAN BECAUSE THE PLAN PROVIDES FOR THE
                              CONTRIBUTION OF HIS ASSETS TO THE TRUST ON THE
                              EFFECTIVE DATE OF THE PLAN.

                              PLEASE TAKE FURTHER NOTICE THAT, PURSUANT TO THE
                              PLAN, A DISCHARGE WILL BE ENTERED ON THE
                              EFFECTIVE DATE OF THE PLAN, WHICH WILL RESULT IN
                              ALL CREDITORS WITH DISCHARGEABLE CLAIMS BEING
                              ENJOINED FROM TAKING ANY ACTION TO COLLECT,
                              RECOVER OR OFFSET ANY DISCHARGEABLE DEBT AS A
                              PERSONAL LIABILITY OF THE DEBTOR.

                              ARTICLE 11.4(b) OF THE PLAN (RELEASES BY HOLDERS
                              OF NON-DEBT CLAIMS) CONTAINS A THIRD-PARTY
                              RELEASE. YOU ARE DEEMED TO GRANT A THIRD-PARTY
                              RELEASE IF YOU ARE A HOLDER OF A NON-DEBT CLAIM




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 1
                                  RECOVER OR OFFSET ANY DISCHARGEABLE DEBT AS A
 2                                PERSONAL LIABILITY OF THE DEBTOR.

 3                                ARTICLE 11.4(b) OF THE PLAN (RELEASES BY HOLDERS
                                  OF NON-DEBT CLAIMS) CONTAINS A THIRD-PARTY
 4                                RELEASE. YOU ARE DEEMED TO GRANT A THIRD-PARTY
                                  RELEASE IF YOU ARE A HOLDER OF A NON-DEBT CLAIM
                                  THAT EITHER: (I) VOTES TO ACCEPT THE PLAN OR (II) IS
 5                                CONCLUSIVELY DEEMED TO HAVE ACCEPTED THE PLAN.
                                  IN ADDITION, IN ACCORDANCE WITH SECTION 524(a)(3) OF
 6                                THE BANKRUPTCY CODE AND PURSUANT TO A
                                  SETTLEMENT AGREEMENT UNDER BANKRUPTCY RULE
 7                                9019 REGARDING THE DEBTOR’S CLAIMS AGAINST WEI
                                  GAN AND WEI GAN’S CLAIMS AGAINST THE DEBTOR,
 8                                ARTICLE 6.6 OF THE PLAN RELEASES CERTAIN CLAIMS
                                  AGAINST YT’S WIFE, WEI GAN. YOU ARE ADVISED TO
                                  REVIEW AND CONSIDER THE PLAN CAREFULLY BECAUSE
 9                                YOUR RIGHTS MIGHT BE AFFECTED THEREUNDER.

10    Deadlines for Filing        Pursuant to Bankruptcy Rule 4007(c), the deadline to file a complaint
      Complaints to               to determine the dischargeability of a debt under section 523(c) of the
11    Determine Non-              Bankruptcy Code was February 4, 2020 (the date that is sixty (60)
      Dischargeable Debt          days after the first date set for the meeting of creditors under section
                                  341 of the Bankruptcy Code), unless the Bankruptcy Court extends
12                                such deadline for cause at the request of a party in interest.
13
     B.     Voting on the Plan
14
            The Disclosure Statement Order approved certain procedures governing the solicitation of
15   votes on the Plan from holders of claims against YT, including setting the deadline for voting, which
     holders of claims are eligible to receive ballots to vote on the Plan, and other voting procedures.
16
            THE DISCLOSURE STATEMENT ORDER IS HEREBY INCORPORATED BY
17
     REFERENCE AS THOUGH FULLY SET FORTH HEREIN. YOU SHOULD READ THE
18   DISCLOSURE STATEMENT ORDER, THE CONFIRMATION HEARING NOTICE, AND THE
     INSTRUCTIONS ATTACHED TO YOUR BALLOT IN CONNECTION WITH THIS SECTION,
19
     AS THEY SET FORTH IN DETAIL PROCEDURES GOVERNING VOTING DEADLINES
20
     AND OBJECTION DEADLINES.
21
            1.      Parties Entitled to Vote on the Plan
22
            Under the Bankruptcy Code, only holders of claims in impaired classes are entitled to vote
23
     on the Plan. Pursuant to section 1124 of the Bankruptcy Code, a class of claims is deemed to be
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 1
     impaired under the Plan unless the Plan leaves unaltered the legal, equitable, and contractual rights to
 2   which such claim entitles the holder thereof, ascertained with regard to applicable law, including any

 3   provisions of the Bankruptcy Code that may limit the allowed amount of such claim.
              The following table sets forth (a) a simplified summary of which classes are entitled to vote
 4
     on the Plan and which are not and (b) the estimated claims asserted against the Debtor based on the
 5   Debtor’s Schedules of Assets and Liabilities [Docket No. 28] (as amended, modified, or

 6   supplemented, the “Schedules”)4 and filed proofs of claim, the estimated recovery percentage,
     and/or the voting status for each of the separate classes of claims provided for in the Plan.45
 7

 8                                                                     Estimated          Estimated
      Class          Designation              Entitled to Vote    Amount5Amo
                                                                                          Recovery
                                                                             unt6
 9
         1     Priority Non-Tax Claims No (deemed to accept) $8,747,060.26                  100%
         2     U.S. Secured Claims       No (deemed to accept) $2,687,629                   100%
10
                                                                   $387,526,396.3438
         3     China Secured Claims      No (deemed to accept)                              100%
                                                                   6,186,143.61
11
                                                                   $3.5 - $7.7
         4     Debt Claims               Yes                                            1312% - 62%
                                                                   million7.9 billion
12
              Depending on the value of FF GlobalIntelligent, creditors may be able to recover more than
13   100% of the principal amount of their claims, and if the equity value of FF GlobalIntelligent has no
     value, creditors may not be entitled to a recovery under the Plan (see “Recovery Scenarios and
14
     Liquidation Analysis” attached as Exhibit F).
15
              Only holders of claims in Class 4 (Debt Claims), as of [             ], 2020, the voting record
16   date established by the Debtor for purposes of this solicitation (the “Voting Record Date”), are
     entitled to vote on the Plan. If your claim is not in Class 4, you are not entitled to vote on the Plan
17
     and you will not receive a ballot with this Disclosure Statement. If your claim is in Class 4, you
18
     should read your ballot and follow the listed instructions carefully. Please use only the ballot that
19   accompanies this Disclosure Statement.
              If an objection has been filed with respect to your claim, you are not entitled to vote on the
20
     Plan (unless your claim is only disputed in part, in which case you shall be entitled to vote solely on
21
     account of the undisputed portion of your claim) unless you obtain an order of the Bankruptcy Court
22   either resolving the objection or temporarily allowing your claim for voting purposes. In addition, if
     your claim is identified in the Schedules as disputed, contingent, or unliquidated and a proof of claim
23
     was not (i) filed by the applicable bar date for the filing of proofs of claim established
24

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     4On March 9, 2020, YT filed his Amended Schedules of Assets and Liabilities and Statement of Financial Affairs
     [Docket No. 427].
      For further details regarding estimated recoveries, please refer to Exhibit F of the Disclosure Statement, entitled
     45


     “Recovery Scenarios and Liquidation Analysis.”
      The estimated amount of claims does not take into account any objections that may be filed with respect to any claim
     56


     and YT reserves all rights to object to, or seek estimation of, any such claim.




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 1
     on account of the undisputed portion of your claim) unless you obtain an order of the Bankruptcy Court
 2   either resolving the objection or temporarily allowing your claim for voting purposes. In addition, if

 3   your claim is identified in the Schedules as disputed, contingent, or unliquidated and a proof of claim
     was not (i) filed by the applicable bar date for the filing of proofs of claim established by the Court or
 4
     (ii) deemed timely filed by an order of the Court prior to the Voting Deadline, such claim shall be
 5   disallowed for voting purposes; provided, however, if as of the Voting Record Date, the applicable bar

 6   date has not yet passed, such claim shall be entitled to vote only in the amount of $1.00. As set forth
     in the Confirmation Hearing Notice (as defined below) and in the Disclosure Statement Order,
 7
     holders of claims who seek to have their claims temporarily allowed by the Bankruptcy Court
 8   for voting purposes must file on the docket and serve on parties entitled to receive service thereof

 9   a motion seeking such relief no later than

10   [          ], 2020 at 4:00 p.m. (Pacific time).
             A vote on the Plan may be disregarded if the Bankruptcy Court determines, pursuant to
11
     section 1126(e) of the Bankruptcy Code, that it was not solicited or procured in good faith or in
12   accordance with the provisions of the Bankruptcy Code. The Disclosure Statement Order also sets

13   forth assumptions and procedures for determining the amount of claims that each creditor is entitled
     to vote in the chapter 11 case and how votes will be counted under various scenarios.
14
             Your vote on the Plan is important. The Bankruptcy Code requires as a condition to
15   confirmation of a plan of reorganization that each class that is impaired and entitled to vote under a

16   plan votes to accept such plan, unless the plan is being confirmed under the “cramdown” provisions
     of section 1129(b) of the Bankruptcy Code. Section 1129(b) of the Bankruptcy Code permits
17
     confirmation of a plan of reorganization, notwithstanding the nonacceptance of the plan by one or
18   more impaired classes of claims or equity interests, so long as at least one impaired class of claims or

19   interests votes to accept a proposed plan. Under that section, a plan may be confirmed by a bankruptcy
     court if it does not “discriminate unfairly” and is “fair and equitable” with respect to each non-
20
     accepting class. Please note that because the Debtor anticipates that the Plan will satisfy section
21   1129(a)(8) of the Bankruptcy Code, the Debtor is not presently seeking confirmation of the Plan under

22   section 1129(b) of the Bankruptcy Code. For more information on the requirements for

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 1
     confirmation of the Plan, please refer to Article VII of this Disclosure Statement entitled
 2
     “Confirmation of the Plan.”
 3
            The Bankruptcy Code defines acceptance of a plan by a class of claims as acceptance by
 4
     holders of at least two-thirds (2/3%) in dollar amount and more than one-half (1/2) in number of the
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     claims of that class that cast ballots for acceptance or rejection of a plan. Thus, acceptance by a

     class of claims occurs only if at least two-thirds (2/3%) in dollar amount and a majority in number of

     the claims voting cast their ballots to accept the plan.
             2.     Solicitation Package

            The package of materials (the “Solicitation Package”) sent to holders of claims entitled to

     vote on the Plan contains:

     •   a copy of the notice (the “Confirmation Hearing Notice”) of the hearing to consider
         confirmation of the Plan (the “Confirmation Hearing”);
     •   a copy of this Disclosure Statement together with the exhibits thereto, including the Plan;

     •   a copy of the Disclosure Statement Order that approved this Disclosure Statement, established
         the voting procedures, scheduled a Confirmation Hearing, and set the voting deadline and the
         deadline for objecting to Confirmation of the Plan; and

     •   for holders of claims in Class 4, an appropriate form of ballot and instructions on how to
         complete the ballot.
            In addition, the Plan, the Disclosure Statement, and, once they are filed, all exhibits to both

     documents (including the Plan Supplement) will be made available online at no charge at the

     website maintained by the Debtor’s voting agent, Epiq Corporate Restructuring, LLC (the “Voting

     Agent”), at https://dm.epiq11.com/yt1. The Debtor will provide parties in interest (at no charge)
     with hard copies of the Plan and/or Disclosure Statement, as well as any exhibits thereto, upon

     request to the Voting Agent by (i) calling (855) 963-0391 (for U.S. callers), (400) 120-3077 (for

     Chinese callers), or (503-520-4401 (for international callers) or (ii) sending e-mail correspondence

     to ProjectR@epiqglobal.com (please reference “YT” in the subject line).
             3.     Voting Procedures, Ballots, and Voting Deadline

            If you are entitled to vote to accept or reject the Plan, a ballot has been enclosed in your

     Solicitation Package for the purpose of voting on the Plan. Please vote and return your ballot in

     accordance with the instructions accompanying your ballot.




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           You should carefully review (a) the Plan and the Plan Supplement, (b) this Disclosure
 1
     Statement, (c) the Disclosure Statement Order, (d) the Confirmation Hearing Notice, and (e) the
 2      detailed instructions accompanying your ballot prior to voting on the Plan. In order for your
        vote to be counted, you must complete and return your ballot in accordance with the
 3      instructions

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              accompanying your ballot on or before the Voting Deadline.

              Each ballot has been coded to reflect your claim. Accordingly, in voting to accept or reject
              the Plan, you should use the coded ballot sent to you with this Disclosure Statement.

              All ballots, in order to be counted, must be properly completed in accordance with the
              voting instructions on the ballot and actually received no later than the Voting Deadline
     (i.e.,
     [            ], 2020, at 4:00 p.m. (Beijing Time)) by the Voting Agent via regular mail, overnight
     courier, or personal delivery at the appropriate address or via email or the Voting Agent’s online
     balloting platform (in accordance with the instructions accompanying your ballot).
              If a holder of a claim delivers to the Voting Agent more than one timely, properly completed
     ballot with respect to such claim prior to the Voting Deadline, the ballot that will be counted for
     purposes of determining whether sufficient acceptances required to confirm the Plan have been
     received will be the last timely, properly completed ballot, as determined by the Voting Agent,
     received last from such holder with respect to such claim.
              If you are a holder of a claim who is entitled to vote on the Plan and did not receive a ballot,
     received a damaged ballot, or lost your ballot, or if you have any questions concerning the
     Disclosure Statement, the Plan, the ballot, or the procedures for voting on the Plan, please contact
     the Voting Agent by (ii) calling (855) 963-0391 (for U.S. callers), (400) 120-3077 (for Chinese
     callers), or (503) 520-4401 (for international callers) or (ii) sending e-mail correspondence to
     ProjectR@epiqglobal.com (please reference “YT” in the subject line).
              Before voting on the Plan, each holder of a claim in Class 4 (Debt Claims) should read, in its
     entirety, this Disclosure Statement, the Plan and the Plan Supplement, the Disclosure Statement Order,
     the Confirmation Hearing Notice, and the instructions accompanying the ballots. These documents
     contain important information concerning how claims are classified for voting purposes and how
     votes will be tabulated. Holders of claims entitled to vote are also encouraged to review




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     the relevant provisions of the Bankruptcy Code and Bankruptcy Rules and/or consult their own
 2
     attorney.
 3
     C.     Confirmation Hearing and Deadline for Objections to Confirmation
 4
             The Bankruptcy Code requires the Bankruptcy Court, after notice, to hold a hearing on
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     whether the Debtor has fulfilled the confirmation requirements of section 1129 of the Bankruptcy
     Code. The Confirmation Hearing has been scheduled for [                        ], 2020, at [ ]:00 [_].m.
     (Pacific Time), before the Honorable Vincent P. Zurzolo, United States Bankruptcy Judge, in

     Courtroom 1368 of the United States Bankruptcy Court for the Central District of California Los

     Angeles Division, Roybal Federal Building, 255 E. Temple Street, Los Angeles, California 90012.

     The Confirmation Hearing may be adjourned from time to time by the Bankruptcy Court without

     further notice. Any objection to Confirmation must (i) be in writing, (ii) state the name and address

     of the objecting party and the nature of the claim of such party, and (iii) state with particularity the

     basis and nature of such objection. Any such objections must be filed and served upon the persons

     designated in the Confirmation Hearing Notice in the manner and by the deadline described therein.
     D.      Advisors

              The Debtor’s bankruptcy counsel is Pachulski Stang Ziehl & Jones LLP. The Debtor’s

     special counsel is O’Melveny & Myers LLP. The Debtor’s advisors can be contacted at:

      PACHULSKI STANG ZIEHL & JONES LLP O’MELVENY AND MYERS LLP
      10100 Santa Monica Blvd., 13th Floor Times Square Tower
      Los Angeles, California 90067        7 Times Square
      Attn: Richard M. Pachulski           New York, New York 10036
                      Jeffrey W. Dulberg             Telephone: (212) 326-2000
                        Malhar S. Pagay                Attn: Suzzanne Uhland
      Email: rpachulski@pszjlaw.com;              Diana M. Perez
      jdulberg@pszjlaw.com;                Email: suhland@omm.com;
      mpagay@pszjlaw.com                   dperez@omm.com

                                                          - and -

                                                          O’MELVENY & MYERS LLP
                                                          31st Floor, AIA Central
                                                          1 Connaught Road Central
                                                          Hong Kong, S.A.R.
                                                          Attn: Li Han
                                                          Email: lhan@omm.com

                                                       II.




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                                      GENERAL INFORMATION
 1                                                 II.
     A.    YT’s Background
 2
           The majority of YT’s debt today stems from his personal guarantees or money he borrowed
 3
     directly on behalf of companies that he founded or led. YT took these loans for his previous
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             companies in good faith to fund his vision. He is now trying to fashion a trust, backed by
     his ownership of FF GlobalIntelligent, to satisfy creditors, while still fulfilling the aspirations for
     the FF Group. His proposal, in short, is to align the interests of his creditors with the future of the
     FF Group while satisfying his debt.
            YT founded LeEco, the first internet-based TV streaming service in the PRC. As the founder
     of LeEco (formerly LeTV), he built a global technology company and led its expansion to include
     LeshiZhiXin, Le Vision Pictures, Le Sports, LeMobile, LeTV, and other companies. He took LeTV
     to a successful initial public offering on the Growth Enterprise Market (or GEM) of the Shenzhen
     Stock Exchange in 2010, and in 2014, Forbes China ranked him as the No. 1 CEO in the country.
     To meet the capital demands for such expansion, YT relied heavily on borrowing from commercial
     banks and other financial institutions, as it was relatively difficult for a publicly-traded company to
     issue new shares in the PRC at the time.
            However, YT’s businesses, including LeEco, required substantial investment in R&D and
     business expansion and, as a consequence, never generated positive cash flows. He sold some of his
     businesses to an investor in early 2017 to generate cash and repay certain corporate debts.
     Afterward, as bank financing became increasingly difficult to obtain, in July 2017, one of YT’s
     lenders, China Merchant Bank, issued a letter to LeEco demanding payment of nearly RMB 30
     million in interest, although LeEco had already paid more than half of the borrowed amount. When
     LeEco did not make the payment by the date demanded, China Merchant Bank froze YT’s and
     LeEco’s assets. Media coverage of LeEco’s financial challenges negatively impacted discussions
     YT was having with other equity and debt investors, and creditors sued to recover the unpaid
     balance of their loans. The stock price of LeTV dropped severely, which significantly impacted the
     collateral value of YT’s LeTV shares.




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            Certain of YT’s creditors received judgments against him and his business ventures and, prior

 1   to the commencement of the chapter 11 case, sought to recover on those judgments. Three of these
     creditors are Shanghai Lan Cai Asset Management Co., Ltd. (“SLC”), Shanghai Qichengyueming
 2
     Investment Partnership Enterprise (“SQ”), and Jinan Rui Si Le Enterprise Management Consulting
 3   Partnership (“Jinan Rui Si Le”). The Beijing Arbitration Commission

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             issued an award in favor of SLC. A U.S. federal district court judge in California subsequently
     confirmed the award and issued a writ of execution in SLC’s favor. In connection with the
     enforcement of the district court judgment (which was not stayed pending appeal), SLC obtained a
     temporary restraining order to prevent YT from taking any action to transfer, conceal, reduce, or
     encumber personal assets up to the value of SLC’s judgment against YT, including YT’s beneficial
     ownership interest in FF, held through FF Top, and YT’s alleged beneficial interest in certain real
     estate owned by Ocean View Drive, Inc. (“Ocean View”). YT appealed the federal district court’s
     judgment to the U.S. Court of Appeals for the Ninth Circuit. In his appeal, YT argues that the district
     court erroneously let SLC proceed without joining a necessary party, and also incorrectly calculated
     interest on the arbitral judgment. The appeal is currently stayed pursuant to an order entered on
     November 15, 2019 by the U.S. Court of Appeals for the Ninth Circuit. Pursuant to the Stipulation
     Resolving Status of Claim Held by Shanghai Lan Cai Asset Management Co., Ltd. as General
     Unsecured Claim [Docket No. 368], SLC has agreed to treat its claim against YT as a general
     unsecured claim (i.e., a Debt Claim) in the chapter 11 case for all purposes, including, but not limited
     to, classification, treatment, and distribution under any plan of reorganization, which stipulation was
     approved by the Bankruptcy Court on February 25, 2020 [Docket No. 378].
             SQ also sought to enforce a foreign arbitral award issued by the China International
     Economic and Trade Arbitration Commission (CIETAC) against YT and LeView Holding Limited.
     In July 2019, a federal district court in Los Angeles entered a consent judgment confirming the
     arbitral award entered in favor of SQ, which SQ is seeking to amend. The case is currently stayed,
     including SQ’s motion to amend the consent judgment, and the court has not yet issued a writ of
     execution. Pursuant to the Stipulation Resolving Status of Claim Held by Shanghai Qichengyueming
     Investment Partnership Enterprise (Limited Partnership) as General Unsecured




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 1
     Claim [Docket No. 325], SQ has agreed to treat its claim against YT as a general unsecured claim
 2   (i.e., a Debt Claim) in the chapter 11 case for all purposes, including, but not limited to,

 3   classification, treatment, and distribution under any plan of reorganization, which stipulation was
     approved by the Bankruptcy Court on February 18, 2020 [Docket No. 341].
 4

 5          Jinan Rui Si Le commenced litigation in the Superior Court for the State of California,

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             County of Los Angeles to enforce a judgment entered against YT and various affiliated
     entities in the PRC by the Intermediate People’s Court of Jinan City, Shandong Province. The
     superior court has not entered judgment and the case was pending as of the filing of the chapter 11
     case.
             Since China Merchants Bank froze all the assets and operating accounts of YT and LeEco
     group (which were worth, at the time, substantially greater than the default amount), which directly
     led to the cash crunch and collapse of LeEco group, YT has repaid over $3 billion worth of debts.
     The frozen assets of the LeEco group and YT in the PRC that are yet to be disposed of are worth
     approximately $1 billion.

     B.      YT’s Liabilities
             The majority of YT’s debts stem from his personal guarantees for businesses that he operated
     in the PRC. Many of his creditors also assert contractual, judgment, or penalty interest under
     Chinese law. The claims against YT fall into four general categories: (i) unsecured direct claims
     against YT, (ii) direct claims against YT secured by his assets in the PRC, (iii) claims against YT
     based on guarantees of unsecured loans to other entities, and (iv) claims against YT based on
     guarantees of loans to other entities secured by such entities’ assets in the PRC.
             YT scheduled approximately $1.21 billion in U.S. Secured Claims and China Secured
     Claims and approximately $2.562.61 billion in Debt Claims. See Schedules, Schedule D and
     Schedule E/F. Based on the Schedules and the proofs of claim filed against YT, over $387386
     million in China Secured Claims and $8.48.6 billion in Debt Claims have been asserted against YT.
     Approximately $7.398 billion of YT’s approximately $8.799 billion of alleged China Secured
     Claims and Debt Claims are on account of guarantees. However, YT cannot estimate the amount
     that may be recovered from the primary obligors on account of guarantees. Additionally, the proofs
     of claim filed against YT have not been reconciled against YT’s records and may be subject to
     reduction




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     and/or expungement. YT reserves all rights to object to, or seek estimation of, any claim.
 2          YT believes that approximately $3.3 billion of the proofs of claim filed against him are

 3   duplicative, invalid, or overstated, including: (i) approximately $1.3 billion evidenced by
     duplicative proofs of claim; (ii) approximately $0.5 billion of unscheduled and filed proofs of claim
 4
     that do not constitute YT’s debt obligations; (iii) approximately $1.1 billion of proofs of claim that
 5   overstate the amounts on the applicable filed proofs of claim; and (iv) approximately $0.4 billion in

 6   unscheduled and filed claims that overstate YT’s obligations.
            In addition to the China Secured Claims and the Debt Claims, in order to provide prepetition
 7
     financing for his proposed restructuring, YT obtained a prepetition secured loan from Pacific
 8   Technology in the amount of $2,687,629, which is treated as a U.S. Secured Claim under the Plan. The

 9   Debtor granted Pacific Technology a first priority security interest in the Debtor’s personal

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             property as listed on that certain secured promissory note dated October 11, 2019 and that
     certain UCC financing statement dated October 11, 2019. The security grant was made in all respects
     subject to the Minute Order entered September 3, 2019 in Case No. 2:18-CV-10255 SJO (MRWx) in
     the United States District Court for the District Court of the Central District of California. Additionally,
     YT’s wife filed a proof of claim against YT in the amount of approximately $571 million, $8.7 million
     of which Wei Gan alleges is for Domestic Support Obligations.
             The amount of claims for distribution purposes in the Trust will (a) include unpaid interest at
     the rate of four percent (4%) per annum from the time the underlying debt arose through the Petition
     Date and (b) be reduced to the extent that the holder of an allowed claim receives payment from a
     primary obligor or the obligation of the primary obligor is otherwise satisfied, including by
     conversion of debt to equity. Additionally, the portion of a China Secured Claim that is determined
     pursuant to section 506(a) of the Bankruptcy Code or through agreement, to exceed the value of the
     claimant’s interest in the collateral securing such China Secured Claim will be treated as a Debt
     Claim. Claim amounts may also be reduced through the claim reconciliation process set forth in
     Article VIII of the Plan.




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     C.     YT’s Interest in the FF Group
 2          The discussion of the business of the FF Group and the electric vehicle industry below is

 3   qualified by, and should be read in conjunction with, the discussion of the risks related to the FF
     Group’s business and its industry detailed elsewhere in this Disclosure Statement. This Disclosure
 4
     Statement and related materials relate only to the Plan of YT and do not relate to and should not be
 5   deemed to suggest that, FF GlobalIntelligent or FF is seeking a plan of reorganization or bankruptcy

 6   at this time. Any information about the FF Group is solely provided to creditors of YT to assist them
     in voting on the Plan. Although there is a discussion in this Disclosure Statement about the FF Group
 7
     (including its own distressed financial position and efforts to raise funds and business prospects),
 8   such information is based on information obtained by YT for use herein and solely relates to the

 9   Plan. The information about the FF Group is believed by YT to be reliable. However, such
     information relates only to circumstances as of the dates the information was available and there
10
     can be no assurance that subsequent occurrences have not rendered such information inaccurate.
11   Such information about the FF Group is solely the responsibility of YT.

12          1.   Overview of the FF Group and Role of YT
            The FF Group is a pre-revenue development-stage global technology company
13
     headquartered in Los Angeles, California, with additional development activities and operations in
14   the PRC that designs and manufactures next-generation, zero-emission smart electric vehicles and

15   mobility ecosystem with a view to carving out a dual-market strategy and having manufacturing
     capabilities and operations in both the U.S. and the PRC, the two largest electric vehicle markets.
16
     The FF Group has designed a new mobility platform that integrates clean energy, intelligent design,
17   internet vehicle connectivity, and artificial intelligence functionality to create a seamless user

18   experience. The FF Group has assembled a global team of automotive and technology experts and
     innovators to achieve its goal of redefining mobility.
19
            The FF Group, founded by YT in 2014, has a vision that differentiates from, and extends well
20   beyond, electric vehicle manufacturing. With 20 years of experiences in consumer electronics and

21   internet, YT founded the FF Group to build a next-generation mobility ecosystem that connects one’s
     vehicle, home, and office. In fact, YT achieved similar breakthroughs in his businesses in the
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     PRC, where he founded and led one of the first internet-based streaming services and ecosystem
 2   with over 600 million users. While he initially served as CEO of the FF Group, YT has assumed the

 3   role of Chief Product and User Officer, while serving on FF Global’sIntelligent’s board of directors.
     YT recruited top management talent, including Dr. Carsten Breitfeld and Robert A. Kruse, Jr., to
 4
     join an already strong team. As a true visionary, YT is critical to the success of FF and its financing
 5   efforts including the near-term Series B financing (see Article II.C.7.a below entitled “Secure

 6   Substantial Financing”) and a potential initial public offering. YT will not only articulate the vision
     of the FF Group to financing sources but also instill in them the FF Group’s unique integrated
 7
     approach that combines cutting-edge technology and connectivity.
 8          To date, significant capital has been deployed for research and development associated with

 9   the FF Group’s electric vehicles, corporate planning, administration and development, and
     investment in key property and equipment. Over the last four years, the FF Group has developed a
10
     portfolio of intellectual property, established its proposed supply chain, and completed several pre-
11   production vehicles for the FF 91, its first vehicle model. The FF Group has filed 1,322 patents, 951

12   in the PRC and 342 in the U.S. The FF Group continues to grow in the PRC as well.
            FF revealed the FF 91 in January 2017, and is working to complete the testing and validation
13
     and begin the manufacture and delivery of the FF 91 to the market. Digital Trends recently named
14   the FF 91 as one of the best vehicles at the 2020 Consumer Electronics Show and the FF Group was

15   listed as No. 4 on The Tech Tribune’s 2019 US Best Tech Startups.

16          2.     Corporate Structure of the FF Group
            The FF Group commenced its operations in May 2014 when FF was incorporated in the State
17   of California. To facilitate global investment in the FF Group’s business and operations in different

18   jurisdictions, the FF Group established a Cayman Islands holding structure for the entities within the
     group. FF Global Holdings (now known as Smart Technology Holdings Ltd.) was incorporated on
19
     May 23, 2014, in the Cayman Islands, which owned and/or controlled 100% of the shareholding of
20   all operating subsidiaries in the group, including FF. In March 2017, the FF Group established its

21   wholly-foreign-owned entity (“WFOE”) in the PRC, FF Automotive (China) Co., Ltd. During the
     period from June 2014 through November 2017, YT made approximately $613
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     million in paid-in capital contributions to the FF Group and guaranteed an additional $324 million
 2   of funding for the FF Group.

 3          As part of a broader corporate reorganization, and in connection with the investment from
     Season Smart, Smart King (n/k/a FF GlobalIntelligent) was incorporated in the Cayman Islands in
 4
     November 2017, as the parent company of Smart Technology Holdings Ltd. To enable effective
 5   control over the FF Group’s PRC operating entity and its subsidiaries, in November 2017, the

 6   WFOE entered into a variable interest entity (“VIE”) contractual arrangement with LeSee
     Automotive (Beijing) Co., Ltd. (“LeSee Beijing”) and LeSEE Zhile Technology Co., Ltd. (“LeSEE
 7
     Zhile”), who held 100% of LeSee Beijing at that time. LeSee Beijing was formed in the PRC in July
 8   2014 and is currently owned by LeSEE Zhile (49%) and FF Automotive (China) Co., Ltd. (51%).

 9   Under the new VIE agreement entered into on February 8, 2020, FF Automotive (China) Co., Ltd.
     has a control right over LeSee Zhile’s interests in LeSee Beijing. The VIE contractual arrangement
10
     enables FF GlobalIntelligent, as the holding company of the FF Group, to exercise effective 100%
11   control over LeSee Beijing and its subsidiaries, to receive substantially all of the economic benefits

12   of such entities, and to have an exclusive option to purchase all of the equity interests in LeSee
     Beijing.
13
            FF GlobalIntelligent is the holding company of the FF Group with no material operations of
14   its own. All operations are conducted through operational entities within the FF Group, including

15   FF Global’sIntelligent’s U.S. subsidiaries (such as FF) and its VIEs and their respective subsidiaries
     in the PRC. 40.8% of FF Global’sIntelligent’s equity is currently owned by FF Top and the
16
     remaining equity of FF GlobalIntelligent is owned by Season Smart, an affiliate of Evergrande, and
17   the option holders and Class A ordinary shareholders under FF Global’sIntelligent’s equity

18   incentive plan. The entity that sits above FF Global’sIntelligent’s holding company structure is
     Pacific Technology. Pacific Technology owns 100% of the equity interests in FF Peak Holding
19
     Limited, a British Virgin Islands Company (“FF Peak”), which in turn holds 100% of the equity
20   interests of FF Top. For additional information regarding the corporate structure of the FF Group,

21   please refer to the “Simplified Organizational Chart of the FF Group” attached as Exhibit E to this
     Disclosure Statement.
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                   a.     Season Smart Investment
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             On November 30, 2017, Smart King (n/k/a FF GlobalIntelligent), Season Smart, and
 3   certain other

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             parties entered into that certain agreement and plan of merger and subscription (as amended
     by the first amendment on February 9, 2018 and by the second amendment on May 23, 2018, the
     “Merger Agreement”). Pursuant to the Merger Agreement, Season Smart made a commitment to
     invest $2.0 billion in exchange for a 45% stake in Smart King (n/k/a FF GlobalIntelligent). In
     December 2017 and June 2018, respectively, Smart King (n/k/a FF GlobalIntelligent) issued
     65,926,748 Class A preferred shares and 752,255,070 Class A preferred shares to Season Smart, for
     gross proceeds of $800 million, with the remaining $1.2 billion to be contributed by the end of 2019
     and 2020.
            As of November 30, 2017, Chiu Tao owned Season Smart. On June 25, 2018, Evergrande
     entered into an agreement with Tao to acquire all of his shares in Season Smart. Disputes later arose
     between Smart King (n/k/a FF GlobalIntelligent) and YT in his capacity as a shareholder, on one
     hand, and Season Smart, on the other, as to the performance of their obligations and the effectiveness
     of a certain amendment and consent on July 18, 2018. As a result of those disputes, arbitration
     proceedings were initiated. As part of the settlement of the arbitration proceedings, on December
     31, 2018, among other parties, Smart King (n/k/a FF GlobalIntelligent), YT, and Season Smart
     entered into a restructuring agreement (the “2018 Restructuring Agreement”), pursuant to which
     Season Smart’s equity interest in Smart King (n/k/a FF GlobalIntelligent) was converted into
     Redeemable Preference Shares representing 32% of the outstanding equity interest of Smart King
     (n/k/a FF GlobalIntelligent) (the “Option/Redemption Shares”), which shares may be redeemed by
     Smart King (n/k/a FF GlobalIntelligent) at any time before December 31, 2023, in part or in whole,
     at a predetermined redemption price. If the Option/Redemption Shares had been redeemed within a
     year after December 31, 2018, the effective date of the 2018 Restructuring Agreement, the price
     payable would have been $600,000,000. The amount payable increases annually and will reach
     $1,050,000,000 if the Option/Redemption Shares are redeemed in the last year. In exchange, Season
     Smart was released from its obligation to make any further capital contributions in Smart King
     (n/k/a FF GlobalIntelligent) pursuant to the Merger Agreement (as amended).
            The 2018 Restructuring Agreement also provided that, among other matters, (i) each of the

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            parties to the agreement (including Season Smart, Smart King (n/k/a FF GlobalIntelligent),

 1   and YT) agreed to release each other and their respective affiliates from all claims each of them
     may have had
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     against the other and to withdraw from and cease all existing arbitration, litigation, and other
     proceedings, (ii) Smart King (n/k/a FF GlobalIntelligent) could issue equity securities to third parties
     without Season Smart’s approval provided that certain conditions are satisfied, including a
     minimum floor on the valuation for such equity securities, and (iii) Season Smart agreed to acquire
     Evergrande FF Holding (Hong Kong) Limited (previously FF Holding (Hong Kong) Limited),
     which was previously a wholly-owned subsidiary of Smart King (n/k/a FF GlobalIntelligent) and
     owned certain PRC assets of Smart King (n/k/a FF GlobalIntelligent).
            As FF’s founder, substantial shareholder, and CEO at that time, YT participated in the
     negotiation of the 2018 Restructuring Agreement by and among YT, Smart King (n/k/a FF
     GlobalIntelligent), Season Smart, and other parties. Pursuant to the 2018 Restructuring Agreement,
     as consideration for YT’s obligations and undertakings in the agreement, Season Smart granted YT
     a call option (the “Call Option”) with respect to the Option/Redemption Shares. YT’s rights in the
     Call Option mirror FF Global’sIntelligent’s redemption rights.
            As the minimum amount of cash required to exercise the Call Option is no less than $600
     million under the Call Option agreement, the Call Option is of limited value to YT at this time.
     Nonetheless, because the Call Option allows the party to the Call Option to capture the potential
     upside of Season Smart’s interest in FF GlobalIntelligent above the Call Option price, the Call
     Option may facilitate the FF Group’s financing efforts if made available to a financing source.
     Accordingly, as discussed in this Disclosure Statement, the Plan contemplates that the trustee for
     the Trust (the “Trustee”) may transfer the Call Option in connection with a financing for FF
     GlobalIntelligent and its subsidiaries on certain terms. See Article V.K of this Disclosure Statement
     entitled “The Call Option.”
            As noted above, FF Global’sIntelligent’s redemption rights mirror YT’s rights in the Call
     Option. In the event that FF GlobalIntelligent exercises its redemption rights with respect to the
     Option/Redemption Shares and cancels those shares, the equity interest percentages of FF
     Global’sIntelligent’s shareholders will increase proportionally (assuming FF GlobalIntelligent does
     not issue new shares in the process). FF Global




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            Intelligent, however, is likely unable to raise the cash required to exercise its redemption

 1   rights without diluting its existing shareholders in a future equity financing. By comparison, if YT
     (or a financing source after
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     transfer of the Call Option) exercises the Call Option, YT (or a financing source) will hold the
     Option/Redemption Shares previously owned by Season Smart. In this instance, the exercise of the
     Call Option would not alter the ownership percentages of other shareholders of FF GlobalIntelligent.

                     b.    FF Global’sIntelligent’s Current Corporate Governance
              Under the FF GlobalIntelligent M&A, FF GlobalIntelligent is authorized to issue up to (i)
     400,000,000 Class A ordinary shares, (ii) 180,000,000 Class B ordinary shares, (iii) 470,588,235
     Redeemable Preference Shares, and (iv) 600,000,000 Class B preferred shares. Upon any transfer
     of Class B preferred shares to a third party, such shares will automatically convert to Class B
     ordinary shares. As of the date of this Disclosure Statement, (i) there are no Class B ordinary shares
     issued or outstanding, (ii) all of the issued and outstanding Class A ordinary shares (approximately
     34,130,000 shares) were issued to employees, directors, and consultants pursuant to Smart King’s
     equity incentive plans (see Article II.C.2.d below entitled “Stock Incentive Plans”), (iii) all of the
     issued and outstanding Class B preferred shares (100% of the authorized shares) are held by FF
     Top, and (iv) all of the issued and outstanding Redeemable Preference Shares are held by Season
     Smart.
              Holders of Class A ordinary shares do not have any voting rights, while: (i) holders of Class
     B ordinary shares are entitled to one vote per share, (ii) holders of Redeemable Preference Shares are
     entitled to 0.5625 votes per share, and (iii) holders of Class B preferred shares are entitled to ten votes
     per share. The holders of shares that are entitled to voting rights vote on matters together as a single
     class. Season Smart has approval rights over certain matters as set forth in the FF GlobalIntelligent
     M&A, including (i) any amendments to the FF GlobalIntelligent M&A that would have an adverse
     effect on the rights, preferences, or privileges attached to Redeemable Preference Shares, (ii) the
     issuance of any Redeemable Preference Shares to any person, (iii) the entering into any related party
     transaction prior to a qualified financing that is not on arm’s length terms, (iv) the issuance of equity
     securities of any FF GlobalIntelligent subsidiary (subject to enumerated exceptions),




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     and (v) the issuance of any equity securities of FF GlobalIntelligent at a price below a certain
 2   minimum price or that have a senior liquidation preference to Redeemable Preference Shares.

 3          There is no obligation under the FF GlobalIntelligent M&A for the board of directors of FF
     GlobalIntelligent to declare dividends, and holders of preferred shares do not have any accrued
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     rights if no dividends
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             are declared. The board of directors of FF GlobalIntelligent also cannot declare, pay, or set
     aside any dividends unless and until all Redeemable Preference Shares have been redeemed and
     paid in full. Dividends declared by the board of directors of FF GlobalIntelligent are not cumulative.
     FF Global’sIntelligent’s ability to pay dividends may depend upon dividends paid by its
     subsidiaries.
            In the event of a dissolution or winding up of FF GlobalIntelligent, the holders of ordinary
     shares and preferred shares shall be paid out by FF GlobalIntelligent in accordance with the
     following waterfall. First, holders of Redeemable Preference Shares shall have all of their
     Redeemable Preference Shares redeemed and paid in full. Second, holders of Class B preferred
     shares shall be paid their liquidation preference amount as set forth in the FF GlobalIntelligent
     M&A. Third, to the extent that FF GlobalIntelligent has surplus assets remaining after redemption
     of all Redeemable Preference Shares and payment of the requisite amounts to the Class B preferred
     shareholders, holders of Class A ordinary shares, and holders of Class B Ordinary shares shall be
     entitled to payment out of such surplus assets.
            As noted above, FF GlobalIntelligent has a redemption right with respect to the Redeemable
     Preference Shares (i.e., Option/Redemption Shares) upon issuance of a redemption notice within
     the five-year period beginning on December 31, 2018. FF GlobalIntelligent is required to redeem
     all outstanding Redeemable Preference Shares (i.e., Option/Redemption Shares) upon any
     dissolution, winding up, liquidation, insolvency, declaration of bankruptcy, or change of control of
     FF GlobalIntelligent.
            Immediately prior to any initial public offering (an “IPO”) of the equity of FF
     GlobalIntelligent, holders of Redeemable Preference Shares have the option to convert their
     Redeemable Preference Shares into the class of shares that will be held by the public shareholders
     of FF GlobalIntelligent following the IPO. The number of such shares held by holders of
     Redeemable Preference Shares that have elected to convert their Redeemable Preference Shares
     shall be the number that would




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     result in such holders owning the same percentage ownership of FF GlobalIntelligent on a fully
 2   diluted basis that such holders owned immediately prior to the conversion.

 3                 c.      Valuations of FF GlobalIntelligent
            In connection with fund raising transactions and negotiations with existing investors, private
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     companies frequently complete transactions that involve the issuance of equity securities. In those
 5   transactions, a private company is likely informed about the facts and circumstances

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             surrounding the transaction and thus is in a position to determine the implications of the
     transaction to the company’s fair value. Thus, it is possible to use the price from the transaction to
     infer the total value of the company’s equity securities.
            Pursuant to the Merger Agreement by and between Smart King (n/k/a FF GlobalIntelligent),
     Season Smart, and certain other parties, Season Smart made a commitment to invest $2.0 billion in
     exchange for a 45% stake in Smart King (n/k/a FF GlobalIntelligent). Based on the amount invested,
     Season Smart implicitly valued Smart King’s equity at approximately $4.44 billion at that time. On
     December 31, 2018, under the 2018 Restructuring Agreement, Season Smart’s stake in Smart King
     (n/k/a FF GlobalIntelligent) was reduced to 32% of the outstanding equity interests of Smart King
     (n/k/a FF GlobalIntelligent) and Season Smart’s further funding commitment was eliminated. Based
     on the arrangements made in the 2018 Restructuring Agreement, the parties implicitly valued Smart
     King (n/k/a FF GlobalIntelligent) at approximately $2.5 billion. In these arms-length transactions
     with an unrelated, bona fide third party Smart King (n/k/a FF GlobalIntelligent) had an incentive to
     negotiate the best possible price for its equity interests, and Season Smart had an incentive not to
     overpay for them. Thus, these transactions are relevant in estimating the fair value of the securities
     of FF GlobalIntelligent and the potential recoveries for holders of Allowed Debt Claims.
            In connection with the issuance of Class A ordinary shares to its employees, directors, and
     consultants (see Article II.C.2.d below entitled “Stock Incentive Plans”), Smart King (n/k/a FF
     GlobalIntelligent) obtained a valuation of its equity from Business Equity Appraisal Reports, Inc.
     (“BEAR”). Based on BEAR’s opinion of value dated May 29, 2019, BEAR valued the fair market
     value of Smart King’s equity at $1,897,000,000. Important observations in Bear’s opinion include
     that (i) Smart King (n/k/a FF GlobalIntelligent) was projected to have profitable operations in 2024
     and



     positive cash flow in 2024, (ii) financing and management difficulties might threaten this projection,
     and (iii) at that time, additional funding of approximately $2.2 billion would be needed to achieve
     positive cash flow, and management intended to have an IPO within the near future. The key
     assumptions BEAR made included that (i) the necessary funding could be obtained, particularly the
     anticipated IPO at $10 per share and (ii) production and sales would be achieved in accordance with
     the projections.




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                  d.       Stock Incentive Plans
 1          On February 1, 2018, Smart King (n/k/a FF GlobalIntelligent) amended and restated its equity
     incentive plan originally adopted in 2015. Under the Smart King Ltd. Equity Incentive Plan (the
 2
     “2018 Equity Plan”), the board of directors of Smart King (n/k/a FF GlobalIntelligent) or the
 3   administrator of the 2018 Equity Plan may grant up to 300,000,000 nonqualified incentive stock

 4   options, restricted shares, unrestricted shares, restricted shares units, and other stock-based awards
     for Class A ordinary shares to employees, directors, and consultants. As of the date of this Disclosure
 5
     Statement, awards to purchase an aggregate amount of 205,791,717 Class A ordinary shares under
 6   the 2018 Equity Plan have been granted and were outstanding, and awards to purchase 34,129,939

 7   Class A shares have been exercised.
            On May 2, 2019, Smart King (n/k/a FF GlobalIntelligent) adopted its Short-Term Incentive
 8
     Plan (“STI Plan”), under which the administrator of the STI Plan may grant up to 100,0000,000
 9   nonqualified incentive stock options, restricted shares, unrestricted shares, restricted shares units

10   for Class B ordinary shares to employees, directors, and consultants. The options vest and become
     exercisable as determined by the administrator.
11
                    e.      FF GlobalIntelligent Partnership Program
12          In order to incentivize like-minded management members to truly commit themselves to the

13   FF Group’s success, YT and his team considered various governance structures for the FF Group,
     including Alibaba’s partnership program, partnerships in the consulting industry, and cooperatives
14
     found in industries including news media, agriculture, and home improvement. After carefully
15   assessing these options, YT determined that a partnership modeled after Alibaba’s partnership

16   program would best advance the goals and prospects of the FF Group. A partnership

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 1
     program (the “Partnership Program”) through FF GP enables the FF Group to attract top talent
 2   across industries and disciplines, who will be loyal to each other and committed to the success of

 3   the FF Group. The establishment of the Partnership Program was intended to position the FF Group
     to become a well-managed and innovative company. The Partnership Program improves the
 4
     prospects of success for all the FF Group’s stakeholders.
 5          To establish the Partnership Program, Pacific Technology, the entity that owned 40.8% of -

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               the equity interests in FF GlobalIntelligent (i.e., the Class B preferred Shares), engaged in a
     series of transactions with certain management members and employees of FF (the “Partners”). As
     a result, the Partners hold their interests in FF GlobalIntelligent indirectly through FF GP (the
     managing member of Pacific Technology) and three other intermediary holding companies. The
     Partners collectively own 100% of the equity interest in FF GP, which owns 80% of the equity
     interests in Pacific Technology. Pacific Technology owns 100% of the equity interest in FF Peak,
     which in turn holds 100% of the equity interests in FF Top. As of the date hereof, FF Top owned
     600,000,000 Class B preferred shares of FF GlobalIntelligent. For additional information regarding
     the corporate structure of the FF Group, please refer to the “Simplified Organizational Chart of the
     FF Group” attached as Exhibit E to this Disclosure Statement.
               FF GP is managed by a committee, which consists of managers initially elected or appointed
     by its Partners. As of the date of this Disclosure Statement, FF GP had 25 partners. YT, who is not
     a member of FF GP, serves as one of the managers on the committee. FF GP acts upon the
     committee’s decisions, which are determined by the affirmative approval of a majority of the
     managers who are present and vote on the matter, subject to the veto rights of the managing Partner
     over certain matters. Jiawei Wang is the current managing Partner of FF GP. The Partners are in the
     process of reviewing the governance of FF GP and there may be changes to this structure in the
     future.
               According to the subscription agreements between the Partners and FF GP, the Partners
     subscribed for the units of FF GP at $0.50 per unit. The total consideration of units was to be paid in
     ten (10) installments with the first 10% due and payable in five months after the closing and the
     remaining 90% being paid in nine equal, successive annual payments due and payable in five



     months after the applicable anniversary of the respective closing date. FF GP also has certain
     redemption rights and rights to reacquire the units of Partners who terminate their employment with
     the FF Group.
               In addition to capital contributions, several partners lent approximately $15.3 million to FF GP
     pursuant to certain promissory notes dated as of June 26, 2019. After receiving the funds from the
     Partners, on July 5, 2019, FF GP subscribed, at a purchase price of $0.50 per unit, for
               362,352,941 common units of Pacific Technology, which represented 100% of the issued and
     outstanding common units of Pacific Technology and 80% of the total equity interest of Pacific
     Technology. The remaining 20% interest is owned by West Coast LLC, a Delaware limited liability
     company (“West Coast”), which holds 90,588,235 preferred units of Pacific Technology. As noted

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     below, YT owns 100% of the economic interests in West Coast through a nominee agreement.
            On June 26, 2019, FF GP lent approximately $16.5 million to Pacific Technology, which
     then lent the same amount to Ever Trust LLC, a Delaware limited liability company, and Ever Trust
     LLC lent the same amount to FF to support FF’s daily operations. When FF GP purchased the
     common units of Pacific Technology on July 5, 2019, part of the consideration was paid by
     cancelling the relevant promissory note.
            After giving effect to the FF GP transactions, YT retains the following economic rights. First,
     YT retained the right to direct Pacific Technology to direct FF Top to transfer 147,058,823 Class B
     ordinary shares of FF GlobalIntelligent to a creditor trust. These interests represent 10% of FF
     Global’sIntelligent’s equity. Second, YT retained 100% of the preferred units of Pacific Technology,
     which entitle YT to (i) a priority distribution of up to $815.7 million (subject to certain adjustments)
     plus 8% interest per annum from Pacific Technology’s 30.8% of FF Global’s equity interest, after the
     return of capital to the management (plus 8% interest per annum), from Pacific Technology’s 30.8%
     of FF Intelligent’s equity interest, (ii) a special distribution of 10% of the remaining amounts from
     Pacific Technology’s 30.8% of FF Global’sIntelligent’s equity interest, and (iii) thereafter a
     distribution based on the 20% percentage interest of the units of Pacific Technology.

                   f.       Organizational Chart

            Attached as Exhibit E is a simplified organizational chart for the FF Group and certain of




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     its key affiliates as of the date of this Disclosure Statement, and before giving effect to any awards
 2   under the Future Equity Incentive Plan or any other equity incentives or conversion of securities. All

 3   ownership interests in the organizational chart are 100% unless otherwise indicated.

 4          3.     Transfer Restrictions and BVI Proceedings
            Assets to be contributed to the Trust include 147,058,823 Class B shares of FF
 5   GlobalIntelligent (the “Trust FF GlobalIntelligent Shares”) owned by FF Top that may be

 6   transferred under YT’s direction pursuant to the PT LLCA and 100% of the preferred membership
     units of Pacific Technology
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             currently owned by West Coast (the “Preferred PT Units”).
             The FF GlobalIntelligent M&A and the 2018 Restructuring Agreement have certain transfer
     restrictions. These restrictions, however, do not affect the transfers to the Trust contemplated under
     the Plan. The transfer of the Trust FF GlobalIntelligent Shares to the Trust was contemplated at the
     time the parties amended the FF GlobalIntelligent M&A in connection with the 2018 Restructuring
     Agreement. Accordingly, the proposed transfers of the Trust FF GlobalIntelligent Shares are
     permitted under the FF GlobalIntelligent M&A, if FF Top transfers the Trust FF GlobalIntelligent
     Shares to satisfy YT’s liabilities. To the extent that YT has not exercised and still owns the Call
     Option, YT is required to use any proceeds after the satisfaction of his liabilities to purchase the
     Option/Redemption Shares. The Trust will be a registered member of the Trust FF GlobalIntelligent
     Shares, but the Class B preferred shares, upon transfer, will convert to Class B ordinary shares and
     lose the 10-to-1 super voting rights associated with the Class B preferred shares.
             The transfer of Preferred PT Units to the Trust is a transfer of economic rights in a Delaware
     limited liability company and thus will not alter the register of FF Global’sIntelligent’s shareholders.
     In the 2018 Restructuring Agreement, however, YT covenanted to retain 100% of his voting and
     economic rights of Pacific Technology, the entity through which he owned FF GlobalIntelligent shares
     at the time of the 2018 Restructuring Agreement. The covenant carves out the FF GP transaction and
     the establishment of a partnership program. Also, the 2018 Restructuring Agreement expressly permits
     YT to cease owning his interests in FF GlobalIntelligent if it results from an involuntary transfer arising
     from creditor enforcement actions. As noted in Article II.A above, YT commenced the chapter 11 case
     and proposed the Plan in response to creditor enforcement actions against his assets,




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 1
     including the Trust FF GlobalIntelligent Shares and Preferred PT Units, as well as the continued
 2   attempts to revive these enforcement actions, such as SLC’s motion to dismiss the chapter 11 case.

 3   Like the FF GlobalIntelligent M&A, the 2018 Restructuring Agreement requires that any proceeds
     of the transfer after the satisfaction of YT’s liabilities are used to purchase the Option/Redemption
 4
     Shares.
 5             In connection with its aggressive enforcement tactics, SLC sought to and did obtain

 6   injunctions against FF Top and FF Peak in the British Virgin Islands (“BVI”), which restrict them
     from disposing of their respective equity interests in FF GlobalIntelligent (collectively, the “BVI
 7
               Injunctions”). Because of YT’s financial condition, he was unable to challenge these
 8   injunctions, which were originally obtained on an ex parte basis. YT believes that a challenge to the

 9   BVI Injunctions after Plan confirmation will succeed. Further, YT may seek recognition of the
     chapter 11 case in a BVI court. Like the United States, BVI has adopted the UNCITRAL Model
10
     Cross-Border Insolvency Law. can be dissolved under BVI law on numerous grounds, including:
11   (i) the BVI proceedings and the BVI Injunctions have not been validly served on YT; and (ii) SLC

12   is misusing the BVI Injunctions, a provisional remedy which confers no security interest, to obtain
     an unfair advantage over other similarly situated creditors in this chapter 11 case. There is a clear
13
     legal basis for each of the above grounds in BVI law.
14             A fundamental requirement for a freezing order is that the claimant establishes, by solid

15   evidence, a real risk of dissipation7. Further, this requirement must continue to be satisfied for the order
     to be properly maintained. If there is a change in circumstances that removes a risk of dissipation, a
16
     freezing order should be discharged. A common example of this is where, in an insolvency context,
17   the affairs of the company come under the supervision or control of the court or an independent office

18   holder8. Here, YT is subject to the control of the Court, supervision by the Office of the United States
     Trustee, and oversight of the Creditor’s Committee. A freezing order does not confer on the claimant
19
     a pre-trial attachment or any form of security9. It does not confer on a claimant any form of preference
20   or priority in relation to other creditors. It should not interfere with any insolvency process or steps

21   taken by a trustee in bankruptcy in the interests of all creditors.

22   7 Irish Response Limited v Direct Beauty Products Limited [2011] EWHC 37 (QB); Candy v Holyoake
     [2017] EWCA Civ 92; Yukos CIS Investments Limited and Anor v Yukos Hydrocarbons Investments
23   Limited.
     8 Capital Cameras Ltd v Harold Lines Ltd and others [1991] 1 WLR 54.

24   9 Cretanor Maritime Co Ltd v Irish Marine Management Ltd [1978] W.L.R. 966; Flightline Ltd v


     Edwards[2003] 1 W.L.R. 1200; Gee on Commercial Injunctions, Sixth Edition, 3-001.
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                The BVI Injunctions may be challenged under Part XIX of the Insolvency Act 2003
 2   (specifically, sections 467 and 470), which is in force in the BVI10. This affords the BVI courts

 3   broad discretion to grant relief to a foreign representative who acts in furtherance of a foreign
     insolvency proceeding11.
 4
                Under the Order Granting Debtor’s Motion Authorizing Robert Moon to Act as Foreign
 5   Representative Pursuant to Section 1505 of the Bankruptcy Code [Docket No. 376], Robert Moon is

 6   authorized to act as the foreign representative of the Debtor in any judicial or other proceeding in the
     BVI and Cayman Islands, and may act in any way permitted by applicable foreign law, including,
 7
     without limitation, (a) seeking recognition of the chapter 11 case in any BVI or Cayman Islands
 8   proceeding; (b) requesting that the BVI or Cayman Islands courts lend assistance to this Court in

 9   protecting the property of the Debtor’s estate; and (c) seeking any other appropriate relief from the
     BVI or Cayman Islands courts that Mr. Moon deems just and proper in furtherance of the protection
10
     of the Debtor’s estate. After retention of BVI counsel, the foreign representative, acting on behalf of
11   the Debtor’s estate, intends to apply to discharge the BVI Injunctions before the Effective Date.

12   Depending on the extent and nature of oppositions to the application, YT estimates that legal fees will
     range from $50,000 to $150,000.
13
                This process is likely to take about three months from the filing of the application to
14   discharge of the BVI Injunctions, unless it is expedited for cause.

15              The Plan becomes effective upon the satisfaction of certain conditions, including the
     Confirmation Order becoming a Final Order, the establishment of the Trust, and the effectiveness of
16
     the amendment of the PT LLCA. Importantly, the dissolution of the BVI Injunctions, however, are not
17   necessary for is not a condition precedent to the Plan to becomebecoming effective. Under the Plan,

18   the managing members of Pacific Technology have agreed to amend the PT LLCA to issue new units
     of Pacific Technology to the Trust, entitling the Trust to 100% of the economic value of the Trust FF
19
     GlobalIntelligent Shares, and grant the Trust a fully paid-up warrant to receive the Trust FF
20   GlobalIntelligent Shares consistent with the FF GlobalIntelligent Transfer Right (as defined below)

21   with no further action by YT, exercisable upon

22   10   Virgin Islands Statutory Instrument 2004 No. 47.
     11   BVIHC (COM) 80 of 2013 Re C (a bankrupt).
23

24
     the dissolution of the BVI Injunctions. In doing so, the economic benefits of the Trust FF
25   GlobalIntelligent Shares and Preferred PT Units can be transferred to the Trust immediately upon
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     the effective date of the Plan. After the BVI Injunctions are dissolved, the warrant may be exercised
     and the Trust will own the Trust FF GlobalIntelligent Shares directly.

            4.    Funding of the FF Group
            The FF Group has received approximately $1.7 billion in funding—$900 million in initial
     funding, and, as discussed above, $800 million from Season Smart. The $900 million of funding
     consisted of YT’s $613 million in paid-in capital contributions to the FF Group and $324 million in
     loans made to the FF Group during 2015 and 2016 that were guaranteed by YT (the “Pre-A Loans”).
     The Pre-A Loans are disclosed in the “Summary of Selected Financial Information of the FF Group”
     attached as Exhibit D to this Disclosure Statement. As of July 31, 2019, the FF Group had cash and
     restricted cash of approximately $6.8 million, and a working capital deficit of $661.2 million.
            On April 29, 2019, FF entered into a term loan agreement for a principal amount of $15
     million with BL Mobility Fundco, LLC, as the lender, and Birch Lake Fund Management (“Birch
     Lake”), as the agent and collateral agent. The loan matured and was paid off on September 30, 2019.
     The loan was guaranteed by Smart King (n/k/a FF GlobalIntelligent) and several of its subsidiaries
     in the U.S., the Cayman Islands, and Hong Kong, and was secured by a first lien on substantially all




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             tangible and intangible assets of the borrowers and guarantors. Proceeds of the loan were
     used to pay down existing liabilities and fund the working capital needs of FF. The loan bore interest
     at 15.5%, and a default rate of 21.5%. The loan was subject to a liquidation preference premium of
     up to 63.5% of the original principal amount, of which the borrowers had the right to convert 30%
     of the liquidation preference premium into equity interests of Smart King (n/k/a FF
     GlobalIntelligent).
            On April 29, 2019, FF entered into a note purchase agreement (“NPA”) with certain
     purchasers, U.S. Bank National Association, as the notes agent, and Birch Lake, as the collateral agent.
     The notes are guaranteed by Smart King (n/k/a FF GlobalIntelligent) and several of its subsidiaries in
     the U.S., Cayman Islands, and Hong Kong. The aggregate principal amount of notes that may be
     issued under the NPA is $200 million. As of the date of this Disclosure Statement, a total of $45




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     million of notes were issued at a 10% interest rate, and are collateralized by a first lien, with second
 2   payment priority, on substantially all tangible and intangible assets of the borrowers and guarantors.

 3   The original maturity date of the notes was October 31, 2019, however, FF obtained an extension of
     the maturity date to May, 31, 2020. The FF Group is currently seeking new bridge financing, partly
 4
     to pay off the existing notes. However, there is no assurance that any of the funding will be available
 5   on terms that are acceptable to FF or at all. In the event that FF fails to obtain an extension, and/or

 6   fails to secure capital to pay off the note, and the lender decides to foreclose on the collateral, the FF
     Group’s business and operations will be materially disrupted, and there is no assurance the FF Group
 7
     can continue as a going concern.
 8           In addition to the loans described above, a loan in the principal amount of $10 million was

 9   provided by Season Smart in connection with the 2018 Restructuring Agreement, which was drawn
     down in January 2019. The loan bears interest at an annual rate of 10% if repaid by June 30, 2019,
10
     and increases to 15% per annum thereafter. The loan matured on June 30, 2019 and Smart King
11   (n/k/a FF GlobalIntelligent) is currently in default. As of the date of this Disclosure Statement, the

12   full principal amount of $10 million remained outstanding.

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            5.       FF Group’s Management
 2
            The following table sets forth information regarding the FF Group’s executive officers as
 3
     of the date of this Disclosure Statement.
 4
     Directors and Executive Officers Age Position/Title
 5   Yueting Jia            46  Founder and Chief Product and User Officer,
                               Director
 6   Dr. Carsten Breitfeld  56  Global Chief Executive Officer
     Matthias Aydt          62  Vehicle Chief Engineer, Director
 7   Jiawei Wang            29  VP of Global Capital Markets, Director
     Chaoying Deng          61  VP of Government Affairs, Director
 8   Chui Tin Mok           45  EVP of Global UP2U, Director
     Jarret Johnson         52  Acting General Counsel, Secretary
 9   Robert A. Kruse, Jr.   60  SVP of Product Execution (Engineering and
                                Manufacturing)
10   Benedikt Hartmann      60  SVP of Global Supply Chain

11          YT is the founder of the FF Group and a Director of FF GlobalIntelligent, and served as the
            Chief
12
     Executive Officer of the FF Group from December 2017 until September 2019. Currently, YT
13
     serves as FF’s Chief Product and User Officer, overseeing product definition, user experience, and
14
     the overall implementation of the internet eco-system model. YT received his master’s degree in
15
     Cooperation Management from Shan Xi University.
16
            Dr. Carsten Breitfeld has served as FF’s Global Chief Executive Officer since September
17
     2019. Dr. Carsten Breitfeld is a veteran in the automotive industry, and had served at positions with
18
     BMW Group for approximately 20 years and served as its Group Vice President and Head of the
19
     i8 Vehicle Program, which gave birth to the i8 luxury plug-in hybrid model. From April 2016 to
20
     April 2019, Dr. Breitfeld was the Chief Executive Officer and Chairman of the Board of BYTON,
21
     a Chinese electric vehicle startup cofounded by Dr. Breitfeld and having its operations in multiple
22
     countries. Dr. Breitfeld received his Ph.D. degree in Mechanical Engineering from the University
23
     of Hannover.
24
            Mr. Matthias Aydt has served as FF’s Vehicle Chief Engineer since July 2017 and a director
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     of FF GlobalIntelligent since February 2019. Prior to joining FF in July 2016, Mr. Aydt served as
     the vice

     president of Qoros Auto from 2015 to 2016, various positions at Magna Steyr from 2006 to 2014,

     including Branch Manager from 2011 to 2014 and Head of Project Management from 2010 to 2011,




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 1
     Managing Director of IVM automotive, Senior Manager at Wilhelm Karmann, Vice President at
 2   CTS Fahrzeug-Dachsystem GmBG, and an engineer at Porsche. Mr. Aydt received his Bachelor of

 3   Science degree from Fachhochschule Ulm - Hochschule für Technik.
            Mr. Jiawei Wang has served as FF’s Vice President of Capital Markets since May 2018, and a
 4
     director of FF GlobalIntelligent since December 2017. Prior to joining FF, Mr. Wang co-founded
 5   Galaxy Global Inc. in September 2013 and worked as a private equity analyst at Knights Investment

 6   Group from December 2013 to February 2014. Mr. Wang received his bachelor degree’s in Finance
     from Central University of Finance and Economics.
 7
            Ms. Chaoying Deng has served as FF’s Vice President of Government Affairs since November
 8   2019, and a director of FF GlobalIntelligent since December 2017. Prior to joining FF in 2014, Ms.

 9   Deng served as the Chief Executive Officer of Red Dragonfly Entertainment from November 2010 to
     2014, Vice President of Business Development at Pipeline Micro Inc. from March 2008 to July 2010,
10
     Vice President and General Manager of Quantum Leap Interactive from November 2006 to December
11   2007, and the Director of Global Accounts Business at Fujitsu (China) Holdings Co., Ltd. from October

12   2001 to August 2007. Ms. Deng received her Associate of Science Degree in Electrical Engineering
     from Northwest University of Engineering and Master’s degree in Business Administration from
13
     Hawaii Pacific University.
14          Mr. Chui Tin Mok has served as FF’s Executive Vice President of UP2U since January

15   2019, and a director of FF GlobalIntelligent since February 2019. Prior to joining FF, Mr. Mok
     founded 18Financial Group Limited in July 2017. From December 2013 to July 2017, Mr. Mok
16
     served as the group Chief Marketing Officer of LeEco from December 2013 to July 2017, Global
17   Vice President of Sales and Marketing at Meizu Technology Co., Ltd. from September 2010 to

18   October 2013, and General Manager at Skyway (Woow Digital) Technology Ltd. from March 2008
     to September 2010. Mr. Mok received his higher diploma in Building Service Engineering from
19
     Hong Kong Institute of Vocational Education, and his Executive Master’s degree in Business
20   Administration from International Business Academy of Switzerland.

21          Mr. Jarret Johnson has served as FF’s Acting General Counsel since November 2018 and the
     Secretary of FF since September 2018. Prior to joining FF in May 2018, Mr. Johnson has served
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     as the Assistant General Counsel at Toyota Financial Services from April 2003 to September 2017,
 2   and Vice President and General Counsel at USBX from October 2000 to April 2003. Mr. Johnson

 3   received his bachelor’s degree in Industrial Engineering and Management from Oklahoma State
     University, and his Juris Doctor from Loyola Law School.
 4
            Mr. Robert Kruse, Jr. joined FF as Senior Vice President, Product Execution (Engineering
 5   and Manufacturing) in November 2019. Mr. Kruse will be responsible for leading the entire product

 6   development, engineering, and manufacturing teams at FF. An automotive industry veteran with over
     30 years of experience at GM and other consulting and start-up companies, Mr. Kruse recently served
 7
     as CTO at both Karma and Qoros to lead product development and advanced technology. Mr. Kruse
 8   was the Co-Founder and Co-Director of the GM/University of Michigan Advanced Battery Coalition

 9   for Drivetrains, a partnership created to accelerate the design and testing of advanced batteries for
     electric vehicles. Mr. Kruse earned a M.S. in Management from the Massachusetts Institute of
10
     Technology as a Sloan Fellow, a B.S. in Electrical Engineering from the Missouri University of
11   Science and Technology and serves on its Engineering Advisory Board.

12          Mr. Benedikt Hartmann joined FF as Senior Vice President of the Global Supply Chain in
     January 2020. Mr. Hartmann leads the complex undertaking of sourcing, acquisition, and delivery of
13
     capital equipment, materials, vehicle parts, production line, and facilities. Mr. Hartmann has over 30
14   years of experience at BMW, where he led several purchasing and supplier initiatives, including the

15   successful launches of BMW’s 5-series, X3, 3-series, and X2. Furthermore, Mr. Hartmann has a
     strong professional background in China, where he was responsible for purchasing and supplier
16
     quality of BMW-Brilliance (BBA) for several years. Mr. Hartmann earned a Master’s degree in
17   Economics and Engineering from the Karlsruhe Institute of Technology (KIT) in Germany.

18          6.     Future Equity Incentive Plan
            In order to align incentives and reward YT for achieving the FF Group’s strategic goals, it
19
     is anticipated that the Future Equity Incentive Plan will be adopted to grant certain stock-based
20   awards to or at the direction of YT upon the achievement of financial targets upon a Distribution

21   Event (as defined below), provided that the stock-based awards granted to YT will not exceed the

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     awards set forth below without the consent of the Trustee (which consent shall not be unreasonably
 2   withheld). The total available equity awards under the Future Equity Incentive Plan will be as

 3   follows:

 4   FF GlobalIntelligent Total Equity
                    Value                        $5,000               $10,000             $21,000
 5        Value (millions of USD)
     Percentage of equity to be issued              2%            Additional 3%        Additional 3%
 6         Article 6.2(k) of the Plan provides that nothing in the Plan shall be construed as to prohibit or

 7   restrict in any manner any subsequent equity investment or equity incentive in FF GlobalIntelligent
     or any of its subsidiaries by any person; provided that in no event shall any equity incentive program
 8
     adopted by FF GlobalIntelligent or any other direct or indirect subsidiary of Pacific Technology grant
 9   YT any equity interest greater than, or on terms more favorable than, the above equity awards without

10   the consent of the Trustee (which consent shall not be unreasonably withheld).

11          7.    The FF Group’s Strategy
            The FF Group aims to capture high-value users through its transformative products,
12
     technologies, and sharing platforms, while cultivating its shared intelligent mobility ecosystem to
13   provide an ultimate user experience. In order to achieve its mission, the FF Group will continue to

14   focus on the following initiatives:

15                  a.       Secure Substantial Financing
            It is capital intensive to bring a visionary electric vehicle to the market—from design to
16   engineering to development to manufacturing. The FF Group intends to secure long-term financing

17   to focus its resources on the execution of its business plan, while in the interim, obtaining new bridge
     debt financing to sustain its engineering efforts and operations. The FF Group intends and is currently
18
     seeking to use a combination of equity financing and bridge debt financing to pay off its existing
19   debts. See “Management’s Discussion and Analysis of Financial Condition and Results of Operations

20   of the FF Group,” attached as Exhibit C to the Disclosure Statement.
            The FF Group is seeking to raise $850 million through the issuance of Series B preferred
21
     shares (the “Series B Equity Financing”). The FF Group intended to close the Series B Equity
22   Financing by March 2020. However, since the filing of YT’s chapter 11 case, unsubstantiated

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 1
     allegations in certain pleadings in the chapter 11 case have created confusion and made it
 2   increasingly difficult for potential financing sources to commit to any equity financing. The FF

 3   Group plans to restart its financing initiatives in connection with confirmation of the Plan. See
     Article VI.B of this Disclosure Statement entitled “Risks Related to the FF Group and its Business
 4
     that may Adversely Affect the Trust Interests.”
 5
                   b.      Kick-Start Production of the FF 91
 6           The FF 91 represents a bold new breed of electric mobility that combines high performance,
     precise handling, the comfort of an ultra-luxury passenger vehicle, and a unique collection of
 7
     intelligent internet features. It leverages the variable platform architecture (“VPA”) structure
 8   designed and engineered in-house, which is a flexible powertrain system featuring a monocoque

 9   vehicle structure in which the chassis and body are an integrated form. This integrated platform
     provides measurable improvements in overall vehicle rigidity, safety, and handling. It features a
10
     multi-motor configuration and an all-wheel drive system. With 3 electric motors (one in the front
11   and two in the rear), the FF 91 is designed to be expected to produce 1,050 horsepower and 12,510

12   Newton meters (Nm) of torque to all four wheels, which enables the FF 91 to accelerate from zero
     to 60 mph in 2.39 seconds. In addition, the FF 91’s all-wheel drive system offers greater traction,
13
     control, and precise power distribution. This technology delivers superior acceleration and safety. It
14   leverages rear-wheel steering for agile cornering, allowing drivers to confidently execute maneuvers.

15           Bringing the FF 91 to the market is critical to sharing the FF Group’s vision with the world.
     The FF Group has finished designing and engineering the FF 91 and has identified component
16
     sourcing for virtually all of the parts required for production of the FF 91, other than the front steering
17   gear. The FF Group is currently preparing to execute a plan to refurbish its manufacturing facility in

18   Hanford, California, and obtain the equipment necessary to support the production of the FF 91. As
     of the date of this Disclosure Statement, 90% of the factory equipment was in the buy-off stage at
19
     suppliers’ facilities. The FF Group expects to start production of the FF 91 within nine months after
20   completion of the Series B Equity Financing, and to deliver approximately 100 units to the market

21   before the IPO of its shares (targeted for as early as early-to-mid-2021). Assuming

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 1
     the Series B Equity Financing can be completed, the FF Group intends to complete the build-out
 2
     of the Hanford, California, manufacturing facility, and once fully built-out the FF Group estimates
 3
     an annual production capacity at the Hanford, California manufacturing facility for the FF 91 of up
 4
     to approximately 10,000 cars per year beginning in 2021. In order to ensure the beginning of the
 5
     production of the FF 91 by its earliest start-date of December 2020, the FF Group has set the
 6
     following target timeline, assuming it closes the Series B Equity Financing by April 2020:
 7
     •   launched the User Experience Program in January 2020, or user-planning-to-user (“UP2U”),
 8       which is a process designed to involve users directly and loop in their feedback at all points of
         the product lifecycle, including design, research & development, manufacturing,
 9       communications, sales, after sales, and charging;

10   •   build out the Hanford, California manufacturing facility beginning no later than two months
         after the closing of the Series B Equity Financing;
11
     •   settle all payables due to suppliers and reengage such suppliers no later than April 2020; restart
12       the FF 91 pre-production builds for final testing three months after the closing of the Series B
         Equity Financing;
13
     •   complete testing and validation, including self-certification of United States Federal Motor
14       Vehicle Safety Standards (“FMVSS”) and National Highway Traffic Safety Administration
         (“NHTSA”) bumper standards, compliance, and manufacturing of the FF 91 nine months after
15       the closing of the Series B Equity Financing; and

16   •   deliver the first 100 units of the FF 91 to the market until fifteen months after the closing of the
         Series B Equity Financing.
17
             In addition, as the FF Group views the PRC as an important production base for its future
18
     products to be launched and an essential market for the FF Group’s development and future growth,
19
     the FF Group is planning to build up its own manufacturing capability in the PRC through its joint
20
     venture as part of FF Group’s dual-home market strategy.
21                  c.      Hire Talent

22            In September 2019, FF hired a new global Chief Executive Officer, a BMW AG veteran,

23   Dr. Carsten Breitfeld, to facilitate bringing the FF Group’s vision to fruition. In November 2019,

24   FF hired Robert A. Kruse, Jr., an automotive industry veteran with over 30 years of experience at

25   GM and other consulting and start-up companies, as Senior Vice President, Product Execution

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     (Engineering and Manufacturing). Additionally, in January 2020, FF hired Benedikt Hartmann,

     who has over 30 years of experience at BMW where he led several purchasing and supplier

     initiatives, as Senior Vice President of the Global Supply Chain organization. Assuming the FF




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 1
     Group is able to complete the Series B Equity Financing, the FF Group intends to hire additional
 2   employees, particularly in the area of supply chain, user design and engineering, manufacturing,

 3   and other functions, to expand its talent pool and drive technological innovation.

 4                 d.     Sales Efforts
            The FF Group intends to establish an on-line and off-line sales network. A prospective buyer
 5   may place orders directly through the FF Group’s mobile application or directly at the off-line

 6   stores, and be serviced through the FF Group’s self-owned stores that the FF Group plans to
     establish in certain key markets or the FF Group’s partnership stores that the FF Group plans to
 7
     open with its franchise partners. The FF Group also launched its User Experience Program, or UP2U
 8   in January 2020, in order to engage prospective buyers and users.

 9          8.    Legal Proceedings and Vendor Trust
            The FF Group has been involved in litigation with contractors and suppliers due to cash
10
     constraints it has historically faced. As part of FF’s financing efforts and to regain support from its
11   contractors and suppliers, on April 29, 2019, the FF Group established the Faraday Vendor Trust (the

12   “Vendor Trust”) securing past due payables up to $150 million. The Vendor Trust is being managed
     by Force Ten Partners as the vendor trustee. All obligations due under the Vendor Trust are
13
     collateralized by a first lien, with third payment priority, on substantially all of the FF Group’s
14   tangible and intangible assets. The FF Group intends to satisfy the payables of the suppliers

15   participating in the trust with the Series B Equity Financing that it intends to raise. The participating
     vendors agreed not to bring legal claims for overdue payment and to continue to cooperate with the
16
     FF Group. Also, most of the vendors agreed to resume supply once the FF Group has secured
17   additional funding. All participating vendors are required to forbear from exercising remedies on any

18   payables not tendered to or accepted by the Vendor Trust. As of the date of this Disclosure Statement,
     vendors owed aggregate payables of approximately $141 million have agreed to participate in the
19
     Vendor Trust, including several major vendors who have filed lawsuits against the FF Group. The
20   FF Group estimates that the participating payables constitute all past due payables of approximately

21   80% of the FF Group’s suppliers.

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 1
                 9.     YT’s Interests
 2               As described above, in connection with FF’s Partnership Program, YT retains the economic

 3   interest with respect to all of the membership interests of West Coast. Based on the valuation of Smart
     King (n/k/a FF GlobalIntelligent) as of December 31, 2018, the value of YT’s interests in West Coast
 4
     is $862,241,246.67.800,799,999.99.12 YT, through West Coast, has a preferred distribution right in
 5   connection with 30.8% of FF Global’sIntelligent’s equity interest, which is collectively owned by YT

 6   and the management through the Partnership Program. Such right will entitle him to a priority
     distribution of up to $815.7 million (subject to certain adjustments) plus 8% interest per annum, after
 7
     the return of capital to the management (plus 8% interest per annum), a special distribution of 10% of
 8   the remaining amounts and thereafter, a normal distribution of 20% of the balance owned by Pacific

 9   Technology. The remaining equity of FF GlobalIntelligent is owned by Season Smart and the option
     holders and Class A ordinary shareholders under FF Global’sIntelligent’s equity incentive plans.
10
                 Additionally, YT has the right to direct Pacific Technology to direct FF Top to transfer
11   147,058,823 Class B shares of FF GlobalIntelligent currently owned by FF Top, representing 10%

12   of FF Global’sIntelligent’s equity interests, to a creditor trust at the direction of YT.

13   D.          YT’s Other Assets
                 1.     Chinese Assets
14               Chinese authorities have frozen YT’s personal assets located in the PRC. Such assets include

15   (i) approximately $43,619.36 in deposits with various banks, such as China CITIC Bank and China
     Merchants Bank Corporation, (ii) real estate in the PRC worth approximately $4,773,946.48, and
16
     (iii) equity interests worth approximately $221,088,159.86 in various entities, such as Leshi
17   Information Technology Co. Ltd. (delisted) and Scent (Beijing) Technology Co. Ltd. These assets

18   are subject to claims against YT and his ownership of equity interests is subject to the creditor claims
     of those entities.
19

20               YT’s frozen Chinese bank deposits include the following:

21              Institution Name                            Account Type                              Amount
          China CITIC Bank (China)                             Savings                      $13,797.90
          China CITIC Bank (China)                             Savings                      $18,964.20
22        Hua Xia Bank (China)                                 Savings                      $10.89
23   12   The value of YT’s interest in West Coast has been updated to reflect the value of such interest as of the Petition Date.

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           Hua Xia Bank (China)                                Savings             $10.89
 2         China Merchants Bank                                                    $0.76
                                                               Savings
           Corporation
 3         Bank of China (Hong Kong)                                               $10,840.56
                                                               Savings
           Limited
 4         China Minsheng Bank                                 Savings             $5.05
           Shanghai Pudong                                                         Unknown
                                                               Savings
 5         Development Bank
           Shanghai Commercial Bank                            Savings             Unknown
           Bank of Beijing                                     Savings             Unknown
 6         China Everbright Bank                               Savings             Unknown
 7
                 YT’s frozen Chinese real estate interests include the following:
 8
                      Address                                   Value                  Other Information
 9         Room 2003, Unit 4, Block                                                Property has been seized
           6, Area 2 Shuang Hua Yuan                                               by Shanghai High People’s
                                                           $1,145,890.14
10         Nan Li Chaoyang District                                                Court
           Beijing, 100022 China
           Room 2001, Unit 5 Hai Sheng                                             Property has been seized
11         Ming Yuan, No. Yi 36                                                    by Shanghai High People’s
                                                           $3,532,281.69
           Dongcheng District Beijing,                                             Court
12         100027 China
           Room 1602, Block 11,                                                    Pending sale at an auction by
13         Ting Lan Yuan Century                                                   the Chinese Courts
           City, Hangzhou, Andong                            $95,774.65
14         Town Cixi Zhejiang
           Province 315327 China
15
                 YT’s frozen Chinese equity interests include the following:
16
                   Name of Entity                        % of Ownership                      Value
17         Leshi Information                                                       $219,169,850.006219,169,850.
           Technology Co. Ltd.                                 23.08%              0013
18         (delisted)
           Scent (Beijing)                                                         $1,918,309.8671,918,309.8614
19                                                               2.27%
           Technology Co. Ltd.
           Leshi Holding (Beijing) Co.                                             Unknown
20                                                             92.07%
           Ltd.
           Beijing Baile Culture Media                                             Unknown
21         Co., Ltd.                                             99%

22               2.        The Yidao Claims

23               As set forth in the Schedules, YT’s bankruptcy estate may hold claims for fraud, breach of

24   contract, defamation, and/or unjust enrichment, and other potential causes of action against

25   613   Based on share price prior to cessation of trading on April 26, 2019.

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     714   Based on RMB 600 million equity financing transaction in January 2018.




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     Xiaodong Wen (“Wen”) and various entities under his control, including SLC, TWC Group Co.,
 2
     Ltd., Shanghai Zheyun Business Consulting Partnership (Limited Partnership), Beijing Blue Giant
 3
     Real Estate Investment Fund Management Center (Limited Partnership), and Shenzhen Jincheng
 4
     Commercial Factoring Co., Ltd. (collectively, the “Wen Entities”). See Schedules, Schedule A/B,
 5
     Item 33. Through a series of transactions in 2017, after obtaining certain interests of YT and his
 6
     affiliate, the Wen Entities breached their obligations, resulting in hundreds of millions of dollars in
 7
     damages. The Plan contemplates a transfer to the Trust of all interests, claims, and causes of action
 8
     owned by YT (including through any nominee) in connection with Beijing Dongfang Cheyun
 9
     Information Technology Co., Ltd. (the “Yidao Claims”).
10           YT believes that the following events took place and gave rise to his potential claims against

11   the Wen Entities (for the purpose of the following transactions, all amounts are denominated in the

12   Chinese currency Renminbi except where the dollar sign “$” is used):

13   •   Through capital injection and share purchases, YT, through his nominee, accumulated 66.67%
         of the ownership interests in Beijing Dongfang Cheyun Information Technology Co., Ltd.
14       (“Yidao”). Subsequently, YT invested approximately 4 billion in Yidao to facilitate its
         operations.
15
     •   Yidao borrowed 1.4 billion from Zhongtai Chuangzhan on a secured basis with the Leshi
16       building as collateral. Of the 1.4 billion, Yidao lent 1.3 billion to Leshi Holding and kept the
         remaining 0.1 billion to support its operations. Currently, the value of the Leshi building exceeds
17       1.4 billion.

18   •   In 2017, when Yidao faced short-term liquidity issues, YT reached out to Wen for assistance.
         In exchange, Wen hoped to—and later did—become the nominee holder of 66.6% of Yidao’s
19       shares. YT also agreed to gift 5% of Yidao’s outstanding shares to Wen. Importantly, Wen
         stipulated that, upon a successful future capital raise, YT would redeem those shares based on
20       the consideration received from Wen in connection with his assistance to Yidao.

21   •   Yidao successfully completed a new round of financing, including a debt conversion and CITIC
         Bank’s strategic investment of 1.5 billion. At that time, based on valuations in connection with
22       the financing, Yidao’s overall valuation exceeded 7 billion, and the value of the 66.67% of
         Yidao’s shares of which Wen was the nominee was worth at least 4.5 billion. However, Wen
23       breached his promise and refused to return the shares to YT. In order to reclaim the Yidao shares,
         YT negotiated in good faith with Wen and considered multiple proposals from Wen. Eventually,
24       the Wen Entities promised to release the Leshi Group from a 1.3 billion claim that the Wen
         Entities had against the Leshi Group. The Wen Entities also promised to extend a loan in the
25       amount of 200 million to the Leshi Group. Nonetheless, Wen has continued to refuse to return

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        the Yidao shares of which he was a nominee. Wen has also not released the 1.3 billion claim or
        made the 200 million loan.
             In addition, YT believes that Wen directed SLC to commence an arbitration proceeding

     against YT on account of a $10 million debt obligation. Upon obtaining the arbitration award, the




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     Wen Entities sought enforcement of the award in the United States in an attempt to foreclose on and
 2   potentially liquidate YT’s interest in FF GlobalIntelligent in a fire sale, which would ultimately

 3   destroy the value of FF GlobalIntelligent at the expense of all stakeholders. Pursuant to Article
     6.2(b) of the Plan, the Yidao Claims shall be transferred to the Trust on the Effective Date.
 4
     E.      Certain Relationships, Related Transactions, and Former Affiliates
 5
             1.     Affiliate Notes Payable
 6           As disclosed in the “Summary of Selected Financial Information of the FF Group” attached
     as Exhibit D, certain entities affiliated or formerly affiliated with YT or the FF Group have made
 7
     loans to the FF Group, including $278.9 million in Pre-A Loans. Most of these loans originated from
 8   transactions where the affiliate or former affiliate borrowed funds in Renminbi from a third party and

 9   then lent the funds to the FF Group in United States Dollars. In two instances, an affiliate borrowed
     from a third party lender and then lent to another affiliate or former affiliate, which then lent to the FF
10
     Group in United States Dollars. Because of the obligations of each of these parties to repay the third
11   party lenders as well as their financial creditors (and loans), neither YT nor the FF Group is expected

12   to recover any value if and when the notes are repaid. In addition, as discussed below, as of June 30,
     2019, FF owed Ocean View $4.4 million.
13
             2.      Ocean View
14           Prior to moving to California in 2017, YT began investing in real estate in the California

15   market. In order to make these investments, YT established Ocean View in August 2014 as a vehicle
     to purchase and hold various real properties located on Marguerite Drive in Rancho Palos Verdes,
16
     California, a residential area near FF’s headquarters in Gardena, California. YT envisioned that these
17   properties would be used as a venue for offsite meetings and temporary corporate housing

18   accommodations for executives of the FF Group. YT owned Ocean View through Success Pyramid
     Ltd. (“Success”). YT established Success on November 9, 2007 and paid $50,000 for 50,000 shares
19
     of Success.
20           In accordance with YT’s investment strategy, during 2014 and 2015, Ocean View purchased

21   real property located at 7, 11, 15, 19, and 91 Marguerite Drive, Rancho Palos Verdes, California
     (collectively, the “Marguerite Properties”). To purchase the real properties located at 7, 11, and 15
22

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     Marguerite Drive, Ocean View borrowed and later repaid $12 million from the FF Group. In
 2   connection with Ocean View’s purchase of real property located at 19 Marguerite Drive, YT

 3   borrowed $7.4 million from Shanghai Yuetian Ltd. and contributed the same amount to Ocean View
     as paid-in capital. Additionally, in connection with the purchase of real property located at 91
 4
     Marguerite Drive, Ocean View borrowed $7.5 million from LeSoar Holdings Limited (“LeSoar”),
 5   an entity previously controlled by YT.

 6          YT had hoped that this series of real estate investments would assist in raising capital and
     attracting new talent to the FF Group. In fact, when YT elected to transition from his role as the
 7
     Chief Executive Officer of the FF Group in September 2019 and hired Dr. Carsten Breitfeld as his
 8   successor, part of the consideration for Dr. Breitfeld to accept the CEO position was that he would

 9   occupy one of the Marguerite Properties.
            In connection with its purpose as an investment vehicle, Ocean View made numerous loans
10
     to FF to support its operations. In 2017, with loans from a third-party lender, Ocean View refinanced
11   its original loans and entered into certain transactions through which it both borrowed and made

12   loans to certain affiliated and non-affiliated entities, including loans totaling approximately $21.4
     million to FF (most of which has since been repaid). As a result, Ocean View’s assets and liabilities
13
     increased and had a net asset value of approximately $6.5 million as of December 8, 2017.
14          In December 2017, FF began struggling with liquidity issues. YT decided to monetize his

15   equity in Success by selling his indirect interests in Ocean View subject to a leaseback arrangement
     that would enable YT to continue living in one of the Marguerite Properties and sublease certain
16
     properties to provide him with liquidity. In exchange for the net asset value of approximately $6.5
17   million, YT received a promissory note in the amount of approximately $2.4 million (which was paid

18   in full by the purchaser in 2018) and an assumption of his liabilities in the amount of approximately
     $4.1 million (including the assumption of the lease agreements with a value of approximately $2.1
19
     million and the assumption of YT’s loan from Ocean View in the amount of $2 million). The Ocean
20   View transaction enabled YT to raise cash to support his family in the PRC and provided him a source

21   of income from the subleases to pay his increasing personal legal

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 1
     expenses due to certain creditors bringing enforcement actions against him in the United States.
 2          After selling Success in December 2017, YT no longer has any ownership or beneficial interest

 3   in the Marguerite Properties or Ocean View. Furthermore, YT has had no involvement in Ocean View’s
     business affairs except for the leasing and subleasing of certain properties pursuant to rental agreements
 4
     with Ocean View and Warm Time. Pursuant to that certain rental agreement dated as of November 30,
 5   2017, Ocean View leased the Marguerite Properties to YT for a nonrefundable fixed amount of

 6   $2,102,905.40 for the first four-year period (which was paid by the purchaser of Success as part of the
     consideration for the sale). Starting from the fifth year (2022), YT is obligated to pay an annual rent of
 7
     $525,726.35 with a three percent (3%) annual increase. On January 1, 2019, pursuant to a residential
 8   lease and addendum thereto, YT subleased the Marguerite Properties (except for 91 Marguerite Drive)

 9   to Warm Time for $43,810 per month from January 1, 2019 to December 31, 2023. Warm Time directly
     paid certain of YT’s expenses related to the Marguerite Properties and has in turn leased two of the
10
     Marguerite Properties to FF on a full service basis, including hospitality services (i.e., food service,
11   housekeeping, insurance, and utilities).

12           Although no longer an affiliate of YT or FF, Ocean View continues to have loans to and
     from FF and its affiliates. As of June 30, 2019, Ocean View’s balance sheet shows approximately
13
     $27.9 million value in real property, $27.3 million in loans receivable, and $51.6 million in total
14   liabilities. As of June 30, 2019, FF owes Ocean View approximately $4.4 million and YT owes

15   Ocean View approximately $3.1 million.

16           3.    LeSoar
             LeEco established LeSoar in 2014 to hold certain investments. LeSoar relied on financing
17   from LeEco for those investments. In 2014, LeSoar led Series C equity financing for Lucid Motors,

18   Inc. and invested approximately $67 million in 10,904,079 shares of Lucid. Another investor, a
     Chinese state owned automobile company, also participated in the Series C equity financing. This
19
     investor’s position was subsequently acquired by Blitz Technology, which coordinated with LeSoar
20   to maximize the value of their respective investments. In September 2017, LeSoar transferred

21   4,292,861 shares of Lucid in satisfaction of certain of its parent company’s liabilities in the amount of
     $59.4 million. During 2017, in light of LeEco’s financial situation, LeEco decided to maximize
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     the value of its investment in Lucid by transferring LeSoar subject to an assumption of liabilities.
 2   On October 20, 2017, LeSoar was sold for nominal consideration to a third party in exchange for

 3   the assumption of LeEco Group’s $71.6 million in liabilities. YT is informed that, after the sale,
     LeSoar transferred 4,906,707 shares of Lucid in satisfaction of its former parent company’s
 4
     obligations. YT is further informed that, after such transfer, LeSoar had transferred substantially all
 5   of its Lucid shares.

 6                                                    III.

 7                                       THE CHAPTER 11 CASE

 8   A.     Voluntary Petition
            On October 14, 2019 (the “Petition Date”), YT commenced the chapter 11 case by filing a
 9   voluntary petition for relief under chapter 11 of the Bankruptcy Code. YT has continued, and will

10   continue until the Effective Date, to operate as a debtor in possession.

11   B.     Retention of Advisors for the Debtor
            YT has retained the following professional firms to assist with his chapter 11 case: (i)
12   Pachulski Stang Ziehl & Jones LLP, as bankruptcy counsel; (ii) O’Melveny & Myers LLP, as special

13   corporate, litigation, and international counsel; (iii) PQBDN LLC, as financial advisor; and (iv) Epiq
     Corporate Restructuring, LLC, as the Voting Agent and Noticing and Claims Agent.
14
     C.     The Creditors’ Committee
15          On October 25, 2019, the U.S. Trustee appointed the Official Committee of Unsecured

16   Creditors (the “Creditors’ Committee”) in this chapter 11 case pursuant to section 1102(a)(1) of the
     Bankruptcy Code [Docket No. 45]. The Creditors’ Committee consists of the following members:
17
     (i) Ping An Bank., Ltd. Beijing Branch; (ii) China Minsheng Trust Co., Ltd; (iii) Shanghai Leyu
18   Chuangye Investment Management Center LP; (iv) Jiangyin Hailan Investment Holding Co., Ltd;

19   and (v) SQ.
            The Creditors’ Committee has retained the following professional firms: (i) Lowenstein
20
     Sandler LLP, as bankruptcy counsel; (ii) Polsinelli LLP, as California co-counsel; and (iii) Alvarez
21   & Marsal North America, LLC, as financial advisor.

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     D. Claims Process and Bar Date
 2
               On October 17, 2019, YT filed his (i) Schedules identifying the assets and liabilities of his
 3
     estate and (ii) Statement of Financial Affairs [Docket No. 28].
 4
                On November 13, 2019, the Bankruptcy Court entered an order [Docket No. 87] (the “Bar
 5
          Date Order”) establishing the deadlines for the filing of proofs of claim in this chapter 11 case.
 6
     These dates are as follows:
 7
     •     the deadline for creditors (other than governmental units and certain other parties excused from
 8         filing proofs of claim under the Bar Date Order) to file proofs of claim against the Debtor is
           January 24, 2020, at 5:00 p.m. (ET) (the “General Bar Date”);
 9
     •     the deadline for governmental units to file proofs of claim against the Debtor is April 13, 2020,
10         at 5:00 p.m. (ET);

11   •     a bar date for claims amended or supplemented by an amendment to the Schedules by the later
           of (a) the General Bar Date; and (b) the date that is twenty-one (21) days after the date that
12         notice of the applicable amendment to the Schedules is served on the claimant; and

13   •     a bar date for any claims arising from or relating to the rejection of executory contracts or
           unexpired leases, in accordance with section 365 of the Bankruptcy Code by the later of (a) the
14         General Bar Date; (b) the date that is thirty (30) days after the entry of the order authorizing the
           rejection of the executory contract or unexpired lease; and (c) any date that the Bankruptcy Court
15         may fix in the applicable order approving such rejection.
               YT provided notice of the bar dates above as required by the Bar Date Order. Approximately
16
         199 proofs of claim were filed by the General Bar Date, asserting approximately $7.9 billion in
17
     claims against the Debtor.
18
     E. Venue Transfer
19
               On November 13, 2019, SLC filed Shanghai Lan Cai Asset Management Co, Ltd.’s Motion
20
         (I) to Dismiss the Debtor’s Chapter 11 Case or, Alternatively, (II) to Transfer Venue to the Central
21
         District of California [Docket No. 89], seeking to dismiss the Debtor’s chapter 11 case as a bad
22
         faith filing or in the alternative transfer venue of the chapter 11 case to the Central District of
23
         California. On December 18, 2019, Judge Karen B. Owens of the United States Bankruptcy Court
24
         for the District of Delaware transferred the chapter 11 case to the United States Bankruptcy Court
25
          for the Central District of California based on the interests of justice due to, among other things,
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      that the Debtor resides in California and FF, on which the success of this chapter 11 case depends,

     is located in California.




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 1
            On February 21, 2020, SLC filed the Motion to Dismiss the Debtor’s Chapter 11 Case by
 2   Creditor Shanghai Lan Cai Asset Management Co, Ltd. [Docket No. 358] (the “Motion to Dismiss”),

 3   which re-asserts the arguments made by SLC in its original motion to dismiss the chapter 11 case.
     YT intends to vigorously object to SLC’s latest motion to dismiss, which is On March 3, 2020, YT
 4
     filed the Debtor’s Opposition to Motion to Dismiss the Debtor’s Chapter 11 Case by Creditor
 5   Shanghai Lan Cai Asset Management Co, Ltd. [Docket No. 412], where he vigorously objected to

 6   the Motion to Dismiss and argued in favor of moving forward with confirmation of the Plan as
     expeditiously as possible. On March 3, 2020, the Creditors’ Committee filed The Official Committee
 7
     of Unsecured Creditors’ Opposition to the Motion to Dismiss the Debtor’s Chapter 11 Case Filed
 8   by Shanghai Lan Cai Asset Management Co. Ltd. [Docket No. 411]. On March 10, 2020, SLC filed

 9   Shanghai Lan Cai Asset Management Co, Ltd.’s Reply in Support of Motion to Dismiss Debtor’s
     Chapter 11 Case [Docket No. 432]. The Motion to Dismiss is currently scheduled to be considered
10
     by the Bankruptcy Court on March 19, 2020 at 9:30 a.m. (PT), and will continue moving forward
11   with confirmation of the Plan as expeditiously as possible.

12   F.     The UST’s Motion for Appointment of a Chapter 11 Trustee
            On December 17, 2019, the United States Trustee for the District of Delaware filed the
13
     United States Trustee’s Motion for an Order Directing the Appointment of a Chapter 11 Trustee
14   [Docket No. 171] (the “Trustee Motion”). On January 16, 2020, the United States Trustee for the

15   Central District of California voluntarily dismissed the Trustee Motion without prejudice [Docket
     No. 216].
16
     G.     Mediation and Negotiation of the Consensual Plan
17          Shortly after the appointment of the Creditors’ Committee, YT and the Creditors’

18   Committee began discussing the path to a consensual plan of reorganization. After the venue
     transfer, YT continued to negotiate with the Creditors’ Committee. Prior to the January 23, 2020
19
     status conference, YT agreed to the Creditors’ Committee’s desired due diligence process and
20   populated data rooms with documents responding to the Creditors’ Committee’s numerous requests.

21   In connection with the Creditors’ Committee’s investigation, YT facilitated interviews by counsel
     and financial advisors to the Creditors’ Committee. The interviewees included management
22
     members of the FF Group. In addition, YT participated in a two-day confidential
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     deposition by the Creditors’ Committee and an individual member of the Creditors’ Committee,
 2   where he provided information regarding, among other things, his involvement in any alleged

 3   transactions that may be subject to an action under chapter 5 of the Bankruptcy Code. Lastly, YT’s
     advisors met on several occasions with the Creditors’ Committee’s advisors to discuss the various
 4
     transactions in detail.
 5           On February 6, 2020, the Court entered the Order (I) Requiring Parties to Participate in

 6   Mediation; and (II) Setting Further Status Conference [Docket No. 308] (the “Mediation Order”).

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             In accordance with the Mediation Order, YT, the Creditors’ Committee, and other creditors
     including SLC and SQ mediated under the auspices of Judge Goldberg (ret.) during the week of
     February 3, 2020. At the conclusion of the mediation sessions, YT and the Creditors’ Committee
     reached an agreement on the material terms of the Plan. On February 27, 2020, the material agreed
     to terms of the Plan were memorialized in the executed Plan Term Sheet filed with the DIP Motion
     (as defined below).

     H.      DIP Note
             After the commencement of the chapter 11 case, the Debtor and his advisors contacted
     several potential lenders regarding the Debtor’s postpetition financing needs. Ultimately, Pacific
     Technology, an affiliate of the Debtor was the only party willing to provide DIP financing to the
     Debtor under the circumstances of the chapter 11 case. The Debtor and the Creditors’ Committee,
     on one hand, and Pacific Technology, on the other, participated in extensive negotiations of the DIP
     financing. On February 23, 2020, such negotiations culminated in an agreement on the terms of a
     secured debtor-in-possession promissory note (the “DIP Note”) to be funded by Pacific Technology,
     largely through contributions by the members of FF GP, who agreed to provide additional advances
     for a total of $6.4 million.
             On February 27, 2020, YT filed the Motion for Order (A) Authorizing Debtor in Possession
     to (I) Obtain Post-petition Financing Pursuant to 11 U.S.C. §§ 105, 362, and 364, and (II) Granting
     Liens and Superpriority Claims to Post-petition Lender Pursuant to 11 U.S.C.§ 364; and (B)
     Modifying Automatic Stay Pursuant to 11 U.S.C. §§ 361, 362, and 364 [Docket No. 384] (the “DIP
     Motion”), seeking entry of an order authorizing YT to obtain DIP financing from Pacific




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             Technology pursuant to the DIP Note in the maximum principal amount of $6.4 million (the

 1   “DIP    Facility”). With the liquidity available from the DIP Facility, YT can proceed with
     confirmation of the Plan and pay his postpetition expenses, including administrative expense claims.
 2
     Pursuant to the terms of the DIP Note, in the event that any unpaid principal or other obligations
 3   under the DIP Note are not repaid as of the Effective Date, (i) the maturity date of the DIP Facility

 4   will extend automatically for one year from the Effective Date, (ii) all obligations of the Debtor
     under the DIP Facility will be assumed by the Trust, (iii) all liens and security interests on any
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     collateral
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     transferred to the Trust in accordance with the Trust Agreement will remain in place as perfected
     first priority liens and survive against the Trust, subject only to the liens securing the Exit Financing
     (as defined below), (iv) the interest rate per annum will be increased to twelve percent (12% per
     annum), and (v) all other liens and security interests will be satisfied, discharged, and terminated in
     full and of no further force and effect. Please review the DIP Motion for further details regarding
     the DIP Facility and the DIP Note.
            On March 5, 2020, SLC filed Shanghai Lan Cai Asset Management Co, Ltd.’s Objection to
     Debtor’s Motion for Order (A) Authorizing Debtor in Possession to (I) Obtain Post-petition
     Financing Pursuant to 11 U.S.C. §§ 105, 362, and 364, and (II) Granting Liens and Superpriority
     Claims to Post-petition Lender Pursuant to 11 U.S.C.§ 364; and (B) Modifying Automatic Stay
     Pursuant to 11 U.S.C. §§ 361, 362, and 364 [Docket No. 423]. On March 12, 2020, YT filed the
     Reply to Shanghai Lan Cai Asset Management Co, Ltd.’s Objection to Debtor’s Motion for Order
     (A) Authorizing Debtor in Possession to (I) Obtain Post-petition Financing Pursuant to 11 U.S.C.
     §§ 105, 362, and 364, and (II) Granting Liens and Superpriority Claims to Post-petition Lender
     Pursuant to 11 U.S.C.§ 364; and (B) Modifying Automatic Stay Pursuant to 11 U.S.C. §§ 361, 362,
     and 364 [Docket No. 452]. The DIP Motion is currently scheduled to be considered by the
     Bankruptcy Court on March 19, 2020 at 9:30 a.m. (PT).




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                                                    IV.
 2
                                               THE PLAN
 3
           THE TERMS OF THE PLAN, A COPY OF WHICH IS ATTACHED AS EXHIBIT A TO
 4   THIS DISCLOSURE STATEMENT, ARE INCORPORATED BY REFERENCE HEREIN. THE

 5   STATEMENTS CONTAINED IN THE DISCLOSURE STATEMENT INCLUDE SUMMARIES
     OF THE PROVISIONS CONTAINED IN THE PLAN AND IN THE DOCUMENTS REFERRED
 6
     TO THEREIN, WHICH ARE QUALIFIED IN THEIR ENTIRETY BY REFERENCE TO THE
 7   PLAN (AS WELL AS THE EXHIBITS THERETO AND DEFINITIONS THEREIN).

 8         THE STATEMENTS CONTAINED IN THE DISCLOSURE STATEMENT DO NOT
     PURPORT TO BE PRECISE OR COMPLETE STATEMENTS OF ALL THE TERMS AND
 9
     PROVISIONS OF THE PLAN OR DOCUMENTS REFERRED TO THEREIN, AND
10   REFERENCE IS MADE TO THE PLAN AND TO SUCH DOCUMENTS FOR THE FULL AND

11   COMPLETE STATEMENT OF SUCH TERMS. HOLDERS OF CLAIMS AGAINST YT AND
     OTHER INTERESTED PARTIES ARE URGED TO READ THE PLAN AND THE EXHIBITS
12
     THERETO IN THEIR ENTIRETY SO THAT THEY MAY MAKE AN INFORMED JUDGMENT
13   CONCERNING THE PLAN. CAPITALIZED TERMS USED IN THIS SUMMARY THAT ARE

14   NOT OTHERWISE DEFINED IN THE DISCLOSURE STATEMENT SHALL HAVE THE
     MEANINGS USED IN THE PLAN.
15
     A.    Classification and Treatment of Claims Under the Plan
16
           One of the key concepts under the Bankruptcy Code is that holders “Allowed” claims may
17
     receive distributions under a chapter 11 plan. The term is used throughout the Plan and in the
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             descriptions below. In general, an “Allowed” claim simply means that the Debtor agrees
     (or the Bankruptcy Court has ruled) that the claim, including the amount, is in fact, a valid obligation
     of the Debtor.
            The Bankruptcy Code also requires that, for purposes of treatment and voting, a chapter 11
     plan divide the different claims against the debtor into separate classes based upon their legal nature.
     Claims of substantially similar legal nature are usually classified together. Because an entity




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 1
     may hold multiple claims that give rise to different legal rights, the “claims” themselves, rather than
 2   their holders, are classified. As a result, under the Plan, by way of example only, an Entity that holds

 3   both a China Secured Claim and a Debt Claim would have its Allowed China Secured Claim
     classified in Class 3 and its Allowed Debt Claim classified in Class 4. To the extent of the holder’s
 4
     Allowed China Secured Claim, the holder would be entitled to the voting and treatment rights that
 5   the Plan provides with respect to Class 3, and to the extent of the holder’s Allowed Debt Claim, the

 6   holder would be entitled to the voting and treatment rights that the Plan provides with respect to
     Class 4.
 7
            Under a chapter 11 plan, the separate classes of claims must be designated either as
 8   “impaired” (affected by the plan) or “unimpaired” (unaffected by the plan). If a class of claims is

 9   “impaired,” the Bankruptcy Code affords certain rights to the holders of such claims, such as the
     right to vote on the plan (unless the plan has deemed the class to reject the plan), and the right to
10
     receive under the chapter 11 plan, no less value than the holder would receive if the debtor was
11   liquidated under chapter 7 of the Bankruptcy Code. Pursuant to section 1124 of the Bankruptcy

12   Code, a class of claims is “impaired” unless the plan (a) does not alter the legal, equitable, and
     contractual rights of the holders or (b) irrespective of the holders’ acceleration rights, cures all
13
     defaults (other than those arising from the debtor’s insolvency, the commencement of the case, or
14   non-performance of a nonmonetary obligation), reinstates the maturity of the claims in the class,

15   compensates the holders for actual damages incurred as a result of their reasonable reliance upon
     any acceleration rights, and does not otherwise alter their legal, equitable, and contractual rights.
16
     Typically, this means the holder of an unimpaired claim will receive on the later of the effective
17   date of the plan and the date on which amounts owing are due and payable, payment in full, in cash,

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             with postpetition interest to the extent provided under the governing agreement (or if there
     is no agreement, under applicable non-bankruptcy law), and the remainder of the debtor’s
     obligations, if any, will be performed as they come due in accordance with their terms. Thus, other
     than the right to accelerate the debtor’s obligations, the holder of an unimpaired claim will be placed
     in the position it would have been in had the chapter 11 case not been commenced.

            Consistent with these requirements, as described in Article I.B. above, the Plan divides the




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     Allowed claims against the Debtor into four distinct classes. Pursuant to the Bankruptcy Code, not
 2   all classes are entitled to vote on the Plan. Under the Plan: (i) only Class 4 is impaired and the

 3   holders of claims in such class are entitled to vote to accept or reject the Plan and (ii) classes 1, 2,
     and 3 are unimpaired and the holders of claims in such classes are conclusively presumed to have
 4
     accepted the Plan and are thus not entitled to vote on the Plan.
 5
     B.      Acceptance or Rejection of the Plan; Effect of Rejection of Plan
 6           Article V of the Plan sets forth certain rules governing the tabulation of votes under the Plan.
     These rules include that: (i) if no holders of claims eligible to vote in a particular class actually vote
 7
     to accept or reject the Plan, the class will be deemed to accept the Plan (Article 5.2) and (ii) if there
 8   are no holders of claims that are eligible to vote in any particular class, the class shall be deemed

 9   eliminated from the Plan for purposes of determining acceptance or rejection of the Plan (Article
     5.3).
10
             In addition, Article 5.4 of the Plan provides that the Debtor reserves the right to alter, amend,
11   modify, revoke, or withdraw the Plan or any related documents in order to satisfy the “cram down”

12   provisions of section 1129(b) of the Bankruptcy Code (see Article VII.C.2. below entitled
     “Requirements of Section 1129(b) of the Bankruptcy Code”).
13
     C.      Plan Distributions
14           Article VII of the Plan sets forth the mechanics by which Plan Distributions will be made.

15   Article VII provides, among other things, that: (i) Plan Distributions will be made by the Debtor
     (Article 7.1); (ii) for tax purposes, Plan Distributions will be treated as first satisfying the principal
16
     amount of recipients’ claims (rather than interest on such claims) (Article 7.2); (iii) holders of claims
17   shall generally not be entitled to postpetition interest on such claims (except as otherwise

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             set forth in the Plan) (Article 7.3); (iv) Plan Distributions will generally commence on the
     Effective Date or as soon as possible thereafter (Article 7.4); (v) Plan Distributions will be made
     based on the records of the Debtor as of the close of business on the Distribution Record Date, i.e.,
     the date of commencement of the Confirmation Hearing (Article 7.5); (vi) Plan Distributions will be
     made to applicable holders at the addresses reflected in the Debtor’s books and records or other
     written notice of changes to such addresses (including in proofs of claim) (Article 7.6); (vii) property
     distributable under the Plan on account of a claim that is not claimed within a year after the Effective
     Date or the date such claim becomes Allowed (whichever is later) shall revert to the Reorganized
     Debtor (or his successors or assigns) (Article 7.7); (viii) Plan Distributions shall be in complete
     settlement, satisfaction, and discharge of Allowed Claims (Article 7.8); (ix) cash




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     payments may be made by check or wire transfer or otherwise in accordance with applicable
 2   agreements or the Debtor’s customary practices (Article 7.9); (x) no holder of a claim shall receive

 3   Plan Distributions in excess of the Allowed amount of such claim (Article 7.10); (xi) the Reorganized
     Debtor shall be entitled to exercise certain rights of setoff or recoupment with respect to Plan
 4
     Distributions, and holders of claims seeking to assert rights of recoupment or setoff shall be required
 5   to provide written notice of such rights in advance of the Confirmation Date (Article 7.11); (xii) the

 6   Reorganized Debtor will be authorized to take any and all actions that may be necessary or
     appropriate to comply with tax withholding and reporting requirements, including liquidating any
 7
     portion of any Plan Distribution to generate sufficient funds to pay withholding taxes and/or requiring
 8   holders of claims to submit appropriate tax and withholding certifications (Article 7.12); (xiii) claims

 9   will be reduced and Disallowed to the extent that holders of such claims have received payment
     (before or after the Effective Date) from a party other than the Debtor or Reorganized Debtor (Article
10                                                                                                              1
     7.13(a)); and (xiv) Plan Distributions will be made in accordance with the provisions of any
                                                                                                                0
11   applicable insurance policy of the Debtor (Article 7.13(b)).
                                                                                                                1
12   D.     Domestic Support Obligations                                                                        1
13            On November, 15, 2019, YT’s wife, Wei Gan filed a divorce complaint against YT in the             1
                                                                                                                2
14   People’s Court of Chaoyang District, Beijing, China under Article 12(1) of the Civil Procedure
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              Law of the People’s Republic of China (the “Divorce Complaint”).815 On December 3,
     2019, the People’s Court of Chaoyang District issued a notice accepting the Divorce Complaint and
     assigned the case to mediation in the People’s Court Diversified Mediation Legal System under
     Case Number 2019-89234 before Judge Wang Yang.
             During their marriage, YT and Wei Gan had three children, two twin daughters who are five
     years old and one son who is three years old. Wei Gan and the children reside in Chaoyang District,
     Beijing and do not live with YT in California. There is currently no spousal or child support agreement
     or order in place between Wei Gan and YT, however, prior to the Petition Date YT periodically wired
     money to Wei Gan or her mother, on behalf of Wei Gan, to support Wei Gan


      Wei Gan had previously filed a divorce complaint against YT on October 11, 2019, in the People's Court of Jinjiang
     15


     District, Chengdu, Sichuan Province, China, however, the court did not accept the case.




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     and the children. No such payments have been made after the Petition Date and the Debtor does not
 2   currently owe any Domestic Support Obligations to Wei Gan or the children.

 3           Pursuant to the Divorce Complaint, Wei Gan is requesting, among other things, (i) monthly
     child support of RMB 125,000 (approximately $17,757) per child/month for the three minor
 4
     children until each child reaches eighteen (18) years of age, (ii) to divide the community property
 5   between Wei Gan and YT, (iii) that YT bear all debts incurred as a result of his personal investment,

 6   production, and business operations during the existence of their marriage, and (iv) that she retain
     the property currently registered under her name located in the Chaoyang District, Beijing as her
 7
     personal property. On January 13, 2020, Wei Gan filed proof of claim numbered 20004 against YT
 8   in the amount of $569,147,060.26 of which $8,747,060.26 Wei Gan alleges is for Domestic Support

 9   Obligations under section 507(a)(1)(A) of the Bankruptcy Code. Wei Gan attached the Divorce
     Complaint as support for her claim and re-asserts the allegations and requests set forth in the
10                                                                                                                        1
     complaint.
                                                                                                                          0
11           As discussed in further detail in Article IV.M.3 of this Disclosure Statement, YT, Wei Gan,
     and the Creditors’ Committee have settled all of Wei Gan’s claims against the Debtor and all of the                  1
12                                                                                                                        1
     Debtor’s claims against Wei Gan (the “Wei Gan Settlement”). However, Wei Gan and YT are still
13                                                                                                                        1
     negotiating the custody of, and child support for, the children, which could result in YT agreeing
                                                                                                                          2
14
     Wei Gan had previously filed a divorce complaint against YT on October 11, 2019, in the People's Court of Jinjiang
     8                                                                                                                    1
15   District, Chengdu, Sichuan Province, China, however, the court did not accept the case.                              3
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             to make monthly child support payments (the “Wei Gan Domestic Support Obligations”),
     which obligations will be satisfied in accordance with Article 2.4 of the Plan. If YT and Wei Gan are
     unable to settle the custody and child support issues through mediation, then the Divorce Complaint
     will be litigated to judgment before the People’s Court of Chaoyang District.
            Article 2.4 of the Plan provides that, on the Effective Date, the Debtor shall make any
     payments to comply with any postpetition unfunded obligations on account of any Domestic Support
     Obligations, if any such obligations exist, as may be required for the Debtor to be current with respect
     to such Domestic Support Obligations as of the Effective Date pursuant to section 1129(a)(14) of the
     Bankruptcy Code. After the Effective Date, the Debtor shall timely make all payments on account of
     Domestic Support Obligations to the parties entitled to receive such payments, if any such obligations
     exist, including, without limitation, any Wei Gan Domestic




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     Support Obligations, in each case at the times and in the amounts required by the agreements and
 2   orders evidencing such Domestic Support Obligations, as such agreements may from time to time

 3   be modified in accordance with applicable law. The sole source of payment for any Domestic
     Support Obligations will be the Debtor’s post-Effective Date cash and no holder of a Domestic
 4
     Support Obligation shall have any recourse against the Trust. For the avoidance of doubt, the Wei
 5   Gan Domestic Support Obligations shall not constitute claims against the Trust or otherwise have

 6   any claims against or interest in the Trust Assets.

 7   E.     DIP Facility Claims
            Article 2.5 of the Plan provides that in the event that there are proceeds remaining from the
 8   Exit Financing after (a) funding the operations of the Trust for the Initial Term and (b) making all

 9   cash payments required to be made in connection with the Plan pursuant to Article 6.4 of the Plan, the
     remaining proceeds of the Exit Financing shall be used to pay all amounts outstanding under the DIP
10
     Facility in cash on the Effective Date or as soon thereafter as practicable. Once such payment in full
11   has been made, any agreements and instruments related thereto shall be deemed terminated and all

12   liens and security interests granted to secure the Debtor’s obligations under the DIP Facility shall be
     satisfied, discharged, and terminated in full and of no further force and effect.
13

14          Article 2.5 of the Plan further provides that in the event that there are not sufficient proceeds
            remaining from the Exit Financing to pay all amounts outstanding under the DIP Facility, in
15   satisfaction of the Debtor’s obligations under the DIP Facility, on the Effective Date or as soon

16   thereafter as practicable and in accordance with the terms and conditions of the DIP Note (a) the
     maturity date of the DIP Facility shall be automatically extended for one year from the Effective
17
     Date, (b) all obligations of the Debtor under the DIP Facility shall be assumed by the Trust, (c) all
18   liens and security interests on any collateral transferred to the Trust in accordance with the Trust

19   Agreement shall remain in place as perfected first priority liens and survive against the Trust, subject
     only to the liens securing the Exit Financing, (d) the interest rate per annum shall be increased to
20
     twelve percent (12% per annum), and (e) all other liens and security interests shall be satisfied,
21   discharged, and terminated in full and of no further force and effect.

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     F.     Exit Financing
 2          Article 6.3 of the Plan provides that on the Effective Date, without the need for further action,

 3   the Trust shall enter into financing, on terms and conditions acceptable to the Creditors’ Committee
     and the Debtor, providing net proceeds in an amount not less than $1,500,000 to fund the operations
 4
     of the Trust for the Initial Term, plus such amounts as necessary to make payments required to be
 5   made in connection with the Plan pursuant to Article 6.4 of the Plan (the “Exit Financing”). The

 6   material terms of the Exit Financing will be included in the Plan Supplement.

 7   G.     Sources of Cash for Plan Distributions
            Article 6.4 of the Plan provides that except as otherwise provided in the Plan or Confirmation
 8   Order, all cash required for payments to be made hereunder shall be obtained pursuant to the

 9   Debtor’s and Reorganized Debtor’s cash balances (including any remaining proceeds from the DIP
     Facility), and the proceeds of the Exit Financing.
10
     H.     Declarations
11          Article 6.7 of the Plan provides that on or before the Effective Date, the Debtor and Wei

12   Gan, as applicable, shall execute declarations, in form and substance reasonably acceptable to the
     Creditors’ Committee, regarding the below representations (respectively, the “YT Declaration” and
13
     the “Wei Gan Declaration” and collectively, the “Declarations”):
14
            (a) The Debtor owns 100% of the issued and outstanding economic interests in West Coast
15           through a nominee, Lian Bossert.
            (b) The sole asset of West Coast is 100% of the Preferred PT Units of Pacific Technology,
16
     which comprise 20% of the currently issued and outstanding membership interests of Pacific
17   Technology.

18
            (c) Pacific Technology is the sole owner of FF Peak.
19
            (d) FF Peak is the sole owner of FF Top.
20          (e) FF Top owns 40.8% of the issued and outstanding Class B shares of FF GlobalIntelligent
     (the “FF GlobalIntelligent Shares”).
21
            (f) The Debtor has a contractual right to direct Pacific Technology to direct FF Peak to
22
     direct FF Top to transfer the Trust FF GlobalIntelligent Shares to the Trust.
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             (g) Pursuant to Section 16 of the PT LLCA, the Preferred PT Units entitle West Coast to
 2   receive certain distributions of capital from Pacific Technology from time to time (the “Preferred

 3   Unit Distribution Rights”), consisting of (1) a priority distribution of up to $815.7 million, plus
     interest at 8% per annum, after the return of capital to the management (plus 8% interest per annum)
 4
     but before any other capital is distributed from Pacific Technology, plus (2) a special distribution
 5   of 10% of all remaining distributions of capital from Pacific Technology, plus (3) its pro rata share

 6   (i.e., 20%) of all remaining distributions of capital from Pacific Technology.
             (h) The Debtor owns the Call Option pursuant to the 2018 Restructuring Agreement,
 7
     entitling the Debtor to purchase Season Smart’s shares in FF GlobalIntelligent under certain
 8   circumstances.

 9
             (i) The Debtor is the sole owner of Ford Field.
10           (j) The Debtor and Wei Gan own no direct or indirect ownership interests in (including
     through any nominee, trust, or similar arrangement), do not directly or indirectly control, and do not
11
     hold a beneficial interest in any of the entities listed on Schedule D of the Plan, or any of their
12   respective parent companies or subsidiaries.

13   I.      Preservation of Claims and Rights to Settle Claims
             Article 8.3 of the Plan provides that except as otherwise provided in the Plan (including with
14
     respect to the Yidao Claims and as set forth in Article 11.4 of the Plan), or in any contract, instrument,
15   or other agreement or document entered into in connection with the Plan, including the

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             Plan Supplement, in accordance with section 1123(b) of the Bankruptcy Code, the
     Reorganized Debtor shall retain and may enforce, sue on, settle, compromise, otherwise resolve,
     discontinue, abandon, or dismiss any and all claims, counterclaims, defenses, and rights (including
     setoff rights) that may be asserted in the Causes of Action, suits, and proceedings listed on Schedule
     A of the Plan (including any supplement to Schedule A included in the Plan Supplement) (collectively,
     the “Retained Actions”), whether at law or in equity, whether known or unknown, that the Debtor or
     his Estate may hold against any Entity (other than claims, rights, Causes of Action, suits, and
     proceedings released pursuant to Articles 6.6, 11.4, or 11.9 of the Plan), without the approval of the
     Bankruptcy Court, the Confirmation Order, and any contract, instrument, release, indenture, or




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     other agreement entered into in connection herewith.
 2           The Plan provides that the Reorganized Debtor expressly reserves all rights to prosecute any

 3   and all Retained Actions against any Entity. Unless any Retained Action against an Entity is
     expressly waived, relinquished, exculpated, released, compromised, or settled in the Plan or a
 4
     Bankruptcy Court order, the Reorganized Debtor expressly reserves all Retained Actions for later
 5   adjudication, and, therefore, no preclusion doctrine, including the doctrines of res judicata, collateral

 6   estoppel, issue preclusion, claim preclusion, estoppel (judicial, equitable, or otherwise), or laches
     shall apply to such Retained Action upon, after, or as consequence of, confirmation or
 7
     consummation of the Plan. For the avoidance of doubt, all claims, Causes of Action, suits, and
 8   proceedings of the Debtor that are not Retained Actions are waived as of the Effective Date. Any

 9   proceeds received on account of any Retained Action shall be transferred to the Trust and be
     considered Trust Assets.
10
     J.      Waiver of Actions Arising Under Chapter 5 of the Bankruptcy Code
11           Article 11.9 of the Plan provides that without limiting any other applicable provisions of, or

12   releases contained in, the Plan, each of the Debtor, the Reorganized Debtor, their respective
     successors, assigns, and representatives, and any and all other entities who may purport to assert any
13
     claim or Cause of Action, directly or derivatively, by, through, for, or because of the foregoing entities,
14   hereby irrevocably and unconditionally release, waive, and discharge any and all claims or Causes of

15   Action that they have, had, or may have that are based on section 544, 547, 548, 549,

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             and 550 of the Bankruptcy Code and analogous non-bankruptcy law for all purposes;
     provided, however, that notwithstanding this or any other provision of the Plan, in the event the
     Trustee (with the approval of the Creditor Trust Committee) determines, within one hundred eighty
     (180) days after the Effective Date, that it has reasonable and good-faith evidence that (a) an asset,
     other than any of the Seized China Assets or assets subject to seizure in China, was property of the
     Debtor as of the Petition Date but was not disclosed by a document or testimony in his capacity as a
     chapter 11 debtor during the chapter 11 case, including, without limitation, any disclosure statement,
     schedules, statements of financial affairs, 341 meeting of creditors, confidential depositions, and
     materials posted in the creditor data room (the “Chapter 11 Disclosures”), provided that the




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     Declarations shall supersede the Chapter 11 Disclosures, the Trustee may pursue an action for
 2   turnover of such asset under section 542 of the Bankruptcy Code through the Plan Arbitration

 3   Procedures; or (b) YT was the transferor of a transfer avoidable pursuant to section 548(a)(1)(A) of
     the Bankruptcy Code, the Trustee may pursue an action to avoid and recover such transfer pursuant
 4
     to sections 548(a)(1)(A) and 550 of the Bankruptcy Code, as applicable, through the Plan
 5   Arbitration Procedures; provided that such transfer did not arise out of any transaction or occurrence

 6   disclosed in the Chapter 11 Disclosures, provided further that the Declarations shall supersede the
     Chapter 11 Disclosures (collectively, (a) and (b) are the “Bankruptcy Actions”).
 7
            Article 11.9 of the Plan further provides that any Bankruptcy Actions must be commenced
 8   within one hundred eighty (180) days after the Effective Date (the “Bankruptcy Actions Limitations

 9   Period”), provided that the Trustee shall meet and confer with the Debtor prior to commencing any
     Bankruptcy Action, and the Bankruptcy Actions Limitations Period with respect to such Bankruptcy
10
     Action shall be automatically tolled for a period of thirty (30) days while the parties meet and confer,
11   subject to extension by mutual agreement.

12          Upon the expiration of the Bankruptcy Actions Limitations Period, any Bankruptcy Actions
     that have not been timely asserted pursuant to the foregoing procedures shall be deemed satisfied
13
     and released, effective as of the Effective Date. For the avoidance of doubt, none of the claims or
14   Causes of Action referenced in Article 11.9 of the Plan, except as excluded therein, shall constitute

15   Retained Actions.

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     K.     Procedures for Resolving Disputed Claims
            Article VIII of the Plan governs the resolution of Disputed Claims. Pursuant to Article 8.1 of
     the Plan, only the Debtor or Reorganized Debtor will be entitled to object to claims after the Effective
     Date, and any such objections must be filed and served within one hundred eighty (180) days after
     the Effective Date (or, if later, the date that the proof of claim to which the Debtor or Reorganized
     Debtor objects is asserted or amended in writing), or such later deadline as may be fixed by the
     Bankruptcy Court. The Reorganized Debtor may also seek to estimate any contingent or unliquidated
     claims pursuant to section 502(c) of the Bankruptcy Code. Article 8.2 of the Plan provides that no
     distributions shall be made on account of Disputed Claims unless and until such




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     Disputed Claims become Allowed.
 2
     L.     Executory Contracts and Unexpired Leases
 3          Article IX of the Plan governs the treatment of the Debtor’s executory contracts and
     unexpired leases. Article 9.1 of the Plan provides that all executory contracts and unexpired leases
 4
     of the Debtor listed on Schedule B of the Plan (including any supplement to Schedule B included
 5   in the Plan Supplement) will be deemed assumed on the Effective Date (subject to payment of

 6   applicable Cure Amounts), except that: (a) any executory contracts and unexpired leases that
     previously have been assumed or rejected pursuant to a Final Order of the Bankruptcy Court shall
 7
     be treated as provided in such Final Order; (b) any executory contracts and unexpired leases listed
 8   on the Schedule of Rejected Contracts and Leases, shall be deemed rejected as of the Effective Date;

 9   and (c) all executory contracts and unexpired leases that are the subject of a separate motion to
     assume or reject under section 365 of the Bankruptcy Code pending on the Effective Date shall be
10
     treated as provided for in the Final Order resolving such motion.
11          Pursuant to Article 9.2 of the Plan, claims arising from the rejection of executory contracts

12   or unexpired leases will be treated as Debt Claims, solely to the extent evidenced by a proof of claim
     filed and served upon counsel for the Debtor and Reorganized Debtor within sixty (60) days after
13
     the effective date of such rejection.
14          Article 9.3 of the Plan governs the establishment and payment of Cure Amounts. In general,

15                          the Debtor’s proposed Cure Amounts for each executory contract or unexpired

16                          lease to be assumed - 59 -

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            will be set forth on a Cure Schedule to be filed no later than ten (10) calendar days prior to the

 1   Confirmation Hearing. The proposed Cure Amounts shall become binding on the counterparties if
     they fail to object to the proposed Cure Amount within ten (10) calendar days of the filing of the Cure
 2
     Schedule. If a counterparty does timely object to the proposed Cure Amount or the Debtor’s proposed
 3   assumption of its contract generally, the Bankruptcy Court will enter an order resolving the dispute

 4   (if not resolved consensually by the parties). If the only issue raised in any such dispute is the Cure
     Amount, the Debtor will be authorized to assume the executory contract or unexpired lease that is the
 5
     subject of such dispute so long as they reserve an amount of cash sufficient to pay the counterparty’s
 6   asserted Cure Amount. Cure Amounts will generally be paid in full in cash

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     within thirty (30) days after the Effective Date or the date on which any dispute pertaining to the
 2   proposed assumption has been resolved (whichever is later).

 3          Article 9.4 of the Plan provides that all insurance policies of the Debtor under which the
     Debtor has outstanding obligations as of the Effective Date will be treated as assumed executory
 4
     contracts, and all other insurance policies of the Debtor will vest in the Reorganized Debtor.
 5   Pursuant to Article 9.7 of the Plan, all contracts and leases entered into by the Debtor after the

 6   Petition Date will survive and be unaffected by entry of the Confirmation Order.
            Article 9.5 of the Plan contains certain reservations of rights by the Debtor concerning
 7
     executory contracts and unexpired leases, including a reservation of the Debtor’s rights to amend
 8   the Schedule of Rejected Contracts and Leases until and including the Effective Date.

 9          Article 9.6 of the Plan clarifies that rejection of any executory contract or unexpired lease
     under the Plan will not constitute a termination of pre-existing obligations owed to the Debtor under
10
     such contracts or leases (including any continuing obligations of counterparties to provide
11   warranties or continued maintenance obligations on goods previously purchased by the Debtor).

12   M.     Discharge, Release, Injunctive, and Exculpatory Provisions of the Plan
            Article XI of the Plan sets forth the effects and consequences of confirmation of the Plan,
13
     including the vesting of the assets of the Debtor in the Reorganized Debtor (Article 11.1), the
14   binding effect of the Plan on holders of claims (Article 11.2), the discharge of claims under the Plan

15   (Article 11.3), the preservation of injunctions or stays provided for in the chapter 11 case
             through the Effective Date (Article 11.7), the termination of subordination rights of holders
16
     of claims (Article 11.8), the waiver of claims or Causes of Actions that arise under chapter 5 of the
17   Bankruptcy Code (Article 11.9), and the Debtor’s reservation of rights in the event that the Effective

18   Date does not occur (Article 11.10). In addition, Articles 11.4, 11.5, and 11.6 of the Plan contain
     important releases, injunctions, and exculpatory provisions and Article 6.6 of the Plan
19
     implements the settlement of the Debtor’s claims against his wife, Wei Gan. These provisions
20   are highlighted below.

21          1.      Discharge of Claims

22          PLEASE TAKE NOTICE THAT, PURSUANT TO ARTICLE 11.3 OF THE PLAN,

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     THE DEBTOR SEEKS A DISCHARGE PURSUANT TO SECTION 1141(D)(5) OF THE
 2
     BANKRUPTCY CODE AS OF THE EFFECTIVE DATE OF THE PLAN. THE DEBTOR
 3
     BELIEVES THAT CAUSE EXISTS TO GRANT A DISCHARGE ON THE EFFECTIVE
 4
     DATE OF THE PLAN BECAUSE THE PLAN PROVIDES FOR THE CONTRIBUTION OF
 5   HIS ASSETS TO THE TRUST ON THE EFFECTIVE DATE OF THE PLAN.
 6          PLEASE TAKE FURTHER NOTICE THAT, PURSUANT TO THE PLAN, A
 7   DISCHARGE WILL BE ENTERED ON THE EFFECTIVE DATE OF THE PLAN, WHICH
 8   WILL RESULT IN ALL CREDITORS WITH DISCHARGEABLE CLAIMS BEING
 9   ENJOINED FROM TAKING ANY ACTION TO COLLECT, RECOVER OR OFFSET ANY
10   DISCHARGEABLE DEBT AS A PERSONAL LIABILITY OF THE DEBTOR.
11          Article 11.3 of the Plan provides that, pursuant to section 1141(d) of the Bankruptcy
12   Code, and except as otherwise specifically provided in the Plan, the distributions, rights, and
13   treatment that are provided in the Plan will be in exchange for, and in complete satisfaction,
14   settlement, discharge, and release of, all claims against the Debtor of any nature whatsoever,
15   whether known or unknown, or against the assets or properties of the Debtor that arose before
16   the Effective Date. Except as expressly provided in the Plan, on the Discharge Date (and
17   subject to its occurrence), and pursuant to section 1141(d)(5)(A) of the Bankruptcy Code,
18   entry of the Confirmation Order shall be deemed to act as a discharge and release under
19   section 1141(d)(1)(A) of the Bankruptcy Code of all claims against the Debtor and his
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            assets, arising at any time before the Effective Date, regardless of whether a proof of
     claim was filed, whether the claim is Allowed, or whether the holder of the claim votes to
     accept the Plan or is entitled to receive a distribution under the Plan; provided, however, that
     in no event shall occurrence of the Discharge Date discharge the Debtor from any obligations
     remaining under the Plan as of the Discharge Date. Any default by the Debtor with respect to
     any claim that existed immediately prior to or on account of the filing of the Chapter 11 Case
     shall be deemed cured on the Discharge Date.
            Article 11.3 of the Plan further provides that, except as expressly provided in the Plan,
     any holder of a discharged claim will be precluded from asserting against the Debtor or any




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     of his assets any other or further claim based on any document, instrument, act, omission,
 2   transaction, or other activity of any kind or nature that occurred before the Effective Date.

 3   Except as expressly provided in the Plan, pursuant to section 1141(d)(5)(A), the Confirmation
     Order will be a judicial determination of discharge of all liabilities of the Debtor to the extent
 4
     allowed under section 1141 of the Bankruptcy Code, and the Debtor will not be liable for any
 5   claims and will only have the obligations that are specifically provided for in the Plan.

 6   Notwithstanding the foregoing, nothing contained in the Plan or the Confirmation Order shall
     discharge the Debtor from any debt excepted from discharge under section 523 of the
 7
     Bankruptcy Code by a Final Order.
 8          By voting to accept the Plan, you are voting to accept the discharge of YT provided for

 9   in the Plan.

10          2.   Releases
            PLEASE TAKE NOTICE THAT ARTICLE 11.4(b) OF THE PLAN (RELEASES BY
11   HOLDERS OF NON-DEBT CLAIMS) CONTAINS A THIRD-PARTY RELEASE. YOU ARE

12   DEEMED TO GRANT A THIRD-PARTY RELEASE IF YOU ARE A HOLDER OF A NON-
     DEBT CLAIM THAT EITHER: (I) VOTES TO ACCEPT THE PLAN OR (II) IS
13
     CONCLUSIVELY DEEMED TO HAVE ACCEPTED THE PLAN. IN ADDITION, IN
14   ACCORDANCE WITH SECTION 524(a)(3) OF THE BANKRUPTCY CODE AND

15   PURSUANT TO THE WEI GAN SETTLEMENT AGREEMENT UNDER BANKRUPTCY

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             RULE 9019 REGARDING THE DEBTOR’S CLAIMS AGAINST WEI GAN AND
     WEI GAN’S CLAIMS AGAINST THE DEBTOR, ARTICLE 6.6 OF THE PLAN
     RELEASES CERTAIN CLAIMS AGAINST YT’S WIFE, WEI GAN. YOU ARE ADVISED
     TO REVIEW AND CONSIDER THE PLAN CAREFULLY BECAUSE YOUR RIGHTS
     MIGHT BE AFFECTED THEREUNDER.
            The following definitions are essential to understanding the scope of the releases being
     given under the Plan.
            The Plan defines “Allowed Debt Claim Allocation Amount” to mean the Allowed amount
     of a Debt Claim together with any unpaid interest at the rate of four percent (4%) per annum from
     the time the underlying debt arose through the Petition Date, and with respect to any holder of an
     Allowed Debt Claim who is a KCBI Claimant, subject to the approval of the applicable KCBI
     Settlement, up to an additional twenty percent (20%) of the Allowed amount of their Debt Claim
     plus interest thereon.
            The Plan defines “Allowed Debt Claim Distribution Amount” to mean the Allowed Debt
     Claim Allocation Amount minus any Other Distributions received by the holder of such Allowed
     Debt Claim. For the avoidance of doubt, any Other Distributions received by a holder of an Allowed
     Debt Claim shall be first applied to reduce the principal amount of such Debt Claim, and any
     remaining consideration to satisfy any accrued, but unpaid, interest.
            The Plan defines “Causes of Action” to mean any action, claim, cause of action,
     controversy, demand, right, action, lien, indemnity, guaranty, suit, obligation, liability, damage,




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             judgment, account, defense, offset, power, privilege, license, and franchise of any kind or

 1   character whatsoever, whether known or unknown, contingent or non-contingent, matured or
     unmatured, suspected or unsuspected, liquidated or unliquidated, disputed or undisputed, secured or
 2
     unsecured, assertable directly or derivatively, whether arising before, on, or after the Petition Date, in
 3   contract or in tort, in law, or in equity, or pursuant to any other theory of law. For the avoidance of

 4   doubt, “Cause of Action” includes: (a) any right of setoff, counterclaim, or recoupment and any claim
     for breach of contract or for breach of duties imposed by law or in equity; (b) the right to object to
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     claims; (c) any claim pursuant to section 362 or chapter 5 of the Bankruptcy Code; (d) any equitable
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     remedy, including, without limitation, any claim for equitable subordination, equitable disallowance,
     or unjust enrichment; (e) any claim or defense including fraud, mistake, duress, and usury, and any
     other defenses set forth in section 558 of the Bankruptcy Code; and (f) any cause of action or claim
     arising under any state or foreign fraudulent transfer law.
            The Plan defines “Debt Claim Allocation Amount” to mean for the purpose of determining
     the pro rata share of Trusts Interests, (a) that portion of an Allowed Debt Claim that constitutes
     outstanding principal together with any unpaid interest on outstanding principal at the rate of four
     percent (4%) per annum from the time the underlying debt arose through the Petition Date, and (b) with
     respect to any holder of an Allowed Debt Claim who is a KCBI Claimant, subject to the approval of
     the applicable KCBI Settlement, up to an additional five percent (5%) of the Allowed amount of their
     Debt Claim Allocation Amount determined in accordance with clause (a).
            The Plan defines “Debt Claim Distribution Amount” to mean on any Trust Distribution
     Date, the Debt Claim Allocation Amount minus any Other Distributions and Trust Distributions
     received by the holder of an Allowed Debt Claim before such Trust Distribution Date.
            The Plan defines “Deficiency Claim” to mean that portion of a China Secured Claim that is
     determined pursuant to section 506(a) of the Bankruptcy Code or through agreement, to exceed the
     value of the claimant’s interest in the collateral securing such China Secured Claim. For the
     avoidance of doubt, all Deficiency Claims shall be treated as Debt Claims.
            The Plan defines “KCBI Claimant” to mean a holder of an Allowed Debt Claim who also
     holds a guarantee from a Key China Business Individual on the same obligation underlying their



     Allowed Debt Claim and has voluntarily agreed to settle their claims against such Key China
     Business Individual. The list of potential KCBI Claimants is included on Schedule C of the Plan.
            The Plan defines “KCBI Settlement” to mean a voluntary settlement agreement under
     Bankruptcy Rule 9019 between a Key China Business Individual and a KCBI Claimant, if such
     agreements are reached. Any KCBI Settlements will be included in the Plan Supplement.
            The Plan defines “Key China Business Individuals” to mean those certain Chinese
     individuals who voluntarily enter into a KCBI Settlement with a KCBI Claimant prior to the
     Confirmation Date. The list of potential Key China Business Individuals is included on Schedule C
     of the Plan.




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            The Plan defines “Non-Debt Claim” to mean any claim against the Debtor that is (a) not a
     Debt Claim or China Secured Claim or (b) otherwise determined by the Bankruptcy Court to be a
     Non-Debt Claim.
            The Plan defines “Other Distributions” to mean (a) any amounts the holder of an Allowed
     Debt Claim actually receives from the primary obligor or any guarantor besides the Debtor, of such
     Debt Claim based on such holder’s contractual agreement with such primary obligor or guarantor,
     minus (b) if the primary debt obligation underlying such Debt Claim is satisfied in whole or in part by
     conversion to equity in any jurisdiction, the corresponding reduction in the amount of the Debt Claim
     on account of such conversion, or (c) any amounts the holder of an Allowed China Secured Claim or
     Allowed Debt Claim actually receives upon the disposition of any Seized China Assets.

            The Plan defines “Released Parties” to mean, collectively: (a) the Debtor and the Estate;




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             (b) all Persons engaged or retained by the Debtor in connection with the chapter 11 case
     (including in connection with the preparation of and analyses relating to the Disclosure Statement and
     the Plan); and (c) any and all advisors, attorneys, actuaries, financial advisors, accountants, investment
     bankers, agents, professionals, consultants and representatives of each of the foregoing Persons and
     Entities (whether current or former, in each case in his, her, or its capacity as such).
             The Plan defines “Releasing Parties” to mean, collectively, and each solely in its capacity as
     such: (a) each Released Party; (b) each holder of a Non-Debt Claim that either (i) votes to accept the
     Plan or (ii) is conclusively deemed to have accepted the Plan; and (c) all other holders of Non-Debt
     Non-




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     Debt Claims to the extent permitted by law.
 2
             The Plan defines “Trust Distributions” to mean distributions paid from the Trust.
 3
                    a.     Summary of the Releases
 4           The Plan includes several different forbearances for and releases by and in favor of YT, all
     of which are designed to allow YT, after satisfying all Non-Debt Claims and China Secured Claims
 5
     in full and transferring all of his non-exempt assets to the Trust, to dedicate his resources to achieving
 6   the FF Group’s strategic goals for the benefit of all creditors. Article 11.4(a) of the Plan provides for

 7   a release by YT of all pre-Effective Date claims against his estate, professionals, advisors, and
     representatives (and other similar parties identified below) related to, among other things, the Plan,
 8
     the chapter 11 case, and YT. Article 11.4(b) of the Plan provides for a release of YT, his estate, and
 9   his professionals, advisors, and representatives (and other similar parties identified below) by holders

10   of Non-Debt Claims of all pre-Effective Date claims for personal liability relating to, among other
     things, YT, the Plan, the chapter 11 case, and the holder’s underlying claim. Article 11.4(c) of the
11
     Plan provides for a forbearance period and staged release of claims against YT for personal liability
12   in all non-U.S. jurisdictions by holders of Debt Claims and China Secured Claims. In conjunction

13   with the above releases, Article 11.3 of the Plan provides for a discharge of all claims against YT
     dischargeable under U.S. bankruptcy law pursuant to section 1141(d)(5) of the Bankruptcy Code on
14
     the Effective Date. YT believes the discharge and release provisions of the Plan are in the best
15   interests of YT’s creditors as creditor recoveries are dependent on the success of the FF Group, the

16   fate of which depends on YT receiving such releases and discharge.

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             The forbearance period and staged released of YT, which is set forth in Article 11.4(c) of the
     Plan, were negotiated by YT and the Creditors’ Committee to provide YT with the breathing space
     necessary to assist the FF Group in moving forward with its strategic plans, while protecting holders
     of Allowed Debt Claims and ensuring that such holders receive a threshold 2040% recovery on their
     claims before being deemed to release YT. There are three components to the staged release of Allowed
     Debt Claims against YT in non-U.S. jurisdictions. The first component is a four-year standstill of new
     litigation claims against YT (and certain other parties) for personal liability in any




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 1
     non-U.S. jurisdiction. The four-year period after the Effective Date is a critical period for YT and
 2   the success of the FF Group. The standstill will enable YT to focus his resources during this period

 3   on achieving the FF Group’s strategic goals, including the implementation of the IPO for the benefit
     of all creditors without the distraction of defending competing litigations in various jurisdictions. In
 4
     connection with the standstill, YT has agreed to toll any applicable statutes of limitations for
 5   creditors’ non-U.S. claims against YT. This tolling agreement allows creditors to preserve their

 6   claims against YT in the event that the standstill period has expired and the Trust Distribution
     threshold for a full release of all claims against YT has not been achieved. Without such tolling
 7
     agreement, the applicable statutory deadlines would continue to run, and the standstill period could
 8   prejudice creditors’ rights to prosecute their causes of action.

 9          As discussed throughout this Disclosure Statement, access to the Chinese market is
     instrumental to the success of the FF Group. Due to the debts that YT incurred in the PRC on behalf
10
     of his businesses, YT has been placed on the list of Dishonest Judgment Debtors in the PRC (the
11   “China Debtor List”) and is subject to numerous consumption and travel restrictions (the “China

12   Restrictions”). The removal of YT from the China Debtor List and the China Restrictions is
     necessary for YT to be able to assist the FF Group with gaining access to the Chinese market. To
13
     implement this, the second component of YT’s staged release is a mechanism negotiated by YT and
14   the Creditors’ Committee for holders of Allowed Debt Claims, Allowed China Secured Claims, and

15   Allowed Late Filed Debt Claims to request the removal of YT from the China Debtor List and lift
     any China Restrictions against YT. In order to receive a Trust Distribution from the Trustdistribution
16
     under the Plan (including Trust Distributions), holders of Allowed Debt Claims (including holders
17   of Allowed China Secured Claims treated as Allowed Debt Claims pursuant to Article 4.3 of the

18   Plan), Allowed Secured Claims, and Allowed Late Filed Debt Claims will need to demonstrate that
     they have complied with these
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             provisions of the Plan.
            The first two components are both temporary and voluntary. If YT and the FF Group do not
     achieve their strategic goals and the Trust is unable to provide distributions to holders of Allowed
     Debt Claims within four years after the Effective Date, then the standstill period will expire and such
     holders will be able to assert their tolled claims against YT in any non-U.S. jurisdiction and




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 1
     seek reinstatement of YT on the China Debtor List and the China Restrictions. If a holder of an
 2   Allowed Debt Claim chooses to not comply with the standstill or seek removal of YT from the China

 3   Debtor List/China Restrictions, such holder will not be entitled to receive any Trust Distributions
     until it complies with the provisions of Article 11.4(c) of the Plan. However, because no Trust
 4
     Distributions will be made to a non-complying creditor, such creditor’s non-U.S. claims against YT
 5   will not be released under the Plan unless the creditor receives a 20until the earlier of receiving a (a)

 6   40% recovery on its claim from Trust Distributions or (b) 100% recovery of its claim from Trust
     Distributions and Other Distributions. If, and only if, the holder of an Allowed Debt Claim (on an
 7
     individual basis) receives at least a 2040% recovery on its claim (either through distributions under
 8   the Plan or from other distributions such as recoveries against the primary obligor of the debt), then

 9   such holder will be deemed to provide YT with a full release of claims for personal liability in all
     non-U.S. jurisdictions. Any holder of an Allowed Debt Claim (including holders of Allowed China
10
     Secured Claims treated as Debt Claims pursuant to Article 4.3 of the Plan) that does not receive at
11   least a 2040% recovery on its claim through distributions under the Plan will not be deemed to release

12   YT from claims for personal liability in all non-U.S. jurisdictions. The 20%This recovery threshold
     does not apply to holders of Allowed Late Filed Date Claims as such holders are deemed to provide
13
     a full release of YT on the date of allowance of their claim. In addition, if an Allowed China Secured
14   Claim is satisfied in full prior to the initial Trust Distribution Date, on the date thereof, the holder of

15   such China Secured Claim is deemed to provide a full release of YT.
             In order to receive any Trust Distributions greater than the 2040% threshold described above,
16
     holders of Allowed Debt Claims (including Allowed China Secured Claims treated as Allowed Debt
17   Claims pursuant to Article 4.3 of the Plan) must withdraw all litigations filed against YT and Wei Gan

18   (subject to the conditions set forth in the Wei Gan Settlement) in all jurisdictions and file and execute
     any documents requested by YT or Wei Gan to evidence the full release of claims against YT and
19
     Wei Gan. This documentation will enable the Chinese Courts (as defined below) to recognize and
20   accept the release of such claims under Chinese law. If a holder of an Allowed Debt Claim does not

21   comply with either of these provisions, then the holder will be limited to a 2040% recovery of its
     claim until it complies with these requirements and such holder will not receive any
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             additional Trust Distributions, including upon the dissolution or termination of the Trust.

 1           In addition to YT’s staged release, Article 6.6 of the Plan provides for certain releases and the
     discharge of YT’s wife, Wei Gan pursuant to the settlement of Wei Gan’s claims against YT and YT’s
 2
     claims against Wei Gan that was negotiated by YT and the Creditors’ Committee. As discussed in
 3   Article IV.D above, Wei Gan, is seeking a dissolution of her marriage to YT in the PRC and is seeking

 4   the division of the community property owned by YT and Wei Gan and monthly child support
     payments. To resolve any issues regarding the contribution of certain of Wei Gan’s community
 5
     property to the Trust for the satisfaction of claims against YT and any claims that YT may have against
 6   Wei Gan, Wei Gan has agreed to make two cash payments to the Trust consisting of $1,000,000 on the

 7   Effective Date and $250,000 no later than ninety (90) days after the Effective Date. In exchange for
     such cash consideration, after the first payment is made, Wei Gan will be deemed to have an Allowed
 8
     Debt Claim against YT in the amount of $250,000,000 and will receive the benefit of being removed
 9   from the China Debtor List and the China Restrictions. If and only if the second payment is made, Wei

10   Gan’s Debt Claim will be Allowed in the amount of $500,000,000 and all holders of Allowed Debt
     Claims and Allowed Late Filed Debt Claims will be deemed to have released Wei Gan from all claims
11
     for personal liability on account of such Debt Claim or Late Filed Debt Claim in all jurisdictions. Wei
12   Gan has also agreed to waive all other claims against YT or the Trust whether arising pre or

13   postpetition, subject to any claims for child support arising out of the divorce proceeding in the PRC,
     which obligations shall be satisfied from YT’s post-Effective Date cash pursuant to Article 2.4 of the
14
     Plan.
15           In connection with raising capital for his businesses in the PRC, it was necessary for certain

16   of the Debtor’s business partners to provide guarantees of the loans made for the benefit of the
     Debtor’s businesses. As co-guarantors of YT’s debts, the Key China Business Individuals were also
17
     placed on the China Debtor List and subject to the China Restrictions. The Plan provides a
18   mechanism for Key China Business Individuals and KCBI Claimants to enter into voluntary

19   settlement agreements under Bankruptcy Rule 9019 that may provide the applicable KCBI Claimant
     with up to an additional 20% of the Allowed amount of its Debt Claim (plus interest thereon). In
20
     exchange for such consideration, under Article 11.4(c) of the Plan, each KCBI
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 1
             In addition to YT’s staged release, Article 6.6 of the Plan provides for certain releases and the
 2   discharge of YT’s wife, Wei Gan pursuant to the settlement of Wei Gan’s claims against YT and YT’s

 3   claims against Wei Gan that was negotiated by YT and the Creditors’ Committee. As discussed in
     Article IV.D above, Wei Gan, is seeking a dissolution of her marriage to YT in the PRC and is seeking
 4
     the division of the community property owned by YT and Wei Gan and monthly child support
 5   payments. To resolve any issues regarding the contribution of certain of Wei Gan’s community

 6   property to the Trust for the satisfaction of claims against YT and any claims that YT may have against
     Wei Gan, Wei Gan has agreed to make two cash payments to the Trust consisting of $1,000,000 on the
 7
     Effective Date and $250,000 no later than ninety (90) days after the Effective Date. In exchange for
 8   such cash consideration, after the first payment is made, Wei Gan will be deemed to have an Allowed

 9   Debt Claim against YT in the amount of $250,000,000 and will receive the benefit of being removed
     from the China Debtor List and the China Restrictions. If and only if the second payment is made, all
10
     holders of Allowed Debt Claims and Allowed Late Filed Debt Claims will be deemed to have released
11   Wei Gan from all claims for personal liability on account of such Debt Claim or Late Filed Debt Claim

12   in all jurisdictions. Wei Gan has also agreed to waive all other claims against YT or the Trust whether
     arising pre or postpetition, subject to any claims for child support arising out of the divorce proceeding
13
     in the PRC, which obligations shall be satisfied from YT’s post-Effective Date cash pursuant to Article
14   2.4 of the Plan.

15           In connection with raising capital for his businesses in the PRC, it was necessary for certain of
     the Debtor’s business partners to provide guarantees of the loans made for the benefit of the Debtor’s
16
     businesses. As co-guarantors of YT’s debts, the Key China Business Individuals were also placed on
17   the China Debtor List and subject to the China Restrictions. The Plan provides a mechanism for Key

18   China Business Individuals and KCBI Claimants to enter into voluntary settlement agreements under
     Bankruptcy Rule 9019 that may provide the applicable KCBI Claimant with up to an additional 5% of
19
     the Allowed amount of its Debt Claim Allocation Amount. In exchange for such consideration, under
20   Article 11.4(c) of the Plan, each KCBI Claimant will request the removal of the applicable Key China

21   Business Individual from the China Debtor List and lift any China Restrictions against such Key China
     Business Individual. Once an applicable
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     KCBI Claimant receives at least a 2040% recovery on its Allowed Debt Claim, such KCBI Claimant
 2   will be deemed to release the applicable Key China Business Individual of his or her guaranty

 3   obligations on behalf of the Debtor. Any KCBI Settlements will be included in the Plan Supplement.

 4                 b.      Releases by the Debtor
            Article 11.4(a) of the Plan provides that, upon the Effective Date, for good and valuable
 5   consideration, the adequacy of which is hereby confirmed, the Debtor, in his individual capacity

 6   and as debtor in possession, shall be deemed forever to release, waive, and discharge (x) the
     Estate; (y) all Persons engaged or retained by the Debtor in connection with the Chapter 11
 7
     Case (including in connection with the preparation of and analyses relating to the Disclosure
 8   Statement and the Plan); and (z) any and all advisors, attorneys, actuaries, financial advisors,

 9   accountants, investment bankers, agents, professionals, consultants, and representatives of each
     of the foregoing Persons and Entities (whether current or former, in each case in his, her, or its
10
     capacity as such), from any and all claims, obligations, suits, judgments, damages, demands,
11   debts, rights, remedies, actions, Causes of Action, and liabilities, whether for tort, fraud,

12   contract, recharacterization, subordination, violations of federal or state securities laws (other
     than the rights of the Debtor or Reorganized Debtor to enforce the terms of the Plan and the
13
     contracts, instruments, releases, and other agreements or documents delivered in connection
14   with the Plan), whether liquidated or unliquidated, fixed or contingent, matured or unmatured,

15   known or unknown, foreseen or unforeseen, then-existing or thereafter arising, at law, in equity,
     or otherwise, based in whole or in part on any act, omission, transaction, event or other
16
     occurrence, or circumstances taking place on or before the Effective Date, in any way relating
17   to (i) the Debtor or the Chapter 11 Case; (ii) any action or omission of any Released Party with

18   respect to any indebtedness under which the Debtor is or was a borrower or guarantor; (iii) any
     Released Party in any such Released Party’s capacity as an employee, or agent of, or advisor to,
19
     or consultant to, the
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            Debtor; (iv) the subject matter of, or the transactions or events giving rise to, any claim
     that is treated in the Plan; (v) the business or contractual arrangements between the Debtor and




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     any Released Party; (vi) the restructuring of claims before or during the Chapter 11 Case;
 2
     and (vii) the negotiation, formulation, preparation, or dissemination of the Plan (including,
 3
     for the avoidance of doubt, the Plan Supplement), the Disclosure Statement, or related
 4
     agreements, instruments, or other documents, other than claims or liabilities arising out of or
 5
     relating to any act or omission of a Released Party that is determined by a Final Order to have
 6
     constituted willful misconduct, fraud, or gross negligence. The Reorganized Debtor shall be
 7
     bound, to the same extent the Debtor is bound, by the releases and discharges set forth above.
 8
            Article 11.4(a) of the Plan further provides that, entry of the Confirmation Order shall
 9
     constitute the Bankruptcy Court’s approval, pursuant to Bankruptcy Rule 9019, of the
10
     releases described in this Article 11.4(a) by the Debtor, which includes by reference each of
11
     the related provisions and definitions contained in the Plan, and further, shall constitute its
12
     finding that each release described in this Article 11.4(a) is: (i) in exchange for the good and
13
     valuable consideration provided by the Released Parties, a good faith settlement and
14
     compromise of such claims; (ii) in the best interests of the Debtor and all holders of claims;
15
     (iii) fair, equitable, and reasonable; (iv) given and made after due notice and opportunity for
16
     hearing; and (v) a bar to any of the Releasing Parties asserting any claim, Cause of Action, or
17
18   liability related thereto, of any kind whatsoever, against any of the Released Parties or their

19   property.

20                 c.      Releases by Holders of Non-Debt Claims
21          Article 11.4(b) of the Plan provides that, on the Effective Date, to the maximum extent

22   permitted by applicable law, each Releasing Party, in consideration for the obligations of the

23   Debtor and the Reorganized Debtor under the Plan, and the Trust Interests and cash and other

24   contracts, instruments, releases, agreements, or documents to be delivered in connection with

25   the Plan, shall be deemed forever to release, waive, and discharge the Released Parties from

26   personal liability in every jurisdiction from any and all claims,
27           obligations, suits, judgments, damages, demands, debts, rights, remedies, actions,
28   Causes of Action, and liabilities whatsoever, including any derivative claims asserted or
     assertable on




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     behalf of the Debtor, whether for tort, fraud, contract, recharacterization, subordination,
 2
     violations of federal or state securities laws or laws of any other jurisdiction or otherwise,
 3
     whether liquidated or unliquidated, fixed or contingent, matured or unmatured, known or
 4
     unknown, foreseen or unforeseen, then-existing or thereafter arising, at law, in equity, or
 5   otherwise, based in whole or in part on any act, omission, transaction, event, or other occurrence,
 6   or circumstances taking place on or before the Effective Date, in any way relating to (i) the
 7   Debtor or the Chapter 11 Case; (ii) any action or omission of any Released Party with respect to
 8   any indebtedness under which the Debtor is or was a borrower or guarantor; (iii) any Released
 9   Party in any such Released Party’s capacity as an employee, agent of, or advisor to, or consultant
10   to, the Debtor; (iv) the subject matter of, or the transactions or events giving rise to, any claim
11   that is treated in the Plan; (v) the business or contractual arrangements between the Debtor and
12   any Released Party; (vi) the restructuring of claims before or during the Chapter 11 Case and
13   the solicitation of votes with respect to the Plan; and (vii) the negotiation, formulation,
14   preparation, entry into, or dissemination of the Plan (including, for the avoidance of doubt, the
15   Plan Supplement and all documents contained or referred to therein), the Disclosure Statement,
16   or related agreements, instruments, or other documents. Notwithstanding anything contained
17   herein to the contrary, the foregoing release (x) does not release any obligations of any party
18   under the Plan or any document, instrument, or agreement (including those set forth in the Plan
19   Supplement) executed to implement the Plan or (y) shall only apply to holders of Non-Debt
20   Claims in their capacity as a holder of a Non-Debt Claim and shall not apply to any other claims
21   such holder may have, including, without limitation, any Deficiency Claim.
22          Article 11.4(b) of the Plan further provides that, in connection with the releases

23   described in Article 11.4(b) of the Plan, each Releasing Party shall waive all rights conferred

24   by the provisions of section 1542 of the California Civil Code and/or any similar state or

25   federal law. Section 1542 of the California Civil Code provides as follows: “A GENERAL

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           RELEASE DOES NOT EXTEND TO CLAIMS WHICH THE CREDITOR DOES
     NOT KNOW OR SUSPECT TO EXIST IN HIS OR HER FAVOR AT THE TIME OF
     EXECUTING THE RELEASE, WHICH IF KNOWN BY HIM OR HER MUST HAVE




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     MATERIALLY AFFECTED HIS OR HER SETTLEMENT WITH THE DEBTOR.”

 3          Article 11.4(b) of the Plan further provides that, entry of the Confirmation Order shall
 4   constitute the Bankruptcy Court’s approval, pursuant to Bankruptcy Rule 9019, of the
 5
     releases described in Article 11.4(b) of the Plan, which includes by reference each of the
 6
 7   related provisions and the Plan, and further, shall constitute its finding that each release
 8   described in Article 11.4(b) is: (i) in exchange for the good and valuable consideration
 9
     provided by the Released Parties, a good faith settlement and compromise of such claims;
10
11   (ii) in the best interests of the Debtor and all holders of claims; (iii) fair, equitable, and
12
     reasonable; (iv) given and made after due notice and opportunity for hearing; and (v) a bar
13
     to any of the Releasing Parties asserting any claim, Cause of Action, or liability related
14
15   thereto, of any kind whatsoever, against any of the Released Parties or their property.
16                  d.     Standstill and Releases by Holders of Allowed Debt Claims, Allowed China
                           Secured Claims, and Allowed Late Filed Debt Claims
17
18          Article 11.4(c) of the Plan provides that, to the maximum extent permitted by

19   applicable law, each holder of an Allowed Debt Claim or Allowed China Secured Claim shall
20
     agree for a period of four years after the Effective Date (the “Standstill Period”) to not assert
21
     any new Causes of Action against the Debtor for personal liability directly or derivatively in
22
23   its capacity as a creditor of a claim owed solely or jointly by the Debtor (including unwinding

24   or alter ego type claims) in any non-U.S. jurisdiction (the “YT Claims”); provided, however,
25   that such holder may

26   that such holder may continue to prosecute any actions commenced prepetition against the
27   Debtor up to judgment and pursue Other Distributions through judicial authorities in the
28
     PRC to satisfy such holder’s Debt Claim or China Secured Claim through a mechanism that

     will be mutually agreed to by the parties, including claims against primary obligors solely

     based on such holder’s contractual agreements with such primary obligors (for the avoidance
     of doubt, such holder may not

     of doubt, such holder may not bring unwinding or alter ego type claims against such primary
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     obligors); provided further, however, that the Standstill Period shall terminate in the event a




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 1
     that the Standstill Period shall terminate in the event a Liquidation Event occurs during the
     Standstill Period. All limitations periods applicable to

     all YT Claims in any non-U.S. jurisdictions, to the extent not previously expired, shall be




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 1



 1   tolled for the duration of the Standstill Period.
             Article 11.4(c) of the Plan further provides that, each holder of an Allowed Debt Claim,
 2
     China Secured Claim, or Allowed Late Filed Debt Claim shall, within ninety (90) days after
 3
     the later to occur of (i) the Effective Date and (ii) the date such Debt Claim, China Secured
 4
     Claim, or Late Filed Debt Claim becomes Allowed, (x) take the steps and provide the
 5
     documents described in the Trust Agreement to notify the applicable court or courts in the
 6
     PRC (the “Chinese Courts”) that (A) the Debtor and such holder and (B) if applicable, the
 7
     KCBI Claimant and the applicable Key China Business Individual have reached a settlement
 8
     agreement that is embodied in and has been implemented through the Plan and request that
 9
     the Chinese Courts remove the Debtor from the China Debtor List and lift any China
10
     Restrictions, as applicable, and (y) refrain from taking any action during the Standstill Period
11
     to cause (A) the Debtor or (B) if applicable, the Key China Business Individual to be reinstated
12
     on the China Debtor List or be subject to the China Restrictions (the “China Debtor List
13
     Covenant”).
14
            Article 11.4(c) of the Plan further provides that, before anyas a condition to receiving
15
16   Plan Distributions (including Trust Distributions are made to the), each holder of an Allowed

17   Debt Claim or an (including the holder of an Allowed China Secured Claim treated as an

18   Allowed Debt Claim pursuant to Article 4.3 of the Plan), Allowed China Secured Claim, or

19   Allowed Late Filed Debt Claim, such holder shall provide an affidavit that (i) certifies to the

20   Trustee within ninety (90) days after the date such Debt Claim, China Secured Claim, or Late

21   Filed Debt Claim becomes Allowed that certifies (i) such holder’s compliance with the China

22   Debtor List Covenant, (ii) certifies that they havesuch holder has not initiated, and will not

23   initiate, any YT Claims during the Standstill Period or after the Liability Release Date, as
24   applicable, (iii) identifies any amounts received from Other Distributions as of the date of the
25   affidavit, and (iv) certifies, and (iii) if applicable, such holder’s compliance with Article 6.6 of
26   the Plan and the release of Wei Gan’s personal liability pursuant to the Wei Gan Settlement. If
27   the holder of an Allowed Debt Claim, Allowed China Secured Claim, or Allowed Late Filed
28   Debt Claim fails to submit the above affidavit, submits an affidavit containing falsified
     information, or breaches the affidavit, such holder shall forfeit its Plan Distributions (including
     any Trust Interests) and such Plan Distributions shall revert to the Trust for the ratable benefit
     of holders of Allowed
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 1
 2   Debt Claims and the Reorganized Debtor pursuant to the Distribution Trust Waterfall.
           Article 11.4(c) of the Plan further provides that, subject to approval of the applicable
 3
     KCBI Settlement, before any Trust Distributions are made to an applicable KCBI Claimant,
 4
     such claimant shall provide an affidavit that certifies such claimant’s compliance with the
 5
     China Debtor List Covenant with respect to the applicable Key China Business Individual.
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            Article 11.4(c)Main
                           of theDocument
                                  Plan further provides
                                               Page 146that eachupon the earlier of a holder of an
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      (i) Allowed Late Filed Debt Claim, on the date of allowance of such Late Filed Debt Claim or
      (ii) Allowed Debt Claim, once it has received (including the holder of an Allowed China Secured
      Claim treated as an Allowed Debt Claim pursuant to Article 4.3 of the Plan) receiving (i) Trust
      Distributions that, in the aggregate, are equal to 40% of its Debt Claim Allocation Amount and
      (ii) Trust Distributions and Other Distributions (from enforcement or other actions) that, in
      the aggregate, are equal to 20100% of its Allowed Debt Claim Allocation Amount (the date
      upon which the foregoing condition occurs is the “Liability Release Date”), such holder (x)
      shall be deemed to have released the YT Claims on account of such Debt Claim or Late Filed
      Debt Claim in every jurisdiction and (y) agrees that it shall not assert any new, or continue to
      prosecute any existing, YT Claims related to such Debt Claim or Late Filed Debt Claim in
      every jurisdiction; provided, however, that the foregoing release shall not release, waive, or
      otherwise impact the rights of such holder to receive further Trust Distributions or to pursue
      and receive Other Distributions through a mechanism that will be mutually agreed to by the
      parties.; provided further, however, that if an Allowed China Secured Claim is satisfied in full
      prior to the initial Trust Distribution Date, on the date thereof, the holder of such China
      Secured Claim (A) shall be deemed to have released the YT Claims on account of such China
      Secured Claim in every jurisdiction and (B) agrees that it shall not assert any new, or continue
      to prosecute any existing, YT Claims related to such China Secured Claim in every jurisdiction.
             Article 11.4(c) of the Plan further provides that each holder of an Allowed Late Filed
      Debt Claim, on the date of allowance of such Late Filed Debt Claim (i) shall be deemed to have
      released the YT Claims on account of such Late Filed Debt Claim in every jurisdiction and
      (ii) agrees that it shall not assert any new, or continue to prosecute any existing, YT Claims
      related to such Late Filed Debt Claim in every jurisdiction.




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 1
 2           Article 11.4(c) of the Plan further provides that within ninety (90) days after the
     (i) applicable Liability Release Date with respect to Allowed Debt Claims (including Allowed
 3
     China Secured Claims treated as Allowed Debt Claims pursuant to Article 4.3 of the Plan),
 4
     Article 11.4(c) of the Plan further provides that within ninety (90) days after the applicable(ii)
 5
     the date of satisfaction in full of an Allowed China Secured Claim and, if applicable, the
 6
     occurrence of the Liability Release Date with respect to any Deficiency Claim on account of such
 7
     Allowed Debt Claims orChina Secured Claim, or (iii) the date of allowance of a Late Filed Debt
 8
     Claim, each holder of an Allowed Debt Claim, Allowed China Secured Claim, or Allowed Late
 9
     Filed Debt Claim shall (as a condition to receiving further Trust Distributions, including any
10
     Trust Distributions upon the termination or dissolution of the Trust) (ix) withdraw or retract
11
     any litigations, enforcement actions, arbitrations, and any other proceedings against the Debtor
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     from the courts and judicial authorities in all jurisdictions, including, but not limited to, the
13
     Chinese Courts, or confirm with the judicial authorities that the Debtor has settled all of his
14
     debt obligations or legal responsibilities to such holder and (iiy) file and execute any documents
15
     requested by the Debtor to evidence the above release. The Debtor reserves all rights to seek
16
     enforcement by the Chinese judicial authorities of the rights provided herein.
17
18          Article 11.4(c) of the Plan further provides, that subject to approval of the applicable

19   KCBI Settlement, upon the Liability Release Date, each applicable KCBI Claimant shall

20   release the applicable Key China Business Individual of his or her guaranty obligations on

21   behalf of the Debtor.

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            Article 11.4(c) of the Plan further provides that, in connection with the releases
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            described in Article 11.4(c) of the Plan,
                         Main Document          Pageeach
                                                      148holder
                                                         of 529of an Allowed Debt Claim, Allowed
      China Secured Claim, or Allowed Late Filed Debt Claim shall waive all rights conferred by
      the provisions of section 1542 of the California Civil Code and/or any similar state or federal
      law. Section 1542 of the California Civil Code provides as follows: “A GENERAL RELEASE
      DOES NOT EXTEND TO CLAIMS WHICH THE CREDITOR DOES NOT KNOW OR
      SUSPECT TO EXIST IN HIS OR HER FAVOR AT THE TIME OF EXECUTING THE
      RELEASE, WHICH IF KNOWN BY HIM OR HER MUST HAVE MATERIALLY
      AFFECTED HIS OR HER SETTLEMENT WITH THE DEBTOR.”




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 1
            Article 11.4(c) of the Plan further provides that, entry of the Confirmation Order shall
 2   constitute the Bankruptcy Court’s approval, pursuant to Bankruptcy Rule 9019, of the

 3   releases described in Article 11.4(c) of the Plan, which includes by reference each of the related
     provisions and definitions contained in the Plan, and further, shall constitute its finding that
 4
     each release described in Article 11.4(c) is: (i) in exchange for the good and valuable
 5   consideration provided by the Debtor and Reorganized Debtor, a good faith settlement and

 6   compromise of such claims; (ii) in the best interests of the Debtor and all holders of claims;
     (iii) fair, equitable, and reasonable; (iv) given and made after due notice and opportunity for
 7
     hearing; and (v) except as otherwise provided in the Plan, a bar to any holder of an Allowed
 8   Debt Claim or Allowed Late Filed Debt Claim asserting any claim, Cause of Action, or liability

 9   related thereto, of any kind whatsoever, against the Debtor or Reorganized Debtor.

10          3.      Wei Gan Settlement
            Article 6.6 of the Plan provides for the approval, pursuant to Bankruptcy Rule 9019, of the
11   Wei Gan Settlement. In exchange for, and subject to (a) a cash contribution from Wei Gan in the

12   amount of $1,000,000 to the Trust on the Effective Date, which shall constitute Trust Assets (the
     “Effective Date Wei Gan Payment”), (b) a cash payment of $250,000 to the Trust no later than
13
     ninety (90) days after the Effective Date (the “Second Wei Gan Payment”), (c) Wei Gan’s
14   agreement not to assert any other prepetition or postpetition claims against the Debtor (excluding

15   the Wei Gan Domestic Support Obligations) or the Trust, and (d) execution of the Wei Gan
     Declaration (collectively, (a), (b), (c), and (d) are the “Wei Gan
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            Release Consideration”), the following
                         Main Document         Pageshall
                                                     150 occur:
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             (a)    Upon the Effective Date Wei Gan Payment, (i) the China Debtor Covenant shall
 1
 1    apply to Wei Gan; and (ii) Wei Gan’s alleged Debt Claim against the Debtor [Claim No. 20004]
 2    shall be treated as an Allowed Debt Claim in the amount of $250,000,000.
 2
 3           (b)    Upon the Second Wei Gan Payment, (the date upon which the foregoing
 34
      condition occurs is the “Wei Gan Liability Release Date”), (i) Wei Gan’s alleged Debt Claim
 5
 4    against the Debtor [Claim No. 20004] shall be treated as an Allowed Debt Claim in the amount
 6    of $500,000,000; and (ii) each holder of an (xi) Allowed Late Filed Debt Claim, on the date of
 5
 7    allowance of such Late Filed Debt Claim or (yii) Allowed Debt
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 1   Claim (Ax) shall, in addition to the discharge of community claims under section 524(a) of the

 2   Bankruptcy Code, be deemed to have released any Causes of Action against Wei Gan for

 3   personal liability or derivatively in its capacity as a creditor of a claim owed solely or jointly

 4   by Wei Gan (including unwinding or alter ego type claims) in any jurisdiction (the “Wei Gan

 5   Claims”) on account of such Debt Claim or Late Filed Debt Claim to the maximum extent

 6   permitted by applicable law and (By) agrees that it shall not assert any new, or continue to

 7   prosecute any existing, Wei Gan Claims related to such Debt Claim or Late Filed Debt Claim

 8   in every jurisdiction.
 9          Article 6.6 of the Plan provides further that within ninety (90) days after the Wei Gan
10   Liability Release Date with respect to an Allowed Debt Claim or the date of allowance of an
11   Allowed Late Filed Debt Claim, each holder of an Allowed Debt Claim or Allowed Late Filed
12   Debt Claim shall (as a condition to receiving further Trust Distributions, including any Trust
13   Distributions upon the termination or dissolution of the Trust) (a) withdraw or retract any
14   litigations, enforcement actions, arbitrations, and any other proceedings against Wei Gan from
15   the courts and judicial authorities in all jurisdictions, including, but not limited to, the Chinese
16   Courts, or confirm with the judicial authorities that Wei Gan has settled all of her debt
17   obligations or legal responsibilities to such holder and (b) file and execute any documents
18   requested by Wei Gan to evidence the above release. Wei Gan reserves all rights to seek
19   enforcement by the Chinese judicial authorities of the rights provided herein.
20
            Article 6.6 of the Plan provides further that, in connection with the releases described
21
            in Article 6.6 of the Plan, each holder of an Allowed Debt Claim and/or Allowed Late
22
     Filed Debt Claim shall waive all rights conferred by the provisions of section 1542 of the
23
     California Civil Code and/or any similar state or federal law. Section 1542 of the California
24
     Civil Code provides as follows: “A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS
25
     WHICH THE CREDITOR DOES NOT KNOW OR SUSPECT TO EXIST IN HIS OR HER
26
     FAVOR AT THE TIME OF EXECUTING THE RELEASE, WHICH IF KNOWN BY HIM
27
     OR HER MUST HAVE MATERIALLY AFFECTED HIS OR HER SETTLEMENT WITH
28
     THE DEBTOR.”




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 1
            Article 6.6 of the Plan provides further that, entry of the Confirmation Order shall
 2
     constitute the Bankruptcy Court’s approval, pursuant to Bankruptcy Rule 9019, of the
 3
     releases described in Article 6.6 of the Plan, which includes by reference each of the related
 4
     provisions and definitions contained in the Plan, and further, shall constitute its finding that
 5
     each release described in Article 6.6 is: (a) in exchange for the good and valuable consideration
 6
     provided by Wei Gan, a good faith settlement and compromise of such claims; (b) in the best
 7
     interests of the Debtor and all holders of claims; (c) fair, equitable, and reasonable; (d) given
 8
     and made after due notice and opportunity for hearing; and (e) except as otherwise provided
 9
     in the Plan, a bar to any holder of an Allowed Debt Claim or Allowed Late Filed Debt Claim
10
     asserting any claim, Cause of Action, or liability related thereto, of any kind whatsoever,
11
     against Wei Gan.
12
13          4.      Exculpation and Limitation of Liability
            Article 11.5 of the Plan provides that none of YT or the Reorganized Debtor, or the direct
14
     or indirect affiliates, employees, advisors, attorneys, financial advisors, accountants, investment
15
     bankers, agents, consultants, or other professionals (whether current or former, in each case, in
16
     his, her, or its capacity as such) of YT or the Reorganized Debtor, or the Released Parties shall
17
18   have or incur any liability to, or be subject to any right of action by, any holder of a claim, or

19   any other party in interest in the chapter 11 case, or any of their respective agents, employees,

20   representatives, financial advisors, attorneys or agents acting in such capacity, or direct or

21   indirect affiliates, or any of their successors or assigns, for any

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            act or omission in connection
                         Main  Document with, relating
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                                                  153 of    or arising out of, the chapter 11 case,
      formulation,    negotiation,    preparation,    dissemination,    confirmation,     solicitation,
      implementation, or administration of the Plan, the Plan Supplement and all documents
      contained or referred to therein, the Disclosure Statement, any contract, instrument, release or
      other agreement or document created or entered into in connection with the Plan, or any other
      pre- or postpetition act taken or omitted to be taken in connection with or in contemplation of
      the restructuring of YT or confirming or consummating the Plan (including the distribution of
      any property under the Plan); provided, however, that the foregoing




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 1
     provisions of Article 11.5 of the Plan shall have no effect on the liability of any Person or Entity
 2
     that results from any such act or omission that is determined by a Final Order to have
 3
     constituted willful misconduct, fraud, or gross negligence and shall not impact the right of any
 4
     holder of a claim, or any other party to enforce the terms of the Plan and the contracts,
 5
     instruments, releases, and other agreements or documents delivered in connection with the
 6
     Plan. Without limiting the generality of the foregoing, YT and YT’s direct or indirect
 7
     affiliates, employees, advisors, attorneys, financial advisors, accountants, investment bankers,
 8
     agents, consultants, and other professionals (whether current or former, in each case, in his,
 9
     her, or its capacity as such) shall, in all respects, be entitled to reasonably rely upon the advice
10                                                                                                          1
     of counsel with respect to their duties and responsibilities under the Plan. The exculpated            0
11
     parties have participated in good faith and in compliance with the applicable provisions of the        1
12
     Bankruptcy Code with regard to the solicitation and distribution of the securities pursuant to         1
13
     the Plan, and, therefore, are not, and on account of such distributions shall not be, liable at        1
14                                                                                                          2
     any time for the violation of any applicable law, rule, or regulation governing the solicitation
15                                                                                                          1
     of acceptances or rejections of the Plan or such distributions made pursuant to the Plan. This         3
16
     exculpation shall be in addition to, and not in limitation of, all other releases, indemnities,        1
17
     exculpations, and any other applicable law or rules protecting such exculpating parties from           4
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     liability.                                                                                             1
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                   a.      General
            Article 11.6(a) of the Plan provides that all Persons or Entities who have held, hold, or
     may hold claims (other than claims that are reinstated under the Plan), and all other parties in
     interest in the Chapter 11 Case, along with their respective current and former employees,
     agents, officers, directors, principals, and direct and indirect affiliates, are permanently
     enjoined, from and after the Effective Date, from, in respect of any claim or Cause of Action
     released or settled hereunder, (i) commencing, conducting, or continuing in any manner,
     directly or indirectly, any suit, action, or other proceeding of any kind (including, without
     limitation, any proceeding in a judicial, arbitral, administrative, or other forum) against the




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 1
     Released Parties, the Key China Business Individuals, Wei Gan, the Debtor, or the Reorganized
 2   Debtor, or in respect of any claim or Cause of Action released or settled hereunder; (ii)

 3   enforcing, levying, attaching, collecting, or otherwise recovering by any manner or means,
     whether directly or indirectly, of any judgment, award, decree, or order against the Released
 4
     Parties, the Key China Business Individuals, Wei Gan, the Debtor, or the Reorganized Debtor;
 5   (iii) creating, perfecting, or enforcing in any manner, directly or indirectly, any encumbrance

 6   of any kind against the Released Parties, the Key China Business Individuals, Wei Gan, the
     Debtor, or the Reorganized Debtor; (iv) asserting any right of setoff, subrogation, or
 7
     recoupment of any kind, against any obligation due from the Released Parties, the Key China
 8   Business Individuals, Wei Gan, the Debtor, or the Reorganized Debtor, or against the property

 9   or interests in property of the Debtor or Reorganized Debtor, on account of such claims; or (v)
     commencing or continuing in any manner any action or other proceeding of any kind on account
10
     of, in connection with, or with respect to any such claims released or settled pursuant to the
11   Plan; provided, however, that nothing contained herein shall preclude such Entities from

12   exercising their rights pursuant to and consistent with the terms of the Plan and the contracts,
     instruments, releases, and other agreements and documents delivered under or in connection
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     with the Plan.
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                   b.     Main  Document
                          Injunction           Page 157With
                                     Against Interference of 529
                                                              the Plan
            Article 11.6(b) of the Plan provides that upon entry of the Confirmation Order, all
      holders of claims and their respective current and former employees, agents, officers,
      directors, principals, and direct and indirect affiliates shall be enjoined from taking any
      actions to interfere with the implementation or consummation of the Plan. Each holder of an
      Allowed Claim, by accepting, or being eligible to accept, distributions under or reinstatement
      of such claim, as applicable, pursuant to the Plan, shall be deemed to have consented to the
      injunction provisions set forth in Article 11.6 of the Plan.

      N.     Conditions Precedent to Confirmation and the Effective Date

             Article 10.1 of the Plan sets forth the conditions precedent to confirmation of the Plan,

      which consist of approval of the Disclosure Statement and entry of the Confirmation Order.




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 1
            Article 10.2 of the Plan sets forth the conditions precedent to the Effective Date, which consist
 2   of (a) the Confirmation Order becoming a Final Order, (b) the Discharge Date having occurred, (c)

 3   the documents comprising the Plan Supplement (including the Trust Agreement) having been
     executed and delivered and the conditions to effectiveness thereof having been satisfied, (d) all actions
 4
     and consents necessary to implement the Plan having been effected (and all documents necessary to
 5   implement the Plan having been executed and delivered and/or filed with applicable governmental

 6   units), (e) the receipt of necessary governmental approvals, (f) the Trust having received access to
     funding under the Exit Financing and all amounts necessary to make any payments required to be
 7
     made in connection with the Plan (including, without limitation, Administrative Expense Claims and
 8   approved professional fees) shall have been deposited into escrow, and (g) the Declarations shall have

 9   been delivered to the Creditors’ Committee.
            Article 10.3 of the Plan permits the Debtor to waive in writing any of the conditions
10
     precedent to confirmation of the Plan or the Effective Date; provided, however, that the condition
11   precedent in Article 10.2(g) of the Plan may be waived, in whole or in part, by the Debtor, only with

12   the reasonable consent of the Creditors’ Committee. Article 10.4 of the Plan provides that, in the
     event the Effective Date does not occur due to the failure of the conditions precedent set forth in
13
     Article X of the Plan, the Confirmation Order and Plan will be of no force and effect, no
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            distributions shall
                           MainbeDocument
                                  made, no executory contracts
                                              Page 159  of 529or unexpired leases shall be deemed
      assumed, assumed and assigned, or rejected by operation of the Plan, parties shall be restored to the
      pre-confirmation status quo ante, and nothing in the Plan or Disclosure Statement will (i) release
      any claims against the Debtor or any claims belonging to the Debtor, (ii) prejudice in any manner
      the rights of the Debtor or any other Entity, or (iii) constitute an admission, acknowledgement, offer,
      or undertaking by the Debtor.

                                                        V.
                                                THE TRUST
               The following definitions are essential to understanding the Trust to be established
      under the Plan.

               The Plan defines “Liquidation Event” to mean, with respect to Pacific Technology, FF
      Global




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 1
     Intelligent, any of their respective material, direct or indirect, subsidiaries, or any future public listing
 2   vehicle for the subsidiaries of FF GlobalIntelligent or Pacific Technology, each of the following

 3   events to the extent that the event materially reduces the direct or indirect percentage ownership in FF
     GlobalIntelligent or such other future public listing vehicle by the Trust other than by virtue of an
 4
     equity investment by a bona fide third party: (a) the commencement of an assignment for the benefit
 5   of creditors, a receivership, a case under chapter 7 of the Bankruptcy Code, or a similar insolvency

 6   proceeding; (b) the effective date of a liquidating plan under chapter 11 of the Bankruptcy Code; or
     (c) the effective date of a reorganization plan under chapter 11 of the Bankruptcy Code, provided that
 7
     internal reorganizations (including mergers or dissolutions for tax or other purposes) that do not
 8   adversely impact the value of the Trust’s direct or indirect interests in FF GlobalIntelligent or such

 9   other future public listing vehicle are not intended to be Liquidation Events.
                The Plan defines “Seized China Assets” to mean any assets that (a) (i) have already been
10
     collateralized by the Debtor or an obligor, guarantor, or pledgor, (ii) have already been pledged by
11   the Debtor or an obligor, guarantor, or pledgor, or (iii) the Debtor, or an obligor, guarantor, or

12   pledgor owns and (b) have been seized, attached, or frozen by Chinese judiciary authorities in
     connection with Chinese enforcement actions on account of any Debt Claims.
13

14              The Plan defines “FF GlobalIntelligent Transfer Right” to mean the Debtor’s contractual
     right to
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            direct Pacific Main
                           Technology to directPage
                                Document        FF Peak to 529
                                                    161 of direct FF Top to transfer the Trust FF
      GlobalIntelligent Shares to the Trust.
 1
      A.     Creation of the Trust
             Each holder of an Allowed Debt Claim or Allowed Late Filed Debt Claim shall receive a
 2
      beneficial interest (a “Trust Interest”) in the Creditor Trust or the Late Filed Debt Claims Reserve,
 3
      as applicable, based on the formulas set forth belowDebt Claim Allocation Amount of such claim.
 4    The Trust will preserve, hold, manage, and maximize the Trust Assets for use in paying and satisfying
      the holders’ claims upon the earlier to occur of (x) the consummation of a Liquidation Event or a
 5
      Distribution Event (as defined below) and (y) the termination of the Trust in accordance with the
 6
      Trust Agreement.
 7           Article 6.2(a) of the Plan provides that on the Effective Date, the managing member of Pacific
      Technology shall amend the PT LLCA to: (a) provide that the Trust is a member of Pacific
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 1
     Technology and the holder of 100% of the Preferred PT Units); (b) issue new units of Pacific
 2   Technology to the Trust (the “New PT Units”), entitling the Trust to 100% of the Trust FF

 3   GlobalIntelligent Shares; and (c) grant the Trust a fully paid-up warrant to receive the Trust FF
     GlobalIntelligent Shares consistent with the FF GlobalIntelligent Transfer Right with no further
 4
     action by the Debtor, exercisable upon the dissolution of the Injunctions (the “Warrant”).
 5          Article 6.2(a) of the Plan further provides that the Preferred PT Units and the New PT Units

 6   shall vest in the Trust free and clear of any and all liens, claims, encumbrances, contractual
     restrictions, and other interests pursuant to section 363 of the Bankruptcy Code; provided that the
 7
     Preferred PT Units and the New PT Units shall be subject to the PT LLCA as amended on the
 8   Effective Date pursuant to, and consistent in all material respects with, the Amended Plan Term

 9   Sheet and the Plan. For so long as the Preferred PT Units are outstanding, Pacific Technology and
     its managing member shall be prohibited from amending the PT LLCA in any manner that adversely
10
     affects the rights and claims provided to the Trust as set forth in the Plan and the Amended Plan
11   Term Sheet.

12          Article 6.2(a) of the Plan further provides that upon the dissolution of the BVI Injunctions,
     the Trustee may exercise the Warrant and direct FF Top to transfer the Trust FF GlobalIntelligent
13
     Shares directly to the Trust pursuant to the FF GlobalIntelligent M&A, provided that the Trustee
14   shall exercise the Warrant no later than in connection with the IPO. Upon the indefeasible transfer

15   of the Trust FF
             Intelligent
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            Global Shares Main
                          to theDocument
                                 Trust pursuantPage
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                                                       Warrant,
                                                          of 529the New PT Units shall be deemed
      retired.
 1
      B.         The Trust Assets
                 The assets of the Trust will consist of the following: (i) 100% of the Preferred PT Units; (ii)
 2
      100% of the New PT Units; (iii) the Warrant; (iv) following the exercise of the Warrant and the
 3
      indefeasible transfer of the Trust FF GlobalIntelligent Shares to the Trust, the Trust FF
 4    GlobalIntelligent Shares; (v) all financial assets of the Debtor (i.e., accounts, security, or real property)
      wherever located, whether owned directly or through any nominee, including, but not limited, to any
 5
      Seized China Assets of the Debtor in existence as of the Effective Date and remaining after the
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      satisfaction of any claims recoverable from such assets under applicable law but excluding (x) any
 7    exempt assets

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 1
     of the Debtor under section 522 of the Bankruptcy Code, (y) income of the Debtor after the Petition
 2   Date listed on Schedule J of the Schedules, or (z) the Debtor’s rental agreements with Warm Time

 3   and any income derived from such rental agreements, or the proceeds thereof, provided that the
     inclusion of such assets in the Trust does not include the right to assert (A) any YT Claims except as
 4
     set forth in Article 11.4(c) of the Plan and (B) Causes of Action of the Debtor’s estate except for those
 5   expressly permitted in Article 11.9 of the Plan; (vi) all interests, claims, and Causes of Action owned

 6   by the Debtor (including through any nominee) in connection with Beijing Dongfang Cheyun
     Information Technology Co., Ltd.; (vii) the rights to recover property in accordance with Article 11.9
 7
     of the Plan and all proceeds thereof; (viii) the Call Option, subject to certain rights of FF GP, as set
 8   forth below in Article 6.2(l) of the Plan, which Call Option may not be exercised or transferred by the

 9   Trust without the consent of FF GP; (ix) the proceeds of the Exit Financing; and (x) the Debtor’s
     interests in Ford Field.
10
     C.      Voting Rights With Respect to the Trust Assets
11           The Trustee shall exercise all voting rights, if any, with respect to the Trust FF

12   GlobalIntelligent Shares owned by the Trust after the exercise of the Warrant. Prior to the
     occurrence of an IPO, (i) the Trustee will have observer rights regarding the committee meetings
13
     held by the committee of managers of FF GP and (ii) the Reorganized Debtor will use commercially
14   reasonable efforts to provide the Trustee with observer rights with respect to the boards of FF

15   GlobalIntelligent, FF, FF Inc., a California corporation, and all other material, direct or indirect,
     operating subsidiaries of FF Global
16
             Intelligent
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            that hold separate
                           Mainboard meetings. Page 165 of 529
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     D.     Late Filed Debt Claims Reserve
            On the Effective Date, the Trustee shall (i) establish the Late Filed Debt Claims Reserve for
     the benefit of any Allowed Late Filed Debt Claims and (ii) transfer 10% of the Trust Assets to the
     Late Filed Debt Claims Reserve. The Late Filed Debt Claims Reserve will have no operations other
     than to make distributions to holders of Allowed Late Filed Debt Claims in accordance with the Trust
     Agreement and will be managed by the Trustee pursuant to a separate trust agreement with
     substantially similar governance terms as the Trust Agreement. At the conclusion of the Standstill
     Period, any unallocated assets in the Late Filed Debt Claims Reserve shall revert to the Creditor




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 1
     Trust for the ratable benefit of holders of Allowed Debt Claims.
 2           In order for a Late Filed Debt Claim to be allowed and participate in the Late Filed Debt

 3   Claims Reserve, the Debtor and the Trustee shall make commercially reasonable efforts to agree
     that allowance of such Late Filed Debt Claim in a particular amount is in the best interests of the
 4
     Debtor and the Trust. If the Debtor and the Trustee do not agree to the allowance or amount of any
 5   Late Filed Debt Claim, the Debtor may, upon notice and a hearing, seek entry of a Bankruptcy Court

 6   order allowing such Late Filed Debt Claim (a “Late Filed Debt Claim Order”). In seeking any Late
     Filed Debt Claim Order, the Debtor shall bear the burden of demonstrating to the Bankruptcy Court
 7
     that allowance of such Late Filed Debt Claim is in the best interests of the Debtor and the Trust.
 8
     E.       Appointment of the Trustee
 9            There shall be one Trustee. The initial Trustee shall be [              ].9Jeffrey D. Prol, a partner at
     the firm of Lowenstein Sandler LLP, counsel to the Creditors’ Committee. Any successor Trustee
10
     shall be selected by majority vote of the Creditor Trust Committee, subject to approval by the
11   Reorganized Debtor (which approval shall not be unreasonably withheld), in accordance with the

12   Trust Agreement, which shall set forth certain criteria with respect to the relevant experience and
     qualifications for the Trustee.
13

14            The Trustee shall act as a fiduciary and shall not be personally liable in connection with the

15   9The Debtor and the Creditors’ Committee are in the process of finalizing the selection of the initial Trustee and will
     disclose the identity of the initial Trustee at or before the hearing to consider approval of the Disclosure Statement.
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            affairs of the Trust
                           Main or to any personPage
                                 Document        except167
                                                        for of
                                                            such of the Trustee’s acts or omissions that
                                                               529
      constitute fraud, willful misconduct, or gross negligence, as determined by a final order of a court of
      competent jurisdiction. In addition, the Trustee shall be indemnified by the Trust against and held
      harmless by the Trust from any losses, claims, damages, liabilities, or expenses (including without
      limitation, attorneys’ fees, disbursements, and related expenses) to which the Trustee may become
      subject in connection with any action, suit, proceeding, or investigation brought or threatened against
      the Trustee in connection with any matter arising out of or related to the Trust Agreement or the affairs
      of the Trust (other than in respect of acts or omissions that constitute fraud, willful misconduct, or gross
      negligence, as determined by a court of competent jurisdiction). The Trustee shall be entitled to obtain
      customary fiduciary and/or errors and omissions liability insurance and




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     engage independent legal counsel and financial advisors to assist with its evaluation of any matters
 4
     with respect to the Trust, including any Liquidation Event.
 5          The Trustee shall be compensated by the Trust from Trust Assets pursuant to the Trust
 6   Agreement. The Trustee shall be entitled to reimburse itself out of any available cash in the Trust,
     for its actual out-of-pocket expenses and shall be indemnified by the Trust from Trust Assets against
 7
     and from any and all loss, liability, expense, or damage, which the Trustee may sustain in good faith
 8   and without willful misconduct, gross negligence, or fraud in the exercise and performance of any
 9   of the powers and duties of the Trustee under the Trust Agreement.
            The Trustee may resign upon not less than sixty (60) days’ advance written notice to the
10
     Creditor Trust Committee, with such resignation to take effect once a replacement Trustee has been
11   appointed.
12          The Creditor Trust Committee may remove the Trustee in the event the Trustee commits
     any act or omission that constitutes fraud, breach of fiduciary duty, willful misconduct, or gross
13
     negligence. The Trust Agreement will contain additional terms and conditions of the Trustee’s
14   appointment. Upon the removal of the Trustee, the Creditor Trust Committee shall have the right to
15   appoint a replacement Trustee, subject to approval by the Debtor (which approval shall not be
     unreasonably withheld).
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     F.     Creditor TrustMainCommittee
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            Holders of Trust Interests will be represented by a committee that shall consist of no more
      than five creditors holding Allowed Debt Claims, or their designees (the “Creditor Trust
      Committee”), the responsibilities and governance of which are set forth in the Amended Plan Term
 2
      Sheet. The initial members of the Creditor Trust Committee must be acceptable to the Creditors’
 3    Committee and will be disclosed in the Plan Supplement.
 4    G.      Term of the Trust
              The term of the Trust (the “Term”) will initially extend until the fifth (5th) anniversary of
 5
      the Effective Date (the “Initial Term”). The Term shall not extend beyond the tenth (10th)
 6    anniversary of the Effective Date unless the Chapter 11 Case is reopened to obtain a Bankruptcy
 7    Court order extending the Term. If the completion of an IPO occurs during the Initial Term, the

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 3
     Term and the Standstill Period shall be automatically extended through the conclusion of the selloff
 4
     period for the Marketable Securities as set forth on Exhibit B to the Amended Plan Term Sheet. If the
 5   completion of the IPO has not occurred during the Initial Term, the Trustee may elect to extend the
 6   Term for successive one-year periods (or such other periods as the Trustee determines to be
     appropriate) to the extent necessary to allow for orderly liquidation of any remaining Trust Assets.
 7
            The Trustee shall dissolve and wind up the Trust and distribute the Trust Assets upon the
 8   expiration of (i) the Initial Term if no extension (automatic or otherwise) is exercised or (ii) the
 9   expiration of any extended Term of the Trust. The Trustee may dissolve the Trust before the end of
     the Initial Term or any extended Term if: (x) all of the Trust Assets have been distributed in
10
     accordance with the Distribution Waterfall (as defined below), including any distributions to the
11   Reorganized Debtor or (y) a Liquidation Event has occurred. Upon termination of the Trust, the
12   Trustee will obtain a valuation of the Trust Assets as of the termination date (performed by an
     independent valuation firm selected by the Trustee and approved by the Creditor Trust Committee
13
     and the Reorganized Debtor) and shall, as promptly as practicable following the completion of the
14   independent valuation, distribute the Trust Assets in kind to the holders of Allowed Debt Claims
15   and YT in accordance with the Distribution Waterfall.
            Certain aspects of the Trust will be subject to automatic amendment based on aggregate - 86
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            distributions asMain
                            set forth in the Distribution
                                  Document                Waterfall
                                                   Page 171   of 529as set forth in Article 6.2(j) of the Plan.

       H.      Expenses of the Trust
               The professional fees, costs, and other expenses incurred by the Trustee in connection with
       the administration of the Trust shall be paid from the proceeds of the Exit Financing and the relevant
       Trust Assets.

       I.      Distribution of Trust Assets
               Upon receipt of the distributable proceeds by the Trust for any disposition, or dividends or
       distributions in respect, of any Trust Assets (such proceeds, the “Distributable Proceeds and,” such
       an event, a “Distribution Event,” and the date of such distribution, a “Trust Distribution Date”), the
       Distributable Proceeds will be distributed in accordance with the Distribution Waterfall upon the
       earlier of (i) sixty (60) days following the occurrence of such Distribution Event, and (ii) the




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 1   termination of the Trust.
            Prior to each Trust Distribution Date, each holder of a Trust Interest shall provide an
 2
     affidavit to the Trustee that identifies any amounts (or value with respect to collateral) received from
 3   Other Distributions as of the date of the affidavit (the “Trust Distribution Affidavit”). On each Trust
     Distribution Date, the Trustee will (i) allocate pro rata distributions to holders of Trust Interests on
 4
     account of each holder’s Debt Claim Distribution Amount calculated in accordance with the
 5
     information provided in the Trust Distribution Affidavit and (ii) reserve distributions for holders of
 6   Trust Interests who have not submitted their Trust Distribution Affidavits prior to the applicable
     Trust Distribution Date. If the holder of a Trust Interest fails to submit the Trust Distribution
 7
     Affidavit prior to the termination or dissolution of the Trust, such holder shall forfeit its Trust
 8
     Interests and any reserved distributions shall revert to the Trust for the ratable benefit of holders of
 9   Allowed Debt Claims and the Reorganized Debtor pursuant to the Distribution Trust Waterfall.
            The Trustee may delay or defer the distribution of any Distributable Proceeds (whether cash,
10
     securities, or other property) received by the Trustee in respect of the Trust Assets if the Trustee
11
     determines that such deferral or delay is in the best interests of the holders of Trust Interests
12   (including if such distribution would violate any court order or applicable law).
            The schedule for disposition of shares of FF GlobalIntelligent directly owned by the Trust
13
     and that are registered under securities law or listed (the “Marketable Securities”) shall be governed
14
     in accordance with Exhibit B to the Amended Plan Term Sheet. The PT LLCA will include
15   provisions that the managing member of Pacific Technology will use commercially reasonable
     efforts to dispose of Marketable Securities owned or controlled by Pacific Technology in which the
16
     Trust owns a beneficial interest on a similar schedule until the priority distribution of $815.7 million
17
     in connection with the preferred units of Pacific Technology is paid to the Trust. The Distributable
18   Proceeds shall be distributed in accordance with the Distribution Waterfall.
            At any time upon the request of the managing member of Pacific Technology, and subject
19
     to applicable securities law, the Trustee shall distribute the Marketable Securities in kind to the
20
     holders of Trust Interests in lieu of any cash distribution. The value of the Marketable Securities
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 3
     shall be the average closing trading price for the five (5) consecutive trading days immediately prior
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     to the distribution.
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     J.       Distribution Waterfall

                      The Trust Assets shall be distributed as follows (the “Distribution Waterfall”):
                i.        First, to repay the Exit Financing, if any, pursuant to the terms thereof and the Trust
                          Agreement;
                ii.       Second, to repay the DIP Facility if extended past the Effective Date pursuant to the
                          terms of the DIP Note and the Trust Agreement;
                iii.      Third, to each holder of an Administrative Expense Claim, Priority Tax Claim,
                          Priority Non-Tax Claim, or U.S. Secured Claim that has made a Trust Election, equal
                          to the Allowed amount of such Claim plus the applicable interest rate provided in the
                          Trust Agreement;
                iv.       Fourth, to pay Trust Distributions allocated (x) holder95% to holders of Allowed
                          Debt Claims, 95% of the remaining Trust Assets, if any, and (y) the Debtor, 5% of
                          the remaining Trust Assets, if any (including holders of Allowed China Secured
                          Claims treated as Allowed Debt Claims pursuant to Article 4.3 of the Plan) and (y)
                          5% to the Reorganized Debtor (or the economic equivalent of such Trust
                          Distributions as set forth in the Trust Agreement), until each holder of an Allowed
                          Debt Claim has received aggregate Trust Distributions (in cash or in kind) pursuant
                          to this clause (iv) equal to the full amount of such holder’s Allowed Debt Claim
                          Distribution Amount; and
                v.        Fifth, after all holders of Allowed Debt Claims (including holders of Allowed China
                          Secured Claims treated as Allowed Debt Claims pursuant to Article 4.3 of the Plan)
                          have received Trust Distributions equal to their respective Allowed Debt Claim
                          Distribution Amounts, any remaining Trust AssetsDistributions shall be allocated
                          between the holders of Allowed Debt Claims, including holders of Allowed China
                          Secured Claims treated as Allowed Debt Claims pursuant to Article 4.3 of the Plan,
                          (to be further allocated pro rata based on their respective Allowed Debt Claim
                          Allocation Amounts) and the Reorganized Debtor, as follows:




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   B
   L
  1E                                         The Reorganized            Holders of Allowed Debt
   O                                         Debtor                     Claims
  2F    Amounts less than $1B                50%                        50%
   C    Amounts   greater than $1B  <
                                             70%                        30%
  3O    $2B102B16
   N    Amounts greater than $2B < $3B       80%                        20%
  4T    Amounts   greater than $3B  < $4B    90%                        10%
        Amounts greater than $4B 4B11   17   95%                        5%
   E
  5N
      K.      Call Option
   T          Upon the occurrence of the Effective Date, the Call Option shall vest in the Trust free and clear
  6S
   2 of any and all liens, claims, encumbrances, contractual restrictions, and other interests pursuant to
  7(c
      section 363 of the Bankruptcy Code, provided that the Plan shall require (i) the Trustee to obtain the
   o
  8n consent of the Partner Executive Committee prior to any exercise or transfer of the Call Option by the
   ti Trust; and (ii) the Trustee, upon request by FF GP, to directly transfer or transfer the underlying
  9n
   u economic rights of the Call Option (including by exercising the Call Option and thereafter conveying
10e
      the related shares in FF GlobalIntelligent to the applicable counterparty) as requested by FF GP in
   d
11)   connection with a bona fide unrelated third-party financing, as follows: (x) 50% of the Call Option to
   P the counterparty to a bona fide unrelated third-party financing providing FF GlobalIntelligent and its
12a
   g subsidiaries with not less than $100 million of net proceeds, (y) 100% of the Call Option to the
13e
      counterparty to a bona fide unrelated third-party financing providing FF GlobalIntelligent and its
   1
14    subsidiaries with not less than $250 million of net proceeds, or (z) a ratable percentage of the Call
       Option to the counterparty to a bona fide unrelated third-party financing providing FF GlobalIntelligent
15
       and its subsidiaries with net proceeds greater than $100 million and less than $250 million (i.e., an
16
       additional 1% of the Call Option for each additional $3 million of net proceeds beyond $100 million)
17     ((x), (y), or (z), a “Qualifying Financing”), provided that FF GP may request the Trustee to transfer the

18     Call Option for a financing of FF GlobalIntelligent and its subsidiaries other than a Qualifying
       Financing subject to the consent of Trustee and approval by a majority of the Creditor Trust
19

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         Upon reaching such distribution level, the Trust Agreement will be automatically amended to replace the Creditor
       1016


       Trust Committee with the Reorganized Debtor.
21
          Upon reaching such distribution level, the Trust Agreement will be automatically amended to provide for a separation of
       1117


       the Reorganized Debtor’s interests in the Trust from the residual 5% interest of holders of Allowed Debt Claims. After such
22     separation, holders of Allowed Debt Claims shall not receive any distribution from the Reorganized Debtor’s interests
       constituting 95% of amounts greater than $4 billion. The Reorganized Debtor shall not receive any distribution from the
23     residual 5% interest of holders of Allowed Debt Claims.

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     Creditor Trust Committee in their respective business judgment. Any consideration paid, if any, in
 1
     exchange for the transfer of the Call Option either as part of a separate transaction providing for
 2
     such transfer or attributable to the transfer of the Call Option in a financing transaction, whether in
 3   conjunction with a Qualifying Financing or otherwise, shall be paid directly to the Trust and shall
     constitute Trust Assets.
 4
     L.       FF Information
 5
              The Trustee shall be provided certain information set forth in the Amended Plan Term Sheet
 6   on a confidential, professional eyes only basis, which information the Trustee may share on a
     confidential and aggregated basis with the Creditor Trust Committee.
 7

 8                                                              VI.

 9                             CERTAIN RISK FACTORS TO BE CONSIDERED
              HOLDERS OF CLAIMS IN CLASS 4 SHOULD READ AND CONSIDER CAREFULLY
10
     THE FACTORS SET FORTH BELOW, AS WELL AS THE OTHER INFORMATION SET
11
     FORTH IN THIS DISCLOSURE STATEMENT (AND THE DOCUMENTS DELIVERED
12   TOGETHER HEREWITH OR INCORPORATED BY REFERENCE HEREIN), PRIOR TO
     VOTING TO ACCEPT OR REJECT THE PLAN. THESE FACTORS SHOULD NOT,
13
     HOWEVER, BE REGARDED AS CONSTITUTING THE ONLY RISKS INVOLVED IN
14
     CONNECTION WITH THE PLAN AND ITS IMPLEMENTATION.
15            THESE RISK FACTORS CONTAIN CERTAIN STATEMENTS THAT ARE FORWARD-
     LOOKING STATEMENTS. THESE STATEMENTS ARE SUBJECT TO A NUMBER OF
16
     ASSUMPTIONS, RISKS, AND UNCERTAINTIES, MANY OF WHICH ARE BEYOND THE
17
     CONTROL OF THE DEBTOR. IF ANY OF THE FOLLOWING RISKS OR OTHER
18   UNFORESEEN EVENTS ACTUALLY OCCUR, THE FF GROUP’S BUSINESS, ITS
     FINANCIAL CONDITION AND THE RESULTS OF ITS OPERATIONS, AND THEREFORE
19
     THE VALUE OF THE TRUST INTERESTS COULD BE MATERIALLY AND ADVERSELY
20
     AFFECTED. YOUR TRUST INTEREST WILL ENTITLE YOU TO YOUR RESPECTIVE
21   PORTION OF THE BENEFICIAL INTEREST IN THE TRUST, WHICH HOLDS ALL OF YT’S

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   L
   E ECONOMIC INTEREST IN THE FF GROUP AS “TRUST ASSETS.” AS A RESULT, THE
  1O
      VALUE OF THE TRUST ASSETS ARE ENTIRELY RELIANT ON THE VALUE OF THE
   F
  2C
      EQUITY INTERESTS OF SMART KING, WHICH WOULD BE DETERMINED AND
   O
  3N AFFECTED BY THE FF GROUP’S BUSINESS, PROSPECTS FINANCIAL CONDITION, AND
   T RESULTS OF OPERATIONS. HOLDERS OF CLAIMS ARE CAUTIONED THAT THE
  4E
      FORWARD-LOOKING STATEMENTS SPEAK AS OF THE DATE MADE AND ARE NOT
   N
  5T
      GUARANTEES OF FUTURE PERFORMANCE. ACTUAL RESULTS OR DEVELOPMENTS
   S
  62 MAY DIFFER MATERIALLY FROM THE EXPECTATIONS EXPRESSED OR IMPLIED IN
   (c THE FORWARD-LOOKING STATEMENTS. NO PARTY, INCLUDING, WITHOUT
  7o
      LIMITATION, THE DEBTOR OR THE REORGANIZED DEBTOR, UNDERTAKES AN
   n
  8ti
      OBLIGATION TO UPDATE ANY SUCH STATEMENTS.
   n
  9u
      A.      Risks Related to the Plan
   e
10d
      The Plan May Not Be Confirmed.
   )          There is no assurance that the Bankruptcy Court will confirm the Plan. Even if all classes
11P
      vote to accept the Plan, the Bankruptcy Court could still decline to confirm the Plan if it finds that
   a
12g
      any of the statutory requirements for confirmation have not been met. Moreover, there can be no
   e
131 assurance that modifications to the Plan will not be required for confirmation or that such
      modifications would not necessitate the re-solicitation of votes. If the Plan is not confirmed, it is
14
      unclear what distributions, if any, holders of claims ultimately would receive with respect to their
15
      Allowed Claims.
16
      Failure to Consummate the Plan.
17           The Plan provides for certain conditions that must be satisfied (or waived) prior to the
      Effective Date. As the date of filing this Disclosure Statement, there can be no assurance that any
18
      or all of the conditions in the Plan will be satisfied (or waived). Accordingly, there can be no
19
      assurance that the Plan will be confirmed by the Bankruptcy Court. Further, if the Plan is confirmed,
20    there can be no assurance that the Plan will be consummated.

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     If the Plan is not consummated, YT may seek restructuring alternatives that result in less value
 1
     to holders of claims against YT than they would receive pursuant to the Plan.
 2
            If YT does not consummate the Plan, he may be required to pursue an alternative plan or
 3   plans of reorganization, either under the Bankruptcy Code or otherwise. There can be no assurance
     that YT would be able to effect any such alternative plan or reorganization or that any such
 4
     alternative plan or reorganization would be on terms as favorable to the holders of claims against
 5
     YT as the terms of the Plan. In addition, certain of YT’s creditors may seek relief from the automatic
 6   stay to take certain legal actions against YT, which could include foreclosure or liquidation of YT’s
     assets. If a liquidation or protracted reorganization of YT were to occur, there is a substantial risk
 7
     that the value of YT’s assets (and ultimately the value of the FF Group) would be substantially
 8
     eroded to the detriment of all stakeholders. If an alternative plan of reorganization could not be
 9   implemented, it is likely that YT would have to liquidate his assets, in which case it is likely that
     holders of claims against YT would receive less than they would have received pursuant to the Plan.
10

11   If consummation of the Plan is delayed, the FF Group may not be able to obtain financing.
            After the consummation of the Plan, the FF Group would need to obtain financing to provide
12
     it with the financial capacity necessary to fund its operations and proceed with its business plan.
13   Securing financing for the FF Group is dependent upon a number of factors, some of which are
     beyond the FF Group’s or YT’s control. If the Plan is not consummated on a timely basis, the FF
14
     Group may be unable to negotiate acceptable terms for such an arrangement. The challenges of
15
     obtaining financing would be exacerbated by adverse conditions in the general economy and the
16   volatility and tightness in the financial and credit markets. An inability to obtain financing on a
     timely basis and/or on reasonable commercial terms, or at all, could have an adverse effect on the
17
     FF Group’s business, financial condition, and operating results or ability to continue as a going
18
     concern.
19   The exchange of the Debt Claims for Trust Interests does not reflect any independent valuation
     of FF GlobalIntelligent.
20

21          YT has not obtained or requested a determination from any third party as to the value of FF

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   L
   E GlobalIntelligent or the Trust Interests. In particular, the future value of the Trust Interests, including
  1O
      the right to receive any distributions or other payments, will depend on YT’s ability to consummate
   F
  2C
      the Plan, as well as the FF Group’s ability to obtain the financing necessary to fund its operations
   O
  3N and proceed with its business plan.
   T
  4E
      YT may withdraw, amend, cancel, or delay the Plan in his sole and absolute discretion.
   N          To the fullest extent permitted by applicable law, YT reserves the right to withdraw, amend,
  5T
      cancel, or delay the Plan (or any part of the Plan), before or after the Voting Deadline. The potential
   S
  62
      impact of any such action on the holders of claims cannot presently be foreseen but may include a
   (c
  7o change in the economic impact of the Plan or could make it significantly less likely that YT will be
   n able to consummate the Plan. You will not have any right to vote on, or to be consulted in connection
  8ti
      with, YT’s decision regarding whether to withdraw, amend, cancel, or delay the Plan or any part
   n
  9u
      thereof.
   e
10d FF Global’sIntelligent’s future value, and therefore the value of your interest in the Trust is
   )  uncertain. The hypothetical figures set forth in Exhibit F of this Disclosure Statement are based
11P
      on generalizations and assumptions that may not prove to be accurate.
   a
12g
              The hypothetical figures set forth in the “Recovery Scenarios and Liquidation Analysis”
   e
131 attached as Exhibit F are estimates only and reflect various generalizations and assumptions by YT
      and management of FF. Such estimates, generalizations and assumptions are considered reasonable by
14
      YT and management, although they may prove to have been incorrect or unfounded; further, they are
15
      hypothetical estimates only and are inherently subject to significant economic, competitive, tax, and
16     other risks and uncertainties beyond the control of YT or the FF Group, including the additional risks
       set forth herein under “Risks Related to the FF Group and its Business that may Adversely Affect the
17
       Trust Interests,” “Risks Related to the Industry” and “Risks Related to the FF Group’s Operation in the
18
       PRC.” There can be no assurance that the hypothetical returns described in such will be realized, and
19     actual results may vary materially and adversely from the hypothetical estimates set forth therein. To
       the extent the future value of FF GlobalIntelligent is materially less than described in the table, the
20
       value of your interest in the Trust will be negatively affected.
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   E
  1O B. Risks Related to the FF Group and its Business that may Adversely Affect the Trust
              Interests
   F
  2C
      The FF Group has substantial existing indebtedness and may incur substantial additional
   O
  3N
      indebtedness in the future, and the FF Group may not be able to refinance its current borrowings
   T
  4E
      on terms that are acceptable to it, or at all.
   N
  5T
               The FF Group has a substantial amount of indebtedness as disclosed herein, and may
   S
  62
      continue to incur additional indebtedness from time to time to support its operations. If the FF
   (c
  7o
      Group incurs additional debt, the risks that it faces as a result of its indebtedness and leverage could
   n
  8ti
      intensify. The substantial existing debt and the incurrence of any additional debt of the FF Group
   n
  9u
      could:
   e
10d
      • limit the FF Group’s ability to satisfy its obligations under certain debt instruments, including
   )      the bridge facility agreements;
11P
   a • in the event the FF Group is not able to renew or refinance existing indebtedness as it
12g
          becomes, cause the FF Group to seek bankruptcy protection or enter into other insolvency
   e      proceedings;
131
      • increase its vulnerability to adverse general economic and industry conditions;
14
      • require it to dedicate a substantial portion of its cash flow from operations to servicing and
15        repaying indebtedness, thereby reducing the availability of cash flow to fund its working
          capital, capital expenditures, and other general corporate purposes;
16
      • increase its exposure to interest rate and exchange rate fluctuations;
17
       •   limit the FF Group’s ability to borrow additional funds and impose additional financial and
           other restrictions on it; and
18
       •   increase the cost of additional financing.
19
               Because the majority of the FF Group’s indebtedness is short-term indebtedness, the FF
20
       Group may suffer a near-term liquidity problem if it is unable to refinance these borrowings as they
21
       become due. As of July 31, 2019, the FF Group’s current liabilities amounted to $734.3 million,
22
       with outstanding note payables of $402.1 million to related-party lenders and third-party lenders,
23
       respectively. The FF Group has defaulted on some of the notes, and is currently in negotiation with
24
       such lenders for extensions or conversion of notes into equity. Several other notes will mature by
25
       the end of 2019. For example, a secured note of approximately $45 million issued to certain
26                                                - 94 -

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     purchasers pursuant toMain
                           the note purchase agreement
                                Document       Page 182 with
                                                           ofU.S.
                                                              529 Bank National Association became
 B
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     due on October 31, 2019. However, FF obtained an extension of the maturity date to May 31, 2020.
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   L
   E There is no assurance that the FF Group will be able to obtain extensions, or renew certain notes in
  1O
      the future at commercially acceptable rates, or obtain sufficient alternative funding on reasonable
   F
  2C
      terms, or at all, to settle the notes.
   O
  3N           The commercial banks, financial institutions and individual lenders may have concerns in
   T providing or renewing financing for the FF Group’s operations, especially if a significant portion of
  4E
      their lending to the FF Group has not been repaid as of the date of this Disclosure Statement and may
   N
  5T
      continue to remain outstanding for an indeterminate period of time. The United States and Chinese
   S
  62 governments may also pass measures to tighten credit available in the markets. Any future monetary
   (c tightening measures as well as other monetary, fiscal and industrial policy changes by those
  7o
      governments could materially and adversely affect the FF Group’s cost and availability of financing,
   n
  8ti
      liquidity, and access to capital, and ability to operate its business. Unless the FF Group is successful
   n
  9u in obtaining extensions, refinancing, or waivers with respect to certain indebtedness that is or will
   e come due in the near future, or that is currently in default, the FF Group is not expected to have
10d
      sufficient liquidity to remain as a going concern. Furthermore, even if it is able to obtain such
   )
11P
      extensions, refinancing or waivers, the FF Group must be able to consummate the Series B Equity
   a
12g Financing or a similar financing by early 2020, or the FF Group will again face financing challenges
   e that may call into question its ability to continue as a going concern. There can be no assurance that
131
      the FF Group will be able to obtain any such extensions, refinancing or waivers or consummate the
14
      Series B Equity Financing or similar financing on a timely basis or on reasonable commercial terms,
15    or at all.
      The FF Group is operating, and will continue to operate, with a working capital deficit and has
16
      limited cash availability and liquidity, and if the FF Group cannot close equity financing as
17
      planned, there exist doubts and uncertainties as to its ability to continue as a going concern.
18             The FF Group has been operating for the past one year under limited cash availability and
      liquidity. It incurred a net loss of $477.8 million and $103.1 million, respectively, in 2018 and during
19
      the seven months ended July 31, 2019, and had an accumulated loss of $2.15 billion as of July 31, 2019.
20
      Given the FF Group’s current limited cash availability and liquidity, there is a concern as to the FF
21    Group’s ability to pay its debts and liabilities as they come due and to continue

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   L
   E as a going concern. For more information, see “Management’s Discussion and Analysis of Financial
  1O
      Condition and Results of Operations of the FF Group,” attached as Exhibit C to this Disclosure
   F
  2C
      Statement.
   O
  3N           As the FF Group has substantial indebtedness in the PRC and the United States, there are
   T doubts and uncertainties about the FF Group’s ability to service its existing debts and to continue its
  4E
      operations. The annual interest rates for the FF Group’s borrowings from third party lenders generally
   N
  5T
      varied from 8.99% to 13% as of December 31, 2018, which may be raised in the event of default. In
   S
  62 order to refinance its existing borrowings, the FF Group may need to borrow with even higher interest
   (c rates, if the FF Group cannot close equity financing as planned The doubts and uncertainties about the
  7o
      FF Group’s ability to service its debts and continue its operations may result in concerns of its
   n
  8ti
      creditors, suppliers, customers and other counterparties, which could hinder the FF Group’s ability to
   n
  9u conduct operation in the ordinary course of business and to raise financing on a reasonable terms,
   e  which may result in the FF Group’s inability to continue as a going concern.
10d
               From time to time, the FF Group pledged its properties in the United States as collateral for
   )
11P
      certain borrowings, which the FF Group has not fully paid off as of the date of this Disclosure
   a
12g Statement. Substantially all of FF Global’sIntelligent’s tangible and intangible assets have been
   e  pledged as collateral. FF Global’sIntelligent’s operations may be disrupted if it fails to pay off the
131
      borrowings and the creditors decide to take enforcement measures, which would materially and
14
      adversely affect the FF Group’s business, results of operations, financial condition, and future
15     prospects.
              Furthermore, the FF Group’s ability to satisfy its outstanding and future debt and other
16
       obligations by its self-generated revenues may largely depend upon its planned commercialization
17
       and the performance of FF’s electric vehicles, including the FF 91 and the FF 81, which are subject
18     to the factors, including FF’s ability to secure funds, as well as factors which are beyond the FF
       Group’s control, including general economic conditions, technological trends in the automotive
19
       industry and competitors in the EV electric vehicle markets by the time the electric vehicles are
20
       manufactured and sold.
21     The FF Group has not commenced production of any model, and has not generated any revenue
       since its inception. There are uncertainties concerning its ability to develop, manufacture,
22

23

24

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 1   market, sell and deliver electric vehicles of quality and appeal to customers, on schedule, and on

 2   a scale to achieve profitability.

 3           The FF Group is in its development stage. It has not generated revenue since its inception

 4   in 2014 and has not commenced production of any model as of the date of this Disclosure

 5   Statement. The FF Group’s future business depends in large part on its ability to execute on its

 6   plans to develop, manufacture, market, sell and deliver its electric vehicles, including the FF 91,

 7   the FF 81 and other planned electric vehicle models that appeal to customers. In general, the FF

 8   Group’s development, manufacturing, and sale of its planned volume manufactured vehicle is

 9   subject to various risks, including those with respect to:

10   •   the FF Group’s ability to secure sufficient funding;

11   •   the appropriate selection and design of the equipment to accurately manufacture the electric
         vehicles within specified design tolerances;
12
     •   compliance with environmental, workplace safety and similar regulations;
13
     •   channels to secure necessary components from suppliers on acceptable terms and in a timely
         manner;
14
     •   the FF Group’s ability to attract, recruit, hire, and train skilled employees;
15
     •   quality controls;
16
     •   the FF Group’s ability to keep up with the technological development, estimated sales efforts,
         or after sale support, including charging;
17
     •   consumer expectations which are subject to change and affected by technological trends; and
18
     •   other delays and cost overruns.
19           Any of the foregoing risks could have a material adverse effect on the FF Group’s business,

20   prospects, results of operations and financial condition, and ability to continue as a going concern,

21   and therefore the value of the Trust Interests.

22   The FF Group may experience delays in realizing its projected timelines, cost, and volume targets

23   for the production and ramp of its FF 91 vehicle, which could harm its business, prospects,

24   financial condition, and operating results.

25            The FF Group’s current business depends in large part on its ability to execute on its plans

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     to manufacture, market andDocument
                         Main   sell the FF 91Page
                                               vehicle
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                                                             scale that may achieve profitability.
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 1   Historically, the FF Group has missed its planned timeline to produce the FF 91. The FF Group has

 2   not commenced production of the FF 91. Although the FF Group’s plan is to start its production

 3   within nine months after the FF Group has completed its pending Series B Equity Financing, the

 4   commitment of any potential investors have not been secured and there is no assurance such

 5   financing will be obtained on a timely basis, on commercially reasonably terms, or at all. Assuming

 6   the FF Group secures necessary funding, the FF Group expects that its Hanford, California

 7   manufacturing facility will have the capacity to produce 10,000 units of the FF 91 beginning in

 8   2021, while the FF Group expects to deliver 100 units to the market by the IPO of FF
        Global’sIntelligent’s
 9
     shares (targeted for as early as mid-2021).
10
               The FF Group has no experience to date in manufacturing vehicles, and in order to
11
          successfully produce a high volume of vehicles, the FF Group will need to complete the
12
         implementation and ramp of efficient and cost-effective manufacturing capabilities, processes and
13
          supply chains necessary to support the volumes that the FF Group is targeting. The FF 91
14
         production plan has generally required and will require significant investments of cash and
15
     management resources.
16
               The FF Group’s production plan for the FF 91 is based on many key assumptions, including:
17
     •    that the FF Group obtains the necessary financing to complete its build-out plans;
18
     •    that the FF Group will be able to fully build out its Hanford manufacturing facility in a timely
19        manner;

20   •    that the equipment and processes that the FF Group has selected for FF 91 production will be
          able to accurately manufacture high volumes of FF 91 vehicles within specified design
21        tolerances and with high quality;

22   •    complete ramping high volume production of FF 91 at the Hanford manufacturing facility
          without exceeding FF Group’s projected costs and on its projected timeline;
23
     •    that the FF Group will be able to maintain suppliers for the necessary components on terms and
24        conditions that are reasonably acceptable and that the FF Group will be able to obtain
          components on a timely basis and in the necessary quantities to support high volume production
25        and the number of FF 91 reservations; and

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     • that the FF GroupMain
                           will Document
                                 be able to attract,
                                                Page recruit,
                                                       188 ofhire,
                                                              529train, and retain skilled employees,
 B
       including employees on the production line, to operate its Hanford manufacturing facility for
 L
       the FF 91.
 E
 O         If one or more of the foregoing assumptions turns out to be incorrect, the FF Group’s ability
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 1   to meet its FF 91 projections on time and at volumes and prices that are profitable, the number of

 2   FF 91 reservations, as well as the FF Group’s business, prospects, reputation, operating results, and

 3   financial condition, may be materially and adversely impacted. In any such event, the value of the

 4   Trust Interests could be materially impaired.

 5   It is expected that there would be further increases in the FF Group’s costs and expenses that
     would result in continuing losses for at least the foreseeable future.
 6
            The FF Group incurred a net loss of $477.8 million and $103.1 million, respectively, in
 7
     2018 and the seven months ended July 31, 2019, and had an accumulated loss of $2.15 billion as
 8
     of July 31, 2019. The FF Group has had net losses in each quarter since its inception, and will
 9
     continue to incur operating and net losses each quarter until at least the time it begins significant
10
     deliveries of the FF 91, which is not expected to occur until 2021, and may occur later. There is no
11
     assurance that the FF 91, the FF 81 or other planned electric vehicles will be commercially
12
     successful, even when they are successfully manufactured. There is also no assurance that the FF
13
     Group is to ever achieve profitability.
14
            The rate at which the FF Group will incur costs and losses in future periods from current
15
     levels may increase significantly, as the FF Group:
16
     •   continues to develop the FF 91, FF 81 and other planned electric vehicle models;
17
     •   develops and equips its manufacturing facility in Hanford, California to produce the FF 91, and
18       secures manufacturing capabilities in the PRC for FF Group’s planned electric vehicle to be
         manufactured and sold in the PRC;
19
     •   builds up inventories of parts and components for the FF 91;
20   •   develops and expands its design, development, maintenance, servicing and repair
         capabilities;
21
     •   opens the FF Group’s self-owned stores; and
22   •   increases its sales and marketing activities.
            These efforts may be more expensive than the FF Group currently anticipates or these
23
     efforts may not result in increases in its revenues, which would further increase its losses. As the
24
     FF Group is seeking funding to realize its business operations plan based on its estimated capital
25

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     requirements, any costMain
                           overrun that deviatesPage
                                 Document         from its
                                                       190 estimate
                                                             of 529may materially and adversely affect
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     the FF Group’s business, prospects, financial condition, and results of operations.
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     The Vendor Trust program established by the FF Group may not fully resolve the disputes with
 1
     its contractors and suppliers.
 2
             On April 29, 2019, as part of its financing efforts and to regain support from its contractors
 3   and suppliers, the FF Group created the Vendor Trust securing past due payables up to $150 million
     with substantially all of its tangible and intangible assets. Participating vendors have the benefit of a
 4
     first lien with third payment priority on assets of the FF Group, and are also entitled to certain interim
 5
     distributions from the trust and interests. As of the date of this Disclosure Statement, vendors owed
 6   aggregate trade payable of $141 million have agreed to participate in the trust, which FF estimates to
     constitute all past due amounts for approximately 80% of its suppliers. FF intends to pay off the
 7
     payables of the suppliers participating in the trust with the equity financing that it has raised.
 8
     However, there is no assurance that the funding will be available. In the event that FF fails to secure
 9   capital to pay off the payables in the Vendor Trust upon its maturity, and/or the vendors decide to
     enforce the collateral when FF defaults, the FF Group’s business and operations will be materially
10
     disrupted, and it will call into question whether the FF Group can continue as a going concern.
11
             FF Group believes the Vendor Trust will increase its contractors’ and suppliers’ confidence
12   in it and secure their continued cooperation in the production of the FF 91. However, the Vendor
     Trust will not be able to satisfy the overdue payments from all suppliers. If the suppliers do not
13
     participate, or withdraw from, the Vendor Trust, FF Group will continue to face uncertainty in its
14
     supply chains, risks of threatened legal or administrative proceedings and persistent liquidity
15   problems. Most importantly, FF Group may not be able to timely produce the FF 91 or launch the
     FF 81 or other electric vehicles as planned if certain key contractors and suppliers terminate their
16
     cooperation with FF Group and the FF Group may not find alternatives with acceptable terms, if at
17
     all.
18   The FF Group may have difficulties in attracting funding, and the production and ramp up of
     the FF 91 and the development of the FF 81 may be materially and adversely affected. As the
19
     Trust Interests derive their value from the value of the equity in the FF Group, the value of the
20
     Trust Interests may be materially impaired to the extent the value of the FF Group decreases.
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   L
   E           The FF Group operates in a capital intensive industry and requires a significant amount of
  1O
      cash to fund its operations. In particular, the FF Group needs a substantial amount of funding for
   F
  2C
      the production and ramp up of the FF 91 and to develop the FF 81, including for the capital
   O
  3N expenditures related to the build out of its Hanford, California manufacturing facility. It also needs
   T cash to repay its existing debts and borrowings, including secured senior debts, many of which will
  4E
      mature in the beginning of 2020.
   N
  5T
               There is no assurance that the FF Group will have sufficient cash flow or other financing
   S
  62 available for its vehicle development and production, or that it will be able to achieve sufficient pre-
   (c sales, if any, to fund its business operations. The FF Group will need to secure external funding
  7o
      through one or more private placements of its equity securities, debt financing and/or IPO, the results
   n
  8ti
      of which cannot be assumed. If the FF Group is unable to obtain funding in a timely manner or on
   n
  9u commercially acceptable terms, or at all, its business and operation may be materially and adversely
   e  affected, and may impact whether the FF Group can continue as a going concern.
10d
               The limited operating history and financial distress of the FF Group could create obstacles
   )
11P
      for the FF Group’s current financing plans and FF Global’sIntelligent’s future plan to launch an IPO
   a
12g of its shares. The FF Group is currently seeking the Series B Equity Financing from investors for
   e  approximately $850 million. In addition, the FF Group’s business plan envisions another substantial
131
      equity raise, which could be in the form of an IPO within 15 months after the Series B Equity
14
      Financing is secured. While the FF Group is engaged in discussions with potential investors of the
15     Series B Equity Financing as of the date of this Disclosure Statement, there are no commitments for
       additional funding and no assurance can be made as to whether funding will be available, and if so,
16
       how much and on what terms. There are uncertainties as to the timing, amount, terms and conditions
17
       of financing that the FF Group may be able to secure. Given FF Group’s current indebtedness and
18     financial situation, it may be forced to accept financing terms, if any, with more stringent
       undertakings and covenants, which may materially and adversely restrict and affect FF Group’s
19
       business operations.
20
              Furthermore, YT, the former chief executive officer and the current chief product and
21     customer officer of FF, has recently been the subject of negative press related to his debts and

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     investigations by the China Securities Regulatory Commission into the delisting from the Shenzhen
 1
     Stock Exchange of the shares of certain company where YT served as the chief executive offer as
 2
     well as unsubstantiated allegations in certain pleadings filed by the Debtor’s judgment creditors in
 3   the chapter 11 case. There is no assurance that such negative publicity, although not directly related
     to the FF Group, would not adversely affect the FF Group’s ability to raise additional capital.
 4
     Furthermore, there is no assurance that a confirmation of the Plan would ensure the FF Group’s
 5
     success in raising additional capital.
 6   The FF Group’s issuance of convertible debt or equity securities, including pursuant to the Series
     B Equity Financing or Future Equity Incentive Plan, may dilute the Trust Interests held by you.
 7
            The FF Group is planning to raise additional capital through the sale of equity and debt with
 8
     convertible features, including pursuant to the Series B Equity Financing, and may continue to
 9   require additional capital through equity financing and/or sale of other equity-linked securities,
     including convertible debts. In addition, the FF Group is in negotiations seeking to cause certain
10
     lenders to convert their debts into equity of the FF Group. To the extent that the FF Group issues
11
     additional shares, including pursuant to the Series B Equity Financing, the ownership interest of its
12   stockholders, including the Trust, will be diluted and will affect the value of the Trust Interests.
            FF GlobalIntelligent has the 2018 Equity Plan and STI Plan (see Article II.C.2.d above
13
     entitled “Stock Incentive Plans”) and proposes to adopt a Future Equity Incentive Plan. Shares or
14
     interests in FF Global’sIntelligent’s equity issued under any of these plans will dilute the interest of
15   the Trust in FF GlobalIntelligent and therefore the value of your Trust Interests.
     If the FF Group fails to comply with the undertakings and covenants under certain financial
16
     instruments or obtain consents or waivers in respect of any breach of these undertakings and/or
17
     covenants, its financial condition, results of operations and business prospects may be materially
18   and adversely affected.
            Many financial instruments entered into by the FF Group impose extensive restrictions and
19
     stringent conditions, which could be burdensome if the FF Group fails to meet certain financial
20
     covenants contained therein, or to make the repayment when due and which may affect the FF
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   L
   E Group’s ability to raise additional capital. For instance, certain of the FF Group’s credit facilities
  1O
      require the prior written consent of the lenders before the FF Group may undertake specified
   F
  2C
      corporate actions or transactions, such as increasing debt financing, providing new guarantees,
   O
  3N selling or disposing of major assets, pledging assets, amending certain corporate registration
   T records, and engaging in certain related-party transactions.
  4E
              If the FF Group is required to repay a significant portion or all of the existing indebtedness
   N
  5T
      prior to their maturity or if the FF Group is unable to borrow additional amounts under existing
   S
  62 credit facilities, the FF Group may lack sufficient financial resources to make these payments or to
   (c fund other cash requirements. The FF Group’s lenders may also resort to judicial proceedings to
  7o
      enforce their rights or it may be necessary for the FF Group to seek bankruptcy protection or enter
   n
  8ti
      into other insolvency proceedings.
   n
  9u          There is no assurance that the FF Group will be able to comply with the undertakings and
   e  covenants under its financial instruments or obtain consents or waivers in respect of any breach of
10d
      these undertakings and/or covenants, if the FF Group fails to comply, there could be material adverse
   )
11P
      consequence to FF Group with respect to its financial condition, results of operations and business
   a
12g prospects materially and adversely affected, or its ability to continue as a going concern. FF Group
   e  has a limited operating history and faces significant entry barriers in the industry.
131
              FF Group commenced operations in 2014 and has built several pre-production vehicles for the
14
      FF 91, and completed the third stage of the FF 91 pre-production quality audits in September 2019.
15     Although the FF Group expects to start production of the FF 91 nine months after the FF Group
       completes the Series B Equity Financing, the commitment of the potential investors is not yet secured
16
       and FF has no experience in mass production of electric vehicles. Even if the FF Group is able to
17
       secure funding, there is no assurance that it will be able to develop efficient, automated, cost-efficient
18     manufacturing capabilities and processes, and reliable sources of component supply to meet the
       quality, price, engineering, design and production standards, as well as the production volumes
19
       required to successfully mass market the FF 91 and future vehicles.
20
               Furthermore, even if the FF Group achieves the mass production of its electric vehicles, it
21     faces significant barriers to entry in the electric vehicle industry, including, continuity in

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     development and production of safe and quality vehicles, corporate reputation, customer base,
 1
     marketing channels, pricing policies, management and talent, value-additive service packages and
 2
     technological advancement. If the FF Group fails to address any or all of these risks and barriers to
 3   entry, its business and results of operation, and the value of the Trust Interests may be materially
     and adversely affected.
 4
     The FF Group’s business depends substantially on the continuing efforts of its key management
 5
     as well as experienced and qualified personnel, and its business may be adversely affected if FF
 6   Group is unable to hire or retain qualified employees.
             The FF Group’s success depends substantially on the continued efforts of its executive
 7
     officers and key employees. If one or more of its executive officers or key employees were unable
 8
     or unwilling to continue their services with FF Group, FF Group may not be able to replace them
 9   easily, in a timely manner, or at all.
             If any of the FF Group’s executive officers or key employees terminates his or her services
10
     with the FF Group, the FF Group’s business may be negatively affected. In addition, the FF Group
11
     may incur additional expenses to recruit, train and retain qualified personnel. Recently, FF hired a
12   new global Chief Executive Officer and two senior vice presidents. However, there is no guarantee
     that FF Group will be able to attract other qualified candidates to fill certain positions in the FF
13
     Group. The failure to do so may lead to difficulties in effectively executing the FF Group’s business
14
     strategies, and its business, prospects and results of operations could be materially and adversely
15   affected. Furthermore, if any of the FF Group’s executive officers or key employees joins a
     competitor or forms a competing company, it may lose know-how and key professionals and staff
16
     members.
17
     The FF Group may not be able to guarantee customers access to comprehensive charging
18   solutions.
             The FF Group has not built any commercial charging infrastructure, and its customers will
19
     have to rely on publicly accessible charging infrastructure, which is generally considered to be
20
     insufficient, especially in the PRC. Although the FF Group has developed its proprietary and
21   patented battery pack system with leading battery energy density of 108kWh and high charging

22

23   capability of up to 200kW, the FF Group may not have competitive advantages in terms of
     proprietary charging infrastructure or holistic charging solutions. Some competitors may provide
24
     charging services via self-owned charging infrastructure, battery swapping and charging trucks,
25
     which the FF Group may not be able to deliver.
26                                               - 108 -

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             The charging services      the FF GroupPage
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                                                            provide  could fail to meet the expectations and
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 B
 L demands of the customers, who may lose confidence in the FF Group and its vehicles. This may
 E
     also deter potential customers from subscribing to purchase the FF Group’s vehicles. In addition,
 O
 F even if the FF Group has the ability to and plans to build its own charging infrastructure, it may not
 C
     be cost-effective and the FF Group may face difficulties in finding proper locations and obtaining
 O
 N relevant government permits and approvals. To the extent the FF Group is unable to meet its
 T
     customers’ expectations or demand, or faces difficulties in developing comprehensive charging
 E
 N solutions, its reputation and business operations and thus the value of the Trust Interests may be
 T
     materially and adversely affected.
 S
 2 The joint venture contemplated by The9 and the FF Group may not be successful. FF’s
 (c
     cooperation with The9 and manufacturing partners or contractors could incur other risks.
 o
 n           On March 24, 2019, the FF Group entered into the JVA with The9, an internet technology
 ti
     and gaming company based in Shanghai, China. Under the JVA, the FF Group will contribute to the
 n
 u joint venture, among other things, certain intellectual property licenses and its land use rights in
 e
     Zhejiang, China to develop and manufacture an exclusive electric vehicle, the V9 MPV in the PRC,
 d
 )   and the right of first refusal for a second project. The9 will contribute $600 million in funding to such
 P
     joint venture, contingent upon the fulfillment of specified funding conditions, approximately $400
 a
 g million of which will be payable to FF Group as licensing royalties and/or nonrecurring engineering
 e
 1 expenses. Each party owns a 50% stake in the joint venture and is entitled to 50% of the profits. FF
     Group may develop the joint venture’s manufacturing capabilities in the PRC, but may also consider
       cooperating with third party contractors or manufacturing partners to carry out certain production
       tasks.
                While the cooperation with The9 in the joint venture may accelerate the FF Group’s time to
       market in the PRC, this cooperation, together with the contemplated cooperation with




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     manufacturing partners or third party contractors, may not be successful or profitable. It is currently
 1
     expected that the joint venture may build its own manufacturing capability in the PRC and start
 2
     production beginning in 2022, which could divert the FF Group’s managerial and other resources. In
 3   addition, collaboration with third parties for the manufacturing of vehicles may pose risks outside the
     FF Group’s control, including the failure of the partners to meet agreed upon timelines, capacity
 4
     constraints, infringement upon or unauthorized disclosure of the FF Group’s patents, trademarks,
 5
     know-how and other proprietary properties, negative publicity regarding the FF Group’s partners or
 6   their business. Furthermore, there can be no assurance that the FF Group will successfully ensure that
     its manufacturing partners maintain quality standards, and any failure to do so could adversely affect
 7
     customers’ perceptions of the FF Group’s self-manufactured electric vehicles.
 8
            To the extent the FF Group relies on any third party contractors or manufacturing partners,
 9   risks exist that the FF Group may be unable to enter into new agreements or extend existing
     agreements with such third-party contractors or manufacturing partners on terms and conditions
10
     acceptable to the FF Group, if at all, and therefore may need to contract with other third parties or
11
     significantly add to its own production capacity. There can be no assurance that in such event the
12   FF Group would be able to partner with other third parties or increase its own production capacity
     to meet the production needs. The expense and time required to complete any transition, and to
13
     ensure that vehicles manufactured at facilities of new third party partners are built in compliance
14
     with the quality standards and regulatory requirements, may be greater than anticipated. Any of the
15   foregoing could adversely affect the FF Group’s business, results of operations, financial condition
     and prospects, and thus the value of the Trust Interests.
16
     Government financial support, incentives and favorable policies for electric vehicle policies are
17
     subject to change. Discontinuation of any of the government subsidies or imposition of any
18   additional taxes and subcharges could adversely affect FF Group’s financial condition and
     results of operations.
19
            The FF Group’s PRC subsidiaries have received various financial subsidies from PRC
20
     government authorities, including subsidies in relation to the FF Group’s patent application in the
21   PRC, and certain project-related subsidies. The government authorities may decide to change or

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   L
   E discontinue certain financial subsidies, which could materially and adversely affect the FF Group’s
  1O
      financial condition and results of operations.
   F
  2C
              In addition, government incentives, rebates, tax credits and other financial incentives available
   O
  3N to purchasers of electric vehicles may expire, end when the allocated funding is exhausted or be
   T reduced or terminated. For example, California implemented regulations phasing out a $2,500 cash
  4E
      rebate on qualified electric vehicles for high-income consumers, which became effective in March
   N
  5T
      2016. The PRC’s central government has announced a phase-out schedule for the subsidies provided
   S
  62 for purchasers of certain electric vehicles, which provides that the amount of subsidies provided to
   (c purchasers of certain new energy vehicles in 2019 and 2020 will be reduced by 20% as compared to
  7o
      2017 levels. Competitors who have already rolled out their electric vehicles before the phase-out of
   n
  8ti
      these government incentives may be able to expand its customer base more effectively, which could
   n
  9u place the FF Group at a competitive disadvantage.
   e          According to a Wall Street Journal article published on September 26, 2019, which cited
10d
      data from the Center for Strategic and International Studies, a U.S. think tank, in 2018, the PRC
   )
11P
      spent $58 billion on direct and indirect subsidies on new-energy vehicles, but in July 2019, the
   a
12g Chinese government drastically reduced subsidies on new-energy vehicles and will discontinue
   e them in 2020. In addition, as the Chinese economy has experienced a slowdown, Chinese general
131
      vehicle sales witnessed its first decline in decades, a 3% decrease in 2018, followed by another 11%
14
      decline in the first eight months of 2019. The removal of government subsidies in the PRC has
15     already impacted consumer behaviors as well as sales of electric vehicles in the PRC. For example,
       electric vehicles sales of the PRC’s largest seller of EVs, BYD Co., declined 23% in August 2019.
16
       The example shows that government subsidies will be critical to electric vehicle sales, and removal
17
       of such subsidies may materially and adversely affect the prospects, financial condition and results
18     of operations of electric vehicle manufactures, including FF.
       The construction and operation of the FF Group’s manufacturing facilities in the United States
19
       and the PRC subject to regulatory approvals and permits and may be subject to delays, cost
20
       overruns or may not produce expected benefits.
21
              The FF Group is developing its own manufacturing facilities in Hanford, California and,
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     may develop its manufacturing facility with its partner The9, in the PRC, which is expected to be
 1
     ready for production in 2020 and 2022, respectively. Construction projects are subject to broad and
 2
     strict government supervision and approval procedures, including, but not limited to, project
 3   approvals and filings, construction land and project planning approvals, environment protection
     approvals, pollution discharge permits, work safety approvals, fire protection approvals, and the
 4
     completion of inspection and acceptance by relevant authorities. Failure to obtain the relevant
 5
     approvals or permits may subject the FF Group to penalties, fines or correction actions. In addition,
 6   the FF Group will need significant additional capital to fully build out these manufacturing facilities,
     which is subject to risks, including risks associated with the FF Group’s ability to raise funds,
 7
     investor confidence in FF Group’s future prospects, economics conditions. Any failure to complete
 8
     these projects on schedule and within budget could adversely impact the FF Group’s launch of the
 9   FF 91 and other vehicles and production capacity, which will in turn adversely and materially affect
     is business, financial condition, and results of operations.
10

11   The FF 91 and other electric vehicles may not meet the expectations of customers.
           The FF Group’s electric vehicles, including the FF 91, may, upon its delivery, not perform
12
     in line with customers’ expectations. For example, the electric vehicles of the FF Group may not
13   have the durability or longevity of other vehicles in the market, and may not be as easy and
     convenient to repair as other vehicles in the market. Any product defects or any other failure of these
14
     vehicles to perform as expected could harm the FF Group’s reputation and result in adverse
15
     publicity, lost revenue, delivery delays, product recalls, product liability claims, and significant
16   warranty and other expenses, and could have a material adverse impact on the FF Group’s business,
     financial condition, operating results, and prospects.
17
             In addition, the range of the FF Group’s electric vehicles on a single charge depends on the
18
     function used, time and charging patterns as well as other factors. For example, a customer’s use of
19   his or her electric vehicle as well as the frequency with which he or she charges the battery can
     result in additional deterioration of the battery’s life and functionality.
20
             Furthermore, the electric vehicles may contain defects in design and manufacture that may
21
     cause them not to perform as expected or that may require repairs. The FF Group has limited data
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   L
   E regarding the long-term performance of its systems and vehicles before mass production. There can
  1O
      be no assurance that the FF Group will be able to detect and fix any defects in the vehicles prior to
   F
  2C
      their delivery to consumers. If any of the FF Group’s vehicles fails to perform as expected, the FF
   O
  3N Group may need to delay deliveries, initiate product recalls and provide servicing or updates under
   T warranty at its own costs, which could adversely affect the FF Group’s brand and could adversely
  4E
      affect its business, prospects and results of operations, and thus the value of the Trust Interests.
   N
  5T
      The FF Group is significantly dependent on its suppliers, many of whom are the FF Group’s
   S
  62 single source for the components they supply.
   (c          The FF 91 model incorporates over 2,000 purchased parts sourced from over 400 suppliers,
  7o
      many of whom are currently the FF Group’s single source suppliers for the components they supply,
   n
  8ti
      and the FF Group expects it to be similar for any other vehicle the FF Group may produce. The supply
   n
  9u chain exposes the FF Group to multiple potential sources of delivery failure or component shortages.
   e  Currently, the FF Group has not identified alternative sources for most of the single sourced
10d
      components used in the FF 91. Generally, FF does not maintain long-term agreements with these
   )
11P
      single source suppliers. For example, FF Group’s battery cell supplier helped develop the FF Group’s
   a
12g customized battery cell, and is the sole source of FF Group’s battery cell used in its battery pack.
   e           Historically, certain suppliers ceased supplying their components and initiated arbitration
131
      proceedings against the FF Group when the FF Group failed to make overdue payments, most of
14
      which have been settled through the Vendor Trust. For more information on the risks regarding the
15    Vendor Trust and disputes with the FF Group’s suppliers, see the discussion under the headings “The
      Vendor Trust Program Established by the FF Group May Not Fully Resolve the Disputes with its
16
      Contractors and Suppliers,” and “The FF Group is Subject to Litigation Risk that Could Adversely
17
      Affect its Reputation, Business, Financial Condition, and Results of Operations.” Any disruption in
18    the supply of components, whether or not from a single source supplier, could temporarily disrupt
      the FF Group’s production until a satisfactory alternative supplier is found, which can be time-
19
      consuming and costly. There can be no assurance that the FF Group would be able to successfully
20
      retain alternative suppliers or supplies in a timely manner or on acceptable
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     terms, if at all. Changes in business conditions, force majeure events, changes in regulatory
 1
     framework and other factors beyond the FF Group’s control could also affect the suppliers’ ability
 2
     to deliver components in a timely manner. Any of the foregoing could materially and adversely
 3   affect the FF Group’s results of operations, financial condition and prospects.
     The FF Group’s proprietary intellectual property may not be effectively protected despite its
 4
     efforts.
 5
                The FF Group has invested significant resources to develop its proprietary intellectual
 6   property. Failure to maintain or protect these rights could harm its business. As of July 31, 2019, FF
     had more than 425 issued patents across components, technology and processes, and 975 pending
 7
     patent applications pending in the United States, the PRC, and other jurisdictions. For the pending
 8
     applications, there is no assurance that the FF Group will be granted patents pursuant to its
 9   applications. Even if such patent applications succeed and these patents are granted, it is still
     uncertain whether these patents will be contested, circumvented or invalidated in the future.
10
                In addition, the rights granted under any issued patents may not provide the FF Group with
11
     meaningful protection or competitive advantages. The claims under any patents that issue from the
12   FF Group’s patent applications may not be broad enough to prevent others from developing
     technologies that are similar or that achieve results similar to the FF Group’s. It is also possible that
13
     the intellectual property rights of others could bar the FF Group from licensing and exploiting any
14
     patents that issue from the FF Group’s pending applications. Numerous patents and pending patent
15   applications owned by others exist in the fields in which the FF Group has developed and is
     developing its technology. These patents and patent applications might have priority over the FF
16
     Group’s patent applications and could subject its patent applications to invalidation. Finally, in
17
     addition to those who may claim priority, any of the FF Group’s existing or pending patents may also
18   be challenged by others on the basis that they are otherwise invalid or unenforceable. There is also
     no guaranty that the FF Group will be able to renew its patents upon expiration.
19
                Furthermore, protection of the FF Group’s intellectual property rights in the different
20
     jurisdictions in which the FF Group operates may vary in their effectiveness. For example,
21   implementation and enforcement of PRC intellectual property-related laws was historically deemed

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   L
   E deficient and ineffective. Despite the FF Group’s efforts to protect its proprietary rights, third parties
  1O
      may still attempt to copy or otherwise obtain and use the FF Group’s intellectual property or seek
   F
  2C
      court declarations that such third parties’ intellectual property does not infringe upon the FF Group’s
   O
  3N intellectual property rights.
   T FF Group is subject to litigation risk that could adversely affect its reputation, business, financial
  4E
      condition and results of operations.
   N
  5T
              The FF Group has been involved in claims and lawsuits in the ordinary course of its business,
   S
  62 including litigation with its contractors and suppliers over the FF Group’s past due payments. The
   (c FF Group has been making efforts to settle disputes with its suppliers and contractors with respect to
  7o
      such past due amounts. Such efforts included establishing the Vendor Trust secured by FF Group’s
   n
  8ti
      assets in April 2019. If the FF Group continues to encounter liquidity problems or if its liquidity
   n
  9u problems worsen, the FF Group may face additional lawsuits with its suppliers and contractors, which
   e could materially and adversely affect its reputation and business.
10d
              In addition, the FF Group is subject to litigation risks from third parties alleging infringement
   )
11P
      of their intellectual property, which could be time-consuming and costly, regardless of whether the
   a
12g claims have merit. Individuals, organizations and companies, including the FF Group’s competitors,
   e may hold or obtain patents, trademarks or other proprietary rights that would prevent, limit or
131
      interfere with the FF Group’s ability to make, use, develop, sell or market its vehicles or
14
      components, and may bring claims alleging the FF Group’s infringement of such rights. If the FF
15     Group is found to have infringed upon a third party’s intellectual property rights, not only may it be
       required to pay substantial damages, but it may also be required to cease sales of its vehicles,
16
       incorporate certain components into, or using vehicles or offering goods or services that incorporate
17
       or use the challenged intellectual property, seek a license from the holder of the infringed intellectual
18     property right, which license may not be available on reasonable terms or at all, redesign the vehicles
       or other goods or services, establish and maintain alternative branding for the products and services,
19
       or alter its business strategy.
20
               Furthermore, as protection of the FF Group’s intellectual property rights is critical to the FF
21     Group’s success, the FF Group may need to resort to litigation to enforce its intellectual property

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     rights if its rights are infringed, which could result in substantial costs and diversion of the FF
 1
     Group’s resources.
 2
                Regardless of whether the results of the legal or administrative proceedings are favorable to
 3   the FF Group, it could still result in substantial costs, negative publicity and diversion of resources
     and management attention, which could materially affect the FF Group’s business, prospects,
 4
     operating results, and financial condition.
 5
     The FF Group’s vehicles are subject to motor vehicle standards, and the failure to satisfy such
 6   mandated safety standards would have a material adverse effect on its business and operating
     results.
 7
                Motor vehicles are subject to substantial regulation under international, federal, state, and
 8
     local laws. Vehicles produced by the FF Group will be required to comply with the applicable
 9   product standards and regulations in its targeted markets. For example, the FF Group’s vehicles in
     the U.S. will be subject to numerous regulatory requirements established by the NHTSA, including
10
     all applicable FMVSS. In addition, the FF Group’s vehicles sold in the PRC must pass various tests
11
     and undergo a certification process and be affixed with the China Compulsory Certification, or the
12   CCC, before delivery from the factory and sales, and such certification is also subject to periodic
     renewal.
13
                The FF Group may incur significant costs in complying with these regulations and may be
14
     required to incur additional costs to comply with any changes to such regulations, and any failures
15   to comply could result in significant expenses, delays or fines. The FF Group may also fail to obtain
     or renew the required certification for its vehicles, which may prevent the FF Group from delivering,
16
     selling or importing its vehicles, and therefore materially and adversely affect the FF Group’s results
17
     of operations, financial condition, and future prospects.
18   FF GlobalIntelligent has granted, and may continue to grant options and other types of awards
     under its share incentive plan, which may result in increased share-based compensation expenses
19
     and dilute the value of your Trust Interests.
20
                FF GlobalIntelligent has reserved approximately 27.2% of its total share capital on a fully
21   diluted basis for issuance of options and other types of awards under its share incentive plan. As of

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   L
   E September 26, 2019, options to purchase an aggregate of 34,129,939 Class A ordinary shares of FF
  1O
      GlobalIntelligent had been granted and outstanding.
   F
  2C
              The FF Group believes the granting of share-based awards is of significant importance to its
   O
  3N ability to attract and retain key management as well as experienced and qualified personnel, and it
   T will continue to grant share-based compensation to employees in the future. As a result, the expenses
  4E
      associated with share-based compensation may increase, which may have an adverse effect on the
   N
  5T
      FF Group’s results of operations. In addition, grant of share-based compensation will dilute the
   S
  62 ownership interest of its stockholders, and therefore indirectly affect the value of the Trust Interests
   (c held by you.
  7o
              Furthermore, prospective candidates and existing employees often consider the value of the
   n
  8ti
      equity awards they receive in connection with their employment. Thus, the FF Group’s ability to
   n
  9u attract or retain highly skilled employees may be adversely affected if the perceived value of the FF
   e Group’s equity or equity awards declined. Furthermore, there are no assurances that the number of
10d
      shares reserved for issuance under FF Global’sIntelligent’s share incentive plans, including the
   )
11P
      Future Equity Incentive Plan, will be sufficient to grant equity awards adequate to recruit new
   a
12g employees and to compensate existing employees.
   e The FF Group’s vehicles make use of lithium-ion battery cells, which have been observed to catch
131
      fire or vent smoke and flame.
14
              The FF Group partnered with a leading supplier in the development of customized lithium-
15    ion battery cells. On rare occasions, lithium-ion cells can rapidly release the energy they store by
      venting smoke and flames in a manner that can ignite nearby materials as well as other lithium-ion
16
      cells. While the FF Group has designed the battery management system in the battery pack to be
17
      actively and continuously monitoring all battery modules over the current, voltage, and temperature
18    of the battery pack to prevent such incidents, a field or testing failure of vehicles or battery packs
      could occur, which could subject the FF Group to product liability claims, product recalls, or
19
      redesign efforts, and lead to negative publicity. Moreover, any failure of a competitor’s electric
20
      vehicle or energy storage product may cause indirect adverse publicity for the FF Group and its
21    products.

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             In addition, the FF Group will need to store a significant number of lithium-ion cells at its
 1
     facilities. Mishandling of battery cells may disrupt business operations and cause damage and
 2
     injuries.
 3           Any of the foregoing may materially and adversely affect the FF Group’s results of
     operations, financial condition, and prospects, and thus the value of the Trust Interests.
 4
     The FF Group will depend on revenue generated from a single model of vehicles in the
 5
     foreseeable future.
 6           The FF Group’s business will initially depend substantially on the sales and success of the FF
     91, which will, once successfully produced, be the FF Group’s only volume-manufactured vehicle in
 7
     the market in the foreseeable future. Historically, automobile customers have come to expect a
 8
     manufacturer to offer a variety of vehicle models and frequently improve vehicle models. Although
 9   the FF Group has been planning its second model, the FF 81, it remains uncertain when the FF Group
     will have sufficient funds to complete the development, launch and production of the FF 81. Given
10
     that the FF Group’s business will depend on the FF 91 for the foreseeable future, if the FF 91, once
11
     produced, is not well-received by the market, the FF Group’s business, prospects, financial condition,
12   and operating results could be materially and adversely affected.
     If the owners of the FF Group’s vehicle customize it with aftermarket products, the vehicle may
13
     not operate properly, which may create negative publicity and could harm the FF Group’s
14
     business.
15           Automobile enthusiasts may seek to “hack” the FF Group’s vehicles to modify their
     performance, which could compromise vehicle safety systems. The customers may also customize
16
     their vehicles with aftermarket products, which may compromise vehicle safety systems. Such
17
     modifications are out of the FF Group’s control, and any unauthorized modifications could
18   compromise the safety of the vehicles and thus cause injuries, which could result in adverse publicity,
     and negatively affect the FF Group’s brand, reputation, business, and operating results. If the FF
19
     Group fails to protect customer data and privacy, or fails to comply with various privacy and
20
     consumer protection laws to which the FF Group is subject, its reputation, financial condition, and
21   results of operations will be materially and adversely affected.

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   L
   E          The FF Group depends on information technology networks and systems to securely process,
  1O
      transmit, and store electronic information. Any unauthorized disclosure of sensitive or confidential
   F
  2C
      customer data, whether through cyber-attacks, system failure, employee negligence, fraud or
   O
  3N misappropriation, could damage the FF Group’s reputation and its business.
   T          In addition, the FF Group’s failure to comply with federal, state or international privacy,
  4E
      data protection or security laws or regulations could result in legal actions against the FF Group,
   N
  5T
      legal liability, fines, damages, and other costs. Substantial expenses and operational changes may
   S
  62 be required in connection with the continued compliance with such laws, and in particular, certain
   (c emerging privacy laws involve a high degree of uncertainty as to their interpretation and application.
  7o
      For instance, the Cyber Security Law of the PRC, which was promulgated by the Standing
   n
  8ti
      Committee of the National People’s Congress, or the SCNPC and became effective on June 1, 2017,
   n
  9u requires that operators of key information infrastructures—including public communications and
   e information services and other important industries—store within the territory of the PRC personal
10d
      information and important data gathered and produced during operations in the PRC. Where such
   )
11P
      information and data need to be transmitted overseas based on commercial demand, a security
   a
12g assessment is required to be conducted in accordance with the measures formulated by the national
   e cyberspace administration authority in concert with the relevant departments under the State
131
      Council. However, there are no detailed measures published on how such security assessments are
14
      to be conducted.
15            Although the FF Group has adopted security policies and measures, including encryption
      technology, to protect its proprietary data and customer’s privacy, it may be required to expend
16
      significant resources to comply with data breach requirements if third parties improperly obtain and
17
      use the personal information of its customers or the FF Group otherwise experiences a data loss with
18    respect to its customers’ personal information. A major breach of the FF Group’s network security
      and systems could have negative consequences for its business and future prospects, including
19
      possible fines, penalties and damages, reduced customer demand for its vehicles and harm to its
20
      reputation and brand.
21
      The FF Group may be subject to risks associated with autonomous driving technology.
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            The FF 91 is designed with autonomous driving functionalities and the FF Group plans to
 1
     continue its research and development efforts (“R&D”) in autonomous driving technology. However,
 2
     autonomous driving technologies are subject to risks and from time to time there have been accidents
 3   associated with such technologies. For example, in March 2018, Tesla indicated that its autopilot
     system was engaged at the time of a fatal accident and an Uber Technologies Inc. self-driving vehicle
 4
     struck a pedestrian leading to a fatality. The safety of such technologies depends in part on user
 5
     interaction and users may not be accustomed to using such technologies. To the extent accidents
 6   associated with the FF Group’s autonomous driving systems occur, the FF Group could be subject to
     liability, government scrutiny and further regulation. Any of the foregoing could materially and
 7
     adversely affect the FF Group’s results of operations, financial condition and future prospects.
 8
     The FF Group may become subject to product liability claims, which could harm its financial
 9   condition and liquidity if it is not able to successfully defend or insure against such claims.
            The FF Group may become subject to product liability claims, which could harm its
10
     business, prospects, operating results and financial condition. The automotive industry experiences
11
     significant product liability claims and the FF Group faces the inherent risk of exposure to claims
12   in the event its vehicles do not perform as expected or experience a malfunction that results in
     property damage, personal injury or death. A successful product liability claim against the FF Group
13
     could result in a substantial monetary award while generating significant negative publicity. The FF
14
     Group’s insurance coverage might not be sufficient to cover all potential product liability claims.
15   The FF Group may be compelled to undertake vehicle recalls or take other actions, which could
     adversely affect its brand and financial condition.
16
            If the FF Group’s vehicles are subject to recalls in the future, it may be subject to adverse
17
     publicity, damage to the brand and liability. The FF Group might from time to time, voluntarily or
18   involuntarily, initiate vehicle recalls if any of its vehicles, including any systems or parts sourced
     from suppliers and contractors, prove to be defective or noncompliant with applicable laws and
19
     regulations. Such recalls, whether voluntary or involuntary or caused by systems or components
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   L
   E engineered or manufactured by the FF Group or the suppliers and contractors, could require that the
  1O
      FF Group incur significant costs and could adversely affect the FF Group’s brand, as well as its
   F
  2C
      business, prospects, financial condition and results of operations and thus the value of the Trust
   O
  3N Interests.
   T The FF Group might not obtain and maintain sufficient insurance coverage, which could expose
  4E
      us to significant costs and business disruption.
   N
  5T
               The FF Group may only obtain and maintain a limited liability insurance coverage for its
   S
  62 products and business operations. A successful liability claim against the FF Group due to injuries
   (c suffered by the users of the FF Group’s vehicles or services could materially and adversely affect
  7o
      its financial condition, results of operations and reputation. In addition, the FF Group does not have
   n
  8ti
      any business disruption insurance. Any business disruption event could result in substantial cost and
   n
  9u diversion of resources.
   e Any financial or economic crisis, or perceived threat of such a crisis, including a significant
10d
      decrease in consumer confidence, may materially and adversely affect the FF Group’s business,
   )
11P
      financial condition, and results of operations.
   a
12g            The global financial markets experienced significant disruptions in 2008 and the United
   e States, European and other economies went into recession. The recovery from the lows of 2008 and
131
      2009 was uneven and the global financial markets are facing new challenges, including the
14
      escalation of the European sovereign debt crisis since 2011, the hostilities in the Ukraine and the
15    economic slowdown in the Eurozone in 2014. It is unclear whether these challenges will be
      contained and what effects they each may have. There is considerable uncertainty over the longterm
16
      effects of the expansionary monetary and fiscal policies that have been adopted by the central banks
17
      and financial authorities of some of the world’s leading economies. Any prolonged slowdown in
18    economic development might lead to tighter credit markets, increased market volatility, sudden
      drops in business and consumer confidence and dramatic changes in business and consumer
19
      behaviors.
20
              Sales of high-end and luxury consumer products, such as the FF 91 and other electric
21    vehicles of the FF Group, depend in part on discretionary consumer spending and are exposed to

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     adverse changes in general economic conditions. In response to their perceived uncertainty in
 1
     economic conditions, consumers might delay, reduce, or cancel purchases of such electric vehicles
 2
     and the FF Group’s results of operations may be materially and adversely affected.
 3   The FF Group faces risks related to natural disasters, health epidemics, terrorist attacks and
     other outbreaks, which could significantly disrupt our operations.
 4
            The occurrence, especially in the regions and cities where the FF Group has business, of
 5
     unforeseen or catastrophic events, including the emergence of a pandemic or other widespread
 6   health emergency, terrorist attacks or natural disasters, could create economic and financial
     disruptions, lead to operational difficulties that could impair the FF Group’s ability to manage its
 7
     businesses, and expose its business activities to significant losses. The FF Group’s management and
 8
     other teams are based in the United States and the PRC. The FF Group has a manufacturing facility
 9   in Hanford California, and may establish manufacturing facility in Zhejiang, China for certain future
     vehicle models. An unforeseen or catastrophic event in any of the regions mentioned above could
10
     adversely impact the FF Group’s operations.
11
            Since late 2019, the media has reported a public health epidemic originating in the PRC,
12   which prompted precautionary closures of travel and business. The Coronavirus Disease 2019
     (“COVID-19”) has taken many lives and infected more than 60,300 people. The FF Group may
13
     incur expenses or delays relating to such events outside of its control. As an initial matter, if COVID-
14
     19 persists for an extended period of time, it is unclear whether and how COVID-19 will affect the
15   global supply chains of automotive parts. The interruption of the global supply chains may
     materially delay the production of FF 91, thereby giving rise to liquidity issues and the need for
16
     additional financing. Additionally, COVID-19 may negatively affect the FF Group’s plan to
17
     establish a manufacturing facility in Zhejiang, China for certain future vehicle models. Accordingly,
18   COVID-19 could have a material adverse impact on the FF Group’s business, operating results, and
     financial condition.
19
     C.     Risks Related to the Trust Interests
20
     The value of the Trust Interests you are entitled to may not fully satisfy the Debt Claims you
21
     released.
22

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   L
   E          The Trust Assets consist of all of YT’s economic interests in the FF Group. The rest of the FF
  1O
      Group’s interests are owned by Season Smart, an affiliate of Evergrande, the management who
   F
  2C
      participate in the Partnership Program, and the option holders and the Class A ordinary shareholders
   O
  3N under FF Global’sIntelligent’s equity incentive plan. Various factors, including, but not limited to,
   T market and economic conditions, the FF Group’s business, operations, future prospects and financial
  4E
      conditions, the liquidity of the Trust Interests may affect the value of the Trust Interests you will
   N
  5T
      receive, either upon transfer of the Trust Interests or upon disposition of the Trust Assets. There is no
   S
  62 guarantee that the value of the Trust Interests you will receive will fully satisfy, or will not be
   (c substantially less than, the Debt Claim you released in exchange for your Trust Interests.
  7o
      The economic interest you may have in the FF Group through your ownership of Trust Interests
   n
  8ti
      will entitle you to claims on the FF Group that are subordinated to all creditors of the FF Group.
   n
  9u          Your Trust Interests will entitle you to indirect economic interests in FF GlobalIntelligent
   e that are similar to the economic interests enjoyed by the FF Global’sIntelligent’s shareholders. As
10d
      such, if FF GlobalIntelligent files for bankruptcy or is liquidated, or undergoes similar restructuring
   )
11P
      proceeding, creditors of FF GlobalIntelligent, including unsecured trade creditors, and any holders
   a
12g of preferred shares of FF GlobalIntelligent who have priority over the shares that the Trust holds,
   e would have priority of payment over your claims as a holder of the Trust Interests. As of July 31,
131
      2019, the indebtedness of the FF Group amounted to $734 million, and such indebtedness is
14
      expected to continue to increase in the foreseeable future. As a result, there is no guaranty that the
15     value of the Trust Interests you will receive will fully satisfy, or will not be substantially less than,
       the claims you released in exchange for your Trust Interests.
16
       If you are a PRC resident, you may have to complete the foreign exchange registration with the
17
       SAFE in order to receive any payments distributed by the Trustee for your Trust Interests, failure
18     of which may expose you to liability and penalties under PRC law.
              Pursuant to the SAFE Circular 37, PRC residents or entities are required to register with
19
       SAFE or its local branch in connection with their establishment or control of an offshore entity
20
       established for the purpose of overseas investment or financing. In addition, such PRC residents or
21     entities must update their SAFE registrations when the offshore special purpose vehicle undergoes

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     certain material events. PRC residents are PRC individuals, institutions and foreign individuals who
 1
     have a habitual residence in the PRC due to economic interests.
 2
             As the Trust is located in the U.S., the Trust Assets consist of shares and economic interests
 3   of entities outside the PRC, and payments from the disposition of or distribution related to the Trust
     Assets will be made in U.S. dollars, a PRC resident’s holding of the Trust Interests may be deemed to
 4
     be an overseas investment under the SAFE Circular 37. If you are deemed a PRC resident, you may
 5
     have to complete the foreign exchange registration with your local SAFE branch and will need to
 6   update such registration if there is any material change to your controlled offshore special purpose
     vehicle holding the Trust Interests. Failure to do so may result in penalties and liability under PRC
 7
     laws for evasion of applicable foreign exchange restrictions.
 8
     There is no public market, and a trading market may not develop, for the Trust Interests, which
 9   could adversely affect the value and liquidity of the Trust Interests.
             The Trust Interests have not been, and will not be registered with the U.S. Securities and
10
     Exchange Commission or any state securities agency, and there is no existing market for the Trust
11
     Interests. Federal and state securities laws therefore restrict the sale or other transfer of the Trust
12   Interests. If the Trust Interests are permitted to be traded under federal and state securities laws after
     their initial issuance, they may trade at a discount from their fair market value.
13
             The Trust Interests will not be listed on any securities exchange or quoted on any automated
14
     dealer quotation system. A market may not develop for the Trust Interests and if a market does
15   develop, it may not be sufficiently liquid for holders of the Trust Interests. If an active, liquid market
     does not develop for the Trust Interests, the market price and liquidity of the Trust Interests may be
16
     adversely affected.
17
             The liquidity of the trading markets, if any, and future trading prices of the Trust Interests
18   will depend on many factors, including, among other things, prevailing interest rates, the FF Group’s
     operating results, financial performance and prospects, the market for similar securities and the
19
     overall securities markets, and may be adversely affected by unfavorable changes in any of these
20
     factors. Historically, the markets for equity securities of non-public companies such as the FF Group
21   have been subject to disruptions that have caused substantial volatility in the prices of

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   L
   E securities similar to the Trust Interests. The market for the Trust Interests may be subject to
  1O
      disruptions that could adversely affect the value of the Trust Interests regardless of the FF Group’s
   F
  2C
      operating results, financial performance or prospects. Any such disruptions may adversely affect the
   O
  3N value of the Trust Interests.
   T You will be subject to significant restrictions on the transfer of your Trust Interests under the
  4E
      Trust Agreement.
   N
  5T
               Your ability to transfer your Trust Interests will be subject to significant restrictions under
   S
  62 the Trust Agreement. Among other restrictions, a holder may not transfer its Trust Interests if such
   (c transfer could cause the Trust to become an “investment company” within the meaning of the
  7o
      Investment Company Act of 1940, as amended, or if, in the opinion of legal counsel to the Trust,
   n
  8ti
      the Trust could be treated as an association or publicly-traded partnership taxable as a corporation
   n
  9u within the meaning of Section 7704 of the Internal Revenue Code. This and other restrictions on
   e  transfer may prevent you from transferring your Trust Interests, see the Amended Plan Term Sheet,
10d
   )  a copy of which is attached as Exhibit B to this Disclosure Statement.
11P
   a The distribution of the Trust Assets may be delayed.
12g
               The Trust has an initial term of five (5) years, which may be automatically extended through
   e
131 the selloff period for Marketable Securities if the IPO of FF Global’sIntelligent’s shares on New
      York Stock Exchange, Nasdaq, the Hong Kong Stock Exchange, the London Stock Exchange or
14
      other internationally recognized stock exchange (including China) has been completed within the
15
      initial term. The Trust will be dissolved upon the expiration of the initial period or extended period,
16     as applicable, upon which the Trust Assets will be distributed to you based on the Trust Interests you
       hold. However, the Trustee may delay or defer the distribution of any proceeds received in respect
17
       of the Trust Assets if the Trustee determines that such deferral or delay is in the best interests of the
18
       holders of Trust Interests, including, among others, if the Trust or the Trust Assets are bound by an
19     injunction, freeze order, judgement, or similar order or proceeding affecting such distribution.
       Accordingly, the timing you will receive the distribution of the Trust Assets may be subject to change
20
       and may be delayed.
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 1   D.    Risks Related to the Industry
     The automotive market is highly competitive and subject to disruption. the FF Group may not be
 2
     successful in competing in this industry.
 3          The automotive market in the United States and the PRC is and will remain highly
     competitive. Many established and new automobile manufacturers such as Audi, BMW, Daimler,
 4
     General Motors, Toyota and Volvo, as well as other companies, have entered or are reported to have
 5
     plans to enter the alternative fuel vehicle market, including hybrid, plug-in hybrid and fully electric
 6   vehicles, as well as the market for self-driving technology and applications. By the time the FF
     Group has started delivering the FF 91, a substantial portion of the market share might have already
 7
     been taken by the major players. Many of the FF Group’s current and potential competitors,
 8
     particularly international competitors, have significantly greater financial, technical, manufacturing,
 9   marketing and other resources than the FF Group does and are able to devote greater resources to
     the design, development, manufacturing, distribution, promotion, sale and support of their products
10
     than the FF Group can.
11
            In addition, automobile customers have historically expected car manufacturers to
12   periodically introduce new and improved vehicle models. In order to meet these expectations, the
     FF Group may be required to introduce new vehicle models and enhance versions of then existing
13
     vehicle models in order to compete effectively.
14
            Furthermore, there can be no assurance that the FF Group will be able to compete successfully
15   in global and local markets. If the FF Group’s competitors introduce new cars or services that surpass
     the quality or performance of the FF Group’s vehicles at more competitive prices, the FF Group may
16
     be forced to attract customers at prices lower than planned which may not generate attractive rates of
17
     returns. Moreover, if the FF Group fails to capture evolving trends poised to disrupt the automotive
18   market, it may not be able to compete successfully. For example, according to BNEF Report, global
     shared mobility fleet (i.e., ride-hailing and car-sharing) will contribute to 19% of the total kilometers
19
     traveled by passenger vehicles by 2040. As vehicle consumers are moving to rely on shared mobility
20
     fleets and view transport as a service, the demand for individual-owned vehicles will likely decrease.
21   In addition, consumers may move to transport-

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   L
   E as-a-service (“TaaS”), a business model which will allow passengers to be served by on-demand
  1O
      autonomous vehicles owned by fleets in the future, as opposed to purchasing and owning the vehicle.
   F
  2C
      If the FF Group’s competitors are leaders in the development of autonomous driving technology,
   O
  3N move to build up their respective TaaS fleets ahead of the FF Group, have the advantage of speed
   T to market and capture the relevant market share, the FF Group may not be able to meet consumer
  4E
      demands and/or to compete successfully, which could materially and adversely affect its business,
   N
  5T
      financial condition and results of operations.
   S
  62 The electric vehicle industry and its technology are rapidly evolving. Developments in alternative
   (c technologies or improvements in the internal combustion engine may significantly reduce the
  7o
      demand for the FF Group’s, or all, electric vehicles.
   n
  8ti
               The electric vehicle market is rapidly evolving and may not develop as the FF Group
   n
  9u anticipates. The regulatory framework governing the industry is currently uncertain and may remain
   e uncertain in the foreseeable future. In order to adapt to the developments in this market and the
10d
      relevant technologies, the FF Group may need to modify its business model or change its services
   )
11P
      and solutions from time to time. These changes may not achieve expected results, which could have
   a
12g a material adverse effect on the FF Group’s results of operations and prospects. Furthermore, the FF
   e Group may be unable to keep up with changes in electric vehicle technology. Even if the FF Group
131
      is able to keep pace with changes in technology and develop new models, the vehicle models it may
14
      have launched before such technology changes could become obsolete more quickly than expected,
15    which will reduce the FF Group’s return on investment.
              More importantly, developments in alternative technologies, such as advanced diesel,
16
      ethanol, fuel cells or compressed natural gas, or improvements in the fuel economy of the internal
17
      combustion engine, may materially and adversely affect the electric vehicle industry as a whole,
18    causing significant decrease in the total demand.
      The FF Group’s development and future growth is dependent upon the demand for, and
19
      consumers’ willingness to adopt, electric vehicles.
20
              Demand for electric vehicles may be affected by factors directly impacting automobile price
21    or the cost of purchasing and operating automobiles such as sales and financing incentives, prices

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 1   of raw materials, parts and components, cost of fuel and governmental regulations, including tariffs,

 2   import regulation and other taxes. Volatility in demand may lead to lower vehicle unit sales, which

 3   may result in further downward price pressure and adversely affect the FF Group’s business,

 4   prospects, financial condition and operating results.

 5           Other factors that may influence the adoption of alternative fuel vehicles, and specifically

 6   electric vehicles, include:

 7   •   perceptions about electric vehicle quality, safety, design, performance and cost, especially if
         adverse events or accidents occur that are linked to the quality or safety of electric vehicles,
 8       whether or not such vehicles are produced by us or other manufacturers;

 9   •   perceptions about vehicle safety in general, in particular safety issues that may be attributed to
         the use of advanced technology, including electric vehicle and regenerative braking systems;
10
     •   the limited range over which electric vehicles may be driven on a single battery charge and the
11       speed at which batteries can be recharged;

12   •   the decline of an electric vehicle’s range resulting from deterioration over time in the battery’s
         ability to hold a charge;
13
     •   concerns about electric grid capacity and reliability;
14   •   the availability of new energy vehicles, including plug-in hybrid electric vehicles;

15   •   improvements in the fuel economy of the internal combustion engine;
     •   the availability of service for electric vehicles;
16
     •   the environmental consciousness of consumers;
17
     •   access to charging stations, standardization of electric vehicle charging systems and
18       consumers’ perceptions about convenience and cost to charge an electric vehicle;

19   •   the availability of tax and other governmental incentives to purchase and operate electric
         vehicles or future regulation requiring increased use of nonpolluting vehicles;
20   •   perceptions about and the actual cost of alternative fuel; and
21   •   macroeconomic factors.
            Any of the factors described above may cause current or potential customers not to purchase
22
     electric vehicles from us or other manufactures. If customers are not willing to adopt electric
23
     vehicles in general, the market will not develop as the FF Group anticipates and its business,
24
     prospects, financial condition, and operating results will be affected.
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   L
   E
  1O E. Risks Related to the FF Group’s Corporate Structure
   F
  2C If the agreements that establish the structure for operating the FF Group’s business in the PRC
   O
  3N are found not to be in compliance with the relevant PRC regulations, or if these regulations
   T
  4E change in the future, the FF Group could be subject to severe penalties or be forced to relinquish
   N
  5T its interests in those operations.
   S
  62           The FF Group controls its operating entities in the PRC through a set of contractual
   (c
  7o arrangements entered into among its WFOE, FF Automotive (China) Co., Ltd., its VIE and VIE’s
   n
  8ti shareholders. These contractual arrangements, including equity pledge agreement, call option
   n
  9u agreement, powers of attorney, and certain exclusive operational service agreement enable the FF
   e
10d Group to (i) exercise effective 100% control over its VIE, and (ii) receive substantially all of the
   )
11P economic benefits of such VIE. As a result of these contractual arrangements, the FF Group has
   a
12g control over and is the primary beneficiary of such VIE and hence consolidates the VIE’s financial
   e
131 results into its consolidated financial statements. See Article II.C of this Disclosure Statement

14    entitled “YT’s Interest in the FF Group” for further information.

15            Although similar VIE arrangements are commonly adopted in the PRC, there are substantial

16    uncertainties regarding the interpretation and application of the existing and future PRC laws,

17    regulations and rules. In addition, it is uncertain whether any new PRC laws or regulations relating

18    to variable interest entity structures will be adopted or if adopted, what they would provide. If the

19    FF Group’s ownership structure of its VIE, the VIE contractual arrangements, and the FF Group’s

20    business of its PRC subsidiaries or variable interest entities are found to be in violation of any

21    existing or future PRC laws or regulations, or the FF Group’s PRC subsidiaries or VIE fail to obtain

22    or maintain any of the required permits or approvals, the relevant PRC regulatory authorities would

23    have broad discretion to take action in dealing with such violations or failures, including:

24    •   discontinuing or placing restrictions or onerous conditions on the FF Group’s activities
          through any transactions between its WFOE and its VIE;
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     • imposing fines, confiscating the income Page
                          Main Document        from the
                                                     217WFOE
                                                         of 529or the VIE, or imposing other
        requirements with which the FF Group or its VIE may not be able to comply;

      •   requiring the FF Group to restructure its ownership structure or activities, including
          terminating the contractual arrangements with its VIE and deregistering the equity pledges of
          such VIE,




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   L
   E
  1O
          which in turn would affect the FF Group’s ability to consolidate, derive economic benefits
   F      from, or exert effective control over its VIE; or
  2C
   O • restricting or prohibiting the FF Group’s use of funding to finance its business and activities in
  3N
          the PRC.
   T
  4E          The imposition of any of these penalties would result in a material and adverse effect on the
   N
  5T FF Group’s ability to conduct its business in the PRC. If the FF Group loses its right to direct the
   S
  62 activities of and receives economic benefits from its VIE due to any of these actions and the FF
   (c
  7o Group is not able to restructure its ownership structure and operations in the PRC in a satisfactory
   n
  8ti manner, the FF Group’s business operations in the PRC may be significantly disrupted, which could
   n
  9u materially and adversely affect the FF Group’s business, financial condition and results of
   e
10d operations.
   )
11P The FF Group relies on contractual arrangements with its VIE and the VIE’s shareholders to
   a exercise control over its business in the PRC which may not be as effective as direct ownership
12g
      in providing operational control.
   e
131
               The FF Group relies on contractual arrangements with its VIE and the VIE’s shareholders
14
      to conduct its operations in the PRC. These contractual arrangements may not be as effective as
15
      direct ownership in providing the FF Group with control over its VIE. For example, the VIE and
16
      its shareholders could breach their contractual arrangements with the FF Group by, among other
17
      things, failing to conduct their operations in an acceptable manner or taking other actions that are
18
      detrimental to the FF Group’s interests.
19
               If the FF Group had direct ownership of the VIE, the FF Group would be able to exercise
20
      rights as a shareholder to effect changes in the board of directors of the VIE, which in turn could
21
      implement changes, subject to any applicable fiduciary obligations, at the management and
22
      operational level. However, with the current VIE structure, the FF Group relies on the performance
23
      by the VIE and the VIE’s shareholders of their obligations under the contractual arrangements to
24
      exercise control over the VIE. The shareholders of the consolidated VIE may not act in the best
25
      interests of the FF Group or may not perform their obligations under these contractual
26                                            - 131 -

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     arrangements. Such risks exist
                           Main     throughout thePage
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                                                          during which the FF Group intends to operate
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      its business in the PRC through the contractual arrangements with the VIE. In order to enforce such




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   L
   E arrangements, the FF Group may have to incur substantial costs and expend additional resources. In
  1O
      addition, as all of the FF Group’s VIE contractual agreements are governed by PRC law and provide
   F
  2C
      for the resolution of disputes through an arbitration in the PRC, if any disputes relating to these
   O
  3N contracts remain unresolved, the FF Group may have to enforce its rights under these contracts
   T through the operations of PRC law and arbitration, litigation and other legal proceedings and
  4E
      therefore will be subject to uncertainties in the PRC legal system. If the FF Group is unable to
   N
  5T
      effectively enforce these contractual arrangements, or if it suffers significant delay or face other
   S
  62 obstacles in the process of enforcing these contractual arrangements, it may not be able to exert
   (c effective control over its variable interest entities, and the FF Group’s ability to conduct its business
  7o
      in the PRC may be negatively affected.
   n
  8ti
      The PRC regulations of loans and direct investment by offshore holding companies to PRC
   n
  9u entities may delay or prevent the FF Group from using proceeds it receives from financing
   e activities to make loans or additional capital contributions to its PRC subsidiaries.
10d
              In 2015, the SAFE published the Circular of the State Administration of Foreign Exchange on
   )
11P
      Reforming the Management Approach regarding the Settlement of Foreign Exchange Capital of
   a
12g Foreign-invested Enterprises, or the SAFE Circular 19, which has come into effect since June 1, 2015.
   e According to the SAFE Circular 19, foreign-invested enterprises are allowed to convert their
131
      registered capital from foreign exchange to Renminbi and apply such funds to equity investment
14
      within the PRC, conditioned upon the investment target’s duly registration with local banks of such
15     reinvestment and opening of a corresponding special account pending for foreign exchange settlement
       payment. Further, such conversion will be handled at the bank level and no approval by the SAFE is
16
       required. The SAFE Circular 19 prohibits foreign-invested enterprises from, among other things, using
17
       an Renminbi fund converted from its foreign exchange capital for expenditure beyond its business
18     scope, investment in securities, providing entrusted loans, repaying loans between nonfinancial
       enterprises or purchasing real estate not for self-use. The SAFE promulgated the Circular on
19
       Reforming and Standardizing the Foreign Exchange Settlement Management Policy of Capital
20
       Account, or the SAFE Circular 16, effective on June 9, 2016, which reiterates some of the rules set
21     forth in the SAFE Circular 19, but changes the prohibition against

22

23     using Renminbi capital converted from foreign currency-denominated registered capital of a
       foreign-invested enterprise to issue Renminbi entrusted loans, to the prohibition against using such
24
       capital to issue loans to non-associated enterprises.
25

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            If the FF Group failsDocument
                          Main    to comply withPage
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                                                      regulations,
                                                          of 529 its ability to capitalize the relevant
      PRC subsidiaries or fund their operations may be negatively affected, which could materially and
      adversely affect the liquidity of the relevant PRC subsidiaries or the FF Group’s business, financial
      condition, results of operations and growth prospects.
      The shareholders of the VIE may have potential conflicts of interest with the FF Group, which
      may materially and adversely affect its business.
             The shareholders of the VIE may have potential conflicts of interest with the FF Group. These
      shareholders may breach, or cause the VIE to breach, or refuse to renew, the existing contractual
      arrangements the FF Group has with them and the VIE, which would have a material and adverse
      effect on the FF Group’s ability to effectively control the VIE and receive economic benefits from
      them. For example, the shareholders may be able to cause the FF Group’s agreements with the VIE
      to be performed in a manner adverse to the FF Group by, among other things, failing to remit
      payments due under the contractual arrangements to the FF Group in a timely manner. There is no
      assurance that any or all of these shareholders will act in the best interests of the FF Group or such
      conflicts will be resolved in the FF Group’s favor. Currently, the FF Group does not have any
      arrangements to address potential conflicts of interest between these shareholders and the FF Group.
      If the FF Group cannot resolve any conflict of interest or dispute between the FF Group and these
      shareholders, it would have to rely on legal proceedings, which could result in disruption of the
      business and subject the FF Group to substantial uncertainties as to the outcome of any such legal
      proceedings.
      Contractual arrangements in relation to the VIE may be subject to scrutiny by the PRC tax
      authorities who may determine that the FF Group or the VIE owes additional taxes, which could
      negatively affect the FF Group’s financial condition and the value of the Trust Interests.
             Under applicable PRC laws and regulations, arrangements and transactions among related
      parties may be subject to audit or challenge by the PRC tax authorities. The FF Group could face




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   L
   E material and adverse tax consequences if the PRC tax authorities determine that the VIE contractual
  1O
      arrangements were not entered into on an arm’s length basis in such a way as to result in an
   F
  2C
      impermissible reduction in taxes under applicable PRC laws, rules and regulations, and adjust the
   O
  3N income of the VIE in the form of a transfer pricing adjustment. A transfer pricing adjustment could,
   T among other things, result in a reduction of expense deductions recorded by the VIE for PRC tax
  4E
      purposes, which could in turn increase their liabilities without reducing the WFOE’s tax expenses. In
   N
  5T
      addition, the PRC tax authorities may impose late payment fees and other penalties on the VIE for the
   S
  62 adjusted but unpaid taxes according to the applicable regulations. The FF Group’s financial position
   (c could be materially and adversely affected if the VIE’s tax liabilities increase or if it is required to pay
  7o
      late payment fees and other penalties.
   n
  8ti
      The FF Group may lose the ability to use and enjoy assets held by the VIE that are material to
   n
  9u the operation of the FF Group’s business in the PRC if the VIE goes bankrupt or becomes subject
   e to a dissolution or liquidation proceeding.
10d
              The VIE and their subsidiaries hold, and may in the future hold, certain assets that are material
   )
11P
      to the operation of the FF Group’s business in the PRC. Under the equity pledge agreement, without
   a
12g the FF Group’s prior consent, the VIE’s shareholders may not transfer its equity interests, create or
   e permit the existence of any security interests or other encumbrance on its equity interests that may
131
      affect the FF Group’s rights and interests, except for the performance of the call option agreement.
14
      However, if the VIE goes bankrupt and all or part of its assets become subject to liens or rights of
15     third-party creditors, the FF Group may be unable to continue some or all of its operations in the
       PRC, which could materially and adversely affect its business, financial condition and results of
16
       operations. If the VIE undergoes a voluntary or involuntary liquidation proceeding, independent
17
       third-party creditors may claim rights to some or all of these assets, thereby hindering the FF Group’s
18     operations in the PRC, which could materially and adversely affect its business and results of
       operations.
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 1   F.   Risks Related to the FF Group’s Operations in the PRC
     Changes in international trade policies, barriers to trade or the emergence of a trade war may
 2
     dampen growth in the PRC, the United States and other markets where the FF Group operates,
 3   and its business operations and results may be negatively impacted.
            The FF Group has business operations in the United States and the PRC, and partners with
 4
     international leading suppliers from North America, Europe and Asia, which may subject it to risks
 5
     associated with international trade conflicts. The United States administration under President
 6   Donald J. Trump has advocated for greater restrictions on international trade in general, which has
     significantly increased tariffs on certain goods imported into the United States, particularly from the
 7
     PRC. President Trump has also taken steps toward restricting trade in certain goods. In response, the
 8
     PRC and other countries have similarly imposed tariffs, and may further take other retaliatory
 9   measures. The increasing tariff may impact the FF Group’s raw material prices and therefore may
     have a negative impact on the FF Group’s operations. In addition, the resulting escalation of trade
10
     tension may lead to volatility in the financial market, which may affect the FF Group’s ability to raise
11
     capital, and could impact the purchasing power of the FF Group’s potential customers. Such changes
12   could have an adverse effect on the FF Group’s business, financial condition, and results of
     operations.
13
     Changes in the PRC’s economic, political or social conditions or government policies could have
14
     a material and adverse effect on the FF Group’s business and results of operations.
15          A portion of the FF Group’s future revenues are expected to be derived in the PRC, and the
     FF Group has formed a joint venture with The9 to manufacture certain multi-purpose vehicles and
16
     conduct other activities in the PRC. Accordingly, the FF Group’s results of operations, financial
17
     condition and prospects would, to a certain extent, be influenced by economic, political and legal
18   developments in the PRC. the PRC’s economy differs from the economies of most developed
     countries in many aspects, including, but not limited to, the degree of government involvement,
19
     control level of corruption, control of capital investment, reinvestment control of foreign exchange,
20
     allocation of resources, growth rate and development level. For approximately three decades, the PRC
21   government has implemented economic reform measures to utilize market forces in the

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   L
   E development of the PRC economy. It is unclear whether and how the FF Group’s current or future
  1O
      business, financial condition or results of operations may be affected by changes in the PRC’s
   F
  2C
      economic, political and social conditions and in its laws, regulations and policies. In addition, many
   O
  3N of the economic reforms carried out by the PRC government are unprecedented or experimental and
   T are expected to be refined and improved over time. This refining and improving process may not
  4E
      necessarily have a positive effect on the FF Group’s operations and business development.
   N
  5T
      The legal system in the PRC is not fully developed and there are inherent uncertainties that may
   S
  62 affect the protection afforded to the FF Group.
   (c         The FF Group’s business and activities in the PRC are governed by the PRC laws and
  7o
      regulations. The PRC legal system is generally based on written statutes. Prior court decisions may be
   n
  8ti
      cited for reference but have limited precedential value. Since 1979, the PRC legislation and regulations
   n
  9u have significantly enhanced the protections afforded to various industries in the PRC. However, as
   e these laws and regulations are relatively new and continue to evolve, interpretation and enforcement
10d
      of these laws and regulations involve significant uncertainties and different degrees of inconsistency.
   )
11P
      Some of the laws and regulations are still in the developmental stage and are therefore subject to policy
   a
12g changes. Many laws, regulations, policies and legal requirements have only been recently adopted by
   e the PRC central or local government agencies, and their implementation, interpretation and
131
      enforcement may involve uncertainty due to the lack of established practice available for reference.
14
      The effect of future legal developments in the PRC, including the promulgation of new laws, changes
15     in existing laws or their interpretation or enforcement, or the preemption of local regulations by
       national laws cannot be predicted. As a result, there are substantial uncertainties as to the legal
16
       protection available to the FF Group. Furthermore, due to the limited volume of published cases and
17
       the non-binding nature of prior court decisions, the outcome of the dispute resolution may not be as
18     consistent or predictable as in other more developed jurisdictions, which may limit the legal protection
       available to the FF Group.
19
       The FF Group may be adversely affected by the complexity, uncertainties, and changes in the
20
       PRC regulations on internet-related as well as automotive businesses and companies.
21
              The PRC government extensively regulates the internet industry and automotive industry,
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     such laws and regulations are relatively new and evolving, and their interpretation and enforcement
 1
     involve significant uncertainties. As a result, in certain circumstances it may be difficult to
 2
     determine what actions or omissions may be deemed to be in violation of applicable laws and
 3   regulations.
            Several PRC regulatory authorities, such as the State Administration for Market Regulation,
 4
     the National Development and Reform Commission, the Ministry of Industry and Information
 5
     Technology and the Ministry of Commerce, oversee different aspects of the electric vehicle business,
 6   and the FF Group will be required to obtain a wide range of government approvals, licenses, permits
     and registrations in connection with its operations in the PRC. For example, certain filings must be
 7
     made by automobile dealers through the information system for the national automobile circulation
 8
     operated by the relevant commerce department within ninety (90) days after the receipt of a business
 9   license. Furthermore, the electric vehicle industry is relatively immature in the PRC, and the PRC
     government has not adopted a clear regulatory framework to regulate the industry.
10
            There are substantial uncertainties regarding the interpretation and application of the existing
11
     PRC laws, regulations and policies and possible new laws, regulations or policies relating to the
12   internet-related as well as automotive businesses and companies. Currently, the FF Group’s VIE
     holds the necessary license for the FF Group’s operations in the PRC. There is no assurance that the
13
     FF Group will be able to obtain all the permits or licenses related to its business in the PRC, or will
14
     be able to maintain its existing licenses or obtain new ones. In the event that the PRC government
15   considers that the FF Group was or is operating without the proper approvals, licenses or permits,
     promulgates new laws and regulations that require additional approvals or licenses, or imposes
16
     additional restrictions on the operation of any part of its business, the PRC government has the power,
17
     among other things, to levy fines, confiscate the FF Group’s income, revoke its business licenses,
18   and require the FF Group to discontinue the relevant business or impose restrictions on the affected
     portion of its business. Any of these actions by the PRC government may have a material adverse
19
     effect on the FF Group’s business and results of operations.
20
            Considering its business arrangement and development plan, the FF Group has also set up
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   L
   E the VIE structure and intends the VIE or its subsidiary to apply for the necessary government
  1O
      licenses as soon as practicable to conduct the relevant support operations in the near future.
   F
  2C
      However, there is no guarantee that the FF Group’s VIE or its subsidiary, will obtain such licenses
   O
  3N due to uncertainties from PRC governmental authorities. The PRC government may enact new laws
   T and regulations that require additional licenses, permits, approvals and/or registrations for the
  4E
      operation of any of the FF Group’s existing or future businesses in the PRC. As a result. there is no
   N
  5T
      assurance that the FF Group will, through its VIE or PRC subsidiary, have all the permits, licenses,
   S
  62 registrations, approvals and/or business license covering the sufficient scope of business required
   (c for its business in the PRC or that it will be able to obtain, maintain or renew permits, licenses,
  7o
      registrations, approvals and/or business license covering sufficient scope of business in a timely
   n
  8ti
      manner or at all.
   n
  9u The FF Group may be subject to penalties, including restrictions on the FF Group’s ability to
   e inject capital into its PRC subsidiaries, if the PRC resident shareholders or beneficial owners fail
10d
      to comply with relevant PRC foreign exchange regulations.
   )
11P
              On July 4, 2014, the SAFE issued the Circular on Several Issues Concerning Foreign
   a
12g Exchange Administration of Domestic Residents Engaging in Overseas Investment, Financing and
   e Round-Trip Investment via Special Purpose Vehicles, or the SAFE Circular 37. The SAFE Circular
131
      37 requires PRC individuals, institutions and foreign individuals who have a habitual residence in the
14
      PRC due to economic interests, or collectively referred as the PRC residents, to register with the SAFE
15    or its local branches in connection with their direct establishment or indirect control of an offshore
      special purpose vehicle, for the purpose of overseas investment and financing, with such PRC
16
      residents’ legally owned assets or equity interests in domestic enterprises or offshore assets or
17
      interests. In addition, such PRC residents must update their foreign exchange registrations with the
18    SAFE when the offshore special purpose vehicle undergoes material events relating to any change of
      basic information (including change of such PRC residents, name and operation term), increases or
19
      decreases in investment amount, share transfers or exchanges, or mergers or divisions. According to
20
      the Circular on Further Simplifying and Improving the Administration of Foreign Exchange
21    Concerning Direct Investment released on February 13, 2015 by the SAFE, local banks

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     will examine and handle foreign exchange registration for overseas direct investment, including the
 1
     initial foreign exchange registration and amendment registration, under the SAFE Circular 37 from
 2
     June 1, 2015.
 3          If any shareholder holding interest in an offshore special purpose vehicle, who is a PRC
     resident as determined by the SAFE Circular 37, fails to fulfill the required foreign exchange
 4
     registration with the local SAFE branches or its designated banks, the offshore special purpose
 5
     vehicle may be restricted in its ability to contribute additional capital to its PRC subsidiaries.
 6   Moreover, failure to comply with the SAFE registration described above could result in liability
     under PRC laws for evasion of applicable foreign exchange restrictions. The FF Group has requested
 7
     all of its current shareholders and/or beneficial owners to disclose whether they or their shareholders
 8
     or beneficial owners fall within the ambit of the SAFE Circular 37 and urged relevant shareholders,
 9   upon learning that they are PRC residents, to register with the local SAFE branch or its designated
     bank as required under the SAFE Circular 37. However, the FF Group may not be fully informed of
10
     the identities of all the shareholders or beneficial owners who are PRC residents, and it cannot
11
     provide any assurance that all of the shareholders and beneficial owners who are PRC residents will
12   comply with the FF Group’s requests to make, obtain or update any applicable registrations or
     comply with other requirements pursuant to the SAFE Circular 37 or other related rules in a timely
13
     manner. Any failure to comply with the relevant requirements could subject the FF Group’s PRC
14
     subsidiaries and its shareholders or beneficial owners to penalties, which would limit the FF Group’s
15   ability to contribute additional capital to its PRC subsidiaries and negatively affect the FF Group’s
     business operation in the PRC.
16
     FF GlobalIntelligent may rely on dividends and other distributions on equity paid by its PRC
17
     subsidiaries to fund any cash and financing requirements it may have, and any limitation on the
18   ability of the PRC subsidiaries to make payments to FF GlobalIntelligent could have a material
     and adverse effect on the FF Group’s ability to conduct its business.
19
            FF GlobalIntelligent is a holding company, and may rely on dividends and other distributions
20
     on equity paid by the PRC subsidiaries for cash and financing requirements, including the funds
21   necessary to service the FF Group’s debts. Current PRC regulations permit the FF Group’s PRC

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   L
   E subsidiaries to pay dividends to FF GlobalIntelligent only out of their accumulated after-tax profits
  1O
      upon satisfaction of relevant statutory conditions and procedures, if any, determined in accordance
   F
  2C
      with Chinese accounting standards and regulations. In addition, each of these PRC subsidiaries is
   O
  3N required to set aside at least 10% of its after-tax profits each year, if any, to fund certain reserve
   T funds until the total amount set aside reaches 50% of its registered capital. Additionally, if the FF
  4E
      Group’s PRC subsidiaries incur debts on their own behalf in the future, the instruments governing
   N
  5T
      their debt may restrict their ability to pay dividends or make other distributions to FF
   S
  62 GlobalIntelligent.
   (c         Any limitation on the ability of the FF Group’s PRC subsidiaries to pay dividends or make
  7o
      other distributions to FF GlobalIntelligent could materially and adversely limit its ability to grow,
   n
  8ti
      make investments or acquisitions that could be beneficial to the FF Group, or pay dividends or debts.
   n
  9u Fluctuations in exchange rates between Renminbi and U.S. dollar could result in currency
   e  exchange losses.
10d
              The FF Group’s reporting currency and a substantial portion of its operating costs and
   )
11P
      expenses are denominated in U.S. dollars, while operating currency in the PRC for the FF Group’s
   a
12g PRC subsidiaries are denominated in Renminbi. Appreciation or depreciation in the value of
   e  Renminbi relative to U.S. dollar would affect the FF Group’s financial results reported in U.S. dollar
131
      terms without giving effect to any underlying change in its business, financial condition or results
14
      of operations. Renminbi may appreciate or depreciate significantly in value against U.S. dollar in
15    the long term, depending on the fluctuation of the basket of currencies against which it is currently
      valued, or it may be permitted to enter into a full float, which may also result in a significant
16
      appreciation or depreciation of Renminbi against U.S. dollar.
17
              The FF Group has not entered into any hedging transactions in an effort to reduce its
18    exposure to foreign currency exchange risk. While it may decide to enter into hedging transactions
      in the future, the availability and effectiveness of these hedges may be limited and the FF Group
19
      may not be able to hedge its exposure adequately or at all. In addition, the FF Group’s currency
20
      exchange losses may be magnified by the PRC exchange control regulations that restrict its ability
21    to convert Renminbi into foreign currency.

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     Governmental control of currency conversion may limit the FF Group’s ability to utilize its future
 1
     revenues effectively.
 2
             The PRC government imposes controls on the convertibility of Renminbi into foreign
 3   currencies and, in certain cases, the remittance of currency out of the PRC. Under existing PRC
     foreign exchange regulations, payments of current account items, such as profit distributions and
 4
     trade and service-related foreign exchange transactions, can be made in foreign currencies without
 5
     prior approval from the SAFE, by complying with certain procedural requirements. However,
 6   approval from or registration with appropriate governmental authorities is required where Renminbi
     is to be converted into foreign currency and remitted out of the PRC to pay capital expenses such as
 7
     the repayment of loans denominated in foreign currencies.
 8
             Since 2016, the PRC government has tightened its foreign exchange policies again and
 9   stepped up scrutiny of major outbound capital movement. More restrictions and a substantial vetting
     process have been put in place by the SAFE to regulate cross-border transactions falling under the
10
     capital account. The PRC government may also restrict access in the future to foreign currencies for
11
     current account transactions, at its discretion. The FF Group expects to receive a portion of its
12   revenues in Renminbi. If the foreign exchange control system prevents the FF Group from obtaining
     sufficient foreign currencies to satisfy its foreign currency demands, the FF Group may not be able
13
     to pay dividends or debts in foreign currencies to the shareholders or creditors.
14
     The FF Group may be deemed to be a PRC resident enterprise under the Enterprise Income Tax
15   Law, or the EIT Law, and be subject to the PRC taxation on its worldwide income, which may
     significantly increase the FF Group’s income tax expenses and materially decrease its
16
     profitability.
17
             Under the EIT Law that took effect on January 1, 2008, enterprises established outside of the
18   PRC whose “de facto management bodies” are located in the PRC are considered to be “resident
     enterprises” and will generally be subject to a uniform 25% corporate income tax on their global income
19
     (excluding dividends received from “resident enterprises”). In addition, a circular issued by the State
20
     Taxation Administration, or the SAT, on April 22, 2009 and amended on January 29, 2014 sets out
21   certain standards for determining whether the “de facto management bodies” of an

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   L
   E offshore enterprise funded by Chinese enterprises as controlling shareholders is located in the PRC.
  1O
      Although this circular applies only to offshore enterprises funded by Chinese enterprises as
   F
  2C
      controlling shareholders, rather than those funded by Chinese or foreign individuals or foreign
   O
  3N enterprises as controlling shareholders (such as the company), the determining criteria set forth in
   T the circular may reflect SAT’s general position on how the “de facto management bodies” test
  4E
      should be applied in determining the tax resident status of offshore enterprises, regardless of how
   N
  5T
      they are funded. Although the FF Group is not funded by Chinese enterprises as controlling
   S
  62 shareholders, substantial uncertainties remain as to whether the FF Group or any of its non-PRC
   (c subsidiaries will be deemed a PRC resident enterprise for the EIT purposes. If the FF Group or any
  7o
      of its subsidiaries registered outside the PRC are to be deemed a “resident enterprise” under the EIT
   n
  8ti
      Law, the FF Group’s income tax expenses may increase significantly, and its profitability could
   n
  9u decrease materially.
   e The FF Group’s leased property interest in the PRC may be defective, which could cause
10d
      significant disruption to its business.
   )
11P
               Under the applicable PRC laws and regulations, all lease agreements are required to be
   a
12g registered with the local housing authorities. The landlords of certain of the FF Group’s leased
   e premises in the PRC may have not completed the registration of their ownership rights or these
131
      leases with the relevant authorities. Failure to complete these required registrations may expose such
14
      landlords, lessors and the FF Group to potential monetary fines. If these registrations are not
15    obtained in a timely manner, or at all, the FF Group may be subject to monetary fines or may have
      to relocate its offices, which will incur the associated losses and adversely affect the normal business
16
      operations.
17
      G.      Certain Tax Risks Related to the Plan
18
      Tax Classification of the Trust for U.S. federal income tax purposes is subject to uncertainty.
19          The Trustee likely will report the Trust as a “liquidating trust” under Treasury Regulation
      Section 301.7701-4(d) (a “Liquidating Trust”). In general, a Liquidating Trust is not a separate taxable
20
      entity but rather is treated for federal income tax purposes as a “grantor” trust (i.e., a “pass-through”
21
      entity) of which the holders of beneficial interests in the trust are the owners and grantors.
22

23
      However, there is uncertainty as to the appropriate tax classification of the Trust. Thus, there is no
24    assurance the Trustee’s intended treatment of the Trust as a Liquidating Trust would withstand a
      challenge by the Internal Revenue Service (the “IRS”). If the IRS were to challenge successfully
25

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     such classification, theMain
                              federal income tax consequences
                                   Document       Page 231 of to
                                                              529the Liquidating Trust and its creditor-
      beneficiaries could be different and potentially less favorable. See Article IX.A of this Disclosure
      Statement entitled “U.S. Tax Classification of the Trust.”
      U.S. federal income tax classification of the entities through which West Coast indirectly owns
      its economic interest in the FF Group is subject to uncertainty.
             Each of the entities through which West Coast indirectly owns the stock of the FF Group are
      intended to be treated as “pass-through” entities for tax purposes. There is some uncertainty as to
      whether that will be the case due to an inadvertent election with respect to one of those entities that
      has since been withdrawn and late elections with respect to other entities. While that withdrawal and
      the late lections are believed to have been effective under published procedures, there is no assurance
      the IRS will agree. If any of the entities through which West Coast owns its economic interest in the
      FF Group were to be treated as a corporation for U.S. federal income tax purposes, the resulting
      adverse tax consequences could include corporate level taxes levied on any proceeds from the
      disposition of stock of the FF Group indirectly owned by West Coast as well as potential taxes
      imposed on any distribution of such proceeds by such entity that are allocable to the holders. Such
      dividends could by subject to tax at a 30% tax rate (subject to reduction under an applicable treaty).
      See Article IX.B.3 “Tax Classification of West Coast Conduit Entities.”

      The treatment of accrued but unpaid interest on a Debt Claim is uncertain.
             Holders of Debt Claims who receive Trust Interests under the Plan may have taxable ordinary
      income equal to the value of the Trust Interests they receive to the extent of any accrued and unpaid
      interest on the debt they hold that is extinguished or retired. YT intends to take the position that no
      portion of the Trust Interests received by a holder of Debt Claims under the Plan is allocable to
      accrued and unpaid interest or subject to withholding. However, this conclusion is not free from
      doubt, and it is possible that the IRS could assert that the value of any Trust Interest received by a
      holder should be allocated first to accrued and unpaid interest prior to allocating any




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   L
   E portion of such amounts to principal. Such argument, if successful, would result in holders being
  1O
      required to report ordinary income on such value for U.S. federal income tax purposes. Holders of
   F
  2C
      Debt Claims should carefully review the discussion set forth in Article IX.B.1 of this Disclosure
   O
  3N Statement under the heading “Accrued Interest on Debt Claims” and should discuss the potential for
   T interest income and other possible tax consequences with their own tax advisors.
  4E
   N                                                  VII.
  5T
                                     CONFIRMATION OF THE PLAN
   S
  62
      A.      Voting Procedures and Solicitation of Votes
   (c
  7o          The voting procedures and the procedures governing the solicitation of votes are described
   n above in Article I.B (Voting on the Plan) and in the Disclosure Statement Order, which has been
  8ti
      sent to you with this Disclosure Statement if you are entitled to vote on the Plan.
   n
  9u
      B.      Confirmation Hearing
   e
10d
              The Bankruptcy Code requires the Bankruptcy Court, after notice, to hold a hearing on
   )
11P
      confirmation of a plan of reorganization. As set forth in the Disclosure Statement Order, the
   a
12g Confirmation Hearing has been scheduled for [                     ], 2020, commencing at [ ]:00 [_].m.
   e  (Pacific time), before the Honorable Vincent P. Zurzolo, United States Bankruptcy Judge, in
131
      Courtroom 1368 of the United States Bankruptcy Court for the Central District of California Los
14
      Angeles Division, Roybal Federal Building, 255 E. Temple Street, Los Angeles, California 90012.
15    The Confirmation Hearing may be adjourned from time to time without further notice except for an
      announcement of the adjourned date made at the Confirmation Hearing and filed with the
16
      Bankruptcy Court.
17
             Objections, if any, to confirmation of the Plan must be filed and served so that they are
18
      received on or before [                      ], 2020, at 4:00 p.m. (Pacific time). Any objection to
19    confirmation must be made in writing and specify in detail the name and address of the objector, all
      grounds for the objection and the amount of the claim held by the objector. Objections to
20
      confirmation of the Plan are governed by Bankruptcy Rule 9014. Objections must be timely served
21
      upon the following parties: (i) Office of the United States Trustee for the Central District of
22    California, 915 Wilshire Blvd., Suite. 1850, Los Angeles, California 90017 (Attn: Kelly L.

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 1   Morrison, Esq.); (ii) counsel for the Debtor, Pachulski Stang Ziehl & Jones LLP, 10100 Santa

 2   Monica Blvd., 13th Floor, Los Angeles, CA 90067 (Attn: Jeffrey W. Dulberg, Esq. and Malhar S.

 3   Pagay, Esq.) and Pachulski Stang Ziehl & Jones LLP, 919 North Market Street, 17th Floor,

 4   Wilmington, DE 19801 (Attn: James E. O’Neil, Esq.); (iii) special counsel for the Debtor,

 5   O’Melveny & Myers LLP, Times Square Tower, 7 Times Square, New York, NY 10036 (Attn:

 6   Suzzanne Uhland, Esq. and Diana M. Perez, Esq.); and (iv) counsel to the Creditors’ Committee,

 7   Lowenstein Sandler LLP, One Lowenstein Drive, Roseland, NJ 07068 (Attn: Jeffrey D. Prol, Esq.,

 8   Andrew D. Behlmann, Esq., and Jeremy D. Merkin, Esq.) and Polsinelli LLP, 2049 Century Park

 9   East, 29th floor, Los Angeles, CA 90067 (Attn: Randye B. Soref, Esq.).

10           UNLESS AN OBJECTION TO CONFIRMATION IS TIMELY SERVED AND

11   FILED, IT MAY NOT BE CONSIDERED BY THE BANKRUPTCY COURT.
     C. General Requirements of Section 1129
12
                         1.      Requirements of Section 1129(a) of the Bankruptcy Code
13
                    a.        General Requirements
14
             At the Confirmation Hearing, the Bankruptcy Court will determine whether the following
15
     confirmation requirements specified in section 1129 of the Bankruptcy Code have been satisfied:
16
     •   The Plan complies with the applicable provisions of the Bankruptcy Code;
17
     •   The Debtor has complied with the applicable provisions of the Bankruptcy Code;
18   •   The Plan has been proposed in good faith and not by any means proscribed by law;

19   •   Any payment made or promised by the Debtor under the Plan for services or for costs and
         expenses in, or in connection with, the chapter 11 case, or in connection with the Plan and
20       incident to the chapter 11 case, has been disclosed to the Bankruptcy Court, and any such
         payment made before confirmation of the Plan is reasonable, or if such payment is to be fixed
21       after confirmation of the Plan, such payment is subject to the approval of the Bankruptcy Court
         as reasonable;
22
     •   With respect to each class of claims, each holder of an impaired claim either has accepted the
23       Plan or will receive or retain under the Plan on account of such holder’s claim, property of a
         value, as of the Effective Date, that is not less than the amount such holder would receive or
24       retain if the Debtor was liquidated on the Effective Date under chapter 7 of the Bankruptcy Code.
         See discussion of “Best Interests Test,” below;
25
     •   Each class of claims has either accepted the Plan or is unimpaired under the Plan;
26                                                - 146 -

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     • Except to the extentMain
                            that the holder of a particular
                                 Document         Page 234  claim  has agreed to a different treatment of
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       such claim, the Plan provides that Administrative Expense Claims and Priority Non-Tax Claims
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 1
           will be paid in full, in cash, on the Effective Date and that holders of Priority Tax Claims may
           receive on account of such claims deferred cash payments, over a period not exceeding five
 2
           years after the Petition Date, of a value as of the Effective Date, equal to the Allowed amount
           of such claims with interest from the Effective Date;
 3
     •     At least one class of impaired claims has accepted the Plan, determined without including any
 4
           acceptance of the Plan by any insider holding a claim in such class;
 5
     •     Confirmation of the Plan is not likely to be followed by the liquidation or the need for further
           financial reorganization of the Debtor or any successor of the Debtor under the Plan, unless such
 6
           liquidation or reorganization is proposed in the Plan. See discussion of “Feasibility,” below; and
 7
     •     All fees payable under section 1930 of title 28, as determined by the Bankruptcy Court at the
           Confirmation Hearing, have been paid or the Plan provides for the payment of all such fees on
 8
           the Effective Date.
 9
                       b.      Best Interests Test
10
                 Often called the “best interests” test, section 1129(a)(7) of the Bankruptcy Code requires
11
         that each holder of an impaired claim either (i) accepts the Plan or (ii) receives or retains under the
12
         Plan property of a value, as of the Effective Date, that is not less than the value such holder would
13
     receive if the Debtor were liquidated under chapter 7 of the Bankruptcy Code.
14
                The first step in meeting the best interests test is to determine the dollar amount that would
15
         be generated from the liquidation of YT’s assets and properties if he filed an individual chapter 7
16
         case. The total amount available would be the sum of the proceeds from a forced disposition of his
17
          assets by a chapter 7 trustee and the cash held by YT in that scenario. The next step is to reduce
18
          that total by the amount of any claims secured by such assets (to the extent of the value of the
19
          collateral securing such claims), the costs and expenses of the liquidation and such additional
20
         administrative expenses and priority claims that may result from the use of chapter 7 for the
21
          purposes of liquidation. Finally, the present value of the resultant residual balance is allocated to
22
          creditors in the strict order of priority in accordance with section 726 of the Bankruptcy Code,
23
         which requires that no junior claim holder receive any distribution until all senior claim and interest
24
         holders are paid in full. The amounts so allocated can then be compared to the value of the property
25
     that is proposed to be distributed under the Plan on the Effective Date.
26                                                  - 148 -

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           After consideration  of the effects that
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                                                                liquidation would have on the ultimate
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     proceeds available for distribution to his creditors in a chapter 11 case, YT has determined that
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     confirmation of the Plan will provide each creditor with a recovery that is not less than it would
 1
     receive pursuant to a liquidation under chapter 7 of the Bankruptcy Code. The value attributable to
 2
     creditors under the Plan and in a chapter 7 scenario depends on the equity value of FF
 3   GlobalIntelligent. As noted above in Articles II.C.7 and VI, attaining FF GlobalIntelligent value is
     dependent on the FF Group obtaining sufficient financing. See Article II.C.7 entitled “The FF
 4
     Group’s Strategy” and Article VI entitled “Certain Risk Factors to be Considered.” Given the FF
 5
     Group’s difficulty in obtaining financing in recent months in light of creditor actions, there is great
 6   uncertainty whether any financing could be obtained for the FF Group if YT filed an individual
     chapter 7 case. Accordingly, as set forth in detail in the “Recovery Scenarios and Liquidation
 7
     Analysis” attached as Exhibit F, YT believes there would be no creditor recoveries in a chapter 7
 8
     scenario.
 9
                    c.     Feasibility of the Plan
             In connection with confirmation of the Plan, section 1129(a)(11) of the Bankruptcy Code
10
     requires that the Debtor demonstrate that confirmation of the Plan is not likely to be followed by the
11
     liquidation or the need for further financial reorganization of the Debtor. This is the so-called
12   feasibility test. For purposes of determining whether the Plan meets this requirement, the Debtor has
     analyzed his ability to meet his obligations under the Plan. YT believes, based on this analysis, that
13
     the Plan provides a feasible means of reorganization from which there is a reasonable expectation
14
     that, following the Confirmation Date, he will possess the resources to meet his obligations under
15   the Plan. However, the Bankruptcy Court may not agree with such a determination or accept the
     forecasts or the assumptions underlying this determination.
16
             2.     Requirements of Section 1129(b) of the Bankruptcy Code
17
             Section 1129(b) of the Bankruptcy Code provides for confirmation (or “cramdown”) of a
18   plan of reorganization even if the plan is not accepted or deemed accepted by all impaired classes
     of claims, as long as at least one impaired class of claims has voted to accept the plan and certain
19
     other requirements are met.
20
             Under the cram-down provisions of the Bankruptcy Code, if a class of secured claims rejects
21   the plan, the plan may still be confirmed if (a) the holders retain the liens securing their claims and
     receive cash payments totaling at least the amount of their claim, of a value, as of the effective date,
22

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  1O of at least the value of the holders’ interest in the estate’s interest in such property, (b) the property
   F
  2C is sold with the holders’ liens attaching to the proceeds of the sale, or (c) the holders realize the
   O
  3N “indubitable equivalent of such claims.” If a class of unsecured claims rejects the plan, the plan
   T
  4E may still be confirmed if the plan provides that (i) each holder of a claim included in the rejecting
   N
  5T class receives or retains on account of that claim property that has a value, as of the plan’s effective
   S
  62 date, equal to the allowed amount of that claim or (ii) the holder of any claim that is junior to the
   (c
  7o claims of the rejecting class will not receive or retain any property on account of such junior claim.
   n
  8ti            Because the Debtor anticipates that the Plan will satisfy section 1129(a)(8) of the
   n
  9u      Bankruptcy Code, the Debtor is not presently seeking confirmation of the Plan under section
   e
10d     1129(b) of the Bankruptcy Code. However, if Class 4 (Debt Claims) fails to accept the Plan by the
   )
11P     requisite statutory majorities, YT reserves the right to propose any modifications to the Plan and to
   a
12g       confirm the Plan as modified, without re-solicitation, to the extent permitted by the Bankruptcy
   e
131 Code.
               3.      Confirmation of an Individual Chapter 11 Plan
14
                       a.      Sections 1123(a)(8) and 1129(a)(15) of the Bankruptcy Code
15
               The Plan is an individual plan under chapter 11 of the Bankruptcy Code. Section 1123(a)(8)
16
          of the Bankruptcy Code requires that an individual chapter 11 plan “provide for the payment to
17
         creditors under the plan of all or such portion of earnings from personal services performed by the
18
         debtor after the commencement of the case or other future income of the debtor as is necessary for
19
         the execution of the plan.” Further, section 1129(a)(15) of the Bankruptcy Code provides that if a
20
         creditor objects to confirmation of an individual chapter 11 plan, the plan may only be confirmed
21
      if:
22                     (A) the value, as of the effective date of the plan, of the property to
                       be distributed under the plan on account of such claim is not less than
23                     the amount of such claim; or

24                    (B) the value of the property to be distributed under the plan is not
                      less than the projected disposable income of the debtor (as defined in
25                    section 1325(b)(2)) to be received during the 5-year period beginning

26                                                    - 151 -

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                 on the date
                        Mainthat the first payment
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                                                      due under
                                                          of 529the plan, or during the
                 period for which the plan provides payments, whichever is longer.




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   E
  1O 11 U.S.C. § 1129(a)(15).
   F
  2C            As demonstrated by the Debtor’s “Five Year Cash Flow Projections” attached as Exhibit
   O
  3N G, even though the Debtor has both salary and continued income from the sublease of the
   T
  4E Marguerite Properties to Warm Time until 2023, in light of the Wei Gan Domestic Support
   N
  5T Obligations and the Debtor’s ongoing legal expenses, the Debtor does not project significant
   S
  62 disposable income. Thus, the value of the property to be distributed to creditors under the Plan (i.e.,
   (c the Trust Assets) exceeds the value of the Debtor’s projected disposable income, thereby satisfying
  7o
   n the requirements of section 1129(a)(15) of the Bankruptcy Code. Because the Debtor’s future
  8ti
   n income is not necessary to meet the requirements of section 1129(a)(15) of the Bankruptcy Code,
  9u
   e  there is no requirement that such income be utilized to fund the Plan under section 1123(a)(8). See
10d
      In re Brown, 498 B.R. 486, 507 (Bankr. E.D. Pa. 2013), aff’d 505 B.R. 638 (E.D. Pa. 2014)
   )
11P
      (“Section 1123(a)(8) does not mandate that individual debtors can only fund their plans from the
   a
12g
      earnings of postpetition services. Rather, it directs that such earnings be so applied ‘as is necessary
   e
131
      for the execution of the plan.’ Thus, if a plan can be fully funded from the sale of the debtor’s assets
14
       it can be confirmed without the inclusion of any post-confirmation earnings.” (citing In re
15     Lippmann, 2013 Bankr. LEXIS 24, at *1 (Bankr. D. Utah Jan. 2, 2013))); see also In re Johnson,
       2016 Bankr. LEXIS 4598, at *48-52 (Bankr. S.D. Ohio November 10, 2016) (confirming plan and
16
       holding that the cash the debtor had accumulated as of the effective date of the plan and the proceeds
17
       of assets sales could be used as part of the property to be distributed under the plan for purposes of
18
       satisfying section 1129(a)(15)(B)); Pfeifer, 2013 Bankr. LEXIS 4358, *21 (Bankr. S.D.N.Y.
19
       October 18, 2013) (confirming plan and concluding that section 1129(a)(15)(B) was satisfied even
20
       though distributions were to be made from a post-confirmation trust funded out of recoveries from
21
       avoidance actions and proceeds of asset sales).
22
                      b.      Section 1141(d)(5)(A) of the Bankruptcy Code
23
              Section 1141(d)(5)(A) of the Bankruptcy Code states:
24
                      (5) In a case in which the debtor is an individual—
25

26                                                    - 153 -

27
 1
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                 (A) unless
                        Mainafter notice and a Page
                               Document        hearing theofcourt
                                                     241     529orders otherwise for
                 cause, confirmation of the plan does not discharge any debt




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   L
   E
  1O
                     provided for in the plan until the court grants a discharge on
   F                 completion of all payments under the plan;
  2C
      11 U.S.C. § 1141(d)(5)(A) (emphasis added).
   O
  3N
             As discussed in Article IV.M.1 above, the Debtor is seeking a discharge pursuant to section
   T
  4E
      1141(d)(5) of the Bankruptcy Code as of the Effective Date. To inform creditors of his request, the
   N
  5T
      Debtor included the following conspicuous language in the Plan, Disclosure Statement, and
   S
  62
      Confirmation Hearing Notice:
   (c
  7o
                     PLEASE TAKE NOTICE THAT, PURSUANT TO ARTICLE
   n
  8ti                11.3 OF THE PLAN, THE DEBTOR SEEKS A DISCHARGE
                     PURSUANT          TO    SECTION         1141(D)(5)     OF      THE
   n
  9u                 BANKRUPTCY CODE AS OF THE EFFECTIVE DATE OF
                     THE PLAN. THE DEBTOR BELIEVES THAT CAUSE
   e
10d                  EXISTS TO GRANT A DISCHARGE ON THE EFFECTIVE
                     DATE OF THE PLAN BECAUSE THE PLAN PROVIDES
   )
11P                  FOR THE CONTRIBUTION OF HIS ASSETS TO THE
                     TRUST ON THE EFFECTIVE DATE OF THE PLAN.
   a
12g
                     PLEASE TAKE FURTHER NOTICE THAT, PURSUANT TO
   e
131                  THE PLAN, A DISCHARGE WILL BE ENTERED ON THE
                     EFFECTIVE DATE OF THE PLAN, WHICH WILL RESULT
14                   IN ALL CREDITORS WITH DISCHARGEABLE CLAIMS
                     BEING ENJOINED FROM TAKING ANY ACTION TO
15                   COLLECT,           RECOVER           OR        OFFSET          ANY
                     DISCHARGEABLE DEBT AS A PERSONAL LIABILITY OF
16                   THE DEBTOR.
               By including such language in the Plan, Disclosure Statement, and Confirmation Hearing
17
      Notice, which will be served on all holders of Debt Claims (the only class of claims that will not
18
      receive payments on the Effective Date), the Debtor has satisfied section 1141(d)(5)(A)’s “notice
19
      and hearing” requirement. See, e.g., In re Sheridan, 391 B.R. 287, 290-91 (Bankr. E.D.N.C. 2008)
20
      (notice requirement fulfilled by conspicuous notice in disclosure statement and confirmation
21
      hearing notice); In re Kirkbride, No. 08-00120-8-JRL, 2010 WL 4809334, at 3 (Bankr. E.D.N.C.
22
      Nov. 19, 2010) (same).
23
               The Debtor will also request such relief and provide testimony that he seeks an early
24
      discharge in connection with the hearing on confirmation of the Plan. See In re Draiman, 450 B.R.
25

26                                                  - 155 -

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 1
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     777, 824 (Bankr. N.D.Main
                          Ill. 2011) (notice andPage
                                 Document       hearing requirement
                                                      243 of 529 was complied with where plan




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   L
   E
  1O specifically provided for debtor’s discharge upon effective date, disclosure statement stated that
   F
  2C debtor was seeking a discharge upon confirmation and the debtor testified at confirmation hearing
   O
  3N that he was seeking such a discharge).
   T
  4E           As discussed above, because the value of the property to be distributed to creditors under
   N
  5T the Plan exceeds the value of the Debtor’s projected disposable income, the Debtor’s future income
   S
  62 is not necessary to make payments under the Plan. Payments to holders of Debt Claims will be
   (c
  7o  made from distributions from the Trust and all other claims will be satisfied in full on the Effective
   n
  8ti Date. Similar to a corporate chapter 11 case, on the Effective Date, the Debtor will have fully
   n
  9u performed under the Plan by putting all of his non-exempt assets into the Trust and amending all
   e
10d corporate documents to provide the applicable rights to such assets to the holders of the Trust
   )
11P Interests. Thus, the Debtor will be able to demonstrate “cause” sufficient to entitle him to a
   a  discharge upon confirmation of the Plan.1218 See 8 Collier on Bankruptcy ¶1141.05[2][a] (Alan N.
12g
   e  Resnick & Henry J. Sommer eds., 15th ed. rev.) (recognizing that a court may grant an early
131
      discharge upon confirmation, rather than upon the completion of plan payments “for an individual
14
       debtor who did not expect to make plan payments primarily from future earnings, consistent with
15
       the ordinary chapter 13 model, but rather contemplated a plan more consistent with the ordinary
16
       chapter 11 model, such as by distributions of property or, in the unusual case, by the issuance of
17
       securities by the debtor’s business, perhaps from a new corporation to be formed by the debtor
18
       under the plan.”) (emphasis added; footnotes omitted).
19
               Section 1141(d)(5)(C) of the Bankruptcy Code imposes an additional requirement on a
20
       debtor seeking entry of a discharge prior to the completion of all plan payments:
21
                      (C) the court may grant a discharge if, after notice and a hearing held
22
                      not more than 10 days before the date of the entry of the order
                      granting the discharge, the court finds that there is no reasonable
23
                      cause to believe that—
24
                            (i) section 522(q)(1) may be applicable to the debtor; and
25

26                                                   - 157 -

27
 1
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                 (ii) there is pending
                          Main         any proceeding
                                 Document             in which
                                                Page 245       the debtor may be found
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                 guilty of a felony of the kind described in section

      1218   The Debtor reserves all rights to seek an early discharge under section 1141(d)(5)(B) of the Bankruptcy Code.




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   L
   E
  1O
                     522(q)(1)(A) or liable for a debt of the kind described in section
   F                 522(q)(1)(B);
  2C
   O                      and if the requirements of subparagraph (A) or (B) are met.
  3N
      11 U.S.C. § 1141(d)(5)(C). Section 522(q)(1) of the Bankruptcy Code, referenced in the above
   T
  4E
      provision, relates to circumstances in which a debtor has been convicted of a felony that
   N
  5T
      demonstrates that the filing of his or her bankruptcy case is an abuse of the provisions of the
   S
  62
      Bankruptcy Code, or the debtor owes a debt arising from a violation of certain securities laws, other
   (c
  7o
      criminal acts or other conduct that resulted in serious physical injury or death, or certain civil
   n
  8ti
      remedies arising under title l8 of the United States Code.
   n
  9u
             None of the circumstances set forth in section 1141(d)(5)(C) apply to the Debtor.
   e
10d
      Accordingly, this subsection does not prevent the Debtor from obtaining a discharge prior to the
   )
11P
      completion of all payments to creditors under the Plan pursuant to section 1141(d)(5)(A) of the
   a
12g
      Bankruptcy Code.
   e
131
                                                      VIII.
14
           ALTERNATIVES TO CONFIRMATION AND CONSUMMATION OF THE PLAN
15
              If the Plan is not confirmed, the following alternatives are available: (i) confirmation of
16
       another chapter 11 plan; (ii) conversion of the chapter 11 case to a case under chapter 7 of the
17
       Bankruptcy Code; or (iii) dismissal of the chapter 11 case leaving holders of claims to pursue
18
       available non-bankruptcy remedies. These alternatives to the Plan are not likely to benefit holders
19
       of claims.
20
              If the Debtor, or any other party in interest (if the Debtor’s exclusive period in which to file
21
       a plan has expired), could attempt to formulate a different plan, such a plan might involve either a
22
       reorganization of the Debtor or conversion of the chapter 11 case to a liquidation of the Debtor’s
23
       assets under chapter 7. The Debtor’s “Recovery Scenarios and Liquidation Analysis, which was
24
       prepared by the Debtor’s financial advisor and is attached as Exhibit F to this Disclosure Statement,
25

26                                                    - 159 -

27
 1
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     is an estimate of creditor
                            Mainrecoveries
                                   Documentunder the Plan247
                                                   Page   and of
                                                              under
                                                                 529a hypothetical chapter 7 liquidation

      of the Debtor’s assets. This analysis is based upon a number of significant assumptions that are
 1

 2
      described therein and does not purport to be a valuation of the Debtor’s assets and is not necessarily
 3
      indicative of the values that may be realized in an actual liquidation.
 4
              The Debtor has explored numerous alternatives in connection with the extensive process of
 5
      formulating and developing the Plan. The Debtor has concluded that the Plan, as described in this
 6
      Disclosure Statement, enables stakeholders to realize the most value under the circumstances. In
 7
      considering a liquidation of his assets under chapter 7 of the Bankruptcy Code, the Debtor has taken
 8
      into account the nature, status, and underlying values of his tangible and intangible assets, the
 9
      ultimate realizable value of such assets, and the extent to which certain of his assets are subject to
10
      the liens and security interests of secured creditors. The Debtor believes that liquidation under
11
      chapter 7 would result in no recoveries for creditors. If the chapter 11 case is dismissed, holders of
12
      claims would be free to pursue non-bankruptcy remedies in their attempts to satisfy claims against
13
      the Debtor. The failure of plan confirmation and dismissal of the chapter 11 case would result in a
14
      race to the courthouse that could leave many creditors with no recovery at all. Accordingly, the
15
      Debtor believes that the Plan will enable all creditors to realize the greatest possible recovery on
16
      their respective claims with the least delay.
17
                                                        IX.
18
         CERTAIN UNITED STATES FEDERAL INCOME TAX CONSEQUENCES OF THE
                                     PLAN
19
              The following discussion summarizes certain material U.S. federal income tax
20
      consequences applicable to the Trust and the holders of Trust Interests (“Holders”). This summary
21
      is based on the Internal Revenue Code, the Treasury Regulations promulgated thereunder (whether
22
      final, temporary, or proposed), administrative rulings, and judicial decisions, all as in effect on the
23
      date hereof. Each of the foregoing authorities is subject to change, which change could apply with
24
      retroactive effect and could affect the accuracy of the statements and conclusions set forth in this
25
      discussion. Neither YT nor the Trust will request a ruling from the IRS as to the U.S. federal income
26                                                   - 160 -

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     tax consequences to YT, the Trust
                           Main        or the Holders.
                                 Document        PageThis
                                                        248summary
                                                             of 529 is not binding on the IRS, and the
 B
 L
     IRS is not precluded from taking a position that is different from, and contrary to, the positions
 E
 O
     described in this summary.
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 1              This summary is for general information purposes only and does not purport to be a

 2       complete analysis or listing of all potential U.S. federal income tax considerations that may apply

 3       to a Holder. This summary does not take into account the individual facts and circumstances of any

 4        particular Holder that may affect the U.S. federal income tax consequences to such holder,

 5        including specific tax consequences to a holder under an applicable tax treaty. In addition, this

 6       summary does not address the U.S. federal alternative minimum, U.S. federal estate and gift, U.S.

 7   state and local, or non-U.S. tax consequences of the Trust or the ownership of the Trust Interests.

 8             This discussion assumes that each Holder is a non- U.S. person (a “Non-U.S. Holder”). For
     this purpose, a Non-U.S. Person means a person or entity that is not:
 9
     •     an individual who is a citizen or resident of the United States;
10
     •     a corporation (or other entity taxable as a corporation for U.S. federal income tax purposes)
11         created or organized in the United States or under the laws of the United States or any
           subdivision thereof;
12
     •     an estate the income of which is includible in gross income for U.S. federal income tax purposes
13         regardless of its source;

14   •     a partnership (or an entity or arrangement treated as a partnership for U.S. federal income tax
           purposes); or
15
     •     a trust if (1) a court within the United States is able to exercise primary supervision over the
16         administration of the Trust and one or more U.S. persons have the authority to control all
           substantial decisions of the Trust, or (2) the Trust has a valid election in effect under applicable
17         Treasury Regulations to be treated as a U.S. person for U.S. federal income tax purposes.

18             Any person who would not be considered a Non-U.S. Holder under U.S. federal income tax

19   rules and regulations should consult their own tax advisor.

20              This discussion also assumes that the income of the Trust will consist solely of gains from

21   the sale of Company stock and interest on short-term debt instruments or money deposits.

22              Finally, this discussion also assumes that (i) West Coast and each of those entities through

23       which West Coast directly and indirectly owns the stock of the FF Group (the “West Coast Conduit

24       Entities”) are treated as “pass-through” entities (i.e., either partnerships or disregarded entities) for
          U.S. federal income tax purposes, (ii) none of the Trust, West Coast or the West Coast Conduit
25

26                                                      - 162 -

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     Entities will at any time
                            Mainengage in the conduct
                                  Document       Page of250
                                                        a trade or business within the United States and
                                                             of 529
 B
 L
      (iii) the Trust will use commercially reasonable efforts to provide a requesting Holder with any
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     certification available under applicable law that is reasonably required to enable such Holder to
 1
     dispose of its Trust Interest without incurring a U.S. withholding tax.
 2
             A failure of any of the assumptions described above may result in different, potentially
 3   adverse tax consequences to a Holder. Each Holder is strongly urged to consult its own tax
     advisor regarding its receipt and ownership of a Trust Interest.
 4
     A.      U.S. Tax Classification of the Trust
 5
             The tax classification of the Trust for U.S. federal income tax purposes is subject to some
 6   uncertainty. The Trust is expected to be reported as a “Liquidating Trust” described in Treasury
     Regulation Section 301.7701-4(d). In general, a Liquidating Trust is not a separate taxable entity
 7
     but rather is treated for federal income tax purposes as a “grantor” trust (i.e., a “pass-through” entity)
 8
     of which the beneficial owners are treated as the owners and grantors (but see discussion regarding
 9   the Late Filing Claims Reserve below). While the following discussion assumes that the Trust would

10   be so treated for federal income tax purposes, no ruling has been or will be requested from the IRS
     concerning the tax status of the Trust as a Liquidating Trust. In addition, the IRS has issued several
11
     revenue procedures setting forth the general criteria for obtaining an IRS ruling as to the
12   qualification of a trust as a Liquidating Trust. Not all of the criteria set forth in those revenue

13   procedures will be met by the Trust. Accordingly, there can be no assurance that the IRS would not
     take a contrary position to the classification of the Trust as a Liquidating Trust. If the IRS were to
14
     challenge successfully such classification, the federal income tax consequences to the Trust and the
15   Holders could vary from those discussed herein (including the potential for an entity-level tax

16   imposed on the Trust). There are, however, reasonable arguments that the Trust could be classified
     as a non-grantor trust or as a partnership for U.S. federal income tax purposes if it is not treated as
17
     a Liquidating Trust, both of which are also “pass-through” entities. Such alternative
18   characterizations should not result in entity-level taxes to the Trust (assuming, in the case of a non-

19   grantor trust, income of the trust is timely distributed to its beneficial owners) or materially adversely
     affect the tax treatment of the Holders.
20
             Assuming the Trust is properly classified as a Liquidating Trust, the Trust will not be subject
21   to U.S. federal income taxes at the entity level. Instead, the income, deductions and credits

22

23

24

25

26                                                   - 164 -

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   L
   E
  1O generated by the assets of the Trust will pass through and be allocated among the Holders for U.S.
   F
  2C federal income tax purposes in accordance with their deemed ownership interests in the Trust.
   O B. U.S. Federal Income Tax Treatment of Holders
  3N
   T          The assets of the Trust will be treated for U.S. federal income tax purposes as having been
  4E
   N transferred directly to the Holders in exchange for their Debt Claims (with each such Holder
  5T
   S receiving an undivided interest therein determined on the basis of the amount of its Debt Claim and
  62
   (c the priority of distributions set forth in the Trust Agreement), and then by such Holders to the Trust
  7o
   n in exchange for the Trust Interests. Thereafter, the income, deductions and credits generated by the
  8ti
   n assets of the Trust will be allocated among the Holders for U.S. federal income tax purposes in
  9u
   e  accordance with their Trust Interests.
10d
   )          Subject to the discussion under “Accrued Interest on Debt Claims” and “Information
11P
   a Reporting and Backup Withholding,” a Non-U.S. Holder generally should not be subject to U.S.
12g
   e  federal income taxation either upon receipt of a Trust Interest nor on its allocable share of the
131
      income of the Trust or on any gain realized by such Non-U.S. Holder upon the sale, exchange or
14
       retirement of the Trust Interest, unless:
15
       •   the recognized income or gain is effectively connected with the Non-U.S. Holder’s conduct of
16
           a trade or business in the United States, and if required by an applicable tax treaty, attributable
           to a permanent establishment maintained by the Non-U.S. holder in the United States; or
17
       •   the non-U.S. Holder is an individual present in the U.S. for one-hundred-eighty-three (183)
18
           days or more during the taxable year of the sale, and certain other requirements are met.
19
              A Non-U.S. Holder whose income with respect to the Trust is effectively connected to the
20
       conduct of a U.S. trade or business will generally be taxed as if it were a United States person unless
21
       an applicable income tax treaty provides otherwise. In addition, if the Non-U.S. Holder is a
22
       corporation, it may be subject to a branch profits tax with respect to such effectively connected
23
       income at a rate of 30% unless a treaty applies to reduce such rate.
24
              1.      Accrued Interest on Debt Claims
25
              To the extent that any portion of the Trust Interests received by a Holder is attributable to
26                                                   - 165 -

27
 1
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     accrued and unpaid interest on its Debt Claim,
                          Main Document         Pagesuch amount
                                                       253      may be includible in such Holder’s
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      gross income as ordinary interest income subject to a 30% tax rate (which rate is reduced by treaty




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   E to 10% if the Holder is citizen or resident of the PRC) if such accrued interest has not been included
  1O
      previously in such Holder’s gross income for U.S. federal income tax purposes. The applicable
   F
  2C
      Treasury Regulations generally require that any payment on a debt instrument first be allocated to
   O
  3N interest to the extent of any accrued and unpaid interest. However, the allocation of amounts paid to
   T a debt holder as between principal on the one hand and accrued and unpaid interest on the other hand
  4E
      is presently unclear, particularly in the distressed context. YT does not intend to report to any Holder
   N
  5T
      any amount attributable to accrued and unpaid interest notwithstanding the previously mentioned
   S
  62 Treasury Regulation. However, given this Treasury Regulation, YT intends to disclose this position
   (c to the IRS, and holders may, in consultation with their own tax advisors, wish to do the same. The
  7o
      IRS could argue that the value of any Trust Interest received by a Holder should be allocated first to
   n
  8ti
      accrued and unpaid interest up to the total amount of accrued and unpaid interest prior to allocating
   n
  9u any portion of such amounts to principal. Such argument, if successful, would result in holders being
   e required to report ordinary interest income on such value for U.S. federal income tax purposes.
10d
   )          2.      Tax Treatment of the Late Filing Claims Reserve
11P
              Subject to definitive guidance from the IRS or a court of competent jurisdiction to the
   a
12g contrary (including the issuance of applicable Treasury Regulations or the receipt of an adverse
   e determination by the IRS upon audit if not disputed by the Trustee), the Trustee intends to (i) treat
131
      the Late Filing Claims Reserve as a non-grantor trust in accordance with the trust provisions of the
14
      IRC (sections 641 et seq.), or such other entity deemed appropriate by the Trustee in its sole
15    discretion, (ii) file all applicable tax and information returns and, if applicable, timely pay all taxes
      that may become due consistently with such treatment, and (iii) to the extent permitted by applicable
16
      law, report consistently for federal, state and local income tax purposes. In general, a non-grantor
17
      trust is taxed on any income allocated to it except to the extent such income is timely distributed to
18    its beneficiaries, in which case the income is reported by the beneficiaries.

19            3.      Tax Classification of West Coast Conduit Entities

20            As stated above, this discussion assumes that each of the West Coast Conduit Entities is
      treated as a “pass-through” entity (i.e., a partnership or disregarded entity) for U.S. federal income
21

22

23

24

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     tax purposes. In this regard, one of those entities, Pacific Technology, is intended to be treated and will
 1
     be reported as a partnership for such purposes. However, an election was mistakenly filed with the IRS
 2
     to treat Pacific Technology as a corporation. Subsequently, Pacific Technology filed a request for
 3   withdrawal of such election. In addition, late elections to be classified as disregarded entities were filed
     for FF Top and FF Peak. While advisors to YT and the West Coast Conduit Entities believe that the
 4
     withdrawal of the inadvertent election and the late elections should be effective to cause each of the
 5
     West Coast Conduit Entities to be classified as a “pass-through” entity based on published guidance
 6   and procedures from the IRS governing such elections, there is no assurance that the IRS will agree
     with that determination. If any of the West Coast Conduit Entities were to be treated as a corporation
 7
     for U.S. federal income tax purposes, the resulting adverse tax consequences could include corporate
 8
     level taxes levied on any proceeds from the disposition of stock of the FF Group held indirectly by such
 9   entity as well as potential taxes imposed on any distribution of such proceeds by such entity that are
     ultimately allocable to the Holders. Such dividends could by subject to tax at a 30% tax rate (subject to
10
     reduction under an applicable treaty).
11
             4.    Information Reporting and Backup Withholding
12           Assuming the West Coast Constituent Entities are treated as “pass-through” entities, a Non-
     U.S. Holder that has provided the Trustee (or, in connection with the sale, exchange or retirement of
13
     a Trust Interest, certain applicable intermediaries) with a validly completed original of the appropriate
14
     version of IRS Form W-8 will not be subject to backup withholding or information reporting with
15   respect to the receipt of Trust Interests, payments made by the Trust derived from the sale of the stock
     of the FF Group, or proceeds from a sale, exchange or retirement of a Trust Interest unless, in each
16
     case, the Trustee or applicable payor has actual knowledge or reason to know that the Non-U.S.
17
     Holder is a United States person.
18           Backup withholding is not an additional tax. A Non-U.S. Holder generally will be entitled
     to credit any amounts withheld under the backup withholding rules against the holder’s U.S.
19
     federal income tax liability, if any, or may claim a refund if certain information is timely provided
20
     to the IRS.
21

22

23

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   E
  1O       5.    Importance of Obtaining Professional Tax Assistance
           THE FOREGOING DISCUSSION IS INTENDED ONLY AS A SUMMARY OF
   F
  2C
      CERTAIN U.S. FEDERAL INCOME TAX CONSEQUENCES OF THE PLAN AND IS NOT A
   O
  3N SUBSTITUTE FOR CAREFUL TAX PLANNING WITH A TAX PROFESSIONAL. THE
   T ABOVE DISCUSSION IS FOR INFORMATION PURPOSES ONLY AND IS NOT TAX
  4E
      ADVICE. THE TAX CONSEQUENCES ASSOCIATED WITH THE PLAN ARE IN MANY
   N
  5T
      CASES UNCERTAIN AND MAY VARY DEPENDING ON A HOLDER’S INDIVIDUAL
   S
  62 CIRCUMSTANCES. ACCORDINGLY, HOLDERS ARE URGED TO CONSULT THEIR TAX
   (c ADVISORS ABOUT THE U.S. FEDERAL, STATE, LOCAL AND NON-U.S. INCOME AND
  7o
      OTHER TAX CONSEQUENCES OF THE PLAN.
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 1                                                    X.

 2                                            CONCLUSION

 3           YT believes the Plan is in the best interests of all of his creditors and urges the holders of

 4   Debt Claims to vote to accept the Plan, and to evidence such acceptance by returning their signed

 5   ballots so that they will be received by the Voting Agent no later than 4:00 p.m. (Beijing Time)
     on [       ], 2020.
 6
     Dated: ____________, 2020
 7                                                         Respectfully Submitted,

 8                                                         YUETING JIA
                                                           Debtor and Debtor in Possession
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 L
 E
 O                                  EXHIBIT A
 F
                    Debtor’s SecondThird Amended Plan of Reorganization
 C
                       Under Chapter 11 of the Bankruptcy Code
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14
     Counsel for Debtor and Debtor in Possession
15
                                                                     Case No. 2:19-bk-24804-VZ
16
                                                                     Chapter 11
17
                                                                     DEBTOR’S SECONDTHIRD AMENDED
18                                                                   PLAN OF REORGANIZATION UNDER
                                                                     CHAPTER 11 OF THE BANKRUPTCY
19                                                                   CODE

20                                                                   Confirmation Hearing
                                                                     Date: TBD
21                                                                   Time: TBD
                                                                     Place: Courtroom 1368
22                                                                           Roybal Federal Building
                                                                              255 E. Temple Street
23                                                                        Los Angeles, California 90012
                                                                     Judge: Hon. Vincent P. Zurzolo
24
     1The last four digits of the Debtor’s federal tax identification number are 8972. The Debtor’s mailing address is 91
     Marguerite Drive, Rancho Palos Verdes, CA 90275.
25

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                       UNITED
                    Main        STATESPage
                           Document    BANKRUPTCY
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 B
                            CENTRAL DISTRICT OF CALIFORNIA
 L
                            LOS ANGELES DIVISION
 E
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     In re:
 F
 C YUETING JIA1,
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2
3       Schedule A Schedule of Retained Actions
4       Schedule B Schedule of Contracts and Leases to be Assumed Under the Plan
5       Schedule C Schedule of Key China Business Individuals and KCBI Claimants
6       Schedule D Schedule of Entities
7
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 1

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 3                                              INTRODUCTION

 4               Yueting Jia as a debtor and debtor in possession (the “Debtor” or “YT”) proposes, and is
       the proponent of, this chapter 11 plan of reorganization. The Plan2 provides for the reorganization
 5
       of the Debtor under chapter 11 of the Bankruptcy Code. As set forth below and described in the
 6
       Disclosure Statement, under the Plan:
 7
       •     holders of Allowed Administrative Expense Claims, Priority Tax Claims, Priority Non-Tax
 8           Claims, and U.S. Secured Claims are paid in full;

 9     •     holders of Allowed China Secured Claims retain their rights to pursue Collateral located in the
             PRC;
10
       •     holders of Allowed Debt Claims and Allowed Late Filed Debt Claims receive their Pro Ratapro
11           rata distribution of the Trust Interests;

12     •     except as set forth in the Plan, the Debtor and the Reorganized Debtor will irrevocably and
             unconditionally release, waive, and discharge any Claims or Causes of Action that they have,
13           had, or may have that are based on sections 544, 547, 548, 549, and/or 550 of the Bankruptcy
             Code and analogous non-bankruptcy law for all purposes; and
14
       •     the Debtor and holders of Allowed Claims release certain Persons and Entities.
15                Holders of Claims should refer to the Disclosure Statement for a discussion of the

16     Debtor’s history, business interests, assets, financial information, as well as a summary and

17     description of the Plan. Before voting to accept or reject the Plan, holders of Claims entitled

18     to vote on the Plan are encouraged to read carefully the Plan, the Disclosure Statement, and

19     their respective exhibits and schedules in their entirety. These are the only materials

20     approved for use in soliciting acceptances or rejections of the Plan.

21                                            ARTICLE I
                                   DEFINITIONS AND INTERPRETATION
22
                1.1     Definitions.
23
                  As used in the Plan, capitalized terms have the meanings set forth in this Article I (such
24
       meanings applicable to the singular and plural):
25

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 1
                  1.       Administrative Expense Claim means a Claim for a cost or expense of
      administration of the Estate under sections 503(b) (including Claims arising under section

      503(b)(9)), 507(a)(2), or 507(b) of the Bankruptcy Code, including (a) any actual and necessary
      2   Capitalized terms are as defined in Article 1 below.




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     cost and expense of preserving the Estate incurred after the Petition Date and through the Effective
 1
     Date; (b) any indebtedness or obligations incurred or assumed by the Debtor after the Petition Date
 2
     and through the Effective Date; (c) any Allowed compensation for professional services rendered,
 3   and Allowed reimbursement of expenses incurred, by a Professional retained by order of the
     Bankruptcy Court or otherwise Allowed pursuant to section 503(b) of the Bankruptcy Code; and (d)
 4
     all fees due and payable pursuant to section 1930 of title 28 of the U.S. Code.
 5
            2.      Administrative Expense Claim Bar Date means the first Business Day that is thirty
 6   (30) days after the Effective Date.
            3.      Allowed means, with respect to any Claim, such Claim or portion thereof against or
 7
     in the Debtor: (a) that has been listed by the Debtor in the Schedules as liquidated in amount and not
 8
     disputed or contingent and for which no contrary proof of claim has been filed; (b) as to which the
 9   deadline for objecting or seeking estimation has passed, and no objection or request for estimation
     has been filed; (c) as to which any objection or request for estimation that has been filed has been
10
     settled, waived, withdrawn, or denied by a Final Order; or (d) that is allowed pursuant to the terms
11
     of (i) a Final Order, (ii) an agreement by and among the holder of such Claim and the Debtor or the
12   Reorganized Debtor, as applicable, or (iii) the Plan.
            4.      Allowed Debt Claim Allocation Amount means the Allowed amount of a Debt
13
     Claim together with any unpaid interest at the rate of four percent (4%) per annum from the time
14
     the underlying debt arose through the Petition Date, and with respect to any holder of an Allowed
15   Debt Claim who is a KCBI Claimant, subject to the approval of the applicable KCBI Settlement,
     up to an additional twenty percent (20%) of the Allowed amount of their Debt Claim plus interest
16
     thereon.
17
            5.      Allowed Debt Claim Distribution Amount means the Allowed Debt Claim
18   Allocation Amount minus any Other Distributions received by the holder of such Allowed Debt
     Claim. For the avoidance of doubt, any Other Distributions received by a holder of an Allowed Debt
19
     Claim shall be first applied to reduce the principal amount of such Debt Claim, and any remaining
20
     consideration to satisfy any accrued, but unpaid, interest.
21
            64.     Ballot means the form distributed to each holder of an Impaired Claim that is entitled
22

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            to vote to accept
                          MainorDocument
                                 reject the Plan, on which
                                               Page  273 ofsuch
                                                            529 holder shall indicate acceptance or
      rejection of the Plan.
 1
                75.    Bankruptcy Actions has the meaning set forth in Article 11.9 of the Plan.
 2              86.    Bankruptcy Code means title 11 of the United States Code, 11 U.S.C. §§ 101–1532
      et seq.
 3
                97.    Bankruptcy Court means the United States Bankruptcy Court for the Central District
 4
      of California (Los Angles Division), or such other court having jurisdiction over the Chapter 11
 5    Case or any proceeding within, or appeal of an order entered in, the Chapter 11 Case.
                108.   Bankruptcy Rules means the Federal Rules of Bankruptcy Procedure, the Official
 6
      Bankruptcy Forms, or the local rules of the Bankruptcy Court.
 7
              119. Business Day means any day, other than a Saturday, Sunday, or “legal holiday”
 8
      (as defined in Bankruptcy Rule 9006(a)).
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 1   defined in Bankruptcy Rule 9006(a)).
            1210. Call Option means that certain call option exercisable by the Debtor under that
 2
     certain Restructuring Agreement dated as of December 31, 2018, by and among Smart King (n/k/a
 3   FF GlobalIntelligent), the Debtor, Season Smart, and the other parties thereto.

 4
            1311. Cash means legal tender of the United States of America and equivalents
     thereof.
 5
            1412. Causes of Action means any action, claim, cause of action, controversy, demand,
 6   right, action, lien, indemnity, guaranty, suit, obligation, liability, damage, judgment, account,
     defense, offset, power, privilege, license, and franchise of any kind or character whatsoever, whether
 7
     known or unknown, contingent or non-contingent, matured or unmatured, suspected or unsuspected,
 8
     liquidated or unliquidated, disputed or undisputed, secured or unsecured, assertable directly or
 9   derivatively, whether arising before, on, or after the Petition Date, in contract or in tort, in law, or in
     equity, or pursuant to any other theory of law. For the avoidance of doubt, “Cause of Action”
10
     includes: (a) any right of setoff, counterclaim, or recoupment and any claim for breach of contract
11
     or for breach of duties imposed by law or in equity; (b) the right to object to Claims; (c) any claim
12   pursuant to section 362 or chapter 5 of the Bankruptcy Code; (d) any equitable remedy, including,
     without limitation, any claim for equitable subordination, equitable disallowance, or unjust
13
     enrichment; (e) any claim or defense including fraud, mistake, duress, and usury, and any
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            other defensesMain
                          set forth in section 558
                                Document           of the
                                                Page   275Bankruptcy
                                                           of 529 Code; and (f) any cause of action
      or claim arising under any state or foreign fraudulent transfer law.
 1            1513. Chapter 11 Case means the case under chapter 11 of the Bankruptcy Code
      commenced by the Debtor in the Bankruptcy Court.
 2

 3            1614. Chapter 11 Disclosures has the meaning set forth in Article 11.9 of the Plan.
              1715. China Debtor List has the meaning set forth in Article 11.4(c) of the Plan.
 4
              1816. China Debtor List Covenant has the meaning set forth in Article 11.4(c) of the
 5    Plan.
              1917. China Restrictions has the meaning set forth in Article 11.4(c) of the Plan.
 6
             2018. China Secured Claim means a Claim against the Debtor that is secured by a
 7    valid,
      unavoidable, perfected, and enforceable Lien on, or security interest in, Collateral located in the
 8
      PRC. For the avoidance of doubt, the Allowed amount of a China Secured Claim shall equal the
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 1           value of such Collateral in accordance with section 506(a) of the Bankruptcy Code.

 2          2119. Chinese Courts has the meaning set forth in Article 11.4(c) of the Plan.
            2220. Claim means a claim, as defined in section 101(5) of the Bankruptcy Code, against
 3
     the Debtor.
 4          2321. Class means a category of Claims established under Article III of the Plan pursuant
     to sections 1122 and 1123(a)(1) of the Bankruptcy Code.
 5
            2422. Collateral means any property of the Debtor subject to a valid, unavoidable,
 6
     perfected, and enforceable Lien on, or security interest in, such property.
 7          2523. Committee means the official committee of unsecured creditors appointed in the
     Chapter 11 Case pursuant to section 1102 of the Bankruptcy Code.
 8
            2624. Confirmation Date means the date upon which the Bankruptcy Court enters the
 9
     Confirmation Order on the docket of the Chapter 11 Case.
10          2725. Confirmation Hearing means the hearing to be held by the Bankruptcy Court to
     consider confirmation of the Plan under section 1129 of the Bankruptcy Code, as such hearing may
11
     be continued from time to time.
12
            2826. Confirmation Order means the order of the Bankruptcy Court confirming the Plan
13   pursuant to section 1129 of the Bankruptcy Code, and granting other related relief.

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           2927. CreditorMain
                          Trust means the 2020
                              Document         Creditor
                                            Page  277 ofLiquidating
                                                          529       Trust for the benefit of holders
      of Allowed Debt Claims.
 1
             3028. Creditor Trust Committee has the meaning set forth in Article 6.2(f) of the Plan.
 2
             3129. Cure Amount has the meaning set forth in Article 9.3(a) of the Plan.
 3           3230. Cure Dispute has the meaning set forth in Article 9.3(c) of the Plan.

 4           3331. Cure Schedule has the meaning set forth in Article 9.3(b) of the Plan.
             3432. Debt Claim means any Claim against the Debtor that is (a) not an Administrative
 5           Expense Claim, Priority Tax Claim, Priority Non-Tax Claim, U.S. Secured Claim, or China

 6    Secured Claim, (b) otherwise determined by the Bankruptcy Court to be a Debt Claim, or (c) a
      Deficiency Claim.
 7

 8           33.    Debt Claim Allocation Amount means, for the purpose of determining the pro rata

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     share of Trusts Interests, (a) that portion of an Allowed Debt Claim that constitutes outstanding
 1
     principal together with any unpaid interest on outstanding principal at the rate of four percent (4%)
 2
     per annum from the time the underlying debt arose through the Petition Date, and (b) with respect
 3   to any holder of an Allowed Debt Claim who is a KCBI Claimant, subject to the approval of the
     applicable KCBI Settlement, up to an additional five percent (5%) of the Allowed amount of their
 4
     Debt Claim Allocation Amount determined in accordance with clause (a).
 5
            34.         Debt Claim Distribution Amount means on any Trust Distribution Date, the Debt
 6   Claim Allocation Amount minus any Other Distributions and Trust Distributions received by the
     holder of an Allowed Debt Claim before such Trust Distribution Date.
 7

 8          35.         Debtor has the meaning set forth in the Introduction.
                  36.       Declarations has the meaning set forth in Article 6.7 of the Plan.
 9
            37.         Deficiency Claim means that portion of a China Secured Claim that is determined
10   pursuant to section 506(a) of the Bankruptcy Code or through agreement, to exceed the value of the
     claimant’s interest in the Collateral securing such China Secured Claim. For the avoidance of doubt,
11
     all Deficiency Claims shall be treated as Debt Claims.
12
            38.         DIP Facility means that certain debtor in possession facility from Pacific Technology
13   consisting of the DIP Note.
            39.         DIP Note means that certain Secured Debtor in Possession Promissory Note dated as
14
     of February 27, 2020, by and among Pacific Technology, as Lender, and the Debtor, as Borrower,
15
     in the maximum principal amount of $6,400,000.
16          40.         Disallowed means, with respect to any Claim, a Claim or any portion thereof that is
     not Allowed and (a) has been disallowed by a Final Order, (b) is listed in the Schedules as zero or
17
     as contingent, disputed, or unliquidated and as to which no proof of claim or request for payment of
18
     an Administrative Expense Claim has been timely filed or deemed timely filed with the Bankruptcy
19   Court, (c) is not listed in the Schedules and as to which no proof of claim or request for payment of
     an Administrative Expense Claim has been timely filed or deemed timely filed with the Bankruptcy
20
     Court, (d) has been withdrawn by agreement of the Debtor and the holder thereof, or (e) has been
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     withdrawn by the holder thereof.
22

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     or (e) has been withdrawn by the holder thereof.
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            41.  Discharge
                       MainDate means the date
                            Document       Pageupon which
                                                  279     the Court grants the Debtor a discharge
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      upon the earlier of: (a) distribution of the Trust Interests to the holders of Allowed Debt Claims and
      (b) all Allowed Claims shall have been paid under the Plan.
             42.     Disclosure Statement means that written disclosure statement, dated March 2__,
      2020, relating to the Plan, including, without limitation, all exhibits and schedules thereto, as the
      same may be amended, modified, or supplemented from time to time, as approved by the Bankruptcy
      Court pursuant to sections 1125 and 1126(b) of the Bankruptcy Code.

             43.     Disputed Claim means a Claim that is not yet Allowed.
             44.     Distributable Proceeds has the meaning set forth in Article 6.2(i) of the Plan.
             45.     Distribution Event has the meaning set forth in Article 6.2(i) of the Plan.
              46.    Distribution Record Date means the record date for purposes of
      making
      distributions under the Plan on account of Allowed Claims, which date shall be the date of the
      commencement of the Confirmation Hearing.
             47.     Distribution Waterfall means the distribution waterfall set forth in Article 6.2(j) of
      the Plan.
             48.     Domestic Support Obligations means a domestic support obligation, as defined in
      section 101(14A) of the Bankruptcy Code, as such obligations may be modified from time to time
      by a court of competent jurisdiction.
             49.     Effective Date means, with respect to the Plan, the Business Day selected by the
      Debtor on which (a) no stay of the Confirmation Order is in effect, (b) the conditions to the
      effectiveness of the Plan specified in Article 10.2 have been satisfied or waived (in accordance with
      Article 10.3), and (c) the Debtor declares the Plan effective.
             50.     Effective Date Wei Gan Payment has the meaning set forth in Article 6.6 of
      the Plan.

             51.     Entity has the meaning set forth in section 101(15) of the Bankruptcy Code.
             52.     Estate means the estate of the Debtor created pursuant to section 541 of the
      Bankruptcy Code upon the commencement of the Chapter 11 Case.




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           53.   Exit Financing means financing, on terms and conditions acceptable to the




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     Committee and the Debtor, providing net proceeds in an amount not less than $1,500,000 to fund
 1
     the operations of the Trust for the Initial Term, plus such amounts as necessary to make payments
 2
     required to be made in connection with the Plan pursuant to Article 6.4 of the Plan. The material
 3   terms of the Exit Financing will be included in the Plan Supplement.

 4
                    54.     FF means Faraday & Future Inc., a Delaware corporation.
 5        55.   FF GP means FF Global Partners LLC, a Delaware limited liability company.
            5556. FF GlobalIntelligent means FF Intelligent Mobility Global Holdings Ltd. (formerly
 6
     Smart King Ltd.), a company formed under the laws of the Cayman Islands.
 7           5657. FF GlobalIntelligent M&A means that certain Sixth Amended and Restated
     Memorandum and Articles of Association of FF Intelligent Mobility Global Holdings Ltd. (f/k/a
 8
     Smart King Ltd.) adopted February 10, 2020.
 9
             5758. FF GlobalIntelligent Shares has the meaning set forth in Article 6.7 of the
10
     Plan.
             5859. FF GlobalIntelligent Transfer Right means the Debtor’s contractual right to direct
11
     Pacific Technology to direct FF Peak to direct FF Top to transfer the Trust FF GlobalIntelligent
12
     Shares to the Trust.
13
             59.    FF GP means FF Global Partners LLC, a Delaware limited liability company.
14           60.    FF Peak means FF Peak Holding Limited, a company organized in the British Virgin
     Islands.
15
             61.    FF Top means FF Top Holding Ltd., a company organized in the British Virgin
16
     Islands.
17           62.    Final Order means an order or judgment entered by the Bankruptcy Court or other
     court of competent jurisdiction: (a) that has not been reversed, stayed, modified, amended, or revoked,
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     and as to which (i) any right to appeal or seek leave to appeal, certiorari, review, reargument, stay, or
19
     rehearing has been waived or (ii) the time to appeal or seek leave to appeal, certiorari, review,
20   reargument, stay, or rehearing has expired and no appeal, motion for leave to appeal, or petition for
     certiorari, review, reargument, stay, or rehearing is pending or (b) as to which an appeal has been
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     taken, a motion for leave to appeal, or petition for certiorari, review, reargument, stay, or rehearing
22
     has been filed and (i) such appeal, motion for leave to appeal or petition for certiorari, review,
23   reargument, stay, or rehearing has been resolved by the highest court to which

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     the order or judgment was appealed or from which leave to appeal, certiorari, review, reargument,
 1
     stay, or rehearing was sought and (ii) the time to appeal (in the event leave is granted), appeal further
 2
     or seek leave to appeal, certiorari, further review, reargument, stay, or rehearing has expired and no
 3   such appeal, motion for leave to appeal, or petition for certiorari, further review, reargument, stay, or
     rehearing is pending; provided, however, that no order or judgment shall fail to be a “Final Order”
 4
     solely because of the possibility that a motion pursuant to sections 502(j) or 1144 of the Bankruptcy
 5
     Code, rules 59 or 60 of the Federal Rules of Civil Procedure, or Bankruptcy Rules 9023 or 9024 may
 6   be filed with respect to such order or judgment.
            63.     Ford Field means Ford Field International Limited, a company organized in the
 7
     British Virgin Islands.
 8
            64.     Future Equity Incentive Plan has the meaning set forth in Article 6.2(k) of the Plan.
 9          65.     Impaired means, with respect to a Class of Claims, a Class that is impaired within

10   the meaning of section 1124 of the Bankruptcy Code.

11          66.     Initial Term has the meaning set forth in Article 6.2(g) of the Plan.
            67.     Injunctions means those certain limitations and prohibitions imposed by preliminary
12   injunctions, freezing orders, and/or similar orders from courts in the British Virgin Islands and the
13   United States federal courts situated in the state of California.
            68.     IPO means an initial public offering on the New York Stock Exchange, Nasdaq, the
14
     Hong Kong Stock Exchange, the London Stock Exchange, or any other internationally recognized
15   stock exchange (including in the PRC) with respect to the shares of outstanding capital stock of FF
16   GlobalIntelligent or such other relevant listing vehicle, as applicable.
            69.     KCBI Claimant means a holder of an Allowed Debt Claim who also holds a
17
     guarantee from a Key China Business Individual on the same obligation underlying their Allowed
18   Debt Claim and has voluntarily agreed to settle their claims against such Key China Business
19   Individual. The list of potential KCBI Claimants is included on Schedule C attached hereto.
            70.     KCBI Settlement means a voluntary settlement agreement under Bankruptcy Rule
20
     9019 between a Key China Business Individual and a KCBI Claimant, if such agreements are
21
     reached. Any KCBI Settlements will be included in the Plan Supplement.
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            71.     Key China Business Individuals are those certain Chinese individuals who
 1
     voluntarily enter into a KCBI Settlement with a KCBI Claimant prior to the Confirmation Date. The
 2
     list of potential Key China Business Individuals is included on Schedule C attached hereto.
 3          72.     Late Filed Debt Claim means a Debt Claim filed after the applicable deadline set by
     the Bankruptcy Court to file proofs of claim in the Chapter 11 Case but before the occurrence of a
 4
     Distribution Event.
 5
            73.     Late Filed Debt Claims Reserve means the trust established for the benefit of holders
 6   of Allowed Late Filed Debt Claims.

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            74.     Lien means a lien as defined in section 101(37) of the Bankruptcy Code.
            75.     Liquidation Event means, with respect to Pacific Technology, FF GlobalIntelligent,
 8
     any of their respective material, direct or indirect, subsidiaries, or any future public listing vehicle
 9
     for the subsidiaries of FF GlobalIntelligent or Pacific Technology, each of the following events to
10   the extent that the event materially reduces the direct or indirect percentage ownership in FF
     GlobalIntelligent or such other future public listing vehicle by the Trust other than by virtue of an
11
     equity investment by a bona fide third party: (a) the commencement of an assignment for the benefit
12
     of creditors, a receivership, a case under chapter 7 of the Bankruptcy Code, or a similar insolvency
13   proceeding; (b) the effective date of a liquidating plan under chapter 11 of the Bankruptcy Code; or
     (c) the effective date of a reorganization plan under chapter 11 of the Bankruptcy Code, provided
14
     that internal reorganizations (including mergers or dissolutions for tax or other purposes) that do not
15
     adversely impact the value of the Trust’s direct or indirect interests in FF GlobalIntelligent or such
16   other future public listing vehicle are not intended to be Liquidation Events.

17
            76.     Marketable Securities has the meaning set forth in Article 6.2(i) of the Plan.
18          77.     New PT Units has the meaning set forth in Article 6.2(a) of the Plan.
            78.     Non-Debt Claim means any Claim against the Debtor that is (a) not a Debt Claim or
19
     China Secured Claim or (b) otherwise determined by the Bankruptcy Court to be a Non-Debt Claim.
20          79.     Other Distributions means (a) any amounts the holder of an Allowed Debt Claim
     actually receives from the primary obligor or any guarantor besides the Debtor, of such Debt Claim
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            based on such holder’s contractual agreement
                          Main Document         Page 284 with such primary obligor or guarantor, minus
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      (b) if
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     the primary debt obligation underlying such Debt Claim is satisfied in whole or in part by
     conversion to equity in any jurisdiction, the corresponding reduction in the amount of the Debt Claim
     on account of such conversion, or (c) any amounts the holder of an Allowed China Secured Claim
     or Allowed Debt Claim actually receives upon the disposition of any Seized China Assets.
            80.     Pacific Technology means Pacific Technology Holding LLC, a Delaware limited
     liability company.

            81.     Partner Executive Committee means the Partner Executive Committee of FF
     GP.
            82.     Person means person as defined in section 101(41) of the Bankruptcy Code.
            83.     Petition Date means the date on which the Debtor filed his petition for relief
     commencing the Chapter 11 Case.
            84.     Plan means this secondthird amended plan of reorganization under chapter 11 of the
     Bankruptcy Code, including the exhibits and schedules hereto and the Plan Supplement, as may be
     amended, supplemented, or modified from time to time in accordance with the Bankruptcy Code,
     the Bankruptcy Rules, and the terms hereof.
            85.     Plan Arbitration Procedures means the confidential arbitration procedures for the
     resolution of all Plan-related disputes, including, without limitation, disputes related to the
     allowance or amount of any Late Filed Debt Claims arising between the Debtor, on the one hand,
     and the Trust, the Trustee, and/or the Creditor Trust Committee, on the other hand.
            86.     Plan Distribution means a payment or distribution under the Plan to holders of
     Allowed Claims or other eligible Entities.
            87.     Plan Supplement means the compilation of documents (or forms or summary of
     material terms thereof), schedules, and exhibits to the Plan (in each case as may be altered, amended,
     modified, or supplemented from time to time in accordance with the terms hereof and in accordance
     with the Bankruptcy Code and the Bankruptcy Rules) to be filed no later than five (5) days before the
     Voting Deadline or such later date as the Bankruptcy Court may approve, including, without
     limitation: (a) form and/or definitive agreements and related documents with respect to the Trust
     Agreement; (b) the Schedule of Rejected Contracts and Leases; (c) the identity of the initial




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     Creditor Trust Committee; (d) the material terms of the Exit Financing; (e) the list of Claims to be
 1
     deemed Allowed by the Plan on the Effective Date; and (f) any KCBI Settlements.
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           88.   Plan Term
                       MainSheet means that Page
                            Document        certain287
                                                    Amended
                                                       of 529 Plan Term Sheet attached as Exhibit
      B to the Disclosure Statement.

              89.     PRC means the People’s Republic of China.
              90.     Preferred Unit Distribution Rights has the meaning set forth in Article 6.7 of
      the Plan.

              91.     Preferred PT Units has the meaning set forth in Article 6.2(a) of the Plan.
              92.     Priority Non-Tax Claim means any Claim entitled to priority in right of payment
      under section 507(a) of the Bankruptcy Code that is not an Administrative Expense Claim or a
      Priority Tax Claim.
              93.     Priority Tax Claim means any Claim entitled to priority in payment as specified in
      section 507(a)(8) of the Bankruptcy Code.
              94.     Pro Rata means the proportion that an Allowed Claim in a particular Class bears to
      the aggregate amount of Allowed Claims in that Class, or the proportion that Allowed Claims in a
      particular Class bear to the aggregate amount of Allowed Claims in a particular Class and other
      Classes entitled to share in the same recovery as such Allowed Claim under the Plan.
              9594. Professional means an Entity (a) employed in the Chapter 11 Case pursuant to
      sections 327, 328, 363, or 1103 of the Bankruptcy Code or otherwise, or (b) seeking or awarded
      compensation or reimbursement of expenses in connection with the Chapter 11 Case pursuant to
      section 503(b)(4) of the Bankruptcy Code.
              9695. PT LLCA means that certain Third Amended and Restated Limited Liability
      Company Agreement of Pacific Technology dated July 5, 2019.

              9796. Qualifying Financing has the meaning set forth in Article 6.2(l) of the Plan.
              9897. Released Parties means, collectively, (a) the Debtor and the Estate; (b) all Persons
      engaged or retained by the Debtor in connection with the Chapter 11 Case (including in connection
      with the preparation of and analyses relating to the Disclosure Statement and the Plan); and (c) any
      and all advisors, attorneys, actuaries, financial advisors, accountants, investment bankers, agents,
      professionals, consultants and representatives of each of the foregoing Persons and Entities (whether
      current or former, in each case in his, her, or its capacity as such).




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            9998.        Releasing Parties means, collectively, and each solely in its capacity as such:
             (a) each Released Party; (b) each holder of a Non-Debt Claim that either (i) votes to accept
     the Plan




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     or (ii) is conclusively deemed to have accepted the Plan; and (c) all other holders of Non-Debt
 1
     Claims to the extent permitted by law.
 2
            10099.         Reorganized Debtor means the Debtor as reorganized under the Plan, and any
 3   successor thereto on or after the Effective Date.

 4
            101100. Retained Actions has the meaning set forth in Article 8.3 of the Plan.
            102101. Schedule of Rejected Contracts and Leases means a schedule of the executory
 5
     contracts and unexpired leases to be rejected pursuant to section 365 of the Bankruptcy Code and
 6
     Article 9.1 hereof.
 7          103102. Schedules means the schedules of assets and liabilities filed by the Debtor on
     October 17, 2019 [Docket No. 28], as required by section 521 of the Bankruptcy Code and
 8
     Bankruptcy Rule 1007, including any supplements or amendments thereto through the
 9
     Confirmation Date.
10          104103. Season Smart means Season Smart Limited, an affiliate of Evergrande Health
     Industry Group.
11

12          105104. Second Wei Gan Payment has the meaning set forth in Article 6.6 of the Plan.
            106105. Securities Act means the Securities Act of 1933, and all rules and regulations
13
     promulgated thereunder.
14          107106. Seized China Assets means any assets that (a) (i) have already been collateralized
     by the Debtor or an obligor, guarantor, or pledgor, (ii) have already been pledged by the Debtor or
15
     an obligor, guarantor, or pledgor, or (iii) the Debtor, or an obligor, guarantor, or pledgor owns and
16
             (b) have been seized, attached, or frozen by Chinese judiciary authorities in connection with
17   Chinese enforcement actions on account of any China Secured Claims or Debt Claims.
            108107. Smart King means Smart King Ltd., a company formed under the laws of the
18
     Cayman Islands now known as FF Intelligent Mobility Global Holdings Ltd.
19
            109108. Standstill Period has the meaning set forth in Article 11.4(c) of the Plan.
20
                     110109. Term has the meaning set forth in Article 6.2(g) of the Plan.
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           111110. TrustMain
                         means, collectively,Page
                             Document         the Creditor Trust and the Late Filed Debt Claims
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      Reserve.




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            112111. Trust Agreement means that certain Trust Agreement, by and among, the Debtor
 1
     and the Trustee, on substantially similar terms as described in the Plan Term Sheet. A form of the
 2
     Trust Agreement will be included in the Plan Supplement.
 3
            113112. Trust Assets has the meaning set forth in Article 6.2(b) of the Plan.
 4
            113. Trust Distribution Affidavit has the meaning set forth in Article 6.2(i) of the Plan.
 5          114. Trust Distribution Date has the meaning set forth in Article 6.2(i) of the Plan.
            114115. Trust Distributions means distributions paid from the Trust.
 6
            115116. Trust Election means the election by a holder of an Administrative Expense Claim,
 7   Priority Tax Claim, Priority Non-Tax Claim, or U.S. Secured Claim to receive their pro rata share
     of the Trust Assets pursuant to the Distribution Waterfall on the dates of distributions to holders of
 8
     the Trust Interests in lieu of their assigned recoveries under the Plan.
 9
            116117. Trust FF GlobalIntelligent Shares has the meaning set forth in Article 6.2(a) of
10
     the Plan.
11          117118. Trust Interest has the meaning set forth in Article 6.2 of the Plan.
            118119. Trustee has the meaning set forth in Article 6.2(e) of the Plan.
12
            119120. Unimpaired means, with respect to any Claim, or a Class of Claims, that is
13   unimpaired within the meaning of section 1124 of the Bankruptcy Code.

14
            120121. U.S. Secured Claim means a Claim against the Debtor that is secured by a valid,
     unavoidable, perfected, and enforceable Lien on, or security interest in, property of the Debtor
15
     located in the United States, or that has the benefit of rights of setoff under section 553 of the
16
     Bankruptcy Code, but only to the extent of the value of the holder’s interest in the Debtor’s interest
17   in such property, or to the extent of the amount subject to setoff, the value of which shall be
     determined as provided in section 506 of the Bankruptcy Code.
18

19          121122. U.S. Trustee means the United States Trustee for the Central District of
     California.
20
            122123. Voting Agent means Epiq Corporate Restructuring, LLC.
21          123124. Voting Deadline means 4:00 p.m. (Beijing Time) on [               ], 2020.
            124125. Warrant has the meaning set forth in Article 6.2(a) of the Plan.
22
            125126. Wei Gan Claims has the meaning set forth in Article 6.6(b) of the Plan.
23
            126127. Wei Gan Declaration has the meaning set forth in Article 6.7 of the Plan.
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             127128. Wei Gan Domestic Support Obligations has the meaning set forth in Article 6.6 of
 1
     the Plan.
 2
             128129. Wei Gan Liability Release Date has the meaning set forth in Article 6.6(b) of
 3   the Plan.

 4
             129130. Wei Gan Release Consideration has the meaning set forth in Article 6.6 of the
     Plan.
 5
             130131. Wei Gan Settlement has the meaning set forth in Article 6.6 of the Plan.
 6
                   131132. West Coast has the meaning set forth in Article 6.7(a) of the Plan.
 7
                 132133. Yidao Claims has the meaning set forth in Article 6.2(b) of the Plan.
 8
                   133134. YT Claims has the meaning set forth in Article 11.4(c) of the Plan.
 9
                 134135. YT Declaration has the meaning set forth in Article 6.7 of the Plan.
10
             1.2      Interpretation, Application of Definitions, and Rules of Construction.
11                    (a)    For purposes of the Plan and unless otherwise specified herein (i) the rules of
     construction set forth in section 102 of the Bankruptcy Code shall apply; (ii) any term that it not
12
     defined herein, but that is used in the Bankruptcy Code or Bankruptcy Rules, shall have the meaning
13
     given to the term in the Bankruptcy Code or Bankruptcy Rules, as applicable; (iii) any reference in
14   the Plan to an existing document, schedule, or exhibit, whether or not filed with the Bankruptcy Court,
     shall mean such document, schedule, or exhibit, as it may have been or may be amended, modified,
15
     or supplemented; (iv) any reference to an Entity as a holder of a Claim includes that Entity’s permitted
16
     successors and assigns; (v) all references to statutes, regulations, orders, rules of courts, and the like
17   shall mean as amended from time to time, as applicable to the Chapter 11 Case, unless otherwise
     stated; and (vi) the words “include” and “including,” and variations thereof, shall not be deemed to
18
     be terms of limitation, and shall be deemed to be followed by the words “without limitation.”
19
                      (b)     In computing any period of time prescribed or allowed by the Plan, the
20   provisions of Bankruptcy Rule 9006(a) shall apply.
                      (c)     All references in the Plan to monetary figures refer to currency of the United
21
     States of America.
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 1                                             ARTICLE II
                                           UNCLASSIFIED CLAIMS
 2
             In accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Expense
 3
     Claims, Priority Tax Claims, and Domestic Support Obligations have not been classified for
 4
     purposes of voting or receiving distributions. Rather, all such Claims are treated separately as
 5
     unclassified Claims as set forth in this Article II, and the holders thereof are not entitled to vote on
 6
     the Plan.
 7
             2.1         Administrative Expense Claims.
 8
                   (a)      Filing Administrative Expense Claims. The holder of an Administrative
 9
     Expense Claim, other than (i) a Claim covered by Article 2.2, (ii) a liability incurred and payable
10
     in the ordinary course of business by the Debtor after the Petition Date, (iii) timely filed and
11
     Allowed Claims arising under section 503(b)(9) of the Bankruptcy Code, or (iv) an Administrative
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     Expense Claim that has been Allowed on or before the Administrative Expense Claim Bar Date,
13
     must file and serve on the Reorganized Debtor a request for payment of such Administrative
14
     Expense Claim so that it is received no later than the Administrative Expense Claim Bar Date
15
     pursuant to the procedures specified in the Confirmation Order and the notice of the Effective Date.
16
     Holders required to file and serve, who fail to file and serve, a request for payment of
17
     Administrative Expense Claims by the Administrative Expense Claim Bar Date shall be
18
     forever barred, estopped, and enjoined from asserting such Administrative Expense Claims
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     against the Debtor or Reorganized Debtor and their property, and such Administrative
20
     Expense Claims shall be deemed discharged as of the Effective Date. All such Claims shall, as
21
     of the Effective Date, be subject to the permanent injunction set forth in Article 11.6 hereof.
22
     Notwithstanding the foregoing, pursuant to section 503(b)(1)(D) of the Bankruptcy Code, no
23
     governmental unit shall be required to file a request for payment of any Administrative Expense
24
     Claim of a type described in sections 503(b)(1)(B) or 503(b)(1)(C) of the Bankruptcy Code as a
25
     condition to such Claim being Allowed.
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               (b)   Allowance of Administrative
                       Main Document     Page 294Expense Claims. An Administrative Expense
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     Claim, with respect to which a request for payment has been properly and timely filed pursuant to




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     Article 2.1(a) shall become an Allowed Administrative Expense Claim if no objection to such
 1
     request is filed with the Bankruptcy Court and served on the Debtor and the requesting party on or
 2
     before the one-hundred twentieth (120th) day after the Effective Date, as the same may be modified
 3   or extended by order of the Bankruptcy Court. If an objection is timely filed, the Administrative
     Expense Claim shall become an Allowed Administrative Expense Claim only to the extent Allowed
 4
     by Final Order or as such Claim is settled, compromised, or otherwise resolved pursuant to Article
 5
     8.3.
 6                  (c)     Payment of Allowed Administrative Expense Claims. Except to the extent that
     an Administrative Expense Claim has already been paid during the Chapter 11 Case, the holder of an
 7
     Allowed Administrative Expense Claim agrees to a less favorable treatment, or the Holder of an
 8
     Allowed Administrative Expense Claim makes a Trust Election, and except as provided in Article 2.2,
 9   each holder of an Allowed Administrative Expense Claim against the Debtor shall receive, in full and
     complete settlement, release, and discharge of such Administrative Expense Claim, Cash equal to the
10
     unpaid amount of such Administrative Expense Claim on the latest of (i) the Effective Date or as soon
11
     thereafter as reasonably practicable; (ii) thirty (30) days after the date on which such Administrative
12   Expense Claim becomes Allowed; (iii) the date on which such Administrative Expense Claim
     becomes due and payable in the ordinary course of the Debtor’s business in accordance with the terms
13
     and subject to the conditions of any agreements or understandings governing, or other documents
14
     relating to, such Administrative Expense Claim; and (iv) such other date as may be agreed to by such
15   holder and the Debtor or Reorganized Debtor.

16          2.2     Professional Fees.
                    (a)    Final Fee Applications. Each Professional requesting compensation pursuant
17
     to sections 327, 328, 330, 331, 363, 503(b), or 1103 of the Bankruptcy Code for services rendered in
18   connection with the Chapter 11 Case before the Effective Date shall (i) file with the Bankruptcy Court,
     and serve on the Reorganized Debtor, an application for allowance of final compensation and
19
     reimbursement of expenses in the Chapter 11 Case on or before the thirtieth (30th) day following the
20
     Effective Date, and (ii) after notice and a hearing in accordance with the procedures
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     established by the Bankruptcy Code and Bankruptcy Rules and any prior orders of the Bankruptcy
 1
     Court in the Chapter 11 Case, be paid in full, in Cash, in such amounts as are Allowed.
 2
                    (b)     Ordinary Course Professional Fees and Expenses. The immediately
 3   preceding paragraph shall not affect any professional-service Entity that is permitted to receive, and
     the Debtor is permitted to pay, without seeking further authority from the Bankruptcy Court,
 4
     compensation for services and reimbursement of professional fees and expenses in the ordinary
 5
     course of business (and in accordance with any relevant prior order of the Bankruptcy Court), the
 6   payments for which may continue notwithstanding the occurrence of confirmation of the Plan.
                    (c)     Post-Effective Date Fees and Expenses. From and after the Effective Date, the
 7
     Reorganized Debtor may, upon submission of appropriate documentation and in the ordinary course
 8
     of business, pay the post-Effective Date charges incurred by the Reorganized Debtor for any
 9   Professional’s fees, disbursements, expenses, or related support services without application to or
     approval from the Bankruptcy Court. On the Effective Date, any requirement that Professionals
10
     comply with sections 327 through 331 and 1103 of the Bankruptcy Code in seeking retention or
11
     compensation for services rendered after such date shall terminate, and the Reorganized Debtor may
12   employ and pay any Professional for fees and charges incurred from and after the Effective Date in
     the ordinary course of business without any notice to or approval of the Bankruptcy Court.
13
            2.3    Priority Tax Claims.
14
            Except to the extent that a holder of an Allowed Priority Tax Claim agrees to a less favorable
15   treatment, each holder of an Allowed Priority Tax Claim against the Debtor shall receive, in full and
     complete settlement, release, and discharge of such Priority Tax Claim, Cash equal to the unpaid
16
     amount of such Allowed Priority Tax Claim on the latest of (a) the Effective Date or as soon thereafter
17
     as reasonably practicable; (b) thirty (30) days after the date on which such Priority Tax Claim becomes
18   Allowed; (c) the date on which such Priority Tax Claim becomes due and payable; and (d) such other
     date as may be mutually agreed to by and among such holder and the Debtor or Reorganized Debtor;
19
     provided, however, that the Reorganized Debtor shall be authorized, at his option, and in lieu of
20
     payment in full, in Cash, of an Allowed Priority Tax Claim as provided above, to make deferred Cash
21   payments on account thereof in the manner and to the extent permitted under

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 1   section 1129(a)(9)(C) of the Bankruptcy Code.
            2.4    Domestic Support Obligations.
 2
            On the Effective Date, the Debtor shall make any payments to comply with any postpetition
 3   unfunded obligations on account of any Domestic Support Obligations, if any such obligations exist,
     as may be required for the Debtor to be current with respect to such Domestic Support Obligations as
 4
     of the Effective Date pursuant to section 1129(a)(14) of the Bankruptcy Code. After the Effective
 5
     Date, the Debtor shall timely make all payments on account of Domestic Support Obligations to the
 6   parties entitled to receive such payments, if any such obligations exist, including, without limitation,
     any Wei Gan Domestic Support Obligations, in each case at the times and in the amounts required by
 7
     the agreements and orders evidencing such Domestic Support Obligations, as such agreements may
 8
     from time to time be modified in accordance with applicable law. The sole source of payment for any
 9   Domestic Support Obligations will be the Debtor’s post-Effective Date Cash and no holder of a
     Domestic Support Obligation shall have any recourse against the Trust. For the avoidance of doubt,
10
     the Wei Gan Domestic Support Obligations shall not constitute claims against the Trust or otherwise
11
     have any claims against or interest in the Trust Assets.
12
            2.5     DIP Facility Claims.
            In the event that there are proceeds remaining from the Exit Financing after (a) funding the
13
     operations of the Trust for the Initial Term and (b) making all Cash payments required to be made
14
     in connection with the Plan pursuant to Article 6.4 of the Plan, the remaining proceeds of the Exit
15   Financing shall be used to pay all amounts outstanding under the DIP Facility in Cash on the
     Effective Date or as soon thereafter as practicable. Once such payment in full has been made, any
16
     agreements and instruments related thereto shall be deemed terminated and all Liens and security
17
     interests granted to secure the Debtor’s obligations under the DIP Facility shall be satisfied,
18   discharged, and terminated in full and of no further force and effect.
            In the event that there are not sufficient proceeds remaining from the Exit Financing to pay all
19
     amounts outstanding under the DIP Facility, in satisfaction of the Debtor’s obligations under the DIP
20
     Facility, on the Effective Date or as soon thereafter as practicable and in accordance with the terms
21   and conditions of the DIP Note (a) the maturity date of the DIP Facility shall be automatically

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 1   extended for one year from the Effective Date, (b) all obligations of the Debtor under the DIP

 2   Facility shall be assumed by the Trust, (c) all Liens and security interests on any Collateral

 3   transferred to the Trust in accordance with the Trust Agreement shall remain in place as perfected

 4   first priority liensLiens and survive against the Trust, subject only to the Liens securing the
     Exit
 5
     Financing, (d) the interest rate per annum shall be increased to twelve percent (12% per annum),
 6
     and (e) all other Liens and security interests shall be satisfied, discharged, and terminated in full
 7
     and of no further force and effect.
 8
                                             ARTICLE III
                                      CLASSIFICATION OF CLAIMS
 9

10           The following table designates the Classes of Claims against the Debtor, and specifies

11   which Classes are (a) Impaired or Unimpaired; (b) entitled to vote to accept or reject the Plan in

12   accordance with section 1126 of the Bankruptcy Code; and (c) deemed to accept the Plan. A Claim

13   or portion thereof is classified in a particular Class only to the extent that such Claim or portion

14   thereof qualifies within the description of such Class and is classified in a different Class to the

15   extent that the portion of such Claim qualifies within the description of such different Class.
             3.1     Class Identification.
16
             Claims against the Debtor are classified as follows:
17

18     Class               Description              Impairment                  Entitled to Vote
         1         Priority Non- Tax Claims    Unimpaired                 No (deemed to accept)
19       2         U.S. Secured Claims         Unimpaired                 No (deemed to accept)
20       3         China Secured Claims        Unimpaired                 No (deemed to accept)

21       4         Debt Claims                 Impaired                   Yes

22                                              ARTICLE IV
                                           TREATMENT OF CLAIMS
23
             4.1     Priority Non-Tax Claims (Class 1).
24
                     (a)     Classification. Class 1 consists of all Priority Non-Tax Claims.
25

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                 (b)  Treatment.
                      Main       Except toPage
                           Document        the extent
                                                299 ofthat
                                                       529a holder of an Allowed Priority
                 Non-

     Tax Claim agrees to less favorable treatment or makes a Trust Election, on the Effective Date or as




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     soon thereafter as practicable, each holder of an Allowed Priority Non-Tax Claim shall receive, at
 1
     the option of the Debtor and in full and complete settlement, release, and discharge of, and in
 2
     exchange for, such Priority Non-Tax Claim (i) payment in full in Cash or (ii) other treatment
 3   rendering such Priority Non-Tax Claim Unimpaired. Any Allowed Class 1 Claim not due and owing
     on the Effective Date shall be paid in full, in Cash, when it becomes due and owing.
 4
                    (c)     Impairment and Voting. Class 1 is Unimpaired. Holders of Priority Non-Tax
 5
     Claims in Class 1 are conclusively presumed to have accepted the Plan pursuant to section 1126(f)
 6   of the Bankruptcy Code, and accordingly, are not entitled to vote to accept or reject the Plan.

 7           4.2    U.S. Secured Claims (Class 2).

 8                  (a)    Classification. Class 2 consists of all U.S. Secured Claims.
                    (b)    Treatment. Except to the extent that a holder of an Allowed U.S. Secured
 9
     Claim agrees to less favorable treatment or makes a Trust Election, on the Effective Date or as soon
10   thereafter as practicable, each holder of an Allowed U.S. Secured Claim shall receive, at the option
     of the Debtor and in full and complete settlement, release, and discharge of, and in exchange for,
11
     such U.S. Secured Claim (i) payment in full in Cash, (ii) delivery of the Collateral securing any such
12
     U.S. Secured Claim, (iii) reinstatement pursuant to section 1124 of the Bankruptcy Code, or (iv)
13   other treatment rendering such U.S. Secured Claim Unimpaired.
                    (c)     Impairment and Voting. Class 2 is Unimpaired. Holders of U.S. Secured
14
     Claims in Class 2 are conclusively presumed to have accepted the Plan pursuant to section 1126(f)
15
     of the Bankruptcy Code, and accordingly, are not entitled to vote to accept or reject the Plan.
16
             4.3    China Secured Claims (Class 3)
17
                   (a)     Classification. Class 3 consists of all China Secured Claims.
                    (b)     Treatment. Except to the extent that a holder of an Allowed China Secured
18
     Claim agrees to less favorable treatment, on the Effective Date or as soon thereafter as practicable,
19
     each holder of an Allowed China Secured Claim shall receive, at the option of the Debtor and in full
20   and complete settlement, release, and discharge of, and in exchange for, such Allowed China Secured
     Claim (i) the proceeds of the sale or disposition of the Collateral securing such Allowed China
21
     Secured Claim in accordance with applicable law, to the extent of the value of such holder’s
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 1   secured interest in such Collateral, (ii) other treatment rendering such Allowed China Secured

 2   Claim Unimpaired, or (iii) such other treatment as may be mutually agreed to by and among such

 3   holder and the Debtor or the Reorganized Debtor, as applicable.; provided, however that if the holder
     of an Allowed China Secured Claim has not received the value of the Collateral securing its
 4
     Allowed China Secured Claim on or before the initial Trust Distribution Date, such Allowed China
 5
     Secured Claim shall be treated as a Debt Claim for all purposes under this Plan.
 6
                     (c)         Impairment and Voting. Class 3 is Unimpaired. Holders of China Secured
 7
     Claims in Class 3 are conclusively presumed to have accepted the Plan pursuant to section 1126(f)
 8
     of the Bankruptcy Code, and accordingly, are not entitled to vote to accept or reject the Plan.
 9
             4.4     Debt Claims (Class 4).
10
                           (a)      Classification. Class 4 consists of all Debt Claims.
11                   (b)         Treatment. Except to the extent that a holder of an Allowed Debt Claim
     agrees to less favorable treatment, each holder of an Allowed Debt Claim shall receive, in full and
12
     complete settlement, release, and discharge of, and in exchange for, such Allowed Debt Claim, its
13
     Pro Ratapro rata share of the Trust Interests, which distribution shallbe made in accordance with
14
     Article based on its Debt Claim Allocation Amount in relation to the
15
     aggregate Debt Claim Allocation Amounts of all Allowed Debt Claims, which distribution shall
16
     be made in accordance with Article 6.2 of the Plan.
17
                   (c)      Impairment and Voting. Class 4 is Impaired. Holders of Debt Claims in
18   Class 4 are entitled to vote to accept or reject the Plan.
                                             ARTICLE V
19
                                 ACCEPTANCE OR REJECTION OF THE PLAN
20
             5.1     Class Acceptance Requirement.
21
            Pursuant to section 1126(c) of the Bankruptcy Code, and except as otherwise provided in
22
     section 1126(e) of the Bankruptcy Code, an Impaired Class of Claims shall have accepted the Plan
23
     if it is accepted by at least two thirds (2/3) in dollar amount and more than one-half (1/2) in number
24
     of holders of the Allowed Claims in such Class that have voted on the Plan.
25           5.2     Deemed Acceptance by Non-Voting Classes.

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           If a Class contains
                           MainClaims eligible to Page
                                 Document         vote and
                                                        302noofholder
                                                                529 of a Claim eligible to vote in such




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 1   Class votes to accept or reject the Plan, the Plan shall be deemed accepted by such Class.
            5.3     Elimination of Vacant Classes.
 2
            Any Class of Claims that does not have at least one holder of an Allowed Claim or a Claim
 3
     temporarily Allowed as of the date of the Confirmation Hearing shall be deemed eliminated from
 4

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     the Plan for purposes of voting to accept or reject the Plan and for purposes of determining

     acceptance or rejection of the Plan pursuant to section 1129(a)(8) of the Bankruptcy Code.
             5.4     Confirmation Pursuant to Section 1129(b) of the Bankruptcy Code.

             Section 1129(b) of the Bankruptcy Code provides for confirmation (or “cram-down”) of a

     plan of reorganization even if the plan is not accepted or deemed accepted by all impaired classes

     of claims, as long as at least one impaired class of claims has voted to accept the plan and certain

     other requirements are met. Subject to Article 13.8 of the Plan, the Debtor reserves the right to alter,

     amend, modify, revoke, or withdraw the Plan or any related document in order to satisfy the

     requirements of section 1129(b) of the Bankruptcy Code. The Debtor also reserves the right to

     request confirmation of the Plan, as it may be modified, supplemented, or amended from time to

     time, with respect to any Class that affirmatively votes to reject the Plan.
                                        ARTICLE VI
                           MEANS FOR IMPLEMENTATION OF THE PLAN

             6.1     Compromise of Controversies.

             In consideration for the Plan Distributions, releases, and other benefits provided under the

     Plan, upon the Effective Date, the provisions of the Plan constitute a good faith compromise and

     settlement of all Claims and controversies relating to any Allowed Claim or any Plan Distribution

     to be made on account thereof or otherwise resolved under the Plan.

             The Plan shall be deemed a motion to approve the good faith compromise and settlement

     of all such Claims and controversies pursuant to Bankruptcy Rule 9019, and the entry of the

     Confirmation Order shall constitute the Bankruptcy Court’s approval of such compromise and

     settlement under section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, as well as a

     finding by the Bankruptcy Court that such settlement and compromise is fair, equitable, reasonable,

     and in the best interests of the Debtor and his Estate. All Plan Distributions made in accordance

     with the Plan are intended to be, and shall be, final.
             6.2     The Trust.

             Each holder of an Allowed Debt Claim or Allowed Late Filed Debt Claim shall receive a

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     beneficial interest (a “Trust
                             MainInterest”)
                                   Document in the Creditor
                                                   Page 305 Trust or the Late Filed Debt Claims Reserve,
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     as applicable, based onMain Document
                            the Debt           Page Amount
                                     Claim Allocation 306 of 529
                                                              of such Claim. The Trust will preserve,

      as applicable, based on the formulas set forth below. The Trust will preserve, hold, manage, and
      maximize the Trust Assets for use in paying and satisfying the holders’ Claims

      upon the earlier to occur of (x) the consummation of a Liquidation Event or a Distribution Event

      and (y) the termination of the Trust in accordance with the Trust Agreement.

                    (a)     Corporate Structure and Governance.




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          On the Effective Date, the managing member of Pacific Technology shall amend the PT

 1
             LLCA to:
 2
                            (i)    provide that the Trust is a member of Pacific Technology and the
 3
                                   holder of 100% of the preferred membership units of Pacific
 4
                                   Technology (the “Preferred PT Units”);
 5                          (ii)   issue new units of Pacific Technology to the Trust (the “New PT
                                   Units”), entitling the Trust to 100% of the economic value of
 6
                                   147,058,823 Class B shares of FF GlobalIntelligent (the “Trust FF
 7
                                   Global Intelligent Shares”); and
 8                          (iii) grant the Trust a fully paid-up warrant to receive the Trust FF
                                   GlobalIntelligent Shares consistent with the FF GlobalIntelligent
 9
                                   Transfer Right with no further action necessary by the Debtor or
10
                                   Reorganized Debtor, exercisable upon the dissolution of the
11                                 Injunctions (the “Warrant”).
            The Preferred PT Units and the New PT Units shall vest in the Trust free and clear of any
12
     and all Liens, claims, encumbrances, contractual restrictions, and other interests pursuant to section
13
     363 of the Bankruptcy Code; provided that the Preferred PT Units and the New PT Units shall be
14   subject to the PT LLCA as amended on the Effective Date pursuant to, and consistent in all material
     respects with, the Plan Term Sheet and the Plan. For so long as the Preferred PT Units are
15
     outstanding, Pacific Technology and its managing member shall be prohibited from amending the
16
     PT LLCA in any manner that adversely affects the rights and claims provided to the Trust as set
17   forth in the Plan and the Plan Term Sheet.
            Upon the dissolution of the Injunctions, the Trustee may exercise the Warrant and direct FF
18
     Top to transfer the Trust FF GlobalIntelligent Shares directly to the Trust pursuant to the FF
19
     GlobalIntelligent M&A,
20

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            provided that Main
                          the Trustee shall exercise
                                Document       Pagethe Warrant
                                                     308 of 529no later than in connection with the
      IPO. Upon the indefeasible transfer of the Trust FF GlobalIntelligent Shares to the Trust pursuant
      to the Warrant, the New PT Units shall be deemed retired.

                    (b)     Trust Assets.




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                           Main
           The assets of the    Document
                             Trust                Page
                                   shall consist of      309 of 529
                                                    the following property of the Debtor on the Effective

 1
              Date (collectively, the “Trust Assets”):
 2
                      (i)                               100% of the Preferred PT Units;
 3
                            (ii)                           100% of the New PT Units;
 4
                               (iii)   the Warrant;
 5
                               (iv) following the exercise of the Warrant and the indefeasible transfer of
 6
                                        the Trust FF GlobalIntelligent Shares to the Trust, the Trust FF
 7                                     GlobalIntelligent Shares;
                               (v)     all financial assets of the Debtor (i.e., accounts, security, or real
 8
                                       property) wherever located, whether owned directly or through any
 9
                                       nominee, including, but not limited, to any Seized China Assets of the
10                                     Debtor in existence as of the Effective Date and remaining after the
                                       satisfaction of any claims recoverable from such assets under
11
                                       applicable law but excluding (x) any exempt assets of the Debtor under
12
                                       section 522 of the Bankruptcy Code, (y) income of the Debtor after the
13                                     Petition Date listed on Schedule J of the Schedules, or (z) the Debtor’s
                                       rental agreements with Warm Time Inc. and any income derived from
14
                                       such rental agreements, or the proceeds thereof, provided that the
15
                                       inclusion of such assets in the Trust does not include the right to assert
16                                     (A) any YT Claims except as set forth in Article 11.4 (c) of the Plan

17                                     and (B) Causes of Action of the Debtor’s estate except for those
                                       expressly permitted in Article 11.9 of the Plan;
18
                               (vi) all interests, claims, and Causes of Action owned by the Debtor
19                                     (including through any nominee) in connection with Beijing

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                        Dongfang
                        Main     Cheyun Information
                             Document     Page 310 Technology
                                                    of 529    Co., Ltd. in existence as of the
                               Effective Date (the “Yidao Claims”);
                        (vii) the rights to recover property in accordance with Article 11.9 of the Plan
                               and all proceeds thereof;




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                            (viii) the Call Option, subject to certain rights of FF GP as set forth below
 1
                                      in Article 6.2(l) of the Plan, which Call Option may not be
 2
                                      exercised or transferred by the Trust without the consent of FF GP;
 3
                            (ix) the proceeds of the Exit Financing; and
 4
                                (x)      the Debtor’s interests in Ford Field.
 5
                  (c)    Voting Rights With Respect to the Trust Assets.
 6          The Trustee shall exercise all voting rights, if any, with respect to the Trust FF
     GlobalIntelligent Shares owned by the Trust after the exercise of the Warrant. Prior to the occurrence
 7
     of an IPO, (i) the Trustee will have observer rights regarding the committee meetings held by the
 8
     committee of managers of FF GP and (ii) the Reorganized Debtor will use commercially reasonable
 9   efforts to provide the Trustee with observer rights with respect to the boards of FF GlobalIntelligent,
     FF, FF Inc., a California corporation, and all other material, direct or indirect, operating subsidiaries
10
     of FF GlobalIntelligent that hold separate board meetings.
11
                   (d)     Late Filed Debt Claims Reserve.
12
            On the Effective Date, the Trustee shall (i) establish the Late Filed Debt Claims Reserve for
13   the benefit of any Allowed Late Filed Debt Claims and (ii) transfer 10% of the Trust Assets to the
     Late Filed Debt Claims Reserve. The Late Filed Debt Claims Reserve will have no operations other
14
     than to make distributions to holders of Allowed Late Filed Debt Claims in accordance with the
15
     Trust Agreement and will be managed by the Trustee pursuant to a separate trust agreement with
16   substantially similar governance terms as the Trust Agreement. At the conclusion of the Standstill
     Period, any unallocated assets in the Late Filed Debt Claims Reserve shall revert to the Creditor
17
     Trust for the ratable benefit of holders of Allowed Debt Claims and the Reorganized Debtor pursuant
18
     to the Distribution Waterfall.
19
            In order for a Late Filed Debt Claim to be Allowed and participate in the Late Filed Debt
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            Claims Reserve,
                        Mainthe Reorganized Page
                              Document       Debtor
                                                 312and the Trustee shall make commercially
                                                     of 529
     reasonable efforts to agree that allowance of such Late Filed Debt Claim in a particular amount is in
     the best interests of the Reorganized Debtor and the Trust. If the Reorganized Debtor and the Trustee
     do not agree to the allowance or amount of any Late Filed Debt Claim, the dispute shall be resolved




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     pursuant to the Plan Arbitration Procedures. In seeking the allowance of any Late Filed Debt Claim,
 1
     the Reorganized Debtor shall bear the burden of demonstrating that allowance of such Late Filed
 2
     Debt Claim is in the best interests of the Reorganized Debtor and the Trust.
 3
                   (e)     Appointment of the Trustee.
 4          There shall be one trustee (the “Trustee”) of the Trust. The initial Trustee shall be disclosed
     in the Disclosure Statement. Any successor Trustee shall be selected by majority vote of the Creditor
 5
     Trust Committee, subject to approval by the Reorganized Debtor (which approval shall not be
 6
     unreasonably withheld), in accordance with the Trust Agreement, which shall set forth certain
 7   criteria with respect to the relevant experience and qualifications for the Trustee.
            The Trustee shall act as a fiduciary and shall not be personally liable in connection with the
 8
     affairs of the Trust or to any person except for such of the Trustee’s acts or omissions that constitute
 9
     fraud, willful misconduct, or gross negligence, as determined by a final order of a court of competent
10   jurisdiction. In addition, the Trustee shall be indemnified by the Trust against and held harmless by      1
     the Trust from any losses, claims, damages, liabilities, or expenses (including, without limitation,       0
11
     attorneys’ fees, disbursements, and related expenses) to which the Trustee may become subject in           1
12                                                                                                              1
     connection with any action, suit, proceeding, or investigation brought or threatened against the
13   Trustee in connection with any matter arising out of or related to the Trust Agreement or the affairs      1
     of the Trust (other than in respect of acts or omissions that constitute fraud, willful misconduct, or     2
14
     gross negligence, as determined by a court of competent jurisdiction). The Trustee shall be entitled       1
15                                                                                                              3
     to obtain customary fiduciary and/or errors and omissions liability insurance and engage independent
16   legal counsel and financial advisors to assist with its evaluation of any matters with respect to the      1
     Trust, including any Liquidation Event.                                                                    4
17
            The Trustee shall be compensated by the Trust from Trust Assets pursuant to the Trust               1
18                                                                                                              5
     Agreement. The Trustee shall be entitled to reimburse itself out of any available cash in the Trust,
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            for its actual out-of-pocket
                            Main DocumentexpensesPage
                                                 and shall
                                                       314beofindemnified
                                                                529       by the Trust from Trust Assets
      against and from any and all loss, liability, expense, or damage, which the Trustee may sustain in
      good faith and without willful misconduct, gross negligence, or fraud in the exercise and
      performance of any of the powers and duties of the Trustee under the Trust Agreement.



             The Trustee may resign upon not less than sixty (60) days’ advance written notice to the
      Creditor Trust Committee, with such resignation to take effect once a replacement Trustee has been
      appointed. The Creditor Trust Committee may remove the Trustee in the event the Trustee commits
      any act or omission that constitutes fraud, breach of fiduciary duty, willful misconduct, or gross
      negligence. Upon the removal of the Trustee as set forth in the immediately preceding sentence, the
      Creditor Trust Committee shall have the right to appoint a replacement Trustee, subject to approval
      by the Reorganized Debtor (which approval shall not be unreasonably withheld).

                    (f)    Creditor Trust Committee.
             Holders of Trust Interests will be represented by a committee that shall consist of no more
      than five creditors holding Allowed Debt Claims, or their designees (the “Creditor Trust
      Committee”), the responsibilities and governance of which are set forth in the Plan Term Sheet. The
      initial members of the Creditor Trust Committee must be acceptable to the Committee and will be
      disclosed in the Plan Supplement.

                    (g)    Term of the Trust.
             The term of the Trust (the “Term”) will initially extend until the fifth (5th) anniversary of
      the Effective Date (the “Initial Term”). The Term shall not extend beyond the tenth (10th)
      anniversary of the Effective Date unless the Chapter 11 Case is reopened to obtain a Bankruptcy
      Court order extending the Term.
             If the completion of an IPO occurs during the Initial Term, the Term and the Standstill Period
      shall be automatically extended through the conclusion of the selloff period for the Marketable
      Securities as set forth on Exhibit B to the Plan Term Sheet. If the completion of the IPO has not
      occurred during the Initial Term, the Trustee may elect to extend the Term for successive one-year
      periods (or such other periods as the Trustee determines to be appropriate) to the extent necessary
      to allow for orderly liquidation of any remaining Trust Assets.




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            The Trustee shall
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                                                       Trust and distribute the Trust Assets upon the
                                                          of 529
      expiration of (i) the Initial Term if no extension (automatic or otherwise) is exercised or (ii) the
      expiration of any extended Term of the Trust. The Trustee may dissolve the Trust before the end of
      the Initial Term or any extended Term if: (x) all of the Trust Assets have been distributed in




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     accordance with the Distribution Waterfall, including any distributions to the Reorganized Debtor
 1
     or (y) a Liquidation Event has occurred. Upon termination of the Trust, the Trustee will obtain a
 2
     valuation of the Trust Assets as of the termination date (performed by an independent valuation firm
 3   selected by the Trustee and approved by the Creditor Trust Committee and the Reorganized Debtor)
     and shall, as promptly as practicable following the completion of the independent valuation,
 4
     distribute the Trust Assets in kind to the holders of Allowed Debt Claims and the Reorganized
 5
     Debtor in accordance with the Distribution Waterfall.
 6           Certain aspects of the Trust will be subject to automatic amendment based on aggregate
     distributions as set forth in the Distribution Waterfall.
 7

 8                  (h)    Expenses of the Trust.
             The professional fees, costs, and other expenses incurred by the Trustee in connection with
 9
     the administration of the Trust shall be paid from the proceeds of the Exit Financing and the relevant
10   Trust Assets.

11
                   (i)     Distribution of Trust Assets.
             Upon receipt of the distributable proceeds by the Trust for any disposition, or dividends or
12
     distributions in respect, of any Trust Assets (such proceeds, the “Distributable Proceeds,” and such an
13
     event, a “Distribution Event,” and the date of such distribution, a “Trust Distribution Date”), the
14   Distributable Proceeds will be distributed in accordance with the Distribution Waterfall upon the
     earlier of (i) sixty (60) days following the occurrence of such Distribution Event and (ii) the
15
     termination of the Trust. The Trustee may delay or defer the distribution of any Distributable Proceeds
16
     (whether cash, securities, or other property) received by the Trustee in respect of the Trust Assets if
17   the Trustee determines that such deferral or delay is in the best interests of the holders of Trust Interests
     (including if such distribution would violate any court order or applicable law).
18
             Prior to each Trust Distribution Date, each holder of a Trust Interest shall provide an affidavit
19
     to the Trustee that identifies any amounts (or value with respect to Collateral) received from Other
20   Distributions as of the date of the affidavit (the “Trust Distribution Affidavit”). On each Trust
     Distribution Date, the Trustee will (i) allocate pro rata distributions to holders of Trust Interests on
21
     account of each holder’s Debt Claim Distribution Amount calculated in accordance
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     with the information provided in the Trust Distribution Affidavit and (ii) reserve distributions for
 1
     holders of Trust Interests who have not submitted their Trust Distribution Affidavits prior to the
 2
     applicable Trust Distribution Date. If the holder of a Trust Interest fails to submit the Trust
 3   Distribution Affidavit prior to the termination or dissolution of the Trust, such holder shall forfeit
     its Trust Interests and any reserved distributions shall revert to the Trust for the ratable benefit of
 4
     holders of Allowed Debt Claims and the Reorganized Debtor pursuant to the Distribution Trust
 5
     Waterfall.
 6           The schedule for disposition of shares of FF GlobalIntelligent directly owned by the Trust and
     that are registered under securities law or listed (the “Marketable Securities”) shall be governed in
 7
     accordance with Exhibit B to the Plan Term Sheet. The PT LLCA will include provisions that the
 8
     managing member of Pacific Technology will use commercially reasonable efforts to dispose of
 9   Marketable Securities owned or controlled by Pacific Technology in which the Trust owns a beneficial
     interest on a similar schedule until the priority distribution of $815.7 million (plus accrued amounts)
10
     under the PT LLCA in connection with the Preferred PT Units is paid to the Trust. The Distributable
11
     Proceeds shall be distributed in accordance with the Distribution Waterfall.
12           At any time upon the request of the managing member of Pacific Technology, and subject
     to applicable securities law, the Trustee shall distribute the Marketable Securities in kind to the
13
     holders of Trust Interests in lieu of any cash distribution. The value of the Marketable Securities
14
     shall be the average closing trading price for the five consecutive trading days immediately prior to
15   the distribution.

16
                     (j)    Distribution Waterfall.
17           The Trust Assets shall be distributed as follows:
                           (i)     First, to repay the Exit Financing, if any, pursuant to the terms
18
                                    thereof and the Trust Agreement;
19                          (ii)    Second, to repay the DIP Facility if extended past the Effective Date
                                    pursuant to the terms of the DIP Note and the Trust Agreement;
20
                             (iii) Third, to each holder of an Administrative Expense Claim, Priority Tax
21
                                          Claim, Priority Non-Tax Claim, or U.S. Secured Claim that has
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     are registered under securities law or listed (the “Marketable Securities”) shall be governed in
 1
     accordance with Exhibit B to the Plan Term Sheet. The PT LLCA will include provisions that the
 2
     managing member of Pacific Technology will use commercially reasonable efforts to dispose of
 3   Marketable Securities owned or controlled by Pacific Technology in which the Trust owns a beneficial
     interest on a similar schedule until the priority distribution of $815.7 million (plus accrued amounts)
 4
     under the PT LLCA in connection with the Preferred PT Units is paid to the Trust. The Distributable
 5
     Proceeds shall be distributed in accordance with the Distribution Waterfall.
 6           At any time upon the request of the managing member of Pacific Technology, and subject
     to applicable securities law, the Trustee shall distribute the Marketable Securities in kind to the
 7
     holders of Trust Interests in lieu of any cash distribution. The value of the Marketable Securities
 8
     shall be the average closing trading price for the five consecutive trading days immediately prior to
 9   the distribution.

10
                     (j)    Distribution Waterfall.
11           The Trust Assets shall be distributed as follows:
                           (i)     First, to repay the Exit Financing, if any, pursuant to the terms
12
                                    thereof and the Trust Agreement;
13                          (ii)    Second, to repay the DIP Facility if extended past the Effective Date
                                    pursuant to the terms of the DIP Note and the Trust Agreement;
14

15
                                    (iii) Third, to each holder of an Administrative Expense Claim,
16
                                    Priority Tax Claim, Priority Non-Tax Claim, or U.S. Secured Claim
17
                                    that has made a Trust Election, equal to the Allowed amount of such
18                                  Claim plus the applicable interest rate provided in the Trust
                                    Agreement;
19
                            (iv)    Fourth, to pay Trust Distributions allocated (x) 95% to holders of
20
                                    Allowed Debt Claims (including holders of Allowed China Secured
21                                  Claims treated as Allowed Debt Claims pursuant to Article 4.3 of the
                                    Plan) and (y) 5% to the Reorganized Debtor (or the economic
22
                                    equivalent of such Trust Distributions as set forth in the Trust
23
                                    Agreement), until each holder of an Allowed Debt Claim has received
24                                  aggregate Trust Distributions (in cash or in kind) pursuant

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                               Main    clause (iv) equal
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                                                            the full amount of such holder’s AllowedDebt
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                                         Claim Distribution Amount; and
                                (v)      Fifth, after all holders of Allowed Debt Claims (including holders of
                                         Allowed China Secured Claims treated as Allowed Debt Claims
                                         pursuant to Article 4.3 of the Plan) have received Trust
                                         Distributions equal to their respective Allowed Debt Claim
                                         Distribution Amounts, any remaining Trust Distributions shall be
                                         allocated between the holders of Allowed Debt Claims, including
                                         holders of Allowed China Secured Claims treated as Allowed Debt
                                         Claims pursuant to Article 4.3 of the Plan, (to be further allocated pro
                                         rata based on their respective Allowed Debt Claim Allocation
                                         Amounts) and the Reorganized Debtor, as follows:

                                                   The Reorganized               Holders of Allowed Debt
                                                   Debtor                        Claims
         Amounts less than $1B                     50%                           50%
         Amounts greater than $1B < $2B3           70%                           30%
         Amounts greater than $2B < $3B            80%                           20%
         Amounts greater than $3B < $4B            90%                           10%
         Amounts greater than $4B4                 95%                           5%
     3Upon reaching such distribution level, the Trust Agreement will be automatically amended to replace the Creditor Trust
     Committee with the Reorganized Debtor.
     4Upon reaching such distribution level, the Trust Agreement will be automatically amended to provide for a separation of
     the Reorganized Debtor’s interests in the Trust from the residual 5% interest of holders of Allowed Debt Claims.




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 1                    (k)     Future Equity Incentive Plan.
              In order to align incentives and reward the Reorganized Debtor for achieving FF’s strategic
 2
     goals, it is anticipated that a management incentive equity plan will be adopted to grant certain stock-
 3   based awards to or at the direction of the Reorganized Debtor upon the achievement of financial
     targets upon a Distribution Event, provided that the stock-based awards granted to the Reorganized
 4
     Debtor shall not exceed the awards set forth below without the consent of the Trustee (which consent
 5
     shall not be unreasonably withheld) (the “Future Equity Incentive Plan”). The total available equity
 6   awards under the Future Equity Incentive Plan will be as follows:

 7
         FF GlobalIntelligent Total Equity Value
                                                                  $5,000               $10,000             $21,000
                   (millions of USD):
 8
         Percentage of equity to be issued                            2%           Additional 3%         Additional 3%
 9           Nothing in the Plan shall be construed as to prohibit or restrict in any manner any subsequent

10
     3Upon reaching such distribution level, the Trust Agreement will be automatically amended to replace the Creditor Trust
11   Committee with the Reorganized Debtor.
     4Upon reaching such distribution level, the Trust Agreement will be automatically amended to provide for a separation of
12   the Reorganized Debtor’s interests in the Trust from the residual 5% interest of holders of Allowed Debt Claims.After such
     separation, holders of Allowed Debt Claims shall not receive any distribution from the Reorganized Debtor’s interests
     constituting 95% of amounts greater than $4 billion. The Reorganized Debtor shall not receive any distribution from the
13   residual 5% interest of holders of Allowed Debt Claims.

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            equity investment
                          MainorDocument
                                 equity incentive in FF
                                               Page     GlobalIntelligent
                                                      321 of 529          or any of its subsidiaries by
      any person; provided that in no event shall any equity incentive program adopted by FF
 1    GlobalIntelligent or any other direct or indirect subsidiary of Pacific Technology grant the
      Reorganized Debtor any equity interest greater than, or on terms more favorable than, the above
 2
      equity awards without the consent of the Trustee (which consent shall not be unreasonably
 3
      withheld).
 4
                      (l)    Call Option.
 5             Upon the occurrence of the Effective Date, the Call Option shall vest in the Trust free and clear
      of any and all liens, claims, encumbrances, contractual restrictions, and other interests pursuant to
 6
      section 363 of the Bankruptcy Code, provided that the Plan shall require (i) the Trustee to obtain the
 7
      consent of the Partner Executive Committee prior to any exercise or transfer of the Call Option by the
 8    Trust; and (ii) the Trustee, upon request by FF GP, to directly transfer or transfer the underlying
      economic rights of the Call Option (including by exercising the Call Option and thereafter conveying
 9
      the related shares in FF GlobalIntelligent to the applicable counterparty) as requested by FF GP in
10
      connection with a bona fide unrelated third-party financing, as follows: (x) 50% of the Call Option to
11    the counterparty to a bona fide unrelated third-party financing providing FF Global

12    After such separation, holders of Allowed Debt Claims shall not receive any distribution from the Reorganized Debtor’s
      interests constituting 95% of amounts greater than $4 billion. The Reorganized Debtor shall not receive any distribution
      from the residual 5% interest of holders of Allowed Debt Claims.
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           Intelligent and Main
                           its subsidiaries
                                 Document   with not less322
                                                  Page    thanof$100
                                                                 529million of net proceeds, (y) 100% of
      the Call Option to the counterparty to a bona fide unrelated third-party financing providing FF
 1    GlobalIntelligent and its subsidiaries with not less than $250 million of net proceeds, or (z) a ratable
      percentage of the Call Option to the counterparty to a bona fide unrelated third-party financing
 2
      providing FF GlobalIntelligent and its subsidiaries with net proceeds greater than $100 million and
 3
      less than $250 million (i.e., an additional 1% of the Call Option for each additional $3 million of net
 4    proceeds beyond $100 million) ((x), (y), or (z), a “Qualifying Financing”), provided that FF GP may
      request the Trustee to transfer the Call Option for a financing of FF GlobalIntelligent and its
 5
      subsidiaries other than a Qualifying Financing subject to the consent of Trustee and approval by a
 6
      majority of the Creditor Trust Committee in their respective business judgment. Any consideration
 7    paid, if any, in exchange for the transfer of the Call Option either as part of a separate transaction
      providing for such transfer or attributable to the transfer of the Call Option in a financing transaction,
 8
      whether in conjunction with a Qualifying Financing or otherwise, shall be paid directly to the Trust
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      and shall constitute Trust
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     Assets.

                  (m)     FF Information.
            The Trustee shall be provided certain information set forth in the Plan Term Sheet on a
     confidential, professional eyes only basis, which information the Trustee may share on a confidential
     and aggregated basis with the Creditor Trust Committee.

               6.3   Exit Financing.

            On the Effective Date, without the need for further action, the Trust shall enter into the Exit

     Financing on terms and conditions acceptable to the Committee and the Debtor.
            6.4    Sources of Cash for Plan Distributions.
            Except as otherwise provided in the Plan or Confirmation Order, all Cash required for
     payments to be made hereunder shall be obtained pursuant to the Debtor’s and Reorganized Debtor’s
     Cash balances (including any remaining proceeds from the DIP Facility), and the proceeds of the
     Exit Financing.

               6.5   Cancellation of Liens.

            Except as provided otherwise in the Plan, on the Effective Date and concurrently with the




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      applicable distributions made pursuant to the Plan, all Liens on assets located in the United States
 3
      that secure any U.S. Secured Claim shall be fully released, settled, discharged, and compromised
 4    and all rights, titles, and interests of any holder of such mortgages, deeds of trust, Liens, pledges, or
 5    other security interests against any property of the Estate shall revert to the Reorganized Debtor and
      his successors and assigns, and the holder of such U.S. Secured Claim shall be authorized and
 6
      directed, at the sole cost and expense of the Reorganized Debtor, to release any Collateral or other
 7    property of the Debtor (including any cash collateral and possessory collateral) held by such holder,
 8    and to take such actions as may be reasonably requested by the Reorganized Debtor to evidence the
      release of such Lien, including the execution, delivery, and filing or recording of such releases. The
 9
      filing of the Confirmation Order with any federal, state, provincial, or local agency or department
10    shall constitute good and sufficient evidence of, but shall not be required to effect, the termination
11    of such Liens.

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           6.6    Wei GanMain  Document
                           Settlement.        Page 325 of 529
           Pursuant to Bankruptcy Rule 9019, the Debtor, Wei Gan, and the Committee have settled all
      Claims of the Debtor’s wife, Wei Gan, against the Debtor and all of the Debtor’s claims against Wei
      Gan (the “Wei Gan Settlement”); provided, however, that pursuant to the divorce proceeding
      pending in the People’s Court of Chaoyang District, Beijing, China Wei Gan and the Debtor’s three
      minor children may be awarded child support (the “Wei Gan Domestic Support Obligations”), which
      obligations shall be satisfied in accordance with Article 2.4 of the Plan. In exchange for, and subject
      to (a) a Cash contribution from Wei Gan in the amount of $1,000,000 to the Trust on the Effective
      Date, which shall constitute Trust Assets (the “Effective Date Wei Gan Payment”), (b) a Cash
      payment of $250,000 to the Trust no later than ninety (90) days after the Effective Date (the “Second
      Wei Gan Payment”), (c) Wei Gan’s agreement not to assert any other prepetition or postpetition
      Claims against the Debtor (excluding the Wei Gan Domestic Support Obligations) or the Trust, and
      (d) execution of the Wei Gan Declaration (collectively, (a), (b), (c), and (d) are the “Wei Gan Release
      Consideration”), the following shall occur:




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                      (a)        Upon the Effective Date Wei Gan Payment, (i) the China Debtor Covenant
 3
      shall apply to Wei Gan; and (ii) Wei Gan’s alleged Debt Claim against the Debtor [Claim No. 20004]
 4    shall be treated as an Allowed Debt Claim in the amount of $250,000,000.
 5                    (b)        Upon the Second Wei Gan Payment, (the date upon which the foregoing
      condition occurs is the “Wei Gan Liability Release Date”), (i) Wei Gan’s alleged Debt Claim against
 6
      the Debtor [Claim No. 20004] shall be treated as an Allowed Debt Claim in the amount of
 7    $500,000,000; and (ii) each holder of an (xi) Allowed Late Filed Debt Claim, on the date of allowance
 8    of such Late Filed Debt Claim or (yii) Allowed Debt Claim
      (Ax) shall, in addition to the discharge of community claims under section 524(a) of the Bankruptcy
 9
      Code, be deemed to have released any Causes of Action against Wei Gan for personal liability or
10    derivatively in its capacity as a creditor of a claim owed solely or jointly by Wei Gan (including
11    unwinding or alter ego type claims) in any jurisdiction (the “Wei Gan Claims”) on account of such
      Debt Claim or Late Filed Debt Claim to the maximum extent permitted by applicable law and (B)
12
      agrees that it shall not
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     (y) agrees that it shall Main
                              not assert any new, or
                                    Document         continue
                                                   Page       to prosecute
                                                         327 of  529       any existing, Wei Gan Claims
      related to such Debt Claim or Late Filed Debt Claim in every jurisdiction.
 1           Within ninety (90) days after the Wei Gan Liability Release Date with respect to an Allowed
      Debt Claim or the date of allowance of an Allowed Late Filed Debt Claim, each holder of an
 2
      Allowed Debt Claim or Allowed Late Filed Debt Claim shall (as a condition to receiving further
 3
      Trust Distributions, including any Trust Distributions upon the termination or dissolution of the
 4    Trust) (a) withdraw or retract any litigations, enforcement actions, arbitrations, and any other
      proceedings against Wei Gan from the courts and judicial authorities in all jurisdictions, including,
 5
      but not limited to, the Chinese Courts, or confirm with the judicial authorities that Wei Gan has
 6
      settled all of her debt obligations or legal responsibilities to such holder and (b) file and execute any
 7    documents requested by Wei Gan to evidence the above release. Wei Gan reserves all rights to seek
      enforcement by the Chinese judicial authorities of the rights provided herein.
 8
             In connection with the releases described in this Article 6.6, each holder of an Allowed
 9
      Debt Claim and/or Allowed Late Filed Debt Claim shall waive all rights conferred by the
10    provisions of section 1542 of the California Civil Code and/or any similar state or federal law.
      Section 1542 of the California Civil Code provides as follows: “A GENERAL RELEASE DOES
11
      NOT EXTEND TO CLAIMS WHICH THE CREDITOR DOES NOT KNOW OR
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     SUSPECT TO EXIST IN HIS OR HER FAVOR AT THE TIME OF EXECUTING THE
 1
     RELEASE, WHICH IF KNOWN BY HIM OR HER MUST HAVE MATERIALLY
 2
     AFFECTED HIS OR HER SETTLEMENT WITH THE DEBTOR.”
 3          Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval,
     pursuant to Bankruptcy Rule 9019, of the releases described in this Article 6.6, which includes
 4
     by reference each of the related provisions and definitions contained in the Plan, and further,
 5
     shall constitute its finding that each release described in Article 6.6 is: (a) in exchange for the
 6   good and valuable consideration provided by Wei Gan, a good faith settlement and compromise
     of such claims; (b) in the best interests of the Debtor and all holders of Claims; (c) fair, equitable,
 7
     and reasonable; (d) given and made after due notice and opportunity for hearing; and (e) except
 8
     as otherwise provided in the Plan, a bar to any holder of an Allowed
 9           Debt Claim or Allowed Late Filed Debt Claim asserting any Claim, Cause of Action, or
     liability related thereto, of any kind whatsoever, against Wei Gan.
10
            6.7   Declarations.
11
            On or before the Effective Date, the Debtor and Wei Gan, as applicable, shall execute
12   declarations, in form and substance reasonably acceptable to the Committee, regarding the below
     representations (respectively, the “YT Declaration” and the “Wei Gan Declaration” and collectively,
13
     the “Declarations”):
14
            (a) The Debtor owns 100% of the issued and outstanding economic interests in West Coast
15   LLC (“West Coast”) through a nominee, Lian Bossert.
            (b) The sole asset of West Coast is 100% of the Preferred PT Units of Pacific Technology,
16
     which comprise 20% of the currently issued and outstanding membership interests of Pacific
17
     Technology.
18
            (c) Pacific Technology is the sole owner of FF Peak.
19
            (d) FF Peak is the sole owner of FF Top.
20          (e) FF Top owns 40.8% of the issued and outstanding Class B shares of FF GlobalIntelligent
     (the “FF GlobalIntelligent Shares”).
21
            (f) The Debtor has a contractual right to direct Pacific Technology to direct FF Peak to
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 1   direct FF Top to transfer the Trust FF GlobalIntelligent Shares to the Trust.

 2            (g) Pursuant to Section 16 of the PT LLCA, the Preferred PT Units entitle West Coast to

 3   receive certain distributions of capital from Pacific Technology from time to time (the “Preferred
     Unit Distribution Rights”),5 consisting of (1) a priority distribution of up to $815.7 million, plus
 4
     interest at 8% per annum, after the return of capital to the management (plus 8% interest per annum)
 5
     but before any other capital is distributed from Pacific Technology, plus (2) a special distribution
 6
     of 10% of all remaining distributions of capital from Pacific Technology, plus (3) its pro rata share
 7
     (i.e., 20%) of all remaining distributions of capital from Pacific Technology.
 8            (h) The Debtor owns the Call Option pursuant to the Restructuring Agreement, entitling the
     5The description of the Preferred Unit Distribution Rights in the Plan is not intended to limit the actual terms of Section
 9   16 of the PT LLCA.

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     Debtor to purchase Season Smart’s shares in FF GlobalIntelligent under certain circumstances.

 1            (i) The Debtor is the sole owner of Ford Field.

 2            (j) The Debtor and Wei Gan own no direct or indirect ownership interests in (including

 3   through any nominee, trust, or similar arrangement), do not directly or indirectly control, and do

 4   not hold a beneficial interest in any of the entities listed on Schedule D attached hereto, or any of

 5   their respective parent companies or subsidiaries.
                                                    ARTICLE VII
 6
                                                 PLAN DISTRIBUTIONS
 7
              7.1      Plan Distributions.
 8
              The Debtor shall make all Plan Distributions to the appropriate holders of Allowed Claims
 9
     in accordance with the terms of the Plan.
10            7.2      Allocation of Plan Distributions Between Principal and Interest.

11            The aggregate consideration to be distributed to the holders of Allowed Claims under the

12   Plan shall be treated as first satisfying an amount equal to the stated principal amount of the

13   Allowed Claims of such holders, as determined for federal income tax purposes, and any remaining

14   consideration as satisfying accrued, but unpaid, interest, if any.

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     5The description of the Preferred Unit Distribution Rights in the Plan is not intended to limit the actual terms of Section
17   16 of the PT LLCA.


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19            7.3      No Postpetition Interest on Claims.

20            Other than as specifically provided in the Plan, Confirmation Order, or other order of the
              Bankruptcy Court, or required by applicable bankruptcy or non-bankruptcy law,
21   postpetition interest shall not accrue or be paid on any prepetition Claim, and no holder of a

22   prepetition Claim shall be entitled to interest accruing on such Claim on or after the Petition Date.

23            7.4      Date of Plan Distributions.

24            Except as otherwise provided herein, any distributions and deliveries to be made under the
              Plan shall be made on the Effective Date or as soon as practicable thereafter. In the event
25   that any payment or act under the Plan is required to be made or performed on a date that is not a

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     Business Day, the making
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                                such payment or the performance
                                             Page    331 of 529 of such act may be completed on the
      next succeeding Business Day, but shall be deemed to have been completed as of the required date.




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            7.5            Main Record
                   Distribution  Document
                                        Date. Page 332 of 529
            As of the close of business on the Distribution Record Date, the various lists of holders of
      Claims in each of the Classes, as maintained by the Debtor, shall be deemed closed and there shall
      be no further changes in the record holders of any of the Claims after the Distribution Record Date.
 2
      The Debtor shall have no obligation to recognize any transfer of Claims occurring after the close of
 3    business on the Distribution Record Date. The Debtor and the Reorganized Debtor, as applicable,
 4    shall be entitled to recognize and deal for all purposes hereunder only with those holders stated on
      the transfer ledgers as of the close of business on the Distribution Record Date, to the extent
 5
      applicable.
 6
              7.6    Delivery of Plan Distribution.
 7            Subject to the provisions contained in this Article VII and subject to Bankruptcy Rule 9010,
      the Debtor shall make all Plan Distributions or payments to any holder of an Allowed Claim as and
 8
      when required by the Plan at: (a) the address of such holder on the books and records of the Debtor or
 9    his agents; or (b) the address in any written notice of address change delivered to the Debtor, including
10    any addresses included on any filed proofs of Claim or transfers of Claim filed with the Bankruptcy
      Court. In the event that any Plan Distribution to any holder is returned as undeliverable, no distribution
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      or payment to such holder shall be made unless and until the Debtor has been
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      notified of the then current address of such holder, at which time or as soon as reasonably practicable
 3
      thereafter such Plan Distribution shall be made to such holder without interest; provided, however,
 4    such Plan Distributions or payments shall be deemed unclaimed property under section 347(b) of the
 5    Bankruptcy Code at the expiration of one year from the Effective Date.

 6           7.7    Unclaimed Property.
             Except with respect to the Trust Interests held in the Trust, one year from the later of: (a) the
 7    Effective Date, and (b) the date that a Claim is first Allowed, all unclaimed property or interests in
 8    property distributable hereunder on account of such Claim shall revert to the Reorganized Debtor or
      the successors or assigns of the Reorganized Debtor, and any claim or right of the holder of such
 9
      Claim to such property or interest in property shall be discharged and forever barred. The
10    Reorganized Debtor shall have no obligation to attempt to locate any holder of an Allowed Claim
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            other than by reviewing the Debtor’s
                          Main Document          books
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                                                             529 the proofs of Claim filed against
      the Debtor, as reflected on the claims register maintained by the Voting Agent, and any change of
      address reflected on the docket of the Chapter 11 Case.

             7.8    Satisfaction of Claims.
             Unless otherwise provided herein, any Plan Distributions and deliveries to be made on
      account of Allowed Claims hereunder shall be in complete settlement, satisfaction, and discharge of
      such Allowed Claims.

             7.9    Manner of Payment Under Plan.
             Except as specifically provided herein, at the option of the Reorganized Debtor, any Cash
      payment to be made hereunder may be made by a check or wire transfer or as otherwise required
      or provided in applicable agreements or customary practices of the Debtor or the Reorganized
      Debtor.

             7.10 No Distribution in Excess of Amount of Allowed Claim.
             Notwithstanding anything to the contrary herein, no holder of an Allowed Claim shall, on
      account of such Allowed Claim, receive a Plan Distribution of a value in excess of the Allowed
      amount of such Claim plus any postpetition interest on such Claim, to the extent such interest is
      permitted by Article 7.3 of the Plan.




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             If on and after the date on which the claim of any holder of an Allowed Claim is paid in full
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      in accordance with the terms of the Plan, any such Allowed Claim shall thereafter be deemed to be
 4    and in fact, paid in full in its entirety. Furthermore, to the extent any holder of an Allowed Claim
 5    has security or possession of any property or assets of the Debtor or any other Person or Entity, after
      such Claim is paid in full, such holder shall release and/or return any such property or assets to the
 6
      Debtor or such other Person or Entity.
 7           In accordance with applicable law, if a holder of an Allowed Debt Claim (including an
 8    Allowed China Secured Claim treated as an Allowed Debt Claim pursuant to Article 4.3 of the Plan)
      is paid in part in accordance with the terms of the Plan and such holder subsequently receives Other
 9
      Distributions, the maximum amount to be distributed to such holder on account of Other
10    Distributions will be equal to the amount of the Allowed Debt Claim less the partial payments that
11    have been made to such holder through the Trust.
             If on and after the date on which a holder of an Allowed Debt Claim is paid in part in
12
      accordance with the terms of the Plan, then the aggregate amount distributed to such holder on
13    account of Other Distributions will be equal to the proceeds received from the Other Distributions
14    less the partial payments that have been made to such holder through the Trust.

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            7.11 Setoffs and   Document
                             Recoupments.    Page 336 of 529
                   (a)       Except as expressly provided in the Plan, the Reorganized Debtor may,
      pursuant to section 553 of the Bankruptcy Code set off and/or recoup against any Plan Distributions
      to be made on account of any Allowed Claim, any and all claims, rights, and Causes of Action that
      such Reorganized Debtor may hold against the holder of such Allowed Claim to the extent such
      setoff or recoupment is either (i) agreed in amount among the Reorganized Debtor and the holder of
      such Allowed Claim or (ii) otherwise adjudicated by the Bankruptcy Court or another court of
      competent jurisdiction; provided, however, that neither the failure to effectuate a setoff or
      recoupment nor the allowance of any Claim hereunder shall constitute a waiver or release by the
      Reorganized Debtor or its successor of any and all claims, rights, and Causes of Action that the
      Reorganized Debtor or its successor may possess against the applicable holder. For the avoidance
      of doubt, nothing in the Plan shall affect the right of any holder of a Claim against the Debtor that
      is evidenced by a timely filed proof of Claim to seek an order of the Bankruptcy Court authorizing
      such holder to set off such Claim against any claim, right, or Cause of Action of the Debtor that
      arose prior to the Petition Date.




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                     (b)     In no event shall any holder of Claims against the Debtor be entitled to recoup
 3
      any such Claim against any claim, right, or Cause of Action of the Debtor or the Reorganized Debtor,
 4    as applicable, unless such holder actually has performed such recoupment and provided notice
 5    thereof in writing to the Debtor in accordance with Article 13.22 of the Plan on or before the
      Effective Date, notwithstanding any indication in any proof of claim or otherwise that such holder
 6
      asserts, has, or intends to preserve any right of recoupment.
 7
             7.12 Withholding and Reporting Requirements.
 8           In connection with the Plan and all Plan Distributions hereunder, the Reorganized Debtor shall
      comply with all withholding and reporting requirements imposed by any federal, state, local, or foreign
 9
      taxing authority, and all Plan Distributions hereunder shall be subject to any such withholding and
10    reporting requirements. The Reorganized Debtor shall be authorized to take any and all actions that
11    may be necessary or appropriate to comply with such withholding and reporting requirements,
      including, without limitation, liquidating a portion of any Plan Distribution to
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            generate sufficient
                          Main funds to pay applicable
                                Document     Page 338withholding
                                                       of 529    taxes or establishing any other
      mechanisms the Debtor or Reorganized Debtor believe are reasonable and appropriate, including
      requiring a holder of a Claim to submit appropriate tax and withholding certifications.
      Notwithstanding any other provisions of the Plan: (a) each holder of an Allowed Claim that is to
      receive a Plan Distribution shall have sole and exclusive responsibility for the satisfaction and payment
      of any tax obligations imposed by any governmental unit, including income, withholding, and other
      tax obligations on account of such distribution; and (b) no distribution shall be required to be made to
      or on behalf of such holder pursuant to the Plan unless and until such holder has made arrangements
      satisfactory to the Reorganized Debtor for the payment and satisfaction of such tax obligations or has,
      to the Reorganized Debtor’s satisfaction, established an exemption therefrom.

             7.13 Claims Paid by Third Parties.
                    (a)   Claims Paid by Third Parties. Except as otherwise provided in the Plan, the
      Debtor or Reorganized Debtor, as applicable, shall reduce in full a Claim, and such Claim shall be
      Disallowed without an objection having to be filed and without any further notice to, or action, order,
      or approval of the Bankruptcy Court, to the extent that the holder of such Claim receives




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 1   payment (before or after the Effective Date) on account of such Claim from a party that is not the

 2   Debtor or Reorganized Debtor. To the extent a holder of a Claim receives a distribution on account

 3   of such Claim and receives payment from a party that is not the Debtor or Reorganized Debtor on

 4   account of such Claim, such holder shall, within ten (10) days of receipt thereof, repay or return

 5   the distribution to the Debtor or Reorganized Debtor, to the extent the holder’s total recovery on

 6   account of such Claim from the third party and under the Plan exceeds the Allowed amount of such

 7   Claim as of the date of any such distribution under the Plan. In the event such holder fails to timely

 8   repay or return such distribution, the Debtor, the Reorganized Debtor, or the Trustee, as applicable,

 9   may pursue any rights and remedies against such holder under applicable law.

10                  (b)     Applicability of Insurance Policies. Except as otherwise provided in the
     Plan, distributions to holders of Allowed Claims shall be in accordance with the provisions of any
11
     applicable insurance policy. Pursuant to section 524(e) of the Bankruptcy Code, nothing contained
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     in the Plan shall constitute or be deemed a waiver of any Cause of Action that the Debtor, the
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     Reorganized Debtor, or any Entity may hold against any other Entity under any insurance policies,

 1   including against insurers, nor shall anything contained in the Plan constitute or be deemed a waiver

 2   by such insurers of any defenses, including coverage defenses, held by such insurers.
                                      ARTICLE VIII
 3
                        PROCEDURES FOR RESOLVING DISPUTED CLAIMS
 4            8.1    Objections to Claims; Estimation of Claims.

 5            Except insofar as a Claim is Allowed under the Plan, the Debtor or the Reorganized Debtor,

 6   as applicable, shall be entitled to object to Claims. No other Entity shall be entitled to object to

 7   Claims after the Effective Date. Any objections to Claims shall be served and filed on or before (a)

 8   the one-hundred eightieth (180th) day following the later of (i) the Effective Date and (ii) the date

 9   that a proof of Claim is filed or amended or a Claim is otherwise asserted or amended in writing by

10   or on behalf of a holder of such Claim, or (b) such later date as may be fixed by the Bankruptcy

11   Court.

12            The Reorganized Debtor may at any time request that the Bankruptcy Court estimate any

13   contingent or unliquidated Claim pursuant to section 502(c) of the Bankruptcy Code, except that

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     the Reorganized Debtor may not request estimation of any non-contingent or liquidated Claim if

 1    the Debtor’s objection to such Claim was previously overruled by a Final Order, and the
     Bankruptcy Court shall retain jurisdiction to estimate any Claim at any time during litigation
 2   concerning any objection to any Claim, including, without limitation, during the pendency of any
     appeal relating to any such objection. In the event that the Bankruptcy Court estimates any
 3   contingent or unliquidated Claim, the amount so estimated shall constitute either the Allowed
     amount of such Claim or a maximum limitation on such Claim, as determined by the Bankruptcy
 4   Court. If the estimated amount constitutes a maximum limitation on the amount of such Claim, the
     Reorganized Debtor may pursue supplementary proceedings to object to the allowance of such
 5   Claim. Notwithstanding section 502(j) of the Bankruptcy Code, in no event shall any holder of a
     Claim that has been estimated pursuant to section 502(c) of the Bankruptcy Code or otherwise be
 6   entitled to seek reconsideration of such estimation unless such holder has filed a motion requesting
     the right to seek such reconsideration on or before twenty-one (21) days after the date on which
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     such Claim is estimated. All of the aforementioned objection, estimation, and resolution procedures
 1
     are intended to be cumulative and not exclusive of one another. Claims may be estimated and
 2
     subsequently compromised, settled, withdrawn, or resolved by any mechanism approved by the
 3   Bankruptcy Court.

 4          8.2    Payments and Distributions on Disputed Claims.
            If an objection to a Claim is filed as set forth in Article 8.1, no payment or distribution
 5
     provided under the Plan shall be made on account of such Claim unless and until such Disputed
 6   Claim becomes an Allowed Claim.
            At such time as a Disputed Claim becomes an Allowed Claim or as soon as practicable
 7
     thereafter, the Debtor shall distribute to the holder of such Allowed Claim the property distributable
 8
     to such holder pursuant to Article IV of the Plan; provided, however, that the timing of distributions
 9   to holders of Allowed Debt Claims in Class 4 shall be governed in all respects by Article 6.2 of the
     Plan. To the extent that all or a portion of a Disputed Claim is Disallowed, the holder of such Claim
10
     shall not receive any distribution on account of the portion of such Claim that is Disallowed.
11
     Notwithstanding any other provision of the Plan, no interest shall accrue or be Allowed on any
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     Claim during the period after the Petition Date, except to the extent that section 506(b) of the
 1
     Bankruptcy Code permits interest to accrue and be Allowed on such Claim.
 2
            8.3    Preservation of Claims and Rights to Settle Claims.
 3          Except as otherwise provided in the Plan (including with respect to the Yidao Claims and as
     set forth in Article 11.4 of the Plan), or in any contract, instrument, or other agreement or document
 4
     entered into in connection with the Plan, including the Plan Supplement, in accordance with section
 5
     1123(b) of the Bankruptcy Code, the Reorganized Debtor shall retain and may enforce, sue on, settle,
 6   compromise, otherwise resolve, discontinue, abandon, or dismiss any and all claims, counterclaims,
     defenses, and rights (including setoff rights) that may be asserted in the Causes of Action, suits, and
 7
     proceedings listed on Schedule A attached hereto (including any supplement to Schedule A included
 8
     in the Plan Supplement) (collectively, the “Retained Actions”), whether at law or in equity, whether
 9   known or unknown, that the Debtor or his Estate may hold against any Entity (other than Claims,
     rights, Causes of Action, suits, and proceedings released pursuant to
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            Articles 6.6, 11.4,
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                                  11.9 of the Plan),
                                                Page without
                                                      344 ofthe approval of the Bankruptcy Court, the
                                                              529
      Confirmation Order, and any contract, instrument, release, indenture, or other agreement entered into
      in connection herewith.

             The Reorganized Debtor expressly reserves all rights to prosecute any and all Retained
             Actions against any Entity. Unless any Retained Action against an Entity is expressly waived,
      relinquished, exculpated, released, compromised, or settled in the Plan or a Bankruptcy Court order,
      the Reorganized Debtor expressly reserves all Retained Actions for later adjudication, and, therefore,
      no preclusion doctrine, including the doctrines of res judicata, collateral estoppel, issue preclusion,
      claim preclusion, estoppel (judicial, equitable, or otherwise), or laches shall apply to such Retained
      Action upon, after, or as consequence of, confirmation or consummation of the Plan. For the avoidance
      of doubt, all claims, Causes of Action, suits, and proceedings of the Debtor that are not Retained
      Actions are waived as of the Effective Date. Any proceeds received on account of any Retained Action
      shall be transferred to the Trust and be considered Trust Assets.




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 1           8.4    Expenses Incurred On or After the Effective Date.

 2          Except as otherwise ordered by the Bankruptcy Court, and subject to the written agreement

 3   of the Reorganized Debtor, the amount of reasonable expenses incurred by any Professional or the

 4   Voting Agent on or after the Effective Date in connection with implementation of the Plan,

 5   including, without limitation, reconciliation of, objection to, and settlement of Claims, shall be paid

 6   in Cash by the Reorganized Debtor.
                                     ARTICLE IX
 7
                       EXECUTORY CONTRACTS AND UNEXPIRED LEASES
 8
             9.1    Assumption of Contracts and Leases.
 9
            As of and subject to the occurrence of the Effective Date and the payment of any applicable
10
     Cure Amount, all executory contracts and unexpired leases of the Debtor listed on Schedule B
11
     attached hereto (including any supplement to Schedule B included in the Plan Supplement) shall
12
     be deemed assumed except that: (a) any executory contracts and unexpired leases that previously
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     have been assumed or rejected pursuant to a Final Order of the Bankruptcy Court shall be treated
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     as provided in such Final Order; (b) any executory contracts and unexpired leases listed on the
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     Schedule of Rejected Contracts and Leases, shall be deemed rejected as of the Effective Date; and

 1   (c) all executory contracts and unexpired leases that are the subject of a separate motion to assume

 2   or reject under section 365 of the Bankruptcy Code pending on the Effective Date shall be treated

 3   as provided for in the Final Order resolving such motion.

 4          Subject to the occurrence of the Effective Date, entry of the Confirmation Order by the

 5   Bankruptcy Court shall constitute approval of the assumptions and rejections described in this

 6   Article 9.1 pursuant to sections 365(a) and 1123 of the Bankruptcy Code. Each executory contract

 7   and unexpired lease assumed pursuant to this Article 9.1 shall revest in and be fully enforceable by

 8   the Reorganized Debtor in accordance with its terms, except as modified by the provisions of the

 9   Plan, or any order of the Bankruptcy Court authorizing and providing for its assumption, or

10   applicable federal law. The pendency of any motion to assume or reject executory contracts or

11   unexpired leases shall not prevent or delay implementation of the Plan or the occurrence of the

12   Effective Date.

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            Unless otherwise provided in the Plan, each executory contract and unexpired lease that is
 1
     assumed shall include all modifications, amendments, supplements, restatements, or other
 2
     agreements that in any manner affect such executory contract or unexpired lease, including all
 3   easements, licenses, permits, rights, privileges, immunities, options, rights of first refusal, and any
     other interests, unless any of the foregoing agreements has been previously terminated or is
 4
     otherwise not in effect. Modifications, amendments, supplements, and restatements to prepetition
 5
     executory contracts or unexpired leases that have been executed by the Reorganized Debtor during
 6   the Chapter 11 Case shall not be deemed to alter the prepetition nature of the executory contract or
     unexpired lease.
 7
            9.2    Claims Based on Rejection of Executory Contracts or Unexpired Leases.
 8
            Proofs of Claim with respect to all Claims arising from the rejection of Executory Contracts
 9   must be filed within sixty (60) days after the later of (a) the date of entry of an order of the
     Bankruptcy Court approving such rejection or (b) the Confirmation Date. Any Claims not filed
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     within such times shall be forever barred from assertion against the Debtor, the Reorganized Debtor,
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     the Estate, and the property thereof. Unless otherwise ordered by the Bankruptcy Court, all
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            such Claims shall
                        Mainbe  allowed in accordance
                              Document     Page 348 ofwith
                                                        529provisions of the Bankruptcy Code,
     including section 502(b)(6), and shall, following their allowance and payment pursuant to the terms
     of the Plan, be Unimpaired and be treated as Allowed Debt Claims in Class 4.

            9.3     Cure of Defaults for Assumed Executory Contracts and Unexpired Leases.
                    (a)    Except to the extent that less favorable treatment has been agreed to by the
     non-Debtor party or parties to each such executory contract or unexpired lease to be assumed
     pursuant to the Plan, any monetary defaults arising under such executory contract or unexpired lease
     shall be satisfied, pursuant to section 365(b)(1) of the Bankruptcy Code, by payment of the
     appropriate amount (the “Cure Amount”) in full in Cash on the later of thirty (30) days after: (i) the
     Effective Date or (ii) the date on which any Cure Dispute relating to such Cure Amount has been
     resolved (either consensually or through judicial decision).
                    (b)     No later than ten (10) calendar days prior to the commencement of the
     Confirmation Hearing, the Debtor shall file a schedule (the “Cure Schedule”) setting forth the Cure



     Amount, if any, for each executory contract and unexpired lease to be assumed pursuant to Article
     9.1 of the Plan, and serve such Cure Schedule on each applicable counterparty. Any party that fails
     to object to the applicable Cure Amount listed on the Cure Schedule within ten (10) calendar days
     of the filing thereof, shall be forever barred, estopped, and enjoined from disputing the Cure Amount
     set forth on the Cure Schedule (including a Cure Amount of $0.00) and/or from asserting any Claim
     against the Debtor or Reorganized Debtor arising under section 365(b)(1) of the Bankruptcy Code
     except as set forth on the Cure Schedule.
                    (c)     In the event of a dispute (each, a “Cure Dispute”) regarding: (i) the Cure
     Amount; (ii) the ability of the Reorganized Debtor to provide “adequate assurance of future
     performance” (within the meaning of section 365 of the Bankruptcy Code) under the contract or
     lease to be assumed; or (iii) any other matter pertaining to the proposed assumption, the cure
     payments required by section 365(b)(1) of the Bankruptcy Code shall be made following the entry
     of a Final Order resolving such Cure Dispute and approving the assumption in accordance with
     Article 9.3(a). To the extent a Cure Dispute relates solely to the Cure Amount, the Debtor may
     assume and/or assume and assign the applicable contract or lease prior to the resolution of the Cure




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                          provided that the Debtor
                              Document       Pagereserves Cash in an amount sufficient to pay the
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      full amount asserted as the required cure payment by the non-Debtor party to such contract or lease
      (or such smaller amount as may be fixed or estimated by the Bankruptcy Court). To the extent the
      Cure Dispute is resolved or determined against the Debtor or Reorganized Debtor, as applicable, the
      Debtor or Reorganized Debtor, as applicable, may reject the applicable executory contract or
      unexpired lease within ten (10) Business Days after such determination by filing and serving upon
      the counterparty a notice of rejection, and the counterparty may thereafter file a proof of claim in
      the manner set forth in Article 9.2 hereof.

             9.4     Insurance Policies.
             All insurance policies pursuant to which the Debtor has any obligations in effect as of the
      Effective Date shall be deemed and treated as executory contracts pursuant to the Plan and shall be
      assumed by the Debtor (and assigned to the Reorganized Debtor if necessary to continue such
      insurance policies in full force) pursuant to section 365 of the Bankruptcy Code and shall continue




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 1   in full force and effect.
             9.5     Reservation of Rights.
 2
             Neither the exclusion nor inclusion of any contract or lease on any exhibit to the Plan
 3
     Supplement, nor anything contained in the Plan, shall constitute an admission by the Debtor that
 4
     any agreement, contract, or lease is an executory contract or unexpired lease subject to Article IX
 5
     of the Plan, as applicable, or that the Debtor or Reorganized Debtor has any liability thereunder.
 6
             The Debtor and Reorganized Debtor, as applicable, reserve the right to alter, amend,
 7
     modify, or supplement the Schedule of Rejected Contracts and Leases until and including the
 8
     Effective Date or as otherwise provided by Bankruptcy Court order; provided, however, that if there
 9
     is a dispute regarding whether a contract or lease is or was executory or unexpired at the time of
10
     assumption, assumption and assignment, or with respect to the asserted Cure Amount, then the
11
     Reorganized Debtor shall have thirty (30) days following entry of a Final Order resolving such
12
     dispute to amend the decision to assume, or assume and assign, such executory contract or
13
     unexpired lease.
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            9.6         Main Obligations
                 Pre-existing Document to Debtor
                                          Page 351  of Executory
                                                 Under 529       Contracts and Unexpired
                 Leases
 1
            Rejection of any executory contract or unexpired lease pursuant to the Plan or otherwise
 2
     shall not constitute a termination of pre-existing obligations owed to the Debtor under such
 3
     contracts or leases. In particular, notwithstanding any non-bankruptcy law to the contrary, the
 4
     Reorganized Debtor expressly reserves and does not waive any right to receive, or any continuing
 5
     obligation of a counterparty to provide, warranties or continued maintenance obligations on goods
 6
     previously purchased by the Debtor contracting from non-Debtor counterparties to rejected
 7
     executory contracts or unexpired leases.
 8
            9.7    Contracts and Leases Entered into After the Petition Date.
 9
            Contracts and leases entered into after the Petition Date by the Debtor in the ordinary course
10
     of business or following approval pursuant to a Bankruptcy Court order, including any executory
11
     contracts and unexpired leases assumed by the Debtor, shall be performed by the Debtor or
12
     Reorganized Debtor, as the case may be, in the ordinary course of business. Accordingly, such
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 1   contracts and leases (including any assumed executory contracts and unexpired leases) shall survive

 2   and remain unaffected by entry of the Confirmation Order.
                                 ARTICLE X
 3
        CONDITIONS PRECEDENT TO CONFIRMATION AND THE EFFECTIVE DATE
 4
            10.1 Conditions Precedent to Confirmation.
 5
            It shall be a condition to confirmation of the Plan that the following conditions shall have
 6
     been satisfied in full or waived in accordance with Article 10.3 of the Plan:
 7
                 (a)     The Disclosure Statement shall have been approved by the Bankruptcy Court
 8
     as having adequate information in accordance with section 1125 of the Bankruptcy Code; and
 9
                  (b)    The Confirmation Order shall have been entered on the docket for the
10
     Chapter 11 Case and be in full force and effect.
11          10.2 Conditions Precedent to the Effective Date.

12          The Effective Date shall not occur and the Plan shall not become effective unless and until

13   the following conditions have been satisfied in full or waived in accordance Article 10.3 of the

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     Plan:

 1           (a)     The Confirmation Order shall have become a Final Order in full force and
             effect;
 2
             (b)    The Discharge Date shall have occurred;
 3
             (c)   The documents comprising the Plan Supplement, including the Trust
 4           Agreement,

 5   shall, to the extent applicable, have been executed and delivered, and any conditions (other than

 6   the occurrence of the Effective Date or certification that the Effective Date has occurred) contained

 7   therein shall have been satisfied or waived in accordance therewith;

 8           (d)    All necessary actions, consents, documents, certificates, and agreements
             necessary
 9
     to implement the Plan on the Effective Date, including any consents of Pacific Technology and its
10
     managing member, shall have been effected or executed and delivered to the required parties and,
11
     to the extent required, filed with the applicable governmental units in accordance with applicable
12
     laws;
13
             (e)   All applicable governmental authorities shall have granted any necessary
14           consents

15   and approvals required for the Debtor to emerge from chapter 11 pursuant to the Plan and any

16

17   statutory waiting periods shall have expired;

18           (f)  the Trust shall have access to funding under the Exit Financing and all
             amounts
19
     necessary to make any payments required to be made in connection with the Plan (including,
20
     without limitation, Administrative Expense Claims and approved professional fees) shall be
21
     deposited into escrow; and
22
             (g)    the Declarations shall have been delivered to the Committee.
23
             10.3 Waiver of Conditions Precedent.
24
             Each of the conditions precedent in Articles 10.1 and 10.2 of the Plan may be waived, in
25
     whole or in part, by the Debtor in writing, without notice to any other third parties or order of the
26                                                  - 82 -

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     Bankruptcy Court or any other
                          Main     formal action;
                                Document          provided,
                                               Page   354 ofhowever,
                                                              529 that the condition precedent in
      Article 10.2(g) of the Plan may be waived, in whole or in part, by the Debtor, only with the

      reasonable consent of the Committee.
             10.4 Effect of Non-Occurrence of the Effective Date.

             If the conditions listed in Articles 10.1 and 10.2 are not satisfied or waived in accordance




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     with Article 10.3, then (a) the Confirmation Order shall be of no further force or effect; (b) the Plan

 1   shall be null and void in all respects; (c) no distributions under the Plan shall be made; (d) no

 2   executory contracts or unexpired leases that were not previously assumed, assumed and assigned,

 3   or rejected shall be deemed assumed, assumed and assigned, or rejected by operation of the Plan;

 4   (e) the Debtor and all holders of Claims shall be restored to the status quo ante as of the day
     immediately preceding the Confirmation Date; and (f) nothing contained in the Plan or the
 5
     Disclosure Statement shall (i) be deemed to constitute a waiver or release of (x) any Claims against
 6
     the Debtor or (y) any claims belonging to the Debtor, (ii) prejudice in any manner the rights of the
 7
     Debtor or any other Entity, or (iii) constitute an admission, acknowledgment, offer, or undertaking
 8
     by the Debtor in any respect.
 9
                                            ARTICLE XI
10                                    EFFECT OF CONFIRMATION

11          11.1 Vesting of Assets.

12          Except as otherwise provided in the Plan (including with respect to the Trust Assets as set

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     forth in Article 6.2 of the Plan), as of the Effective Date, all property of the Estate, and any property

 1
     acquired by the Debtor or Reorganized Debtor under the Plan, shall vest in the Reorganized Debtor,
 2
     free and clear of all Claims, Liens, charges, other encumbrances and interests. On and after the
 3
     Effective Date, the Debtor may use, acquire, and dispose of property and compromise or settle any
 4   Claims without supervision or approval by the Bankruptcy Court and free of any restrictions of the
     Bankruptcy Code or Bankruptcy Rules, other than those restrictions expressly imposed by the Plan
 5
     and the Confirmation Order.
 6
             11.2 Binding Effect.
 7
             Subject to the occurrence of the Effective Date and notwithstanding Bankruptcy Rules
 8
      3020(e), 6004(h), or 7062, on and after the Confirmation Date, the provisions of the Plan shall be
 9   immediately effective and enforceable and deemed binding upon any holder of a Claim against the
     Debtor, and such holder’s respective successors and assigns, (whether or not the Claim of such
10   holder is Impaired under the Plan, whether or not such holder has accepted the Plan, and whether
     or not such holder is entitled to a distribution under the Plan), all Entities that are party, or subject,
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            to the settlements,
                           Maincompromises,
                                Document releases,
                                            Page discharges,
                                                   357 of 529and injunctions described in the Plan,
      each Entity acquiring property under the Plan, and any and all non-Debtor counterparties to
 1    executory contracts, unexpired leases, and any other prepetition agreements. All Claims shall be as
      fixed, adjusted, or compromised, as applicable, pursuant to the Plan regardless of whether any holder
 2
      of a Claim or debt has voted on the Plan.
 3
             11.3 Discharge of Claims.
 4           PLEASE TAKE NOTICE THAT THE DEBTOR SEEKS A DISCHARGE
      PURSUANT TO SECTION 1141(D)(5) OF THE BANKRUPTCY CODE AS OF THE
 5
      EFFECTIVE DATE OF THE PLAN. THE DEBTOR BELIEVES THAT CAUSE EXISTS
 6
      TO GRANT A DISCHARGE ON THE EFFECTIVE DATE OF THE PLAN BECAUSE THE
 7    PLAN PROVIDES FOR THE CONTRIBUTION OF HIS ASSETS TO THE TRUST ON
      THE EFFECTIVE DATE OF THE PLAN.
 8
             PLEASE TAKE FURTHER NOTICE THAT, PURSUANT TO THE PLAN, A
 9
      DISCHARGE WILL BE ENTERED ON THE EFFECTIVE DATE OF THE PLAN, WHICH
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 1   WILL RESULT IN ALL CREDITORS WITH DISCHARGEABLE CLAIMS BEING

 2   ENJOINED FROM TAKING ANY ACTION TO COLLECT, RECOVER OR OFFSET ANY

 3   DISCHARGEABLE DEBT AS A PERSONAL LIABILITY OF THE DEBTOR.

 4          Pursuant to section 1141(d) of the Bankruptcy Code, and except as otherwise

 5   specifically provided in the Plan, the distributions, rights, and treatment that are provided in

 6   the Plan will be in exchange for, and in complete satisfaction, settlement, discharge, and

 7   release of, all Claims against the Debtor of any nature whatsoever, whether known or

 8   unknown, or against the assets or properties of the Debtor that arose before the Effective Date.
 9   Except as expressly provided in the Plan, on the Discharge Date (and subject to its occurrence),
10   and pursuant to section 1141(d)(5)(A) of the Bankruptcy Code, entry of the Confirmation
11   Order shall be deemed to act as a discharge and release under section 1141(d)(1)(A) of the
12   Bankruptcy Code of all Claims against the Debtor and his assets, arising at any time before
13   the Effective Date, regardless of whether a proof of Claim was filed, whether the Claim is
14   Allowed, or whether the holder of the Claim votes to accept the Plan or
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            is entitled to receive a distributionPage
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                                                        theof
                                                           Plan;
                                                              529provided, however, that in no event
      shall occurrence of the Discharge Date discharge the Debtor from any obligations remaining
      under the Plan as of the Discharge Date. Any default by the Debtor with respect to any Claim
      that existed immediately prior to or on account of the filing of the Chapter 11 Case shall be
      deemed cured on the Discharge Date.
             Except as expressly provided in the Plan, any holder of a discharged Claim will be
      precluded from asserting against the Debtor or any of his assets any other or further Claim
      based on any document, instrument, act, omission, transaction, or other activity of any kind
      or nature that occurred before the Effective Date. Except as expressly provided in the Plan,
      pursuant to section 1141(d)(5)(A), the Confirmation Order will be a judicial determination of
      discharge of all liabilities of the Debtor to the extent allowed under section 1141 of the
      Bankruptcy Code, and the Debtor will not be liable for any Claims and will only have the
      obligations that are specifically provided for in the Plan. Notwithstanding the foregoing,
      nothing contained in the Plan or the Confirmation Order shall discharge the Debtor from




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 1   any debt excepted from discharge under section 523 of the Bankruptcy Code by a Final
 2   Order.
 3            11.4 Releases.
 4                  (a) Releases by the Debtor. Upon the Effective Date, for good and valuable
 5   consideration, the adequacy of which is hereby confirmed, the Debtor, in his individual capacity
 6   and as debtor in possession, shall be deemed forever to release, waive, and discharge (x) the
 7   Estate; (y) all Persons engaged or retained by the Debtor in connection with the Chapter 11
 8   Case (including in connection with the preparation of and analyses relating to the Disclosure

 9   Statement and the Plan); and (z) any and all advisors, attorneys, actuaries, financial advisors,

10   accountants, investment bankers, agents, professionals, consultants and representatives of each

11   of the foregoing Persons and Entities (whether current or former, in each case in his, her, or its

12   capacity as such), from any and all claims, obligations, suits, judgments, damages, demands,

13   debts, rights, remedies, actions, Causes of Action, and liabilities, whether for tort, fraud,
     contract, recharacterization, subordination, violations of
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                  federalMain
                          or state securitiesPage
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                                                   (other  than the rights of the Debtor or
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     Reorganized Debtor to enforce the terms of the Plan and the contracts, instruments, releases,
     and other agreements or documents delivered in connection with the Plan), whether liquidated
     or unliquidated, fixed or contingent, matured or unmatured, known or unknown, foreseen or
     unforeseen, then-existing or thereafter arising, at law, in equity, or otherwise, based in whole
     or in part on any act, omission, transaction, event or other occurrence, or circumstances taking
     place on or before the Effective Date, in any way relating to (i) the Debtor or the Chapter 11
     Case; (ii) any action or omission of any Released Party with respect to any indebtedness under
     which the Debtor is or was a borrower or guarantor; (iii) any Released Party in any such
     Released Party’s capacity as an employee, or agent of, or advisor to, or consultant to, the
     Debtor; (iv) the subject matter of, or the transactions or events giving rise to, any Claim that is
     treated in the Plan; (v) the business or contractual arrangements between the Debtor and any
     Released Party; (vi) the restructuring of Claims before or during the Chapter 11 Case; and (vii)
     the negotiation, formulation, preparation, or dissemination of the Plan (including,




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     for the avoidance of doubt, the Plan Supplement), the Disclosure Statement, or related
 1
     agreements, instruments, or other documents, other than claims or liabilities arising out of or
 2
     relating to any act or omission of a Released Party that is determined by a Final Order to have
 3
     constituted willful misconduct, fraud, or gross negligence. The Reorganized Debtor shall be
 4
     bound, to the same extent the Debtor is bound, by the releases and discharges set forth above.
 5
            Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval,
 6
     pursuant to Bankruptcy Rule 9019, of the releases described in this Article 11.4(a) by the
 7
     Debtor, which includes by reference each of the related provisions and definitions contained
 8
     in the Plan, and further, shall constitute its finding that each release described in this Article
 9
     11.4(a) is: (i) in exchange for the good and valuable consideration provided by the Released
10
     Parties, a good faith settlement and compromise of such claims; (ii) in the best interests of the
11
     Debtor and all holders of Claims; (iii) fair, equitable, and reasonable; (iv) given and made
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     after due notice and opportunity for hearing; and (v) a bar to any of the Releasing Parties
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            asserting anyMain
                          claim, Cause of Page
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                                                   orofliability
                                                         529     related thereto, of any kind
     whatsoever, against any of the Released Parties or their property.
                    (b)        Releases by Holders of Non-Debt Claims. On the Effective Date, to the
     maximum extent permitted by applicable law, each Releasing Party, in consideration for the
     obligations of the Debtor and the Reorganized Debtor under the Plan, and the Trust Interests
     and Cash and other contracts, instruments, releases, agreements, or documents to be delivered
     in connection with the Plan, shall be deemed forever to release, waive, and discharge the Released
     Parties from personal liability in every jurisdiction from any and all claims, obligations, suits,
     judgments, damages, demands, debts, rights, remedies, actions, Causes of Action, and liabilities
     whatsoever, including any derivative Claims asserted or assertable on behalf of the Debtor,
     whether for tort, fraud, contract, recharacterization, subordination, violations of federal or state
     securities laws or laws of any other jurisdiction or otherwise, whether liquidated or unliquidated,
     fixed or contingent, matured or unmatured, known or unknown, foreseen or unforeseen, then-
     existing or thereafter arising, at law, in equity, or




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     otherwise, based in whole or in part on any act, omission, transaction, event, or other
 1
 2   occurrence, or circumstances taking place on or before the Effective Date, in any way relating
 2
 3   to (i) the Debtor or the Chapter 11 Case; (ii) any action or omission of any Released Party with
 3
 4   respect to any indebtedness under which the Debtor is or was a borrower or guarantor; (iii) any
 4
 5   Released Party in any such Released Party’s capacity as an employee, agent of, or advisor to, or
 5
 6   consultant to, the Debtor; (iv) the subject matter of, or the transactions or events giving rise to,
 6
 7   any Claim that is treated in the Plan; (v) the business or contractual arrangements between the
 7
 8   Debtor and any Released Party; (vi) the restructuring of Claims before or during the Chapter
 8
 9   11 Case and the solicitation of votes with respect to the Plan; and (vii) the negotiation,
 9
10   formulation, preparation, entry into, or dissemination of the Plan (including, for the avoidance
10
11   of doubt, the Plan Supplement and all documents contained or referred to therein), the
11
12   Disclosure Statement, or related agreements, instruments, or other documents. Notwithstanding
12
13   anything contained herein to the contrary, the foregoing release (x) does not release any
13
14   obligations of any party under the Plan or any document, instrument, or agreement (including
14
15   those set forth in the Plan Supplement) executed to implement the Plan or (y) shall only apply
15   to holders of Non-Debt Claims in their capacity as a holder of a Non-Debt Claim and shall not
16
16
17   apply to any other Claims such holder may have, including, without limitation, any Deficiency
17
18   Claim.
18
19            In connection with the releases described in this Article 11.4(b), each Releasing Party
19
20   shall waive all rights conferred by the provisions of section 1542 of the California Civil Code
20
21   and/or any similar state or federal law. Section 1542 of the California Civil Code provides as
21
22   follows: “A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS WHICH THE
22
23   CREDITOR DOES NOT KNOW OR SUSPECT TO EXIST IN HIS OR HER FAVOR AT
23
24   THE TIME OF EXECUTING THE RELEASE, WHICH IF KNOWN BY HIM OR HER
24
25   MUST HAVE MATERIALLY AFFECTED HIS OR HER SETTLEMENT WITH THE
26
25   DEBTOR.”
27
26            Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval,
28
27   pursuant to Bankruptcy Rule 9019, of the releases described in this Article 11.4(b), which
28   includes by reference each of the related provisions and definitions contained in the Plan, and



     further, shall constitute its finding that each release described in Article 11.4(b) is: (i) in
     exchange for the good and valuable consideration provided by the Released Parties, a good
     faith settlement and compromise of such claims; (ii) in the best interests of the Debtor and all
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     holders of Claims; (iii)
                          Mainfair, equitable, and
                                 Document          reasonable;
                                                 Page          (iv) given and made after due notice
                                                      365 of 529
      and opportunity for hearing; and (v) a bar to any of the Releasing Parties asserting any claim,
      Cause of Action, or liability related thereto, of any kind whatsoever, against any of the
      Released Parties or their property.
                    (c) Standstill and Releases by Holders of Allowed Debt Claims and, Allowed
      China Secured Claims, and Allowed Late Filed Debt Claims. To the maximum extent
      permitted by applicable law, each holder of an Allowed Debt Claim or Allowed China Secured
      Claim shall agree for a period of four years after the Effective Date (the “Standstill Period”)
      to not assert any new Causes of Action (x) against the Debtor for personal liability directly or
      (y) derivatively in its capacity as a creditor of a claim owed solely or jointly by the Debtor
      (including unwinding or alter ego type claims), in any non-U.S.




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                  jurisdiction
                         Main (collectively,
                               Document the   “YT366
                                             Page Claims”);
                                                      of 529provided, however, that such holder
     may continue to prosecute any actions commenced prepetition against the Debtor up to
     judgment and pursue Other Distributions through judicial authorities in the PRC to satisfy
     such holder’s Debt Claim or China Secured Claim through a mechanism that will be mutually
     agreed to by the parties, including claims against primary obligors solely based on such
     holder’s contractual agreements with such primary obligors (for the avoidance of doubt, such
     holder may not bring unwinding or alter ego type claims against such primary obligors);
     provided further, however, that the Standstill Period shall terminate in the event a Liquidation
     Event occurs during the Standstill Period. All limitations periods applicable to all YT Claims
     in any non-U.S. jurisdictions, to the extent not previously expired, shall be tolled for the
     duration of the Standstill Period.
            Each holder of an Allowed Debt Claim, Allowed China Secured Claim, or Allowed Late
     Filed Debt Claim shall, within ninety (90) days after the later to occur of (i) the Effective Date
     and (ii) the date such Debt Claim, China Secured Claim, or Late Filed Debt Claim




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 1   becomes Allowed, (x) take the steps and provide the documents described in the Trust

 2   Agreement to notify the applicable court or courts in the PRC (the “Chinese Courts”) that (A)

 3   the Debtor and such holder and (B) if applicable, the KCBI Claimant and the applicable Key

 4   China Business Individual have reached a settlement agreement that is embodied in and has

 5   been implemented through the Plan and request that the Chinese Courts remove the Debtor

 6   from the List of Dishonest Judgment Debtors (the “China Debtor List”) and lift any

 7   consumption or travel restrictions (the “China Restrictions”), as applicable, and (y) refrain

 8   from taking any action during the Standstill Period to cause (A) the Debtor or (B) if applicable,
 9   the Key China Business Individual to be reinstated on the China Debtor List or be subject to
10   the China Restrictions (the “China Debtor List Covenant”).
11          Before anyAs a condition to receiving Plan Distributions (including Trust Distributions
12   are made to the), each holder of an Allowed Debt Claim or an (including the holder of an
13   Allowed China Secured Claim treated as an Allowed Debt Claim pursuant to Article 4.3 of the
14   Plan), Allowed China Secured Claim, or Allowed Late Filed Debt Claim, such holder shall
15   provide an affidavit that (i) certifiesto the Trustee within ninety (90) days after the date such
16   Debt Claim, China Secured Claim, or Late Filed Debt Claim becomes Allowed that certifies
17   (i) such holder’s compliance with the China Debtor List Covenant, (ii) certifies that they
18   havesuch holder has not initiated, and will not initiate, any YT Claims during the Standstill
19   Period or after the Liability Release Date, as applicable, (iii) identifies any amounts received
20   from Other Distributions as of the date of the
21          , and (iii) if applicable,
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            affidavit, and (iv)
                           Main certifies
                                  Documentsuch holder’s
                                                  Page compliance
                                                        368 of 529 with Article 6.6 of the Plan and the
      release of Wei Gan’s personal liability pursuant to the Wei Gan Settlement. If the holder of
      an Allowed Debt Claim, Allowed China Secured Claim, or Allowed Late Filed Debt Claim
      fails to submit the above affidavit, submits an affidavit containing falsified information, or
      breaches the affidavit, such holder shall forfeit its Plan Distributions (including any Trust
      Interests) and such Plan Distributions shall revert to the Trust for the ratable benefit of
      holders of Allowed Debt Claims and the Reorganized Debtor pursuant to the Distribution
      Trust Waterfall.
             Subject to approval of the applicable KCBI Settlement, before any Trust Distributions
      are made to an applicable KCBI Claimant, such claimant shall provide an affidavit that certifies
      such claimant’s compliance with the China Debtor List Covenant with respect to the




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 1   applicable Key China Business Individual.
 2          EachUpon the earlier of a holder of an (i) Allowed Late Filed Debt Claim, on the date

 3   of allowance of such Late Filed Debt Claim or (ii) Allowed Debt Claim, once it has received

 4   (including the holder of an Allowed China Secured Claim treated as an Allowed Debt Claim

 5   pursuant to Article 4.3 of the Plan) receiving (i) Trust Distributions that, in the aggregate, are

 6   equal to 40% of its Debt Claim Allocation Amount and (ii) Trust Distributions and Other

 7   Distributions (from enforcement or other actions) that, in the aggregate, are equal to 20100%

 8   of its Allowed Debt Claim Allocation Amount (the date upon which the foregoing condition
 9   occurs is the “Liability Release Date”), such holder (x) shall be deemed to have released the
10   YT Claims on account of such Debt Claim or Late Filed Debt Claim in every jurisdiction and
11   (y) agrees that it shall not assert any new, or continue to prosecute any existing, YT Claims
12   related to such Debt Claim or Late Filed Debt Claim in every jurisdiction; provided, however,
13   that the foregoing release shall not release, waive, or otherwise impact the rights of such holder
14   to receive further Trust Distributions or to pursue and receive Other Distributions through a
15   mechanism that will be mutually agreed to by the parties.; provided further, however, that if
16   an Allowed China Secured Claim is satisfied in full prior to the initial Trust Distribution Date,
17   on the date thereof, the holder of such China Secured Claim (A) shall be deemed to have
18   released the YT Claims on account of such China Secured Claim in every jurisdiction and (B)
19   agrees that it shall not assert any new, or continue to prosecute any existing, YT Claims related
20   to such China Secured Claim in every jurisdiction.
21          Each holder of an Allowed Late Filed Debt Claim, on the date of allowance of such Late
22   Filed Debt Claim (i) shall be deemed to have released the YT Claims on account of such Late
23   Filed Debt Claim in every jurisdiction and (ii) agrees that it shall not assert any new, or
24   continue to prosecute any existing, YT Claims related to such Late Filed Debt Claim in every
25   jurisdiction.
26          Within ninety (90) days after the (i) applicable Liability Release Date with respect to
27   Allowed Debt Claims (including Allowed China Secured Claims treated as Allowed Debt
28   Claims pursuant to Article 4.3 of the Plan), (ii) the date of satisfaction in full of an Allowed
     China Secured Claim and, if applicable, the occurrence of the Liability Release Date with




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 1   or respect to any Deficiency Claim on account of such Allowed China Secured Claim, or (iii)

 2   the date of allowance of a Late Filed Debt Claim, each holder of an Allowed Debt Claim,

 3   Allowed China Secured Claim, or Allowed Late Filed Debt Claim shall (as a condition to

 4   receiving further Trust Distributions, including any Trust Distributions upon the termination

 5   or dissolution of the Trust) (ix) withdraw or retract any litigations, enforcement actions,

 6   arbitrations, and any other proceedings against the Debtor from the courts and judicial

 7   authorities in all jurisdictions, including, but not limited to, the Chinese Courts, or confirm

 8   with the judicial authorities that the Debtor has settled all of his debt obligations or legal
 9   responsibilities to such holder and (iiy) file and execute any documents requested by the
10   Debtor to evidence the above release. The Debtor reserves all rights to seek enforcement by
11   the Chinese judicial authorities of the rights provided herein.
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           Subject to approval of the applicable
                        Main Document       PageKCBI
                                                 371 ofSettlement,
                                                        529        upon the Liability Release
     Date, each applicable KCBI Claimant shall release the applicable Key China Business
     Individual of his or her guaranty obligations on behalf of the Debtor.
            In connection with the releases described in this Article 11.4(c), each holder of an Allowed
     Debt Claim, Allowed China Secured Claim, or Allowed Late Filed Debt Claim shall waive all
     rights conferred by the provisions of section 1542 of the California Civil Code and/or any similar
     state or federal law. Section 1542 of the California Civil Code provides as follows: “A GENERAL
     RELEASE DOES NOT EXTEND TO CLAIMS WHICH THE CREDITOR DOES NOT
     KNOW OR SUSPECT TO EXIST IN HIS OR HER FAVOR AT THE TIME OF EXECUTING
     THE RELEASE, WHICH IF KNOWN BY HIM OR HER MUST HAVE MATERIALLY
     AFFECTED HIS OR HER SETTLEMENT WITH THE DEBTOR.”
            Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval,
     pursuant to Bankruptcy Rule 9019, of the releases described in this Article 11.4(c), which
     includes by reference each of the related provisions and definitions contained in the Plan, and
     further, shall constitute its finding that each release described in Article 11.4(c) is: (i) in exchange
     for the good and valuable consideration provided by the Debtor and Reorganized Debtor, a good
     faith settlement and compromise of such claims; (ii) in the best interests of the




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 1   Debtor and all holders of Claims; (iii) fair, equitable, and reasonable; (iv) given and made

 2   after due notice and opportunity for hearing; and (v) except as otherwise provided in the Plan,

 3   a bar to any holder of an Allowed Debt Claim or Allowed Late Filed Debt Claim asserting any

 4   Claim, Cause of Action, or liability related thereto, of any kind whatsoever, against the Debtor

 5   or Reorganized Debtor.

 6          11.5 Exculpation and Limitation of Liability.
 7          None of the Debtor or Reorganized Debtor, or the direct or indirect affiliates, employees,

 8   advisors, attorneys, financial advisors, accountants, investment bankers, agents, consultants, or
 9   other professionals (whether current or former, in each case, in his, her, or its capacity as such)
10   of the Debtor or the Reorganized Debtor, or the Released Parties shall have or incur any liability
11   to, or be subject to any right of action by, any holder of a Claim, or any
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            other party in interest
                         Main       in the Chapter
                               Document            11 Case,
                                            Page 373  of 529or any of their respective agents,
     employees, representatives, financial advisors, attorneys or agents acting in such capacity, or
     direct or indirect affiliates, or any of their successors or assigns, for any act or omission in
     connection with, relating to, or arising out of, the Chapter 11 Case, formulation, negotiation,
     preparation, dissemination, confirmation, solicitation, implementation, or administration of the
     Plan, the Plan Supplement and all documents contained or referred to therein, the Disclosure
     Statement, any contract, instrument, release or other agreement or document created or entered
     into in connection with the Plan, or any other pre- or postpetition act taken or omitted to be
     taken in connection with or in contemplation of the restructuring of the Debtor or confirming
     or consummating the Plan (including the distribution of any property under the Plan); provided,
     however, that the foregoing provisions of this Article 11.5 shall have no effect on the liability of
     any Person or Entity that results from any such act or omission that is determined by a Final
     Order to have constituted willful misconduct, fraud, or gross negligence and shall not impact
     the right of any holder of a Claim, or any other party to enforce the terms of the Plan and the
     contracts, instruments, releases, and other agreements or documents delivered in connection
     with the Plan. Without limiting the generality of the foregoing, the Debtor and the Debtor’s
     direct or indirect affiliates, employees, advisors,




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     attorneys, financial advisors, accountants, investment bankers, agents, consultants, and other
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     professionals (whether current or former, in each case, in his, her, or its capacity as such) shall,
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     in all respects, be entitled to reasonably rely upon the advice of counsel with respect to their
 3
     duties and responsibilities under the Plan. The exculpated parties have participated in good
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     faith and in compliance with the applicable provisions of the Bankruptcy Code with regard to
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     the solicitation and distribution of the securities pursuant to the Plan, and, therefore, are not,
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     and on account of such distributions shall not be, liable at any time for the violation of any
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     applicable law, rule, or regulation governing the solicitation of acceptances or rejections of the
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     Plan or such distributions made pursuant to the Plan. This exculpation shall be in addition to,
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     and not in limitation of, all other releases, indemnities, exculpations, and any other applicable
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     law or rules protecting such exculpating parties from liability.
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           11.6 Injunction.                Page 375 of 529
                  (a)        General. All Persons or Entities who have held, hold, or may hold
     Claims (other than Claims that are reinstated under the Plan), and all other parties in interest
     in the Chapter 11 Case, along with their respective current and former employees, agents,
     officers, directors, principals, and direct and indirect affiliates, are permanently enjoined, from
     and after the Effective Date, from, in respect of any Claim or Cause of Action released or settled
     hereunder, (i) commencing, conducting, or continuing in any manner, directly or indirectly, any
     suit, action, or other proceeding of any kind (including, without limitation, any proceeding in a
     judicial, arbitral, administrative, or other forum) against the Released Parties, the Key China
     Business Individuals, Wei Gan, the Debtor, or the Reorganized Debtor, or in respect of any
     Claim or Cause of Action released or settled hereunder; (ii) enforcing, levying, attaching,
     collecting, or otherwise recovering by any manner or means, whether directly or indirectly, of
     any judgment, award, decree, or order against the Released Parties, the Key China Business
     Individuals, Wei Gan, the Debtor, or the Reorganized Debtor; (iii) creating, perfecting, or
     enforcing in any manner, directly or indirectly, any encumbrance of any kind against the
     Released Parties, the Key China Business Individuals, Wei Gan, the Debtor, or the Reorganized
     Debtor; (iv) asserting any right of setoff,




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     subrogation, or recoupment of any kind, against any obligation due from the Released Parties,
 1
     the Key China Business Individuals, Wei Gan, the Debtor, or the Reorganized Debtor, or
 2
     against the property or interests in property of the Debtor or Reorganized Debtor, on account
 3   of such Claims; or (v) commencing or continuing in any manner any action or other
     proceeding of any kind on account of, in connection with, or with respect to any such Claims
 4
     released or settled pursuant to the Plan; provided, however, that nothing contained herein shall
 5
     preclude such Entities from exercising their rights pursuant to and consistent with the terms
 6   of the Plan and the contracts, instruments, releases, and other agreements and documents
     delivered under or in connection with the Plan.
 7
                   (b)          Injunction Against Interference With the Plan. Upon entry of the
 8
     Confirmation Order, all holders of Claims and their respective current and former
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                  employees, agents, officers,
                       Main Document       Pagedirectors, principals, and direct and indirect
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     affiliates shall be enjoined from taking any actions to interfere with the implementation or
     consummation of the Plan. Each holder of an Allowed Claim, by accepting, or being eligible
     to accept, distributions under or reinstatement of such Claim, as applicable, pursuant to the
     Plan, shall be deemed to have consented to the injunction provisions set forth in this Article
     11.6 of the Plan.

            11.7 Term of Bankruptcy Injunction or Stays.
            All injunctions or stays (excluding any injunctions or stays contained in the Plan or the
     Confirmation Order) in effect in the Chapter 11 Case under sections 105 or 362 of the Bankruptcy
     Code, or any order of the Bankruptcy Court or otherwise, and in existence as of the Confirmation
     Date, shall remain in full force and effect until the Effective Date.

            11.8 Termination of Subordination Rights and Settlement of Related Claims.
            The classification and manner of satisfying all Claims under the Plan takes into consideration
     all subordination rights, whether arising by contract or under general principles of equitable
     subordination, section 510 of the Bankruptcy Code, or otherwise. All subordination rights that a holder
     of a Claim may have with respect to any distribution to be made under the Plan, shall be discharged
     and terminated, and all actions related to the enforcement of such subordination




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     rights shall be enjoined permanently. Accordingly, distributions under the Plan to holders of
 1
     Allowed Claims shall not be subject to payment of a beneficiary of such terminated subordination
 2
     rights, or to levy, garnishment, attachment, or other legal process by a beneficiary of such terminated
 3   subordination rights.

 4          11.9 Waiver of Actions Arising Under Chapter 5 of the Bankruptcy Code.
            Without limiting any other applicable provisions of, or releases contained in, the Plan, each
 5
     of the Debtor, the Reorganized Debtor, their respective successors, assigns, and representatives, and
 6   any and all other entities who may purport to assert any claim or Cause of Action, directly or
     derivatively, by, through, for, or because of the foregoing entities, hereby irrevocably and
 7
     unconditionally release, waive, and discharge any and all claims or Causes of Action that they have,
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     had, or may have that are based on section 544, 547, 548, 549, and 550 of the Bankruptcy Code
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            and analogous non-bankruptcy
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                                              379 of    purposes; provided, however, that
     notwithstanding this or any other provision of the Plan, in the event the Trustee (with the approval
     of the Creditor Trust Committee as set forth in the Trust Agreement) determines that it has
     reasonable and good-faith evidence that (a) an asset, other than any of the Seized China Assets or
     assets subject to seizure in China, was property of the Debtor as of the Petition Date but was not
     disclosed by a document or testimony in his capacity as a chapter 11 debtor during the chapter 11
     case, including, without limitation, in any disclosure statement, schedules, statements of financial
     affairs, section 341 meeting of creditors, confidential depositions, and materials posted in the
     creditor data room (the “Chapter 11 Disclosures”), provided that the Declarations shall supersede
     the Chapter 11 Disclosures, the Trustee may pursue an action for turnover of such asset under section
     542 of the Bankruptcy Code through the Plan Arbitration Procedures; or (b) the Debtor was the
     transferor of a transfer avoidable pursuant to section 548(a)(1)(A) of the Bankruptcy Code, the
     Trustee may pursue an action to avoid and recover such transfer pursuant to sections 548(a)(1)(A)
     and 550 of the Bankruptcy Code, as applicable, through the Plan Arbitration Procedures, provided
     that such transfer did not arise out of any transaction or occurrence disclosed in the Chapter 11
     Disclosures, provided further that the Declarations shall supersede the Chapter 11 Disclosures
     (collectively, (a) and (b) are the “Bankruptcy Actions”).




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 1          Any Bankruptcy Actions must be commenced within one hundred eighty (180) days after

 2   the Effective Date (the “Bankruptcy Actions Limitations Period”), provided that the Trustee shall
     meet and confer with the Debtor prior to commencing any Bankruptcy Action, and the Bankruptcy
 3
     Actions Limitations Period with respect to such Bankruptcy Action shall be automatically tolled
 4
     for a period of thirty (30) days while the parties meet and confer, subject to extension by mutual
 5
     agreement.
 6
            Upon the expiration of the Bankruptcy Actions Limitations Period, any Bankruptcy Actions
 7
     that have not been timely asserted pursuant to the foregoing procedures shall be deemed satisfied
 8
     and released, effective as of the Effective Date. For the avoidance of doubt, none of the claims or
 9
     Causes of Action referenced in this Article 11.9, except as excluded herein, shall constitute
10
     Retained Actions.
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           11.10 Reservation   Rights. Page 381 of 529

            The Plan shall have no force or effect unless and until the Effective Date. Prior to the
 1
     Effective Date, none of the filing of the Plan, any statement or provision contained in the Plan, or
 2
     action taken by the Debtor with respect to the Plan, the Disclosure Statement, or the Plan
 3
     Supplement shall be, or shall be deemed to be, an admission or waiver of any rights of the Debtor
 4
     or any other party, including the Released Parties, with respect to any Claims or any other matter.
 5
                                           ARTICLE XII
 6                                  RETENTION OF JURISDICTION

 7
            Except as provided herein with respect to matters subject to the Plan Arbitration Procedures,
 8
     pursuant to sections 105(c) and 1142 of the Bankruptcy Code, to the fullest extent permitted by
 9
     law, and notwithstanding the entry of the Confirmation Order or the occurrence of the Effective
10
     Date, the Bankruptcy Court shall retain exclusive jurisdiction over any matter arising under the
11
     Bankruptcy Code, arising in or out of, or related to, the Chapter 11 Case, the Plan, or the
12
     Confirmation Order (except as provided in the Trust Agreement), including jurisdiction to:
13
                    (a)        Allow, disallow, determine, liquidate, classify, estimate, or establish the
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     priority or secured or unsecured status of any Claim, including the resolution of any request for
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     payment of any Administrative Expense Claim and the resolution of any and all objections to the

 1
     allowance or priority of Claims;
 2

 3                    (b)     Resolve any matters related to the assumption, assumption and assignment,
                       or rejection of any executory contract or unexpired lease to which the Debtor is party
 4
     to or with respect to which the Debtor or Reorganized Debtor may be liable, and hear, determine,
 5   and, if necessary, liquidate, any Claims arising therefrom;

 6
                      (c)     Determine any and all motions, adversary proceedings, applications,
                       contested matters, or other litigated matters pending on the Effective Date;
 7

 8                    (d)   Ensure that Plan Distributions to holders of Allowed Claims are
                       accomplished pursuant to the terms of the Plan;
 9
                      (e)    Adjudicate any and all disputes arising from or relating to Plan
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     Distributions;
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                 (f)  Enter,Document
                      Main  implement, or enforce
                                          Page 383suchoforders
                                                         529 as may be necessary or appropriate
      to implement or consummate the provisions of the Plan, and all contracts, instruments, releases,
      settlements (including the Wei Gan Settlement and any KCBI Settlements) and other agreements or
      documents created in connection with the Plan or the Confirmation Order;
                     (g)     Enter, implement, or enforce such orders as may be appropriate in the event
      the Confirmation Order is for any reason stayed, reversed, revoked, modified, or vacated, or
      distributions pursuant to the Plan are enjoined or stayed;
                     (h)     Issue injunctions, enter and implement other orders, and take such other
      actions as may be necessary or appropriate to restrain interference by any Entity with the
      consummation, implementation, or enforcement of the Plan, the Confirmation Order, or any other
      order of the Bankruptcy Court;
                     (i)     Modify the Plan before or after the Effective Date under section 1127 of the
      Bankruptcy Code or modify the Confirmation Order, or any contract, instrument, release, or other
      agreement or document created in connection with the Plan or the Confirmation Order, or remedy
      any defect or omission or reconcile any inconsistency in any Bankruptcy Court order, the Plan, the
      Disclosure Statement, the Confirmation Order, or any contract, instrument, release, or other




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     agreement or document created in connection with the Plan or the Confirmation Order, in such
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     manner as may be necessary or appropriate to consummate the Plan;
 2
                    (j)    Hear and determine all applications for compensation and reimbursement of
 3   expenses of Professionals under sections 330, 331, and 503(b) of the Bankruptcy Code incurred
     prior to the Confirmation Date;
 4
                    (k)    Hear and determine any rights, claims, or Causes of Action held or reserved
 5
     by, or accruing to, the Debtor or the Reorganized Debtor pursuant to the Bankruptcy Code, the
 6   Confirmation Order, or, in the case of the Debtor, any other applicable law;
                    (l)    Enforce all orders, judgments, injunctions, releases, exculpations,
 7
     indemnifications, and rulings entered in connection with the Chapter 11 Case;
 8
                    (m)    Hear and determine disputes arising in connection with the interpretation,
 9   implementation, or enforcement of the Plan, the Confirmation Order, any transactions

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                  contemplated thereby, or anyPage
                        Main Document          agreement,
                                                   385 of instrument,
                                                           529        or other document governing
      or relating to any of the foregoing, or the effect of the Plan under any agreement to which the Debtor,
 1    the Reorganized Debtor, or any affiliate thereof are party;
                     (n)     Hear and determine any issue for which the Plan or a related document
 2
      requires a Final Order of the Bankruptcy Court;
 3
                     (o)     Issue such orders as may be necessary or appropriate to aid in execution of
 4    the Plan or to maintain the integrity of the Plan following consummation, to the extent authorized
      by section 1142 of the Bankruptcy Code;
 5
                     (p)     Determine such other matters and for such other purposes as may be provided
 6
      in the Confirmation Order;
 7                   (q)     Hear and determine matters concerning state, local, and federal taxes in
      accordance with sections 346, 505, and 1146 of the Bankruptcy Code;
 8
                     (r)     Enter and enforce any order for the sale or transfer of property pursuant to
 9
      sections 363, 1123, or 1146(a) of the Bankruptcy Code;
10                   (s)     Hear and determine all disputes involving the existence, scope, and nature of
      the discharges, releases, or injunctions granted under the Plan and the Bankruptcy Code;
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 1              (t)         Hear and determine all disputes involving or in any manner implicating the

 2   exculpation or indemnification provisions contained in the Plan;

 3               (u)        Hear and determine any matters arising under or related to sections 1141 and

 4   1145 of the Bankruptcy Code;

 5               (v)        Recover all assets of the Debtor and property of the Debtor’s Estate,

 6   wherever located;

 7                (w)        Enter an order of discharge, upon request of the Debtor or Reorganized

 8   Debtor, as applicable;

 9                    (x)     Enter a final decree closing the Chapter 11 Case; and

10               (y)        Hear and determine any other matter not inconsistent with the Bankruptcy

11   Code and title 28 of the United States Code.

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Case 2:19-bk-24804-VZ         Doc 467 Filed 03/17/20 Entered 03/17/20 20:16:10                  Desc
                              Main Document ARTICLE
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                                                     XIII
                                     MISCELLANEOUS PROVISIONS
 1
             13.1 Claims Allowed by the Plan.
 2
             The Plan Supplement shall include a listing of all Claims to be deemed Allowed by the Plan
 3
     on the Effective Date.
 4
             13.2 Payment of Statutory Fees.
 5
             On the Effective Date, all fees due and payable pursuant to section 1930 of title 28 of the
 6
     U.S. Code shall be paid by the Debtor. Following the Effective Date, the Reorganized Debtor shall
 7
     pay any and all such fees when due and payable, and shall file with the Bankruptcy Court quarterly
 8
     reports in a form reasonably acceptable to the U.S. Trustee. The Debtor and Reorganized Debtor
 9
     shall remain obligated to pay quarterly fees to the Office of the U.S. Trustee until the earliest of the
10
     Debtor’s case being closed, dismissed, or converted to a case under chapter 7 of the Bankruptcy
11
     Code.
12           13.3 Exemption from Securities Laws.

13           To the maximum extent provided by section 1145(a) of the Bankruptcy Code and applicable

14   non-bankruptcy law, the offering, issuance, or distribution of the Trust Interests, shall be exempt

15   from, among other things, section 5 of the Securities Act, if applicable, and from any state or federal

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 1   securities laws requiring registration for offer or sale of a security or registration or licensing of an

 2   issuer of, underwriter of, or broker or dealer in, a security, and otherwise enjoy all exemptions

 3   available for distributions of securities under a plan of reorganization in accordance with all

 4   applicable law, including, without limitation, section 1145 of the Bankruptcy Code.
             13.4 Exemption from Certain Transfer Taxes.
 5
             Pursuant to section 1146(a) of the Bankruptcy Code, the transfer of title to or ownership of
 6
     any of the Debtor’s interests in any property; or the making or delivery of any instrument of transfer
 7
     in connection with the Plan shall not be subject to any document recording tax, stamp tax,
 8
     conveyance fee, intangibles or similar tax, mortgage tax, real estate transfer tax, mortgage recording
 9
     tax, Uniform Commercial Code filing or recording fee, or other similar tax or governmental
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     assessment, and the Confirmation Order shall direct the appropriate state or local governmental
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     officials or agents to forgo the collection of any such tax or governmental assessment and to accept

 1   for filing and recordation any of the foregoing instruments or other documents without the payment

 2   of any such tax or governmental assessment and to accept for filing and recordation any of the

 3   foregoing instruments or other documents without the payment of any such tax or governmental

 4   assessment. Without limiting the foregoing, any issuance, transfer, or exchange of a security or any

 5   making or delivery of an instrument of transfer pursuant to the Plan shall be exempt from the

 6   imposition and payment of any and all transfer taxes (including, without limitation, any and all

 7   stamp taxes or similar taxes and any interest, penalties, and addition to the tax that may be required

 8   to be paid in connection with the consummation of the Plan) pursuant to sections 106, 505(a), 1141,

 9   and 1146(a) of the Bankruptcy Code. Unless the Bankruptcy Court orders otherwise, all sales,

10   transfers, and assignments of owned and leased property approved by the Bankruptcy Court on or

11   before the Effective Date shall be deemed to have been in furtherance of, or in connection with, the

12   Plan.

13           13.5 Dissolution of Statutory Committees and Cessation of Fee and Expense
                    Payment.
14
             On the Effective Date, any statutory committee(s) appointed in the Chapter 11 Case,
15
     including the Committee, shall dissolve, and the members thereof shall be released and discharged
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     from all rights and duties arising from, or related to, the Chapter 11 Case. The Reorganized Debtor

 1
     shall not be responsible for paying any fees and expenses incurred after the Effective Date, if any,
 2
     by the professionals retained by any such committee, other than for the reasonable fees and expenses
 3
     for the services authorized to be provided pursuant to this Article 13.5.
 4
             13.6 Substantial Consummation.
 5
             On the Discharge Date, the Plan shall be deemed to be substantially consummated under
             sections 1101 and 1127(b) of the Bankruptcy Code.
 6

 7           13.7 Expedited Determination of Postpetition Taxes.

 8           The Reorganized Debtor shall be authorized to request an expedited determination under
             section 505(b) of the Bankruptcy Code for all tax returns filed for, or on behalf of, the Debtor
 9   for any and all taxable periods ending after the Petition Date through, and including, the Effective Date.

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           13.8 Modification     Document
                                    Amendments. Page 391 of 529
           Subject to the requirements of section 1127 of the Bankruptcy Code, Bankruptcy Rule 3019,
      and, to the extent applicable, sections 1122, 1123, and 1125 of the Bankruptcy Code, the Debtor may
      alter, amend, or modify the Plan at any time prior to the Effective Date. Holders of Claims that have
      accepted the Plan shall be deemed to have accepted the Plan, as altered, amended, or modified, if the
      proposed alteration, amendment, or modification complies with the requirements of this Article 13.8
      and does not materially and adversely change the treatment of the Claim of such holder; provided,
      however, that any holders of Claims that were deemed to accept the Plan because such Claims were
      Unimpaired shall continue to be deemed to accept the Plan only if, after giving effect to such
      amendment or modification, such Claims continue to be Unimpaired.
             Entry of a Confirmation Order shall mean that all modifications or amendments to the Plan
      since the solicitation thereof are approved pursuant to section 1127(a) of the Bankruptcy Code and
      do not require additional disclosure or resolicitation under Bankruptcy Rule 3019.

             13.9 Additional Documents.
             On or before the Effective Date, the Debtor may enter into any agreements and other
      documents as may be necessary or appropriate to effectuate and further evidence the terms and
      conditions of the Plan. The Debtor or Reorganized Debtor, as applicable, and all holders of Claims




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     receiving Plan Distributions and all other parties in interest may, from time to time, prepare, execute,
 1
     and deliver any agreements or documents and take any other actions as may be necessary or
 2
     advisable to effectuate the provisions and intent of the Plan.
 3
            13.10 Effectuating Documents and Further Transactions.
            On and after the Effective Date, the Reorganized Debtor is authorized to execute, deliver,
 4
     file, or record such contracts, instruments, releases, indentures, and other agreements or documents
 5
     and take such actions as may be necessary or appropriate to effectuate and further evidence the terms
 6   and conditions of the Plan, without the need for any approvals, authorizations, or consents, except
     for those expressly required pursuant to the Plan.
 7
            13.11  Plan Supplement.
 8
            All exhibits and documents included in the Plan Supplement are incorporated into, and are -
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            a part of, the Plan
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                                   if set forth in full in the
                                                     Page      Plan,
                                                             393     and any reference to the Plan shall mean
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      the Plan and the Plan Supplement. Upon its filing, the Plan Supplement may be inspected in the
      office of the clerk of the Bankruptcy Court or its designee during normal business hours, at the
      Bankruptcy Court’s website at www.cacb.uscourts.gov, and at the website of the Voting Agent at
      https://dm.epiq11.com/YT1. The documents contained in the Plan Supplement are an integral part
      of the Plan and shall be deemed approved by the Bankruptcy Court pursuant to the Confirmation
      Order.

               13.12  Entire Agreement.
               Except as otherwise indicated, the Plan and the Plan Supplement supersede all previous and
      contemporaneous       negotiations,   promises,     covenants,   agreements,    understandings,     and
      representations on such subjects, all of which have become merged and integrated into the Plan.

               13.13 Revocation or Withdrawal of the Plan.
               The Debtor reserves the right to revoke or withdraw the Plan at any time prior to the Effective
      Date. If the Debtor takes such action, the Plan shall be deemed null and void in its entirety and of no
      force or effect, and any settlement or compromise embodied in the Plan (including the fixing or
      limiting to an amount certain of any Claim or Class of Claims), assumption of executory contracts or
      unexpired leases effected under the Plan, and any document or agreement executed




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      pursuant to the Plan, shall be deemed null and void. In such event, nothing contained in the Plan
 1
      shall (a) constitute or be deemed to be a waiver or release of any Claim against the Debtor or any
 2
      other Entity; (b) prejudice in any manner the rights of the Debtor or any Entity in further proceedings
 3    involving the Debtor; or (c) constitute an admission, acknowledgement, offer, or undertaking of any
      sort by the Debtor or any other Entity.
 4
             13.14 Severability.
 5
             If, prior to the entry of the Confirmation Order, any term or provision of the Plan is held by
 6    the Bankruptcy Court to be invalid, void, or unenforceable, at the request of the Debtor, the
      Bankruptcy Court shall have the power to alter and interpret such term or provision to make it valid
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      or enforceable to the maximum extent practicable, consistent with the original purpose of the term or
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      provision held to be invalid, void, or unenforceable, and such term or provision shall then be
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            applicable as Main
                          altered or interpreted.
                                Document          Notwithstanding
                                               Page 396 of 529 any such holding, alteration, or
     interpretation, the remainder of the terms and provisions of the Plan shall remain in full force and
     effect and shall in no way be affected, impaired, or invalidated by such holding, alteration, or
     interpretation. The Confirmation Order shall constitute a judicial determination and shall provide that
     each term and provision of the Plan, as it may have been altered or interpreted in accordance with the
     foregoing, is (a) valid and enforceable pursuant to its terms; (b) integral to the Plan; and (c) non-
     severable and mutually dependent.

             13.15 Solicitation.
             Upon entry of the Confirmation Order, the Debtor shall be deemed to have solicited
     acceptances of the Plan in good faith and in compliance with the applicable provisions of the
     Bankruptcy Code, including, without limitation, section 1125(e) of the Bankruptcy Code, and any
     applicable non-bankruptcy law, rule, or regulation governing the adequacy of disclosure in connection
     with such solicitation. The Debtor, the Reorganized Debtor, and each of their respective employees,
     agents, representatives, advisors, attorneys, accountants, consultants, and professionals shall be
     deemed to have participated in good faith and in compliance with the applicable provisions of the
     Bankruptcy Code in the offer, issuance, sale, and purchase of any securities offered or sold under the
     Plan, and therefore, are not, and on account of such offer, issuance, sale, solicitation, or




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      purchase shall not be, liable at any time for the violation of any applicable law, rule, or regulation
 1
      governing the solicitation of acceptances or rejections of the Plan or the offer, issuance, sale, or
 2
      purchase of any securities offered or sold under the Plan.
 3
             13.16  Governing Law.
             Unless a rule of law or procedure is supplied by federal law (including the Bankruptcy Code
 4
      and the Bankruptcy Rules) or unless otherwise specifically stated, the laws of the state of California,
 5
      without giving effect to the principles of conflict of laws, shall govern the rights, obligations,
 6    construction, and implementation of the Plan, and any agreements, documents, instruments, or
      contracts executed or entered into in connection with the Plan (except as otherwise set forth in those
 7
      agreements, in which case the governing law of such agreement shall control).
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           13.17 Compliance     Document         Page 398 of 529
                                     Tax Requirements.
           In connection with the Plan and all instruments issued in connection herewith and distributed
      hereunder, any Entity issuing any instruments or making any distribution under the Plan shall
      comply with all applicable withholding and reporting requirements imposed by any federal, state,
      local, or foreign taxing authority, and all distributions under the Plan shall be subject to any such
      withholding or reporting requirements. Any Entity issuing any instruments or making any
      distribution under the Plan to a holder of an Allowed Claim has the right, but not the obligation, not
      to make a distribution until such holder has provided to such Entity the information necessary to
      comply with any withholding requirements of any such taxing authority, and any required
      withholdings (determined after taking into account all information provided by such holder pursuant
      to this Article 13.17) shall reduce the distribution to such holder.

                13.18  Successors and Assigns.
                The rights, benefits, and obligations of any Entity named or referred to in the Plan shall be
      binding on, and shall inure to the benefit of, any heir, executor, administrator, successor or assign,
      affiliate, officer, director, agent, representative, attorney, beneficiary, or guardian, if any, of each
      Entity.

                13.19   Closing of Chapter 11 Case.

                The Reorganized Debtor shall, as promptly as practicable after the full administration of




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 1    the Chapter 11 Case, file with the Bankruptcy Court all documents required by Bankruptcy Rule

 2    3022, Local Bankruptcy Rule 3022-1, and any applicable order of the Bankruptcy Court to close

 3    the Chapter 11 Case.
             13.20 Document Retention.
 4
               On and after the Effective Date, the Reorganized Debtor may maintain documents in
 5
        accordance with his current document retention policy, as may be altered, amended, modified, or
 6
      supplemented by the Reorganized Debtor without order of the Bankruptcy Court.
 7
             13.21 Conflicts.
 8
             In the event of any conflict between the terms and provisions in the Plan (without reference
 9
        to the Plan Supplement) and the terms and provisions in the Disclosure Statement, the Plan
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        Supplement, any other instrument or document created or executed pursuant to the Plan, or any

 1      order (other than the Confirmation Order) referenced in the Plan (or any exhibits, schedules,

 2     appendices, supplements, or amendments to any of the foregoing), the Plan (without reference to

 3     the Plan Supplement) shall govern and control; provided, however, that in the event of a conflict
       between the Confirmation Order, on the one hand, and the Plan or the Plan Supplement, on the
 4
     other hand, the Confirmation Order shall govern and control in all respects.
 5
            13.22 Service of Documents.
 6
            After the Effective Date, any pleading, notice, or other document required by the Plan to be
 7
     served on or delivered to:
 8
                          the Debtor or the Reorganized Debtor, shall be served on:
 9
                            PACHULSKI STANG ZIEHL & JONES LLP
10                                  10100 Santa Monica Blvd., 13th Floor
                            Los Angeles, California 90067
11                          Attn: Richard M. Pachulski; Jeffrey W. Dulberg; Malhar S. Pagay
                            Email: rpachulski@pszjlaw.com; jdulberg@pszjlaw.com;
12                          mpagay@pszjlaw.com

13                          - and -

14                          O’Melveny & Myers LLP
                            Times Square Tower
15                          Seven Times Square
                            New York, New York 10036
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                                    Attn: Suzzanne Uhland; Diana Perez
                            Email: suhland@omm.com; dperez@omm.com
 2

 3           After the Effective Date, the Reorganized Debtor shall be authorized to limit the list of

 4    Entities receiving documents pursuant to Bankruptcy Rule 2002 to those Entities who have filed a

 5    renewed request to receive documents pursuant to Bankruptcy Rule 2002.
             13.23 Deemed Acts.
 6
             Whenever an act or event is expressed under the Plan to have been deemed done or to have
 7
      occurred, it shall be deemed to have been done or to have occurred without any further act by any
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      party, by virtue of the Plan and the Confirmation Order.
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 1
            13.24 Waiver or Estoppel.
 2
            Each holder of a Claim shall be deemed to have waived any right to assert any argument,
 3
     including the right to argue that its Claim should be Allowed in a certain amount, in a certain
 4
     priority, secured, or not subordinated by virtue of an agreement made with the Debtor or its counsel
 5
     or any other Entity, if such agreement was not disclosed in the Plan, the Disclosure Statement, or
 6
     papers filed with the Bankruptcy Court prior to the Confirmation Date.
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                                               SCHEDULE A

                                        Schedule of Retained Actions
 3
         1.   Case Title: Han’s San Jose Hospitality LLC v. Jia Yueting, et al.
 4            Case Number: Case No. 19 CV342187 (Consolidated with Han’s San Jose Hospitality LLC
              v. Le Holdings (Beijing) Co., LTD, et al. Case No. 17CV317221)
 5
              Nature of the case: Unlawful detainer/ alter ego
 6            Court or agency: Santa Clara Superior Court, 191 North 1st Street, San Jose, California,
              95113
 7
              Status of the case: Pending
 8
         4.   Case Title: Shanghai Lan Cai Asset Management Co, Ltd v. Jia Yueting, FF Peak Holding
 9            Limited and FF Top Holding Ltd.
              Case Number: Case No. BVIHC (COM) 198/2018
10
              Nature of Case: Enforcement of arbitration award issued by the Beijing Arbitration
              Commission with freezing orders against the entire issued share capital of FF Peak Holding
11            Limited and FF Top Holding Ltd.
12            Court or Agency: Eastern Caribbean Supreme Court, Registry of the High Court, 2nd
              Floor, SAKAL Building, Wickham’s Cay, Road Town Tortola VG1110
13            Status of Case: Pending

14       5.   Case Title: 0-Film Global (HK) Trading Ltd. and Nanchang 0-Film Photoelectric
              Technology Co., Ltd. v. Yue-Ting Jia
15
              Case Number: Case No. YC072617
16            Court or Agency: Superior Court of the State of California, County of Los Angeles,
              Torrance Courthouse 825 Maple Ave., Torrance, CA 90503
17
              Nature of the case: Breach of contract
18            Status of Case: Pending

19       6.   Case Title: China CITIC Bank Co., Ltd. Head Office Sales Department v. Yueting Jia &
              Leshi Holdings (Beijing) Co., Ltd. & Beijing Fortune Times Real Estate Co., Ltd. & Beijing
20            Baiding New Century Business Management Co., Ltd. & LeTV Information Technology
              (Beijing) Co., Ltd.
21            Case Number: Case No. 2017 Jin Min Chu #86

22            Court Name: Beijing High People's Court
              Court Address: No. 10, Jianguomen South Street, Chaoyang District, Beijing 100022
23
              Nature: Financial loan contract dispute
24            Status: On appeal

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         7.    Case Title: Ping An Bank Co., Ltd. Shenzhen Branch v. Yueting Jia & Leshi Holdings
              (Beijing) Co., Ltd. & Leshi Sports Culture Industry Development (Beijing) Co., Ltd.
              Case Number: 2018 Yue Min Chu #125




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 3                 Court Name: Guangdong High People’s Court

 4                 Court Address: No. 9, Yiheng Road, Yuancun, Tianhe District, Guangzhou, China 510655
                   Nature: Financial loan contract dispute
 5
                   Status: Pending
 6
            8. Case Title: BOE Technology (Hong Kong) Co., Ltd. v. Yueting Jia & LeTV Mobile
 7                Intelligent Information Technology (Beijing) Co., Ltd. & LeSai Mobile Technology
                  (Beijing) Co., Ltd. & Leshi Holdings (Beijing) Co., Ltd.
 8                 Case Number: 2017 Jing Min Chu #54
                   Court Name: Beijing High People’s Court, No. 10, Jianguomen South Street, Chaoyang
 9                 District, Beijing, China 100022
10                 Nature: Sale contract dispute
                   Status: Pending
11
            9.     Case Title: Yizhuang International Holdings (Hong Kong) Co., Ltd. v. Yueting jia & Leshi
12                 Holdings (Beijing) Co., Ltd.

13                 Case Number: Case No. 2018 Jing Min Chu #72
                   Court Name: Beijing High People’s Court, No. 10, Jianguomen South Street, Chaoyang
14                 District, Beijing, China 100022

15                 Nature: Guarantee contract dispute
                   Status: Pending
16
            10.    Case Title: Beijing Century Ruike System Technology Co., Ltd. v. Yueting Jia & Leshi
17                 Sports Culture Industry Development (Beijing) Co., Ltd. & Leshi Holdings (Beijing)
                   Co., Ltd.
18
                   Case Number: Case No. 2018 Jing 0108 Min Chu #51312
19                 Court Name: Beijing Haidian District People’s Court, 12 Danling Street, Haidian
                   District, Beijing, China 100080
20                 Nature: Sale contract dispute

21                 Status: Pending

22          11. Case Title: Jiangsu Red Earth Venture Capital Management Co., Ltd. v. Yueting Jia
                   Case Number: Unknown
23
                   Court Name: Ningbo Intermediate People’s Court, Zhejiang Province, No. 746 Zhongxing
24                 Road, Jiangdong District, Ningbo, Zhejiang, China 315040
                                                                Nature: Contract dispute
25
27
28 - 78 -                                                       Status: Pending
26
                                                                12.    Case Title : Gan Wei v. Yueting Jia
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 1
              Case Number: Unknown
              Court Name: Chengdu Jinjiang District People’s Court, No. 90, Longzhou Road,
              Gongnongyuan Street, Jinjian District, Chengdu, Sichuan, China


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 3            Nature: Divorce proceeding
              Status: Pending
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                                                         SCHEDULE B
 4
                        Schedule of Contracts and Leases to be Assumed Under the Plan
 5
            1.       Contract/Lease: Residential Lease for real property located at (1) 7 Marguerite Drive,
 6                   Rancho Palos Verdes, CA 90275; (2) 11 Marguerite Drive, Rancho Palos Verdes, CA 90275;
                     (3) 15 Marguerite Drive, Rancho Palos Verdes, CA 90275; (4) 19 Marguerite Drive, Rancho
 7                   Palos Verdes, CA 90275; and (5) 91 Marguerite Drive, Rancho Palos Verdes, CA 90275
                     Counterparty: Ocean View Drive Inc., 7 Marguerite Drive, Rancho Palos Verdes, CA 90275
 8
            2.       Contract/Lease: Residential Sublease for (1) 7 Marguerite Drive, Rancho Palos Verdes, CA
 9                   90275; (2) 11 Marguerite Drive, Rancho Palos Verdes, CA 90275; (3) 15 Marguerite Drive,
                     Rancho Palos Verdes, CA 90275; and (4) 19 Marguerite Drive, Rancho Palos Verdes, CA
                     90275
10
                     Counterparty: Warm Time Inc., 30037 Avenida Esplendida, Rancho Palos Verdes, CA
11                   90275
            3.       Contract/Lease: Agreement Regarding Services dated September 20, 2019
12
                     Counterparty: Xiangxiang Zuo
13          4.       Contract/Lease: Agreement Regarding Services dated September 20, 2019
                     Counterparty: Jerry Wang
14
            5.       Contract/Lease: Agreement Regarding Services dated September 20, 2019
15                   Counterparty: Mia Zhang
            6.       Contract/Lease: Agreement Regarding Services dated September 20, 2019
16
                     Counterparty: Luetian Sun
17          7.       Contract/Lease: Agreement Regarding Services dated September 20, 2019
                     Counterparty: Shan He
18
            8.       Contract/Lease: Agreement Regarding Services dated September 20, 2019
19                   Counterparty: Ruokun Jia

20          9.       Contract/Lease: Agreement Regarding Services dated September 20, 2019
                     Counterparty: Chaoying Deng
21         10.       Contract/Lease: Agreement Regarding Services dated September 20, 2019
22                   Counterparty: Xinyu Zhang
           11.       Contract/Lease: Agreement Regarding Services dated September 20, 2019
23
                     Counterparty: Xiaoou Ma
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 1
          12.       Contract/Lease: Restructuring Agreement and Call Option dated December 31, 2018
                    Counterparty: Season Smart Limited, Vistra Corporate Services Centre, Wickhams Cay II,
                    Road Town, Tortola, VG1110, British Virgin Islands




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 3                                                      SCHEDULE C

 4                     Schedule of Key China Business Individuals and KCBI Claimants
             Key China Business Individuals                KCBI Claimants and Released Guarantees
 5           Hong Liu                                    Beijing Haidian Technology Financial Capital
             Peng Shi                                    Holding Group Co., Ltd. ($41,958,041.96)
 6           Yongqinag Yang                              Huaxia Life Insurance Co., Ltd. ($55,944,055.94)
             Yuemin Jia                                  1. Wuhan Credit Loan Co., Ltd.($41,958,041.96)
 7                                                       2. Shenzhen Yingda Capital Management
                                                             Co., Ltd. ($279,720,279.72)
 8                                                       3. Linfen investment group Co., Ltd.
                                                            ($139,860,139.86)
 9                                                       4. Ping An Bank Co., Ltd. Beijing Branch
                                                            ($173,846,153.85)
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                                                     SCHEDULE D
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                                                  Schedule of Entities
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        1. Atieva, Inc. D/B/A Lucid Motors, Inc.;
4       2. BAIC Motor Vehicle Co. Ltd.;
        3. Blitz Technology Hong Kong Co. Limited;
5       4. Blue Sea Legend LLC;
        5. Evergrande Health Industry Group;
6       6. Hankey Capital LLC;
        7. Hengtian Zhongyan Investment Management Co., Ltd.;
7       8. Innovation Era Holding Ltd.;
        9. Ki Lun Trading Ltd.;
8       10. Kin Kin (Hong Kong) Limited;
        11. Lanfeng (HK) Holding Limited;
9       12. LeSoar Holdings Limited;
        13. Liberal Faith Limited (BVI);
10      14. Lucid Motors, Inc.;
        15. Ningbo Hangzhou Bay New District Lenuo Investment Management Co., Ltd.;
11      16. Ocean View Drive, Inc.;
        17. Royod LLC;
12      18. Segomind, Inc.;
        19. Shing Wai Trading Limited;
13      20. Shou Yi Lian Jie (Beijing) Technology Ltd. Co.;
        21. Success Pyramid Ltd.;
14      22. Warm Time Inc.; and
        23. Yi Jia Living Trust.
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                                        EXHIBIT B
                                 Amended Plan Term Sheet
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                                                                                       Execution Version
                                 YT - Amended Plan Term Sheet

               This amended term sheet (the “Term Sheet”) sets forth the material terms upon
which Yueting Jia (“YT” or the “Debtor”) shall, on and subject to the occurrence of the effective
date (the “Effective Date”) of a chapter 11 plan consistent in all material respects with this Term
Sheet (the “Plan”), transfer substantially all of his available assets (as described more fully below,
the “Trust Assets”) to a creditors’ trust (the “Trust”) to be formed pursuant to the Plan, the Trust
Agreement (as defined below), and this Term Sheet for the benefit of holders of allowed Debt
Claims (as defined below).

                As of the date of this Term Sheet, certain of the Trust Assets may be subject to certain
limitations and prohibitions imposed by (i) preliminary injunctions, freezing orders, and/or similar
orders from courts in the British Virgin Islands (the “BVI Injunction”) and the United States federal
courts situated in the state of California (the “U.S. Injunctions” and collectively with the BVI
Injunction, the “Injunctions”), (ii) that certain FifthSixth Amended and Restated Memorandum and
Articles of Association of FF Intelligent Mobility Global Holdings Ltd. (f/k/a Smart King Ltd.)
(“Smart KingFF Intelligent”) adopted as of October 12, 2019February 10, 2020 (the “SKFF
Intelligent M&A”), and (iii) that certain Restructuring Agreement, dated as of December 31, 2018,
by and among Smart King Ltd. (n/k/a FF Intelligent), YT, Season Smart Limited, a company formed
under the laws of the British Virgin Islands (“Season Smart”), and the other parties thereto (the
“Restructuring Agreement”).

 Purpose                 The Plan will, among other things, grant each holder of an Allowed
                         Debt Claim (as defined below) or Late Filed Debt Claim (as defined
                         below) a beneficial interest (a “Trust Interest”) in the Trust or the Late
                         Filed Debt Claims Reserve (as defined below), as applicable, based on
                         the formulas set forth hereinDebt Claim Allocation Amount (as
                         defined below) of such claim.

                         The Trust will preserve, hold, manage, and maximize the Trust Assets
                         pursuant to a trust agreement (the “Trust Agreement”) in form and
                        substance acceptable to the Official Committee of Unsecured Creditors
                        (the “Committee”) for the benefit of the holders of the Trust Interests.
                        The Trust Agreement will be included in the plan supplement and
                        will be approved in connection with confirmation of the Plan.

 Existing                As of the date of this Term Sheet and continuing until the Effective
 Corporate               Date, as a material inducement for the Committee to approve this Term
 Structure               Sheet and support the Plan, YT represents to the Committee, and on or
                         before the Effective Date, YT and Wei Gan, as applicable, shall execute
                         declarations to such effect in form and substance reasonably acceptable
                         to the Committee (respectively, the “YT Declaration” and the “Wei Gan
                         Declaration” and collectively, the “Declarations”), as follows:

                         (a) YT owns 100% of the issued and outstanding economic interests in


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                  West Coast LLC (“West Coast”) through a nominee, Lian Bossert.




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(b) The sole asset of West Coast is 100% of the preferred membership
units (the “Preferred PT Units”) of Pacific Technology Holding LLC, a
Delaware limited liability company (“Pacific Technology”), which
comprise 20% of the currently issued and outstanding membership
interests of Pacific Technology.

(c) Pacific Technology is the sole owner of FF Peak Holding Limited, a
company organized in the British Virgin Islands (“FF Peak”).

(d) FF Peak is the sole owner of FF Top Holding Ltd., a company
organized in the British Virgin Islands (“FF Top”).

(e) FF Top owns 40.8% of the issued and outstanding Class B shares
of Smart KingFF Intelligent (the “Smart KingFF Intelligent Shares”).

(f) YT has a contractual right to direct Pacific Technology to direct FF
Peak to direct FF Top to transfer 147,058,823 of the Smart KingFF
Intelligent Shares (the “Trust Smart KingFF Intelligent Shares”) to the
Trust (the “Smart KingFF Intelligent Transfer Right”).

(g) Pursuant to Section 16 of the Third Amended and Restated Limited
Liability Company Agreement of Pacific Technology (the “PT LLCA”),
the Preferred PT Units entitle West Coast to receive
certain distributions of capital from Pacific Technology from time to
time (the “Preferred Unit Distribution Rights”),1 consisting of (1) a
priority distribution of up to $815.7 million, plus interest at 8% per
annum, after the return of capital to the management (plus 8% interest
per annum) but before any other capital is distributed from Pacific
Technology, plus (2) a special distribution of 10% of all remaining
distributions of capital from Pacific Technology, plus (3) its pro rata
share (i.e., 20%) of all remaining distributions of capital from Pacific
Technology.

(h) YT owns a call option (the “Call Option”) pursuant to the
Restructuring Agreement, entitling YT to purchase Season Smart’s
shares in Smart KingFF Intelligent under certain circumstances.

(i) YT is the sole owner of Ford Field International Limited, a company
organized in the British Virgin Islands (“Ford Field”).

(j) YT and Wei Gan own no direct or indirect ownership interests in
(including through any nominee, trust, or similar arrangement), do not




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                   1 The description of the Preferred Unit Distribution Rights in this Term Sheet is not
                   intended to limit the actual terms of Section 16 of the PT LLCA.




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                       directly or indirectly control, and do not hold a beneficial interest in any
                       of the entities listed on Exhibit D attached hereto, or any of their
                        respective parent companies or subsidiaries.

 Corporate             On the Effective Date, the managing member of Pacific Technology
 Structure and         shall amend the PT LLCA to:
 Governance
                           •     provide that the Trust is a member of Pacific Technology
                                 and the holder of 100% of the Preferred PT Units,
                           •    issue new units of Pacific Technology to the Trust (the “New PT
                                Units”), entitling the Trust to 100% of the economic value of the
                                Trust Smart KingFF Intelligent Shares, and
                          • grant the Trust a fully paid-up warrant to receive the Trust
                          SmartFF
                            Intelligent Shares consistent with the FF Intelligent Transfer
                            King Shares consistent with the Smart King Transfer Right
                            with no further action necessary by YT, exercisable upon the
                            dissolution of the Injunctions (the “Warrant”).
                       The Plan and the order confirming the Plan (the “Confirmation Order”)
                       shall (a) provide, pursuant to section 363 of the Bankruptcy Code, that
                       the Preferred PT Units and the New PT Units shall vest in the Trust
                       free and clear of any and all liens, claims, encumbrances, contractual
                       restrictions, and other interests, provided that the Preferred PT Units
                       and the New PT Units shall be subject to the PT LLCA as amended on
                       the Effective Date pursuant to, and consistent in all material respects
                       with, this Term Sheet and the Plan and (b) for so long as the Preferred
                       PT Units are outstanding, prohibit Pacific Technology and its managing
                       member from amending the PT LLCA in any manner that adversely
                       affects the rights and claims provided to the Trust as set forth in the
                       Plan and this Term Sheet.

                       Upon the dissolution of the Injunctions, the Trustee may exercise the
                       Warrant and direct FF Top to transfer the Trust Smart KingFF
                       Intelligent Shares directly to the Trust pursuant to the SK M&A,
                       provided that the Trustee shall exercise the Warrant no later than in
                       connection with the IPO (as defined below). Upon the indefeasible
                       transfer of the Trust Smart KingFF
                       Intelligent Shares to the Trust pursuant to the Warrant, the New PT Units
                       shall be deemed permanently retired.
                       Units shall be deemed permanently retired.

 Assets of the Trust   The Trust Assets shall consist of the following property of YT on the
                       Effective Date:

                       (a) 100% of the Preferred PT Units;

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                  (b) 100% of the New PT Units;




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(c) the Warrant;2

(d) following the exercise of the Warrant and the indefeasible transfer of
the Trust Smart KingFF Intelligent Shares to the Trust, the Trust Smart
KingFF Intelligent Shares;

(e) all financial assets of YT (i.e., accounts, securities, or real property)
wherever located, whether owned directly or through any nominee,
including, but not limited, to any Seized China Assets (as defined below)
of YT in existence as of the Effective Date and remaining after the
satisfaction of any claims recoverable from such assets under applicable
law but excluding (i) any exempt assets of YT under section 522 of the
Bankruptcy Code, (ii) income of the Debtor after the Petition Date (as
defined below) listed on Schedule J [Docket No. 28], and (iii) the Debtor’s
rental agreement with Warm Time Inc. and any income derived from such
rental agreement, or the proceeds thereof, provided that the inclusion of
such assets in the Trust does not include the right to assert (x) any YT
Claims except as set forth in the “Standstill, China Restrictions, and
Releases of Claims” section of this Term Sheet or (y) causes of action of
YT’s estate except for those expressly permitted in the “Bankruptcy
Actions” section of this Term Sheet;

(f) all interests, claims, and causes of action owned by YT (including
through any nominee) in connection with Beijing Dongfang Cheyun
Information Technology Co., Ltd. in existence of the Effective Date;

(g) the rights to recover property in accordance with the “Bankruptcy
Actions” section of this Term Sheet and all proceeds thereof;

(h) the Call Option, subject to certain rights of FF Global Partners LLC
(“FF GlobalGP”) as set forth below in the “Call Option” section of this
Term Sheet, which Call Option may not be exercised or transferred by
the Trust without the consent of FF GlobalGP;

(i) the proceeds of the Trust Financing (as defined below) as set forth
below in the “Trust Financing” section of this Term Sheet; and

(j) YT’s interests in Ford Field.

After the occurrence of the Effective Date, YT may engage, at YT’s sole
expense, an independent valuation firm to conduct a valuation of the
Trust Assets (other than the proceeds of the Trust Financing) as of the
Effective Date. The Trustee shall cooperate in good faith with such
independent valuation firm as it conducts its valuation.




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                   2   Structure to be confirmed by tax counsel.




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 Non-Debt Claims    On the Effective Date, holders of Allowed3 Administrative Expense
                    Claims, Priority Tax Claims, Priority Non-Tax Claims, and U.S.

 Non-Debt Claims   On the Effective Date, holders of Allowed3 Administrative Expense
                   Claims, Priority Tax Claims, Priority Non-Tax Claims, and U.S.
                   Secured Claims (each as defined in the Plan) will receive cash equal to
                   the unpaid amount of their claims, except to the extent any such holder
                   agrees to less favorable treatment or elects to receive Trust Distributions
                   (as defined below) on the dates of distributions to holders of the Trust
                   Interests in accordance with the distribution waterfall set forth on
                   Exhibit A attached hereto and as further set forth in the Trust
                   (as defined below) on the dates of distributions to holders of the Trust
                   Interests in accordance with the distribution waterfall set forth on
                   Exhibit A attached hereto and as further set forth in the Trust
                   Agreement (the “Distribution Waterfall”).

                    On the Effective Date, each holder of an Allowed China Secured Claim
                   (as defined in the Plan) will receive, at the option of the Debtor and in full
                   and complete settlement, release, and discharge of, and in exchange for,
                   such Allowed China Secured Claim (a) the proceeds of the sale or
                   disposition of the collateral securing such Allowed China Secured
 China Secured      On the Effective Date, each holder of an Allowed China Secured Claim
 Claims             (as defined in the Plan) will receive, at the option of the Debtor and in
                    full and complete settlement, release, and discharge of, and in exchange
                    for, such Allowed China Secured Claim (a) the proceeds of the sale or
                    disposition of the collateral securing such Allowed China Secured
                    Claim in accordance with applicable law, to the extent of the value of
                    such holder’s secured interest in such collateral, (b) other treatment
                    rendering such Allowed China Secured Claim unimpaired, or (c) such
                    other treatment as may be mutually agreed to by and among such holder
                    and the Debtor or the Reorganized Debtor, as applicable; provided,
                    however that if the holder of an Allowed China Secured Claim has not
                    received the value of the collateral securing its Allowed China Secured
                    Claim on or before the initial Trust Distribution Date (as defined
                    below), such Allowed China Secured Claim shall be treated as a Debt
                    Claim (as defined below) for all purposes under the Plan. For the
                    avoidance of doubt, the Allowed amount of a China Secured Claim
                    shall equal the value of the collateral, at disposition, securing such
                    Allowed China Secured Claim in accordance with section 506(a) of the
                    Bankruptcy Code.

                    Claim in accordance with section 506(a) of the Bankruptcy Code.

 Seized China      “Seized China Assets” means any assets that (a) (i) have already been
 Assets            collateralized by YT or an obligor, guarantor, or pledgor, (ii) have
                   already been pledged by YT or an obligor, guarantor, or pledgor, or


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                              collateralized by YT or an obligor, guarantor, or pledgor, (ii) have
                              already been pledged by YT or an obligor, guarantor, or pledgor, or
                              (iii) YT, or an obligor, guarantor, or pledgor owns and (b) have been
                              seized, attached, or frozen by Chinese judiciary authorities in
                              connection with Chinese enforcement actions on account of any
                              China Secured Claims or Debt Claims.

                             Claims.
    Debt Claims              “Debt Claim” means any claim (as defined in section 101(5) of the
                             Bankruptcy Code) against YT that is (a) not an Administrative Expense
                             Claim, Priority Tax Claim, Priority Non-Tax Claim, China Secured
                             Claim, or U.S. Secured Claim (each as defined in the Plan),
                             (b) otherwise determined by the Bankruptcy Court (as defined in the
                             Plan) to be a Debt Claim, or (c) a Deficiency Claim (as defined below).


3 “Allowed” means, with respect to any claim, such claim or portion thereof (a) that has been listed by YT in his
schedules of assets and liabilities as liquidated in amount and not disputed or contingent and for which no contrary
proof of claim has been filed; (b) as to which the deadline for objecting or seeking estimation has passed, and no
objection or request for estimation has been filed; (c) as to which any objection or request for estimation has been filed
has been settled, waived, withdrawn, or denied by a final order; or (d) that is allowed pursuant to (i) a final order of
the Bankruptcy Court or (ii) the Plan.




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Debt Claims                   “Debt Claim” means any claim (as defined in section 101(5) of the
“Allowed Debt                 Bankruptcy Code) against YT that is (a) not an Administrative Expense
Claim Allocation              Claim, Priority Tax Claim, Priority Non-Tax Claim, China Secured
Amount” means                 Claim, or U.S. Secured Claim (each as defined in the Plan),
the Allowed                   (b) otherwise determined by the Bankruptcy Court (as defined in the
amount of a Debt              Plan) to be a Debt Claim, or (c) a Deficiency Claim (as defined below).
Claim together
with any unpaid               “Debt Claim Allocation Amount” means, for the purpose of determining
interest at the rate          the pro rata share of Trust Interests, that portion of an Allowed Debt
of four percent per           Claim that constitutes outstanding principal together with any unpaid
annum from the                interest on outstanding principal at the rate of four percent per annum
time the                      from the time the underlying debt arose through October 14, 2019, the
underlying debt               date YT filed his voluntary chapter 11 petition (the “Petition Date”).
arose through
October 14, 2019,             “Debt Claim Distribution Amount” means on any Trust Distribution
the date YT filed             Date (as defined below), the Debt Claim Allocation Amount minus any
his voluntary                 Other Distributions (as defined below) and Trust Distributions (as
chapter 11 petition           defined below) received by the holder of an Allowed Debt Claim before
(the “Petition                such Trust Distribution Date.
Date”).
                              “Other Distributions” means (a) any amounts the holder of an Allowed
“Allowed Debt                 Debt Claim actually receives from the primary obligor or any guarantor
Claim Distribution            besides YT, of such Debt Claim based on such holder’s contractual
Amount” means the             agreement with such primary obligor or guarantor, (b) if the primary
Allowed Debt                  debt obligation underlying such Debt Claim is satisfied in whole or in
Claim Allocation              part by conversion to equity in any jurisdiction, the corresponding
Amount minus (a)              reduction in the amount of the Debt Claim on account of such
any amounts the               conversion, or (c) any amounts the holder of an Allowed China Secured
holder of such Debt           Claim or Allowed Debt Claim actually receives upon the disposition of
Claim actually                any Seized China Assets.
receives from the
primary obligor or            “Late Filed Debt Claim” means a Debt Claim filed after the applicable
any guarantor                 deadline set by the Bankruptcy Court to file claims in the chapter 11
besides YT, of such           case but before the occurrence of a Distribution Event (as defined
Debt Claim based              below).
on such holder’s
contractual                   The aggregate amount recoverable by any holder of a Debt Claim
agreement with                through Other Distributions shall be reduced by the amount of any
such primary                  distributions paid from the Trust (“Trust Distributions”) on account of
obligor or the                such Debt Claim.
[Different first page         “Deficiency Claim” means that portion of a Secured China Claim that is
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modified.].                   through agreement, to exceed the value of the claimant’s interest in the
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to-previous setting           Deficiency Claims shall be treated as Debt Claims.
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enforcement of an
existing collection
action against a
guarantor, minus (b)
if the primary debt
obligation
underlying such
Debt Claim is
satisfied in whole or
in part by
conversion to equity
in any jurisdiction,
the corresponding
reduction in the
amount of the Debt
Claim on account of
such conversion
(items (a) and (b)
collectively, “Other
Distributions”). For
the avoidance of
doubt any Other
Distributions
received by a holder
of an Allowed Debt
Claim shall be first
applied to reduce
the principal
amount of such
Debt Claim, and
any remaining
consideration to
satisfy any accrued
but unpaid interest.

“Late Filed Debt
Claim” means a
Debt Claim filed
after the applicable
deadline set by the
Bankruptcy Court
to file claims in the
chapter 11 case but
before the

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occurrence of a
Distribution Event
(defined below).

The aggregate
amount
recoverable by
any holder of a
Debt Claim
through Other
Distributions shall
be reduced by the
amount of any
distributions paid
from the Trust
(“Trust
Distributions”) on
account of such
Debt Claim.

“Deficiency Claim”
means that portion
of a Secured China
Claim that is
determined
pursuant to section
506(a) of the
Bankruptcy Code or
through agreement,
to exceed the value
of the claimant’s
interest in the
collateral securing
such Claim. For the
avoidance of doubt,
all Deficiency
Claims shall be
treated as Debt
Claims.




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Late Filed Debt   On the Effective Date, the Trustee shall (a) establish a separate trust (the
Claims Reserve    “Late Filed Debt Claims Reserve”) for the benefit of any Late Filed Debt
                  Claims and (b) transfer 10% of the Trust Assets to the Late Filed Debt
                  Claims Reserve. The Late Filed Debt Claims Reserve will have no
                  operations other than to make distributions to holders of Late Filed Debt
                  Claims and will be managed by the Trustee pursuant to a separate trust
                  agreement with substantially similar governance terms as the Trust
                  Agreement. At the conclusion of the Standstill Period (defined below),
                  any unallocated assets in the Late Filed Debt Claims Reserve shall




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                       revert to the Trust for the ratable benefit of holders of Allowed Debt
                       Claims and YT pursuant to the Distribution Waterfall.

 Late Filed Debt       On the Effective Date, the Trustee shall (a) establish a separate trust (the
 Claims Reserve        “Late Filed Debt Claims Reserve”) for the benefit of any Late Filed
                       Debt Claims and (b) transfer 10% of the Trust Assets to the Late Filed
                       Debt Claims Reserve. The Late Filed Debt Claims Reserve will have
                       no operations other than to make distributions to holders of Late Filed
                       Debt Claims and will be managed by the Trustee pursuant to a separate
                       trust agreement with substantially similar governance terms as the
                       Trust Agreement. At the conclusion of the Standstill Period (as defined
                       below), any unallocated assets in the Late Filed Debt Claims Reserve
                       shall revert to the Trust for the ratable benefit of holders of Allowed
                       Debt Claims and YT pursuant to the Distribution Waterfall.

                       In order for a Late Filed Debt Claim to be Allowed and participate in
                       the Late Filed Debt Claims Reserve, YT and the Trustee shall make
                       commercially reasonable efforts to agree that allowance of such Late
                       Filed Debt Claim in a particular amount is in the best interests of YT
                       and the Trust.

                       If YT and the Trustee do not agree to the allowance or amount of any
                       Late Filed Debt Claim, the dispute shall be resolved pursuant to the
                       Plan Arbitration Procedures (as defined below). In seeking the
                       allowance of any Late Filed Debt Claim Order, YT shall bear the
                       burden of demonstrating to the Bankruptcy Court that allowance of
                       such Late Filed Debt Claim is in the best interests of YT and the Trust.

                       Filed Debt Claim in a particular amount is in the best interests of YT
                       and the Trust.

                       If YT and the Trustee do not agree to the allowance or amount of any
                       Late Filed Debt Claim, the dispute shall be resolved pursuant to the Plan
                       Arbitration Procedures (defined below). In seeking the allowance of any
                       Late Filed Debt Claim Order, YT shall bear the burden of demonstrating
                       to the Bankruptcy Court that allowance of such Late Filed Debt Claim is
                       in the best interests of YT and the Trust.

 Voting Rights with The Trustee shall exercise all voting rights, if any, with respect to the
 respect to Trust   Trust Smart King Shares owned by the Trust after the exercise of the
 Assets             Warrant.




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 Voting Rights with   The Trustee shall exercise all voting rights, if any, with respect to the
 respect to Trust     Trust FF Intelligent Shares owned by the Trust after the exercise of
 Assets               the Warrant.

                      Prior to the occurrence of an IPO (as defined below), (i) the Trustee
                      shall have observer rights regarding the committee meetings held by the
                      committee of managers of FF GlobalGP; and (ii) YT will use
                      commercially reasonable efforts to provide the Trustee with observer
                      rights with respect to the boards of Smart KingFF Intelligent, Faraday &
                      Future Inc., a California corporation, FF Inc., a California corporation,
                      and all other material, direct or indirect, operating subsidiaries of Smart
                      KingFF Intelligent that hold separate board meetings.

 Term of the Trust    The term of the Trust (the “Term”) will initially extend until the fifth
                      anniversary of the Effective Date (the “Initial Term”). The Term shall
                       not extend beyond the tenth anniversary of the Effective Date unless the
                       chapter 11 case is reopened to obtain a court order extending the Term.

                      If the completion of an initial public offering on the New York Stock
                      Exchange, Nasdaq, the Hong Kong Stock Exchange, the London Stock
                      Exchange, or any other internationally recognized stock exchange
                      (including China) with respect to the shares of outstanding capital stock
                      of Smart King or such other relevant listing vehicle, as applicable
                      (an “IPO”), occurs during the Initial Term, the Term and the Standstill
                      Period shall be automatically extended through the conclusion of the
                      selloff period for the Marketable Securities (as defined below) as set
                      forth on Exhibit B attached hereto.

                      If the completion of an IPO has not occurred during the Initial Term, the
                      Trustee may elect to extend the Term for successive one-year periods




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                   Exchange, or any other internationally recognized stock exchange
                   (including China) with respect to the shares of outstanding capital stock
                   of FF Intelligent or such other relevant listing vehicle, as applicable (an
                   “IPO”), occurs during the Initial Term, the Term and the Standstill
                   Period shall be automatically extended through the conclusion of the
                   selloff period for the Marketable Securities (as defined below) as set
                   forth on Exhibit B attached hereto.

                   If the completion of an IPO has not occurred during the Initial Term, the
                   Trustee may elect to extend the Term for successive one-year periods (or
                   such other periods as the Trustee determines to be appropriate) to the
                   extent necessary to allow for orderly liquidation of any remaining Trust
                   Assets.

                   The Trustee shall dissolve and wind up the Trust and distribute the Trust
                   Assets upon the expiration of (a) the Initial Term, if no extension
                   (automatic or otherwise) is exercised, or (b) the expiration of any
                   extended Term of the Trust.

                   Certain aspects of the Trust will be subject to automatic amendment
                   based on aggregate distributions set forth in the Distribution Waterfall,
                   as set forth in this Term Sheet and Exhibit A hereto.

                   The Trustee may dissolve the Trust before the end of the Initial Term or
                   any extended Term if: (a) all of the Trust Assets have been distributed
                   in accordance with the Distribution Waterfall, including any
                   distributions to YT; or (b) a Liquidation Event (as defined below) has
                   occurred.

                   Upon termination of the Trust, the Trustee shall obtain a valuation of the
                   Trust Assets as of the termination date (performed by an independent
                   valuation firm selected by the Trustee and approved by the Creditor
                   Trust Committee and YT) and shall, as promptly as practicable
                   following the completion of the independent valuation, distribute the
                   Trust Assets in kind to the creditors and YT in accordance with the
                   Distribution Waterfall.

Trustee            There shall be one trustee (the “Trustee”) of the Trust. The initial
                   Trustee shall be disclosed in the disclosure statement. Any successor
                   Trustee shall be selected by majority vote of the Creditor Trust
                   Committee (as defined below), subject to approval by YT (which
                   approval shall not be unreasonably withheld), in accordance with the
                   Trust Agreement, which shall set forth certain criteria with respect to
                   the relevant experience and qualifications for the Trustee.

                   The Trustee shall act as a fiduciary and shall not be personally liable in
                   connection with the affairs of the Trust or to any person except for such
                   of the Trustee’s acts or omissions that constitute fraud, willful
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                   misconduct, or gross negligence as determined by a final order of a court
                   of competent jurisdiction. In addition, the Trustee shall be indemnified
                   by the Trust against and held harmless by the Trust from any losses,
                   claims, damages, liabilities, or expenses (including, without limitation,
                   attorneys’ fees, disbursements, and related expenses) to which the
                   Trustee may become subject in connection with any action, suit,
                   proceeding, or investigation brought or threatened against the Trustee in
                   connection with any matter arising out of or related to the Trust
                   Agreement or the affairs of the Trust (other than in respect of acts




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                   of the Trustee’s acts or omissions that constitute fraud, willful
                   misconduct, or gross negligence as determined by a final order of a
                   court of competent jurisdiction. In addition, the Trustee shall be
                   indemnified by the Trust against and held harmless by the Trust from
                   any losses, claims, damages, liabilities, or expenses (including, without
                   limitation, attorneys’ fees, disbursements, and related expenses) to
                   which the Trustee may become subject in connection with any action,
                   suit, proceeding, or investigation brought or threatened against the
                   Trustee in connection with any matter arising out of or related to the
                   Trust Agreement or the affairs of the Trust (other than in respect of
                   acts or omissions that constitute fraud, willful misconduct, or gross
                   negligence, as determined by a final order of a court of competent
                   jurisdiction). The Trustee shall be entitled to obtain customary
                   fiduciary and/or errors and omissions liability insurance and engage
                   independent legal counsel and financial advisors to assist with its
                   evaluation of any matters with respect to the Trust, including any
                   Liquidation Event.

                   The Trustee shall be compensated by the Trust from Trust Assets
                   pursuant to the Trust Agreement. The Trustee shall be entitled to
                   reimburse itself out of any available cash in the Trust, for its actual out-
                   of-pocket expenses and shall be indemnified by the Trust from Trust
                   Assets against and from any and all loss, liability, expense, or damage
                   that the Trustee may sustain in good faith and without willful
                   misconduct, gross negligence, or fraud in the exercise and performance
                   of any of the powers and duties of the Trustee under the Trust
                   Agreement.

                   The Trustee may resign upon not less than sixty days’ advance written
                   notice to the Creditor Trust Committee, with such resignation to take
                   effect once a replacement Trustee has been appointed.

                   The Creditor Trust Committee may remove the Trustee in the event the
                   Trustee commits any act or omission that constitutes fraud, breach of
                   fiduciary duty, willful misconduct, or gross negligence. Upon the
                   removal of the Trustee as set forth in the immediately preceding
                   sentence, the Creditor Trust Committee shall have the right to appoint a
                   replacement Trustee, subject to approval by YT (which approval shall
                   not be unreasonably withheld).

                  or omissions that constitute fraud, willful misconduct, or gross
                  negligence, as determined by a final order of a court of competent
                  jurisdiction). The Trustee shall be entitled to obtain customary
                  fiduciary and/or errors and omissions liability insurance and engage
                  independent legal counsel and financial advisors to assist with its
                  evaluation of any matters with respect to the Trust, including any
                  Liquidation Event.

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                   The Trustee shall be compensated by the Trust from Trust Assets
                   pursuant to the Trust Agreement. The Trustee shall be entitled to
                   reimburse itself out of any available cash in the Trust, for its actual out-
                   of-pocket expenses and shall be indemnified by the Trust from Trust
                   Assets against and from any and all loss, liability, expense, or damage
                   that the Trustee may sustain in good faith and without willful
                   misconduct, gross negligence, or fraud in the exercise and performance
                   of any of the powers and duties of the Trustee under the Trust
                   Agreement.

                   The Trustee may resign upon not less than sixty days’ advance
                   written notice to the Creditor Trust Committee, with such resignation
                   to take effect once a replacement Trustee has been appointed.

                   The Creditor Trust Committee may remove the Trustee in the event the
                   Trustee commits any act or omission that constitutes fraud, breach of
                   fiduciary duty, willful misconduct, or gross negligence. Upon the
                   removal of the Trustee as set forth in the immediately preceding
                   sentence, the Creditor Trust Committee shall have the right to appoint
                   a replacement Trustee, subject to approval by YT (which approval
                   shall not be unreasonably withheld).

 Trust Financing   As a condition precedent to the occurrence of the Effective Date, YT
                   and/or the Committee shall have obtained committed financing, on terms
                   and conditions acceptable to the Committee and YT, providing net
                   proceeds in an amount not less than $1,500,000 to fund the operation of
                   the Trust for the Initial Term, plus such amount as necessary to make
                   payments required to be made in connection with the




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                                Term, plus such amount as necessary to make payments required to be
                                made in connection with the Plan (the “Trust Financing”).4 The
                                proceeds of the Trust Financing in
                               proceeds of the Trust Financing in excess of payments required to be
                               made under the Plan shall be deposited into the Trust on the Effective
                               Date and shall be Trust Assets.

                               Date and shall be Trust Assets.

    Trust Expenses             The professional fees, costs, and other expenses incurred by the Trustee
                               in connection with the administration of the Trust shall be paid from the
                               proceeds of the Trust Financing and the relevant Trust Assets.


4   The parties will work to reach an agreement with respect to the necessary level of Trust Financing.




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    Liquidation Event          The term “Liquidation Event” means, with respect to Pacific
                               Technology, Smart KingFF Intelligent, any of their respective material
                               direct or indirect subsidiaries, or any future public listing vehicle for
                               the global subsidiaries of Smart KingFF Intelligent or Pacific
                               Technology, each of the following events to the extent that the event
                               materially reduces the direct or indirect percentage ownership in Smart
                               KingFF Intelligent or such other future public listing vehicle by the
                               Trust other than by virtue of an equity investment by a bona fide third
                               party: (a) the commencement of an assignment for the benefit of
                               creditors, a receivership, a case under chapter 7 of the Bankruptcy
                               Code, or a similar insolvency proceeding; (b) the effective date of a
                               liquidating plan under chapter 11 of the Bankruptcy Code, or (c) the
                               effective date of a reorganization plan under chapter 11 of the
                               Bankruptcy Code, provided that internal reorganizations (including
                               mergers or dissolutions for tax or other purposes) that do not adversely
                               impact the value of the Trust’s direct or indirect interests in Smart
                               KingFF Intelligent or such other future public listing vehicle are not
                               intended to be Liquidation Events.

    Distributions;             Upon receipt of the distributable proceeds by the Trust from any
    Creditor Claims            disposition, or dividends or distributions in respect, of any Trust
    Waterfall                  Assets (such proceeds, the “Distributable Proceeds,” and such an
                               event, a
                               “Distribution Event,” and the date of such distribution, a “Trust
                               “Distribution EventDate”), the Distributable Proceeds will be distributed
                               in
                               accordance with the Distribution Waterfall upon the earlier of (a)
                               sixty days following the occurrence of such Distribution Event, and
                               (b) the termination of the Trust.

                               The Trustee may delay or defer the distribution of any Distributable
                               Proceeds (whether cash, securities, or other property) received by the
                               Trustee in respect of the Trust Assets to the creditors if the Trustee
                               determines that such deferral or delay is in the best interests of the
                               creditors (including if such distribution would violate any court order
                               or applicable law).Prior to each Trust Distribution Date, each holder of
                               a Trust Interest shall provide an affidavit to the Trustee that identifies
                               any amounts (or value with respect to collateral) received from Other
                               Distributions as of the date of the affidavit (the “Trust Distribution
                               Affidavit”). On each
                               Trust Distribution Date, the Trustee will (i) allocate pro rata
                               distributions to holders of Trust Interests on account of each holder’s
                               Debt Claim Distribution Amount calculated in accordance with the
                               information provided in the Trust Distribution Affidavit and (ii) reserve

4   The parties will work to reach an agreement with respect to the necessary level of Trust Financing.

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                     distributions for holders of Trust Interests who have not submitted their
                     Trust Distribution Affidavits prior to the applicable Trust Distribution
                     Date. If the holder of a Trust Interest fails to submit the Trust
                     Distribution Affidavit prior to the termination or dissolution of the
                     Trust, such holder shall forfeit its Trust Interests and any reserved
                     distributions shall revert to the Trust for the ratable benefit of holders of
                     Allowed Debt Claims and YT pursuant to the Distribution Trust
                     Waterfall.

                     The Trustee may delay or defer the distribution of any Distributable
                     Proceeds (whether cash, securities, or other property) received by the
                     Trustee in respect of the Trust Assets to the creditors if the Trustee
                     determines that such deferral or delay is in the best interests of the
                     creditors (including if such distribution would violate any court order
                     or applicable law).

 Disposition of FF   The schedule for disposition of shares of FF Intelligent directly owned
 Disposition of
 Smart               The schedule for disposition of shares of Smart King directly owned by
 KingIntelligent     the Trust and that are registered under securities law or listed (the
 Shares after the    “Marketable Securities”) shall be governed in accordance with Exhibit
 IPO
 after the IPO       “Marketable Securities”) shall be governed in accordance with Exhibit
                     B attached hereto. The PT LLCA will include provisions that the
                     managing member of Pacific Technology will use commercially
                     reasonable efforts to dispose of Marketable Securities owned or
                     controlled by Pacific Technology in which the Trust owns a beneficial
                     interest on a similar schedule until the priority distribution of $815.7
                     million (plus accrued amounts) under the PT LLCA in connection with
                     the Preferred PT Units is paid to the Trust.5 The Distributable Proceeds
                     shall be distributed in accordance with the Distribution Waterfall.

                     At any time upon the request of the managing member of Pacific




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                            the Preferred PT Units is paid to the Trust.5 The Distributable Proceeds
                            shall be distributed in accordance with the Distribution Waterfall.
                            At any time upon the request of the managing member of Pacific
                            Technology, and subject to applicable securities law, the Trustee shall
                            distribute the Marketable Securities in kind to the creditors in lieu of any
                            cash distribution. The value of the Marketable Securities shall be the
                            average closing trading price for the five consecutive trading days
                            immediately prior to the distribution.

    Creditor Trust          The creditors shall be represented by a committee (the “Creditor Trust
    Committee               Committee”), which shall consist of no more than five creditors holding
                            Allowed Debt Claims, or their designees. The members of the Creditor
                            Trust Committee, when taking any action in their capacity as such, shall
                            serve as fiduciaries to the beneficiaries of the Trust and not act in their
                            individual interests. The initial members of the Creditor Trust
                            Committee must be acceptable to the Committee and will be disclosed
                            in the plan supplement. Any replacement members of the Creditor Trust
                            Committee will be selected by the Trustee in accordance with the
                            qualification requirements to be set forth in the Trust Agreement. The
                            Creditor Trust Committee shall act by the vote of a majority (over 50%)
                            of the members thereof, unless otherwise specified in the Trust
                            Agreement.

                            The members of the Creditor Trust Committee shall not be
                            compensated, but shall be reimbursed for all reasonable out-of-pocket
                            expenses incurred in connection with their service on the Creditor Trust
                            Committee, other than the fees and expenses of counsel to individual
                            members of the Creditor Trust Committee. The Creditor Trust
                            Committee may employ advisors for specified purposes, and the Trustee
                            will pay the fees and expenses of any such advisors retained by the
                            Creditor Trust Committee.

                            The Trustee shall not take any of the following actions without
                            the approval of the Creditor Trust Committee:

                                 • incur expenses on behalf of the Trust in excess of US$50,000;
                                    provided, however, that such approval shall be deemed granted
                                    if not specifically denied within ten business days after a
                                    written request from the Trustee;

5 The amended PT LLCA will include a provision to obtain a valuation of Pacific Technology to provide the managing
member with the right to purchase under circumstances to be agreed upon by the managing member and the Creditor
Trust Committee in their respective sole discretion and will include a right of first refusal for Pacific Technology or
its managing member to purchase any shares or units proposed to be sold by the Trust, provided that the right of first
refusal shall be on terms no less favorable than those offered to the third-party purchaser.




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                    individual interests. The initial members of the Creditor Trust
                   Committee must be acceptable to the Committee and will be disclosed
                   in the plan supplement. Any replacement members of the Creditor
                   Trust Committee will be selected by the Trustee in accordance with the
                   qualification requirements to be set forth in the Trust Agreement. The
                   Creditor Trust Committee shall act by the vote of a majority (over
                   50%) of the members thereof, unless otherwise specified in the Trust
                   Agreement.

                    The members of the Creditor Trust Committee shall not be
                   compensated, but shall be reimbursed for all reasonable out-of-pocket
                   expenses incurred in connection with their service on the Creditor
                   Trust Committee, other than the fees and expenses of counsel to
                   individual members of the Creditor Trust Committee. The Creditor
                   Trust Committee may employ advisors for specified purposes, and the
                   Trustee will pay the fees and expenses of any such advisors retained
                   by the Creditor Trust Committee.

                    The Trustee shall not take any of the following actions without
                   the approval of the Creditor Trust Committee:

                         • incur expenses on behalf of the Trust in excess of US$50,000;
                          provided, however, that such approval shall be deemed granted
                          if not specifically denied within ten business days after a written
                          request from the Trustee;
                         • retain and pay professionals, including legal counsel,
                          independent accounting firms, valuation firms, or third parties
                          to assist with the administration of the Trust Assets; provided,
                          however, that such approval shall be deemed granted if not
                          specifically denied within ten business days after a written
                          request from the Trustee;
                         • except as provided in the Trust Agreement, sell or transfer
                          any Trust Assets;
                         • invest any moneys held by the Trust other than in bank deposits
                          and U.S. Treasury securities; provided, however, that such
                          approval shall be deemed granted if not specifically denied
                          within ten business days after a written request from the Trustee;
                         • settle or compromise any litigation claim in excess of US$5
                          million; provided, however, that such approval shall be deemed
                          granted if not specifically denied within ten business days after
                          a written request from the Trustee;
                         • take any action that would result in the Trust becoming an
                          “investment company” within the meaning of the
                          Investment Company Act of 1940, as amended;
                         • amend the Trust Agreement in any manner that is adverse to
                          the creditors;


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                       • initiate an action under section 548 of the Bankruptcy Code as
                   set forth below in “Bankruptcy Actions,” which initiation shall require
                   an affirmative vote of four members of the Creditor Trust Committee
                   irrespective of any quorum requirement in the Trust Agreement; or
                       • initiate an action under section 542 of the Bankruptcy Code as
                   set forth below in “Bankruptcy Actions,” which initiation shall require
                   an affirmative vote of at least three members of the Creditor Trust
                   Committee irrespective of any quorum requirement in the Trust
                   Agreement.

                   As noted in the Distribution Waterfall, the Creditor Trust Committee
                   will be replaced by YT when aggregate distributions under the
                   Distribution Waterfall reach certain levels.




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                        •   initiate an action under section 548 of the Bankruptcy Code as
                            set forth below in “Bankruptcy Actions,” which initiation shall
                            require an affirmative vote of four members of the Creditor
                            Trust Committee irrespective of any quorum requirement in
                            the Trust Agreement; or
                        •   initiate an action under section 542 of the Bankruptcy Code
                            as set forth below in “Bankruptcy Actions,” which initiation
                            shall require an affirmative vote of at least three members of
                            the Creditor Trust Committee irrespective of any quorum
                            requirement in the Trust Agreement.

                  As noted in the Distribution Waterfall, the Creditor Trust Committee
                  will be replaced by YT when aggregate distributions under the
                  Distribution Waterfall reach certain levels.

 Information      The Trustee shall cause to be prepared and distributed to the Creditor
 Information      The Trustee shall cause to be prepared and distributed to the Creditor
 Rights           Trust Committee (for further distribution to the creditors):


                        • within forty-five days after the end of each calendar quarter and
                            within ninety days after the end of each calendar year (a) a
                            statement of net assets of the Trust, (b) a statement of changes in
                            net assets of the Trust, (c) a statement of cash flows of the Trust,
                            (d) a schedule summarized by type of investments and assets,
                            indicating acquisitions and dispositions, and (e) a summary
                            listing of the status of the resolution of claims involving the




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                             listing of the status of the resolution of claims involving the Trust
                             or any of the Trust Assets, if any.

 FF Information   The Trustee shall be provided the following information on a confidential,
                  professionals eyes only basis, to the extent such information is otherwise
                  prepared by Smart KingFF Intelligent or Faraday & Future
                  Inc. (“FF”) for reporting to their financing sources or shareholders (the
                  Trustee may share such information on confidential and
                  aggregated basis with the Creditor Trust Committee):

                        • within ninety days after the end of each calendar year, audited
                             consolidated financial statements of Smart KingFF Intelligent or
                             such other future public listing vehicle for the global
                             subsidiaries of SmartFF
                             KingIntelligent;

                        • within forty-five days after the end of each of the first three
                              quarters in each year of Smart KingFF Intelligent, a
                              consolidated balance sheet of Smart KingFF Intelligent and its
                              subsidiaries, together with related consolidated statement of
                              operations and retained earnings, consolidated statement of
                              stockholders’ equity, and consolidated statement of cash flows
                              for such fiscal quarter;

                        •    not more than ninety days after the beginning of each year of
                             Smart King, an annual business plan and budget of Smart
                             King and its subsidiaries;

                        •    such other regular financial reporting, if any, prepared by Smart
                             King for its lenders and shareholders.




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                          •     not more than ninety days after the beginning of each year of
                                FF Intelligent, an annual business plan and budget of FF
                                Intelligent and its subsidiaries;

                          •     such other regular financial reporting, if any, prepared by
                                FF Intelligent for its lenders and shareholders.

                       In addition, the Trustee shall be provided such other of FF’s financial
                       information provided to the Partner Executive Committee of FF
                       GlobalGP (the “Partner Executive Committee”) when such information
                       is provided to
                      (the “Partner Executive Committee”) when such information is provided
                      to the Partner Executive Committee.
 Transferability of   The Trust Interests may be transferred upon notice to the Trustee and
 Transferability of    The Trust Interests may be transferred upon notice to the Trustee and
 Trust Interests       compliance with Fed. R. Bankr. P. 3001(e) and any applicable law.

                      Notwithstanding the foregoing, the Trust Interests may not be
                      transferred to the extent that such transfer would (a) based on the
                      advice of counsel to the Trust, jeopardize the Trust’s tax treatment; (b)
                      cause the Trust to become subject to any governmental controls or
                      regulations that affect the administration of the Trust and the Trust
                      Assets, including, but not limited to, any SEC reporting requirements;
                      (c) violate applicable law (including any securities law) or any
                      instrument to which the Trust is a party or by which it is bound; or
                      (d) cause the Trust to become an “investment company” within the
                      meaning of the Investment Company Act of 1940, as amended.




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 Future Equity     In order to align incentives and reward YT for achieving FF’s strategic
 Incentive Plan    goals, it is anticipated that a management incentive equity plan will be
                   adopted to grant certain stock-based awards to or at the direction of YT
                   upon the achievement of financial targets upon a Distribution Event,
                   provided that the stock-based awards granted to YT shall not exceed the
                   awards set forth in Exhibit C attached hereto without the consent of the
                   Trustee (which consent shall not be unreasonably withheld).

 Governing Law     This Term Sheet shall be governed and construed in accordance with
                   the laws of the State of California, without regard to its choice of law
                   principles. The Trust Agreement will be governed and construed in
                   accordance with the laws of the State of Delaware, without regard to
                   its choice of law principles.

 Amendments to     The Trust Agreement will not be amended without the approval of
 Trust Agreement   the Creditor Trust Committee (other than the automatic amendments
                   specified in the Distribution Waterfall).




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 Subsequent Equity Nothing in this Term Sheet shall be construed as to prohibit or restrict in
 Investment;       any manner any subsequent equity investment or equity incentive in
 Equity Incentives Smart KingFF Intelligent or any of its subsidiaries by any person,
                   provided that in no event shall any equity incentive program adopted by
                   Smart KingFF Intelligent or any other direct or indirect subsidiary of
                   Pacific Technology grant YT any equity interest greater than, or on
                   terms more favorable than, as set forth on Exhibit C, without the
                   consent of the Trustee (which consent shall not be unreasonably
                   withheld).

 Call Option          Upon the occurrence of the Effective Date, the Call Option shall vest
                      in the Trust free and clear of any and all liens, claims, encumbrances,
                      contractual restrictions, and other interests pursuant to section 363 of
                      the Bankruptcy Code, provided that the Plan shall require (a) the
                      Trustee to obtain the consent of the Partner Executive Committee prior
                      to any exercise or transfer of the Call Option by the Trust; and (b) the
                      Trustee, upon request by FF GP, to directly transfer or transfer the
                      underlying economic rights of the Call Option (including by exercising
                      the Call Option and thereafter conveying the related shares in FF
                      Intelligent to the applicable counterparty) as requested by FF GP in
                      connection with a bona fide unrelated third-party financing, as follows:
Call Option           Upon the occurrence of the Effective Date, the Call Option shall vest in
                      the Trust free and clear of any and all liens, claims, encumbrances,
                      contractual restrictions, and other interests pursuant to section 363 of the
                      Bankruptcy Code, provided that the Plan shall require (a) the Trustee to
                      obtain the consent of the Partner Executive Committee prior to any
                      exercise or transfer of the Call Option by the Trust; and (b) the Trustee,
                      upon request by FF Global, to directly transfer or transfer the underlying
                      economic rights of the Call Option (including by exercising the Call
                      Option and thereafter conveying the related shares in Smart King to the
                      applicable counterparty) as requested by FF Global in connection with a
                      bona fide unrelated third-party financing, as follows: (i) 50% of the Call
                      Option to the counterparty to a bona fide unrelated third-party financing
                      providing Smart KingFF Intelligent and its subsidiaries with not less than
                      $100 million of net proceeds, (ii) 100% of the Call Option to the
                      counterparty to a bona fide unrelated third-party financing providing
                      Smart KingFF Intelligent and its subsidiaries with not less than $250
                      million of net proceeds, or (iii) a ratable percentage of the Call Option to
                      the counterparty to a bona fide unrelated third-party financing providing
                      FF Intelligent and its subsidiaries with net proceeds greater than $100
                      million and less than $250 million (i.e., an additional 1% of the Call
                      Option for each additional $3 million of net proceeds beyond $100
                      million) ((i), (ii), or (iii), a “Qualifying Financing”), provided that FF
                      GP may request the Trustee to transfer the Call Option for a financing
                      of FF Intelligent and its subsidiaries other than a Qualifying Financing
                      subject to the consent of Trustee and approval by a majority of the
                      Creditor Trust Committee in their respective business judgment. Any
                      consideration paid, if any, in exchange for the transfer of the Call
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                     Option either as part of a separate transaction providing for such
                     transfer or attributable to the transfer of the Call Option in a financing
                     transaction, whether in conjunction with a Qualifying Financing or
                     otherwise, shall be paid directly to the Trust and shall constitute Trust
                     Assets.

 Standstill, China   Standstill. To the maximum extent permitted by applicable law, each
 Restrictions, and   holder of an Allowed Debt Claim or Allowed China Secured Claim
                     shall agree for a period of four years after the Effective Date (the
                     “Standstill Period”) to not assert any new Causes of Action (as defined




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                   Smart King and its subsidiaries with net proceeds greater than $100
                   million and less than $250 million (i.e., an additional 1% of the Call
                   Option for each additional $3 million of net proceeds beyond $100
                   million) ((i), (ii), or (iii), a “Qualifying Financing”), provided that FF
                   Global may request the Trustee to transfer the Call Option for a
                   financing of Smart King and its subsidiaries other than a Qualifying
                   Financing subject to the consent of Trustee and approval by a
                   majority of the Creditor Trust Committee in their respective business
                   judgment. Any consideration paid, if any, in exchange for the transfer
                   of the Call Option either as part of a separate transaction providing
                   for such transfer or attributable to the transfer of the Call Option in a
                   financing transaction, whether in conjunction with a Qualifying
                   Financing or otherwise, shall be paid directly to the Trust and shall
                   constitute Trust Assets.




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 Standstill, China           Standstill. To the maximum extent permitted by applicable law, each
                             holder of an Allowed Debt Claim shall agree for a period of four years
                             after the Effective Date (the “Standstill Period”) to not assert any new
                             Causes of Action (as defined in the Plan) against YT for personal
                             liability directly or derivatively in its capacity as a creditor of a claim
                             owed solely or jointly by YT (including unwinding or alter ego type
                             claims) in any non-U.S. jurisdiction (the “YT Claims”); provided,
                             however, that such holder may continue to prosecute any actions
                             commenced prepetition against YT up to judgment and pursue Other
                             Distributions through judicial authorities in the People’s Republic of
                             China to satisfy such holder’s Debt Claim through a mechanism that
                             will be mutually agreed to by the parties, including claims against
                             primary obligors solely based on such holder’s contractual agreements
                             with such primary obligors (for the avoidance of doubt, such holder
                             may not bring unwinding or alter ego type claims against such primary
                             obligors); provided further, however, that the Standstill Period shall
                             terminate in the event a Liquidation Event occurs during the Standstill
                             Period.

                             Tolling. YT shall stipulate in the Confirmation Order that all limitations
                             periods applicable to all YT Claims in any non-U.S. jurisdictions, to the
                             extent not previously expired, are tolled for the duration of the Standstill
                             Period. If reasonably requested by the Committee or the Creditor Trust
                             Committee, as applicable, YT shall enter into a global tolling agreement
                             evidencing such tolling.

                             China Restrictions. Each holder of an Allowed Debt Claim, Allowed
                             China Secured Claim, or Allowed Late Filed Debt Claim shall, within
                             ninety days after the later to occur of (a) the Effective Date and (b) the
                             date such Debt Claim, China Secured Claim, or Late Filed Debt Claim
                             becomes Allowed, take the steps and provide the documents described in
                             the Trust Agreement to (i) notify the applicable court or courts in the
                             People’s Republic of China (the “Chinese Courts”) that YT and such
                             holder and, subject to the Wei Gan Settlement,7 Wei Gan and such
                             holder, have reached a settlement agreement that is embodied in and has
                             been implemented through the Plan and (b) request that the Chinese
                             Courts remove YT and, subject to the Wei Gan Settlement, Wei Gan
                             from the List of Dishonest Judgment Debtors (the “China Debtor List”)
                             and lift any consumption or travel restrictions (the “China Restrictions”),
                             as applicable, and shall refrain from taking any action during the
                             Standstill Period to cause YT and, subject to the Wei Gan Settlement,
                             Wei Gan, to be reinstated on the China Debtor List or be subject to the
                             China Restrictions (the “China Debtor List Covenant”). To the extent
                             practicable, forms for holders of Allowed Debt Claims,

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 Restrictions, and
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6For the avoidance of doubt, nothing in this section of the Term Sheet shall affect the rights of holders of Allowed
China Secured Claims to pursue the collateral securing such claim as set forth in the “Non-Debt Claims” section of
this Term Sheet.
7   The Wei Gan Settlement is set forth in Annex I to this Term Sheet.




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of (a) the Effective Date and (b) the date such Debt Claim or Late Filed Debt Claim becomes
Allowed, take the steps and provide the documents described in the Trust Agreement to (i) notify
the applicable court or courts in the People’s Republic of China (the “Chinese Courts”) that YT
and such holder and, subject to the Wei Gan Settlement,7 Wei Gan and such holder, have reached
a settlement agreement that is embodied in and has been implemented through the Plan and (b)
request that the Chinese Courts remove YT and, subject to the Wei Gan Settlement, Wei Gan from
the List of Dishonest Judgment Debtors (the “China Debtor List”) and lift any consumption or
travel restrictions (the “China Restrictions”), as applicable, and shall refrain from taking any
action during the Standstill Period to cause YT and, subject to the Wei Gan Settlement, Wei Gan,
to be reinstated on the China Debtor List or be subject to the China Restrictions (the “China
Debtor List Covenant”). To the extent practicable, forms for holders of Allowed DebtAllowed
China Secured Claims, and Allowed Late Filed Debt Claims to comply with the China Debtor
List Covenant shall be included in the plan supplement and approved as part of the Confirmation
Order.8

Before anyAs a condition to receiving distributions under the Plan (including Trust Distributions
are made to the), each holder of an Allowed Debt Claim or an(including the holder of an Allowed
China Secured Claim treated as an Allowed Debt Claim pursuant to Article 4.3 of the Plan),
Allowed China Secured Claim, or Allowed Late Filed Debt Claim, such holder shall provide an
affidavit that (a)to the Trustee within ninety days after the date such Debt Claim, China Secured
Claim, or Late Filed Debt Claim becomes Allowed that certifies (i) such holder’s compliance
with the China Debtor List Covenant, (bii) certifies that they havesuch holder has not initiated,
and will not initiate, any YT Claims during the Standstill Period or after the Liability Release
Date, as applicable, (c) identifies any amounts received from Other Distributions as of the date of
the affidavit, and (d) certifies, and (iii) if applicable, such holder’s compliance with Annex I to
this Plan Term Sheet and the release of Wei Gan’s personal liability. If the holder of an Allowed
Debt Claim, Allowed China Secured Claim, or Allowed Late Filed Debt Claim fails to submit the
above affidavit, submits an affidavit containing falsified information, or breaches the affidavit,
such holder shall forfeit its distributions under the Plan (including any Trust Interests) and such
distributions shall revert to the Trust for the ratable benefit of holders of Allowed Debt Claims
and YT pursuant to the Distribution Trust Waterfall.

Effectiveness of YT Release. EachUpon the earlier of a holder of an (a) Allowed Late Filed Debt
Claim, on the date of allowance of such Late Filed Debt Claim or (b) Allowed Debt Claim, once it
has received (including the holder of an Allowed China Secured Claim treated as an Allowed Debt
Claim pursuant to Article 4.3 of the Plan) receiving (a) Trust Distributions that, in the aggregate,
are equal to 40% of its Debt Claim Allocation Amount and (b) Trust Distributions and Other
Distributions (from enforcement or other actions) that, in the aggregate, are equal to 20100% of its
Allowed Debt Claim Allocation Amount (the date upon which the foregoing condition occurs is
the “Liability Release Date”), such holder (i) shall be deemed to have released the YT Claims on
account of such Debt Claim or Late Filed Debt Claim in every jurisdiction and (ii) agrees that it
shall not assert any new, or continue to prosecute any existing, YT Claims related to such Debt
Claim or Late Filed Debt Claim in every jurisdiction; provided, however, that the foregoing
release shall not release, waive, or otherwise impact the rights of such holder to receive further
Trust Distributions or to pursue and receive Other Distributions through a mechanism that will be
mutually agreed to by the parties; provided further, however, that if an Allowed China Secured
Claim is satisfied in full prior to the initial Trust Distribution Date, on the date thereof, the holder
of such China Secured Claim (x) shall be deemed to have
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                   7   The Wei Gan Settlement is set forth in Annex I to this Term Sheet.

                   8   Under review and discussion with international counsel.




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                     released the YT Claims on account of such China Secured Claim in
                     every jurisdiction and (y) agrees that it shall not assert any new, or
                     continue to prosecute any existing, YT Claims related to such China
                     Secured Claim in every jurisdiction.

                     Each holder of an Allowed Late Filed Debt Claim, on the date of
                     allowance of such Late Filed Debt Claim (a) shall be deemed to have
                     released the YT Claims on account of such Late Filed Debt Claim in
                     every jurisdiction and (b) agrees that it shall not assert any new, or
                     continue to prosecute any existing, YT Claims related to such Late Filed
                     Debt Claim in every jurisdiction.

                     Within ninety days after the (a) applicable Liability Release Date with
                     respect to Allowed Debt Claims (including Allowed China Secured
                     Claims treated as Allowed Debt Claims pursuant to Article 4.3 of the
                     Plan), (b) the date of satisfaction in full of an Allowed China Secured
                     Claim and, if applicable, the occurrence of the Liability Release Date
                     with respect to any Deficiency Claim on account of such Allowed China
                      Distributions or to pursue and receive Other Distributions through a
                      mechanism that will be mutually agreed to by the parties.
                     Within ninety days after the applicable Liability Release Date with
                     respect to Allowed Debt Claims orSecured Claim, or (c) the date of
                     allowance of a Late Filed Debt Claim, each holder of an Allowed Debt
                     Claim, Allowed China Secured Claim, or Allowed Late Filed Debt
                     Claim shall (as a condition to receiving further Trust Distributions,
                     including any Trust Distributions upon the termination or dissolution of
                     the Trust) (ai) withdraw or retract any litigations, enforcement actions,
                     arbitrations, and any other proceedings against YT from the courts and
                     judicial authorities in all jurisdictions, including, but not limited to, the
                     Chinese Courts, or confirm with the judicial authorities that YT has
                     settled all of his debt obligations or legal responsibilities to such holder
                     and (bii) file and execute any documents requested by YT to evidence
                     the above release. YT reserves all rights to seek enforcement by the
                     Chinese judicial authorities of the rights provided herein.

 Parties’ Expenses   Each party shall be responsible for its respective fees and expenses
                     incurred in connection with the preparation and negotiation of this Term
                     Sheet and the Trust Agreement.
                     Sheet and the Trust Agreement.

 Discharge           As a condition to the Effective Date, the Declarations shall have been
                     delivered to the Committee. YT shall receive a discharge of all claims
                     dischargeable under U.S. bankruptcy law upon the Effective Date to
                     the greatest extent permissible under section 1141(d)(1)(A) of the
                     Bankruptcy Code, and the Plan and Confirmation Order will
                     permanently enjoin any creditor from pursuing YT personally in the
                     United States in connection with any claim discharged under the Plan,
                     without prejudice to the rights of any party with standing to seek to
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                    enforce the Plan or any of YT’s obligations thereunder. If the discharge
                    under the Confirmation Order is revoked for any reason, (a) the
                    Confirmation Order shall be of no further force or effect, (b) the Plan
                    shall be null and void in all respects, (c) no distributions under the Plan
                    shall be made, and (d) the Debtor and all holders of claims shall be
                    restored to the status quo ante as of the day immediately preceding
                    entry of the Confirmation Order.
DIP Financing       YT will seek approval of debtor in possession financing from Pacific
                    Technology (the “DIP Financing”). YT’s obligations under the
                    DIPBankruptcy Code, and the Plan and Confirmation Order will
                    permanently enjoin any creditor from pursuing YT personally in the
                    Financing shall be treated as a superpriority administrative claim
                    and secured by both YT’s non-China and China assets.

 Plan Arbitration   The plan supplement shall designate an arbitrator acceptable to YT and
 Procedures         the Committee in their respective discretion (the “Arbitrator”) and set
                    forth confidential arbitration procedures (the “Plan ArbitrationUnited
                    States in connection with any claim discharged under the Plan, without
                    prejudice to the rights of any party with standing to seek to enforce the
                    Plan or any of YT’s obligations thereunder. If the discharge under the
                    Confirmation Order is revoked for any reason, (a) the




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Procedures”) for the resolution of all Plan-related disputes (including, without limitation,
disputes related to the allowance or amount of any Late Filed Debt Claim) arising between YT,
on the one hand, and the Trust, the Trustee, and/or the Creditor Trust Committee, on the other
hand, provided that the Plan or the Trust Agreement may designate another forum for
resolution of particular disputes. For the avoidance of doubt, notwithstanding the Plan
Arbitration Procedures, the Bankruptcy Court shall retain ultimate supervisory jurisdiction
over the administration of the Trust until the end of the Term.

                      Confirmation Order shall be of no further force or effect, (b) the Plan
                      shall be null and void in all respects, (c) no distributions under the
                      Plan shall be made, and (d) the Debtor and all holders of claims shall
                      be restored to the status quo ante as of the day immediately preceding
                      entry of the Confirmation Order.

 DIP Financing         YT will seek approval of debtor in possession financing from Pacific
                       Technology (the “DIP Financing”). YT’s obligations under the DIP
                       Financing shall be treated as a superpriority administrative claim
                       and secured by both YT’s non-China and China assets.

 Plan Arbitration      The plan supplement shall designate an arbitrator acceptable to YT and
 Procedures            the Committee in their respective discretion (the “Arbitrator”) and set
                       forth confidential arbitration procedures (the “Plan Arbitration
                       Procedures”) for the resolution of all Plan-related disputes (including,
                       without limitation, disputes related to the allowance or amount of any
                       Late Filed Debt Claim) arising between YT, on the one hand, and the
                       Trust, the Trustee, and/or the Creditor Trust Committee, on the other
                       hand, provided that the Plan or the Trust Agreement may designate
                       another forum for resolution of particular disputes. For the avoidance
                       of doubt, notwithstanding the Plan Arbitration Procedures, the
                       Bankruptcy Court shall retain ultimate supervisory jurisdiction over
                       the administration of the Trust until the end of the Term.

 Bankruptcy            The Plan shall provide that:
 Actions                  • In the event the Trustee (with the approval of the Creditor Trust
                              Committee as set forth in the “Creditor Trust Committee”
                              section of this Term Sheet) determines that it has reasonable
                              and good-faith evidence that (a) an asset, other than any of the
                              Seized China Assets or assets subject to seizure in China was
                              property of YT as of the Petition Date but was not disclosed by
                              a document or testimony in his capacity as a chapter 11 debtor
                              during the chapter 11 case, including, without limitation, in any
                              disclosure statement, schedules, statements of financial affairs,
                              section 341 meeting of creditors, confidential depositions, and
                              materials posted in the creditor data room (the “Chapter 11
                             Disclosures”), provided that the Declarations shall supersede the



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                          Chapter 11 Disclosures, the Trustee may pursue an action for
                          turnover of such asset under section 542 of the Bankruptcy
                          Code through the Plan Arbitration Procedures; or (b) YT was
                          the transferor of a transfer avoidable pursuant to section
                          548(a)(1)(A) of the Bankruptcy Code, the Trustee may pursue
                          an action to avoid and recover such transfer pursuant to sections
                          548(a)(1)(A) and 550 of the Bankruptcy Code, as applicable,
                          through the Plan Arbitration Procedures, provided that such
                          transfer did not arise out of any transaction or occurrence




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                     The Plan shall provide that:
                        • In the event the Trustee (with the approval of the Creditor Trust
                             Committee as set forth in the “Creditor Trust Committee” section
                             of this Term Sheet) determines that it has reasonable and good-
                             faith evidence that (a) an asset, other than any of the Seized
                             China Assets or assets subject to seizure in China was property of
                             YT as of the Petition Date but was not disclosed by a document
                             or testimony in his capacity as a chapter 11 debtor during the
                             chapter 11 case, including, without limitation, in any disclosure
                             statement, schedules, statements of financial affairs, section 341
                             meeting of creditors, confidential depositions, and materials
                             posted in the creditor data room (the “Chapter 11 Disclosures”),
                             provided that the Declarations shall supersede the Chapter 11
                             Disclosures, the Trustee may pursue an action for turnover of
                             such asset under section 542 of the Bankruptcy Code through the
                             Plan Arbitration Procedures; or (b) YT was the transferor of a
                             transfer avoidable pursuant to section 548(a)(1)(A) of the
                             Bankruptcy Code, the Trustee may pursue an action to avoid and
         disclose            recover such transfer pursuant to sections 548(a)(1)(A) and 550
       d in the              of the Bankruptcy Code, as applicable, through the Plan
       Chapter               Arbitration Procedures, provided that such transfer did not arise
       11                    out of any transaction or occurrence disclosed in the Chapter 11
       Disclosur             Disclosures, provided further that the Declarations shall
       es,                   supersede the Chapter 11 Disclosures (collectively, (a) and (b)
       provided              are the “Bankruptcy Actions”).
       further      •       Any Bankruptcy Actions must be commenced within one hundred
       that the     eighty days after the Effective Date (the “Bankruptcy Actions Limitations
       Declarati    Period”), provided that the Trustee shall meet and confer with YT prior to
       ons shall    commencing any Bankruptcy Action, and the Bankruptcy Actions
       supersede    Limitations Period with respect to such Bankruptcy Action shall be
       the          automatically tolled for a period of thirty days while the parties meet and
       Chapter      confer, subject to extension by mutual agreement.
       11
       Disclosur
       es
       (collectiv
       ely, (a)
       and (b)
       are the
       “Bankrup
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                         • Any Bankruptcy Actions must be commenced within one
                          hundred eighty days after the Effective Date (the “Bankruptcy
                          Actions Limitations Period”), provided that the Trustee shall
                          meet and confer with YT prior to commencing any Bankruptcy
                          Action, and the Bankruptcy Actions Limitations Period with
                          respect to such Bankruptcy Action shall be automatically tolled
                          for a period of thirty days while the parties meet and confer,
                          subject to extension by mutual agreement.

                        • Upon the expiration of the Bankruptcy Actions Limitations
                          Period, any Bankruptcy Actions that have not been timely
                          asserted pursuant to the foregoing procedures shall be deemed
                          satisfied and released, effective as of the Effective Date.




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Dated: February 27March [ ], 2020



                                              On behalf of the Debtor and Debtor in Possession



                                                                           /s/ Suzzanne Uhland

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 On behalf of the Official Committee of
                                                     Unsecured Creditors



 /s/ Andrew D. Behlmann
  Jeffrey D. Prol (pro hac vice)
                                                      Andrew D. Behlmann (pro hac
                                                     vice) Michael A. Kaplan (pro hac
  Suzzanne Uhland (CA Bar No. 136852)                vice) Jeremy D. Merkin (pro hac
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 Counsel to the Debtor and Debtor in Possession
                                                      Co-Counsel for the Official Committee of
                                                      Unsecured Creditors




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                                                        Exhibit A

                                            Creditor Claims Waterfall1

           Trust Assets shall be distributed as follows:

       (a) First, to repay the Trust Financing, if any, pursuant to the terms thereof and the Trust
           Agreement;

       (b) Second, to repay the DIP Facility if extended past the Effective Date pursuant to the
           terms of the Secured Debtor in Possession Promissory Note, by and among Pacific
           Technology, as Lender, and the Debtor, as Borrower and the Trust Agreement;

       (c) Third, to each holder of an Administrative Expense Claim, Priority Tax Claim, Priority
           Non-Tax Claim, or U.S. Secured Claim that has elected to receive Trust Interests in full
           and complete settlement, release, and discharge of their claim against YT, equal to the
           Allowed amount of such claim;

       (d) Fourth, to pay Trust Distributions allocated (i) 95% to holders of Allowed Debt
           Claims, (including holders of Allowed China Secured Claims treated as Allowed Debt
           Claims pursuant to Article 4.3 of the Plan), and (ii) 5 % to YT (or the economic
           equivalent of such Trust Distributions as set forth in the Trust Agreement), until each
           holder of an Allowed Debt Claim has received aggregate Trust Distributions (in cash
           or in kind) pursuant to this clause (c) equal to the full amount of such holder’s
           Allowed Debt Claim Distribution Amount; and

       (e) Fifth, after all holders of Allowed Debt Claims (including holders of Allowed China
           Secured Claims treated as Allowed Debt Claims pursuant to Article 4.3 of the Plan) have
           received Trust Distributions equal to their respective Allowed Debt Claim Distribution
           Amounts, any remaining Trust Distributions shall be allocated between the holders of
           Allowed Debt Claims, including holders of Allowed China Secured Claims treated as
           Allowed Debt Claims pursuant to Article 4.3 of the Plan, (to be further allocated pro rata
           based on their respective Allowed Debt Claim Allocation Amounts) and YT, as follows:

                                                        YT                 Holders of Allowed Debt Claims
             Amounts less than $1B                      50%                              50%
             Amounts greater than                       70%                              30%
             $1B < $2B2
             Amounts greater than                       80%                                  20%
             $2B < $3B
             Amounts greater than                       90%                                  10%
             $3B < $4B

1   Tax issues related to distributions for the Late Filed Claims Reserve are under discussion.
2Upon reaching such distribution level, the Trust Agreement will be automatically amended to replace the Creditor
Trust Committee with YT.




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          Amounts greater than $3B                    90%                                  10%
          < $4B
          Amounts greater than $4B3                   95%                                   5%
          $4B3




3Upon reaching such distribution level, the Trust Agreement will be automatically amended to provide for a separation
of YT’s interests in the Trust from the residual 5% interest of holders of Allowed Debt Claims. After such separation,
holders of Allowed Debt Claims shall not receive any distribution from YT’s interests constituting 95% of amounts
greater than $4 billion. YT shall not receive any distribution from the residual 5% interest of holders of Allowed Debt
Claims.




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            Restrictions on the Sale of Trust Smart KingFF Intelligent Shares Post-
                                                                                    IPO1
          Entry into Lockup           The Trust will enter into a lockup agreement (the “Lockup
          Agreement                   Agreement”) with the same terms and conditions
                                      regarding the sale of the Trust Smart KingFF Intelligent
                                      Shares of any lockup and sale restriction agreement that
                                      the insiders and management of FF are subject to in
                                      connection with the underwriting.
          In connection with IPO      The Trust may sell the lesser of (a) what is permitted
                                      under the Lockup Agreement and (b) 5% of the
                                      shares such holder owns at the time of the IPO.
          Subsequent Sales                    The Trust may sell the lesser of (a) what is
                                              permitted under the Lockup Agreement and (b):
                                                •   No more than 1% per month in year 1 after any “no
                                                    sale” period;
                                                •   No more than 2% per month in year 2 after any “no
                                                    sale” period;
                                                •   No more than 3% per month in year 3 after any “no
                                                    sale” period;
                                                •   No more than 4% per month in year 4 after any “no
                                                    sale” period; and
                                                •   No limitation after year 4.




1These sale restrictions only apply to the Trust Smart KingFF Intelligent Shares and do not apply to the preferred units
of Pacific Technology that are being transferred to the Trust, which shall be governed by the terms of the PT LLCA.




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                                                   Exhibit
                     Exhibit C1                    D
                                        Future Equity Incentive Plan

The total available equity awards under the Future Equity Incentive Plan will be as follows:
 Smart KingFF Intelligent
        Total Equity
            Value                         $5,000               $10,000            $21,000
        Equity Value
     (millions of USD):
 Dilution of outstanding and
 reserved shares on the date
 of valuation                              2%                Additional 3%     Additional 3%




 1   For disclosure purposes only.




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 1

                                        Entities

a. Atieva, Inc. D/B/A Lucid Motors, Inc.;
b. BAIC Motor Vehicle Co. Ltd.;
c. Blitz Technology Hong Kong Co. Limited;
d. Blue Sea Legend LLC;
e. Evergrande Health Industry Group;
f. Hankey Capital LLC;
g. Hengtian Zhongyan Investment Management Co., Ltd.;
h. Innovation Era Holding Ltd.;
i. Ki Lun Trading Ltd.;
j.      Kin Kin (Hong Kong) Limited;
k. Lanfeng (HK) Holding Limited;
l.      LeSoar Holdings Limited;
m. Liberal Faith Limited (BVI);
n. Lucid Motors, Inc.;
o. Ningbo Hangzhou Bay New District Lenuo Investment Management Co., Ltd.;
p. Ocean View Drive, Inc.;
q. Royod LLC;
r. Segomind, Inc.;
s.      Shing Wai Trading Limited;
t.      Shou Yi Lian Jie (Beijing) Technology Ltd. Co.;
u. Success Pyramid Ltd.;
v. Warm Time, Inc.; and
w. Yi Jia Living Trust




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                                         Exhibit
         Annex I to YT - Amended         D                 Plan Term Sheet
                 In exchange for, and subject to (a) a Cash contribution from Wei Gan in the
Wei Gan          amount of $1,000,000 to the Trust on the Effective Date, which shall
Settlement       constitute Trust Assets (the “Effective Date Wei Gan Payment”), (b) a Cash
                 payment of $250,000 to the Trust no later than ninety days after the Effective
                 Date (the “Second Wei Gan Payment”), (c) Wei Gan’s agreement not to
                 assert any other prepetition or postpetition Claims against the Debtor
                 (excluding the Wei Gan Domestic Support Obligations (as defined below))
                 or the Trust, and (d) execution of the Wei Gan Declaration (collectively, (a),
                 (b), (c), and (d) are the “Wei Gan Release Consideration”), the following
                 shall occur:

                 (a)    Upon the Effective Date Wei Gan Payment, (i) the China Debtor
                 Covenant shall apply to Wei Gan; and (ii) Wei Gan’s alleged Debt Claim
                 against the Debtor [Claim No. 20004] shall be treated as an Allowed Debt
                 Claim in the amount of $250,000,000.

                 (b)     Upon the Second Wei Gan Payment, (the date upon which the
                 foregoing condition occurs is the “Wei Gan Liability Release Date”), (i) Wei
                 Gan’s alleged Debt Claim against the Debtor [Claim No. 20004] shall be
                 treated as an Allowed Debt Claim in the amount of $500,000,000; and (ii)
                 each holder of an (xi) Allowed Late Filed Debt Claim, on the date of
                 allowance of such Late Filed Debt Claim or (yii) Allowed Debt Claim (Ax)
                 shall, in addition to the discharge of community claims under section 524(a)
                 of the Bankruptcy Code, be deemed to have released any Causes of Action
                 against Wei Gan for personal liability or derivatively in its capacity as a
                 creditor of a claim owed solely or jointly by Wei Gan (including unwinding
                 or alter ego type claims) in any jurisdiction (the “Wei Gan Claims”) on
                 account of such Debt Claim or Late Filed Debt Claim to the maximum extent
                 permitted by applicable law and (By) agrees that it shall not assert any new,
                 or continue to prosecute any existing, Wei Gan Claims related to such Debt
                 Claim or Late Filed Debt Claim in every jurisdiction.

                 Within ninety (90) days after the Wei Gan Liability Release Date with respect
                 to an Allowed Debt Claim or the date of allowance of an Allowed Late Filed
                 Debt Claim, each holder of an Allowed Debt Claim or Allowed Late Filed
                 Debt Claim shall (as a condition to receiving further Trust Distributions,
                 including any Trust Distributions upon dissolution of the Trust) (a) withdraw
                 or retract any litigations, enforcement actions, arbitrations, and any other
                 proceedings against Wei Gan from the courts and judicial authorities in all
                 jurisdictions, including, but not limited to, the Chinese Courts, or confirm
                 with the judicial authorities that Wei Gan has settled all of her debt obligations
                 or legal responsibilities to such holder and (b) file and execute any documents
                 requested by Wei Gan to evidence the above release. Wei Gan reserves all
                 rights to seek enforcement by the Chinese judicial authorities of the rights
                 provided herein.




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                 For the avoidance of doubt, upon the Wei Gan Liability Release Date, any
                 Causes of Action against Wei Gan shall be deemed released and satisfied.

                 Notwithstanding anything to the contrary herein, pursuant to the divorce
                 proceeding pending in the People’s Court of Chaoyang District, Beijing,
                 China ,Wei Gan and the Debtor’s three minor children may be awarded
                 spousal and/or child support (the “Wei Gan Domestic Support
                 Obligations”), which obligations shall be satisfied in accordance with
                 Article 2.4 of the Plan but, for the avoidance of doubt, shall not
                 constitute claims against the Trust or otherwise have any claim against or
                 interest in Trust Assets.




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    1                                           EXHIBIT
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 3 3
                                            EXHIBIT C1
 4 4
                              Management’s Discussion and Analysis of
                    Financial Condition and Results of Operations of the FF Group
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 H                                   Management’s Discussion and Analysis of
 I                         Financial Condition and Results of Operations of the FF Group
 B
 I           The discussion of the FF Group’s financial condition and results of operations below is
 T   qualified by, and should be read in conjunction with, the discussion of the risks related to the FF
 C   Group’s business and the industry in which it operates is detailed elsewhere in the Disclosure
 1
     Statement, and the section “Summary of Selected Financial Information of the FF Group” attached
 1
     as Exhibit D to the Disclosure Statement. The actual results and the timing of events in all forward-
     looking statements could differ materially from those anticipated as a result of various factors,
     including those set forth under “Certain Risk Factors to be Considered” in Article VII of the
     Disclosure Statement and elsewhere in the Disclosure Statement.

                                                   Results of Operations

             Faraday & Future Inc. (“FF” and collectively with other operational entities owned and/or
     controlled by FF Intelligent Mobility Global Holdings Ltd. (“FF GlobalIntelligent”) and together
     with FF GlobalIntelligent, the “FF Group”) is a development stage company and is currently
     developing its initial electric vehicle, the FF 91, which is not expected to be in production until nine
     months after the FF Group has completed its pending Series B Equity Financing (the commitment
     of any potential investors have not been secured), and has not yet generated revenues.

             In 2018, the FF Group incurred operating expenses of approximately $457.5 million, which
     consisted of R&D expenses of approximately $270.1 million, general and administrative expenses
     of approximately $170.5 million, and sales and marketing expenses of approximately $16.9 million.
     For the seven months ended July 31, 2019, the FF Group incurred operating expenses of
     approximately $80.8 million, which consisted of research and development expenses of
     approximately $17.9 million, general and administrative expenses of approximately $60.0 million,
     and sales and marketing expenses of approximately $2.8 million.

             In addition to the operating expenses, the FF Group incurred interest expenses in the
     aggregate of $49.4 million and $26.7 million in 2018 and for the seven months ended July 30, 2019,
     respectively.

     Research and Development Expenses

            R&D expenses consisted primarily of payroll and overhead costs related to R&D personnel,
     materials consumed in development activities, third-party fees, and test equipment.

             R&D expenses were mainly driven by the number of the R&D employees, the stage and scale
     of the vehicle development and development of technology. Since its inception, the FF Group has
     devoted substantial effort and capital resources to engineering, design and development of its variable
     platform architecture and the FF 91, its initial electric vehicle model, as well as its second generation
     variable platform architecture, VPA 2.0 and the FF 81, both of which are in their initial developing
     stage. the FF Group also invested in critical components of its electric powertrain technology,
     including the battery system, motor and charging system, and devoted substantial resources to develop
     its advanced driver assistance systems (“ADAS”), user experience design (“UI/UX”), and Internet of
     Vehicles (“IoV”). the FF Group expects its R&D expenses to increase in future periods as it hires
     additional R&D employees, starts production and ramp up of the FF 91 and fully develops VPA 2.0
     and the FF 81. The FF Group also expects that the additional costs that

     1Except as otherwise set forth herein, capitalized terms used in this exhibit but not defined herein have the meanings
     ascribed to them in the Disclosure Statement or the Debtor’s SecondThird Amended Plan of Reorganization.


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  I   it will incur in operating its Hanford, California manufacturing facility will further increase the
      R&D expenses until the start of production of the FF 91.
 2T
  C
 1                As of September 27, 2019, the FF Group had 299 employees working in R&D.
 31
      General and Administrative Expenses
 4
              General and administrative expenses consisted primarily of personnel and facilities costs
 5
      related to the FF Group’s executive, finance, human resources, information technology and legal
      organizations, as well as fees for professional and contract services. The FF Group expects its
 6
      general and administrative expenses to increase in future periods as the FF Group continues to grow
      its operations. The FF Group also expects that building out its planned Hanford, California
 7
      manufacturing facility will further increase these expenditures until the start of production of the
      FF 91.
 8
             As of September 27, 2019, the FF Group had 99 employees working in general and
 9
      administrative functions.
10
      Sales and Marketing Expenses
11
             Sales and marketing expenses consisted primarily of personnel costs related to its sales and
      marketing department, marketing, incentives and advertising costs. The FF Group expects its sales
12
      and marketing expenses to increase in future periods as it introduces more vehicle models and offers
      additional services to its customers.
13
             As of July 31, 2019, the FF Group had 34 employees working in sales and marketing
14
      functions.
15
      Interest Expenses
16
               Interest expenses consisted of interest expenses with respect to the FF Group’s indebtedness.
17
      Losses from Foreign Currency Translation.
18
             The FF Group’s reporting currency is in US dollars, while the functional currency of the FF
      Group’s subsidiaries and consolidated VIE were the respective local currencies, including
19
      Renminbi. The FF Group experienced exchange losses when it converted the weaker U.S. dollar
      into Euro and Yen to settle its invoices denominated in Euro and Yen, and converted the weaker
20
      Renmibi to settle its invoices denominated in U.S. dollars.
21
                                             Liquidity and Capital Resources
22
              Since inception, the FF Group has incurred cumulative losses from operations and had a net
      loss of $477.8 million in the year ended December 31, 2018 and an accumulated deficit of $2,079.3
23
      million as of December 31, 2018. The principal sources of liquidity have been cash raised from the
      issuance of shares and borrowings from related parties and third parties.
24

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              Smart King Ltd.    (n/k/a
                              Main      FF C1Exhibi
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                                              tD           GlobalIntelligent) (“Smart King”) issued
     65,926,748 Class A preferred shares and 752,255,070 Class A preferred shares to Season Smart for
     $800 million in gross proceeds in December 2017 and June 2018, respectively. See Article II.C.2.a
     of the Disclosure Statement entitled “Season Smart Investment.” Prior to these fundraising
     activities, the principal sources of liquidity of the FF Group, including both debt and equity issuance,
     had been the entities controlled by or affiliated with YT.
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 1B
  I           As of December 31, 2018, the FF Group had cash and restricted cash of approximately $7.4
      million. the FF Group had a working capital deficit of $579.1 million as of December 31, 2018 and is
 2T
  C   currently experiencing a critical liquidity shortfall and is required to raise additional funds of $153
 1    million to meet its anticipated working capital requirements and capital expenditures for the next 12
 31
      months so to fund its ongoing operations, continue research, development and design efforts and
      deliver the FF 91.
 4
              Unless the FF Group is successful in obtaining extensions, refinancing or waivers with
 5
      respect to certain indebtedness that is or will come due in the near future, or that is currently in
      default, the FF Group is not expected to have sufficient liquidity to remain as a going concern.
 6
      Furthermore, even if it is able to obtain such extensions, refinancing or waivers, the FF Group must
      be able to consummate the Series B Equity Financing or a similar financing by early 2020, or FF
 7
      GlobalIntelligent will again face financing challenges that may call into question its ability to
      continue as a going concern. There can be no assurance that the FF Group will be able to obtain any
 8
      such extensions, refinancing or waivers or consummate the Series B Equity Financing or similar
      financing on a timely basis or on reasonable commercial terms, or at all.
 9
      Plan of Operations and Future Funding Requirements
10
               The FF Group plans to launch production of the FF 91 and plans to deliver approximately
11
      100 units by its planned initial public offering (targeted as early as mid-2021). FF continues to
      develop the FF81 and FF71/VPA 2.0, and estimates that it will incur additional operating expenses
12
      and capital expenditures of approximately $850 million during the next 18 months to cover all
      activities, which the FF Group plans to finance through proceeds received from issuance of shares
13
      in one or more private placement transactions. Such estimates are based on assumptions that may
      prove to be inaccurate.
14
               The FF Group’s future capital requirements will depend on many factors, including:
15
               •         the costs to build up the inventories of raw materials, parts and components,
16
               •    the timing and costs to develop manufacturing process and equip the manufacturing facility
17                  in Hanford, California;

18             •    obtaining and maintaining adequate third party supplier relationships, and delivery of
                    supplies and parts on a timely and cost-effective basis;
19
               •    the progress, timing and costs to complete software development of each of the FF 91 and
                    the FF 81;
20
               •         the costs to manufacture each of the FF 91 and the FF 81 at the projected volume;
21
               •         consumer demand of the FF 91 and the FF 81;
22
                     •        the progress, timing and costs to complete development of VPA 2.0;
23
               •         market perception of FF;
24
                         •       the costs to establish sales, marketing and distribution networks;
25
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       •        the development
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                                            tD                  existing public charging infrastructure;
                      •     the cost to develop capabilities to service consumers after sales;




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  I
  B
 1I          •     the costs for the operation and maintenance of the FF Group’s information technology
  T                system and infrastructure; and
 2C
 1
                     •       the effect of competing technological and market developments.
 1
 3
              For debt financing, the FF Group is seeking a new bridge secured debt financing of up to
 4    $170 million, which will be senior to its existing debt and will have a favorable conversion feature
      to equity. Assuming the FF Group is successful in obtaining such financing, the FF Group intends to
 5    use these short-term convertible debt securities to sustain its operations and engineering efforts.

 6             To the extent that the FF Group raises additional capital through the sale of equity or debt
      with convertible features, the ownership interest of its stockholders will be diluted upon issuance of
 7    shares, which will indirectly affect the value of the Trust Interest held by you. If the FF Group raises
      additional capital through the issuance of debt instruments, the FF Group’s results of operations,
 8    cash flow and future prospects could be materially and adversely affected. If the FF Group is unable
      to raise additional funds through equity or debt financings when needed, it may be required to delay
 9    manufacturing of, or limit the volume to be delivered for, the FF 91, limit, reduce or terminate
      development and commercialization efforts of other electric vehicle models, or cease all operations
10    and seek protection under insolvency proceedings. While the FF Group is engaged in discussions
      with potential investors as of the date of the Disclosure Statement, there are no commitments for
11    additional funding and no assurance can be made as to whether funding will be available, and if so,
      how much and on what terms.
12
      Cash Flows from Operating Activities
13
              The FF Group continues to experience negative cash flows from operating activities as it
14    develops its business. Cash flows from operating activities are significantly affected by the FF
      Group’s cash investments to support its business development in the areas of R&D and selling,
15    marketing and general and administrative expenses. The FF Group’s operating cash flows are also
      affected by the FF Group’s working capital needs to support growth and fluctuations in personnel-
16    related expenditures, accounts payable and other assets and liabilities.

17           The FF Group’s net cash used in operating activities was $512.7 million for the year ended
      December 31, 2018. The largest component of the cash used during this period was a net loss of
18    $477.8 million, which was further adjusted for a non-cash re-measurement of put option obligations
      of $33.7 million held by the FF Group for shares of Easy Go Inc., an affiliate of YT. Significant
19    operating cash outflows were primarily related to operating expenses of $457.5 million and a
      decrease of accounts payable of approximately $24.9 million.
20
               The FF Group’s net cash used in operating activities was $28.6 million for the seven months
21    ended July 31, 2019, which primarily consisted of a net loss of $103.1 million, as adjusted for non-
      cash items of $74.5 million, which primarily consisted of (i) a depreciation expense of $2.7 million and
22    (ii) net increase in operating assets and liabilities of $71.7 million, which primarily consisted of an
      increase in accrued expenses and other current liabilities of $63.5 million, and an increase in accounts
23    payable of $13.6 million.

24    Cash Flows from Investing Activities

25

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            The FF GroupMain continues to experience
                                  Document t D Page  negative
                                                       476 ofcash
                                                                529 flows from investing activities as it
     develops its business. Cash flows from investing activities primarily related to purchase of property
     and equipment. Net cash used in investing activities was $194.9 million for the year ended
     December 31, 2018. Net cash provided from investing activities was $7.4 million for the seven
     months ended July 31, 2019, which consisted of net proceeds from sale of its headquarters located
     in Gardena, California.




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 3I
  B   Cash Flows from Financing Activities
  I
 4T
             Net cash provided by financing activities was $519.1 million for the year ended December
  C   31, 2018, primarily attributable to the proceeds from the issuance of redeemable preference shares
 51
  1   (Class A shares) of $500 million, proceeds from borrowings from related parties of $36.1 million,
 6    and borrowings from third parties of $33.8 million, partially offset by the repayment of borrowings
      from related parties and third parties of $39.5 million.
 7
             Net cash provided by financing activities was $27.3 million for the seven months ended July
 8    31, 2019, primarily attributable to proceeds from borrowings from related parties and third parties
      of $402.1 million.
 9
      Capital Expenditures
10
               During the year ended December 31, 2018 and the seven months ended July 31, 2019, the
11    FF Group made capital expenditures of $222.0 million and $12.4 million, respectively. During these
      periods, the FF Group acquired property, plant and equipment and intangible assets, which consisted
12    primarily of molding and tooling, IT equipment, R&D equipment, and leasehold improvements,
      which consisted primarily of office spaces and the build-out of the Hanford, California
13    manufacturing facility. The FF Group currently estimates that its capital expenditures for the next
      15 months, including for improvements and installation of equipment for Hanford manufacturing
14    facility, R&D, roll-out of its sales and service network and network of power solutions, will be
      approximately $623.0 million, with approximately $562.0 million incurred over the 12 months
15    starting in January 2020. The FF Group expects to finance such capital expenditures over the next
      15 months with from proceeds from issuance of shares in one or more private placement
16    transactions, including the potential Series B Equity Financing.

17    Indebtedness

18                The table below sets forth certain details of the notes payable as of July 31, 2019.
                                                                     Note Issue Date/
19       Lender                             Principal Amount           Maturity Date              Amount Outstanding


20       HK entity (Affiliate)2           $212.0 million March 30, 2018/                    $197.5 million; interest
                                                          December 31,                      rate at 12%
21                                                        2019
         HK entity (Affiliate)3           $66.9 million         March 30, 2018/             $66.9 million; interest
22
                                                                December 31,                rate at 12%
                                                                2019
23
         U.S. entity (Affiliate)4 $22.4 million                 June 30, 2017/              $4.4 million; interest
24

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 X                                                             December 31,            rate at 1.52%
 H                                                             2018
 I
 B       PRC individual                  $0.7 million          Payable on              $0.7 million, interest at
 I       (Former Affiliate)5                                   demand                  0%
 T
 C
 1   2See discussion in Article II.E.1 of the Disclosure Statement entitled “Affiliate Notes Payable” and Article II.C.4
 1   entitled “Funding of the FF Group.”
     3See discussion in Article II.E.1 of the Disclosure Statement entitled “Affiliate Notes Payable” and Article II.C.4
     entitled “Funding of the FF Group.”
     4See discussion in Article II.E.1 of the Disclosure Statement entitled “Affiliate Notes Payable.”
     5See discussion in Article II.E.1 of the Disclosure Statement entitled “Affiliate Notes Payable.”




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     [Different first page link-to-previous setting changed from off in original to on in modified.].
 1       PRC entity                      $4.37 million         April 17, 2017/
 2                                                             April 16, 2018              $0.7 million, interest at
                                                                                           0%; currently in default
 3                                       $4.37 million         April 17, 2017/
                                                               April 16, 2018              $28.9 million in the
 4                                                                                         aggregate, 0% interest
                                                                                           rate
 5       PRC individual                  $0.7 million          April 5, 2017/
                                                               October 2, 2017
 6       PRC entity (Former              $28.9 million         December 2017 -
         Affiliate)6                                           July 2018/one year
 7                                                                                         $10 million; interest
                                                               maturities, which
                                                                                           rate at 12%
                                                               have been
 8                                                             extended to
                                                               December 31,
 9                                                                                         $7.0 million; interest
                                                               2019
         A US-based                                                                        rate at 12%
                                         $10.0 million         December 9,
10       investment firm7
                                                               2016/
                                                               October 15, 2019            $1.5 million; interest
11                                                                                         rate at 12%
         A US-based
                                         $20.0 million         June 16, 2016/
12       investment firm8
                                                                December 31,
                                                                2019                       $3.5 million, interest at
13                                                                                         9%, in default
         A US-based
                                         $1.5 million          December 7, 2016/
14       investment firm9
                                                               December 31,                $1.5 million, interest
                                                               2019                        rate at 2.86%
15       An individual
         Chinese lender                  $3.5 million          April 23, 2017/
16                                                             October 20, 2017            $1.0 million, interest
         A US-based                                                                        rate at 8.99%
17       investment firm                 $1.5 million          October 16, 2018/
                                                               December 31,
18                                                             2019                        $9.2 million
         A US-based
19       investment firm                 $1.0 million          December 6, 2018/
                                                               December 31,
20                                                             2019
        Other unsecured
21      third-party                 $4.4 million       No stated terms or
             In addition
        borrowings       to the loans described  in  the above table,
                                                         maturity  datesa loan in the principal amount of $10
22   million was provided by Season $4.37 million, currently in default agreement entered into by Smart
                                       Smart  as part  of the restructuring
     King (n/k/a FF GlobalIntelligent)
                                    withand Season
                                         default      Smartrate
                                                  interest   on at
                                                                December
                                                                   18%       31, 2018, which was drawn down
23   in                             $4.37 million, currently in default
                                    with default interest rate at 18%
24   6 See discussion in Article II.E.1 of the Disclosure Statement entitled “Affiliate Notes Payable.”
     7 See discussion in Article II.C.4 entitled “Funding of the FF Group.”
     8 See discussion in Article II.C.4 entitled “Funding of the FF Group.”

25   9 See discussion in Article II.C.4 entitled “Funding of the FF Group.”




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  I   January 2019. The loan bears interest at an annual rate of 10% if repaid by June 30, 2019, and
 4T   increases to 15% per annum thereafter. The loan matured on June 30, 2019 and FF GlobalIntelligent
  C   is currently in default. As of the date of the Disclosure Statement, the full principal amount of $10.0
 51   million remained outstanding.
  1
 6            As shown in the above table, the FF Group has defaulted on some of the notes, and several
      other notes matured by the end of 2019. Certain notes charge a higher interest rate when in default.
 7    The FF Group is currently negotiating with the lenders for extensions of the loans. However, there
      is no assurance that any extensions will be granted. If the FF Group fails to pay off these notes when
 8    they become due or is unable to pay off those that are currently in default, such loans will continue
      to accrue interest, and the FF Group will incur additional losses, which could materially and
 9    adversely affect the FF Group’s financial position and exacerbate the FF Group’s liquidity problem.

10    Arrangement with Birch Lake, US Bank National Association and Vendor Trust

11            On April 29, 2019, FF entered into a term loan agreement for a principal amount of $15.0
      million with BL Mobility Fundco, LLC, as the lender, and Birch Lake Fund Management (“Birch
12    Lake”), as the agent and collateral agent. The loan matured and was paid off on September 30, 2019.
      The loan was guaranteed by Smart King (n/k/a FF GlobalIntelligent) and several of its subsidiaries in
13    the U.S., the Cayman Islands, and Hong Kong, and was secured by a first lien on substantially all
      tangible and intangible assets of the borrowers and guarantors. Proceeds of the loan were used to pay
14    down existing liabilities and fund the working capital needs of FF. The loan bore interest at 15.50%,
      and a default rate of 21.50%. The loan was subject to a liquidation preference premium of up to
15    63.50% of the original principal amount, of which the borrowers had the right to convert 30% of the
      liquidation preference premium into equity interests of Smart King (n/k/a FF Intelligent).
16
              On April 29, 2019, FF entered into a note purchase agreement (“NPA”) with certain
17    purchasers, U.S. Bank National Association, as the notes agent, and Birch Lake, as the collateral agent.
      The notes are guaranteed by Smart King (n/k/a FF GlobalIntelligent) and several of its subsidiaries in
18    the U.S., Cayman Islands, and Hong Kong. The aggregate principal amount of notes that may be
      issued under the NPA is $200.0 million. As of the date of the Disclosure Statement, a total of $45
19    million of notes were issued at a 10% interest rate, and are collateralized by a first lien, with second
      payment priority, on substantially all tangible and intangible assets of the borrowers and guarantors.
20    The original maturity date of the notes was October 31, 2019, however, FF obtained an extension of
      the maturity date to May, 31, 2020. In addition, FF Group is currently seeking a new bridge financing,
21    partly to pay off the existing notes. However, there is no assurance that any of the funding will be
      available on terms that are acceptable to FF or at all. In the event that FF fails to obtain an extension,
22    and/or fails to secure capital to pay off the note, and the lender decides to foreclose on the collateral,
      FF Group’s business and operations will be materially disrupted, as there is no assurance FF Group
23    can continue as a going concern.

24            On April 29, 2019, the FF Group established the Faraday Vendor Trust (the “Vendor Trust”)
      securing past due payables up to $150 million. The Vendor Trust is being managed by Force Ten
25    Partners as the vendor trustee. All obligations due under the Vendor Trust are collateralized by a first

26                                                            - 11
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     lien, with third payment priority, on substantially all of FF Group’s tangible and intangible assets. FF
     Group intends to satisfy the payables of the suppliers participating in the trust with the Series B Equity
     Financing that it intends to raise. The participating vendors agreed not to bring legal claims for overdue
     payment and to continue to cooperate with FF Group. Also, most of the vendors agreed to resume
     supply once FF Group has secured additional funding. All participating vendors are required to forbear
     from exercising remedies on any payables not tendered to or accepted by the Vendor Trust. As of the
     date of this exhibit, vendors owed aggregate payables of approximately $141.0 million have agreed to
     participate in the Vendor Trust, including several major vendors who have filed lawsuits against FF
     Group. FF Group estimates that the participating payables constitute all past due payables of
     approximately 80% of FF Group’s suppliers.




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  B   Contractual Obligations
  I
 4T
           The following table sets forth FF Global’sIntelligent’s contractual obligations as of
  C   December 31, 2018.
 51
  1
                                                                      As of December 31,
 6                                                                                                     2023 and
                                                                                                      thereafter
                               Total          2019             2020           2021          2022
 7                                                                     (in US$ thousands)
       Capital Lease
 8     obligations                                                1,213             1,105
                                 8,490          1,332                                         1,006        3,834
       Operating lease
       obligations              6,580           2,443             3,067             1,070        —            —
 9
       Total                   15,070           3,775             4,280             2,175     1,006        3,834

10           The FF Group has one capital lease in Hanford, California for equipment located at its main
      production facility. The capital lease obligations do not include commitments to purchase property
11    and equipment including leasehold improvements, which the FF Group expects to incur in the of
      approximately $104 million in order to fully build out the Hanford manufacturing facility to produce
12    the FF 91. Operating lease obligations consisted primarily of non-cancelable office leases and
      automotive leases.
13
             Other than those shown above, the FF Group did not have any significant capital and other
14    non-indebtedness commitments, long-term obligations or guarantees as of December 31, 2018.

15             FF entered into a purchase and sale agreement (“PSA”) with Atlas Capital Investors V, LP.
      (“Atlas”) on February 4, 2019, pursuant to which FF sold its headquarters located in Gardena,
16    California (“HQ”) to Atlas for a sale price of $29.0 million. On March 6, 2019, FF and Atlas entered
      in to a single-tenant commercial/office lease (the “HQ Lease”), pursuant to which Smart King (n/k/a
17    FF GlobalIntelligent) leased the HQ from Atlas for a three-year term, with a rent payable of $284,000
      per month and an option to repurchase the HQ any time prior to the expiration of the HQ Lease for a
18    purchase price equal to the greater of $44.0 million or the fair market value of the HQ.

19            On March 24, 2019, the FF Group entered into the JVA with The9, pursuant to which the
      FF Group and The9 agreed to establish an equity joint venture in Hong Kong and its wholly-owned
20    subsidiary in China, to engage in the business of manufacturing, marketing, selling and distributing
      a new electric vehicle in China. Under the JVA, the FF Group will contribute its land use rights for
21    land located in Moganshan, China, certain IP licenses, technical know-how, and branding to the
      joint venture.
22
                                               Holding Company Structure
23
            The FF Group adopted a holding company structure, and FF GlobalIntelligent is a holding
24    company with no material operations of its own. All operations are conducted through the FF
      Group’s U.S. subsidiaries and its VIEs and their respective subsidiaries in China. As a result, the
25    FF Group’s ability to pay dividends may depend upon dividends paid by certain subsidiaries of the
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26
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     FF Group. The debt instruments entered into by these subsidiaries may restrict their ability to pay
     dividends to the FF Group.

              In addition, FF Global’sIntelligent’s wholly foreign-owned subsidiaries in China are
     permitted to pay dividends to FF GlobalIntelligent only out of their retained earnings, if any, as
     determined in accordance with PRC accounting standards and regulations. Under PRC law, each of
     the FF Group’s subsidiaries and VIEs in China is required to set aside at least 10% of its after-tax
     profits each year, if any, to fund certain statutory reserve funds until such reserve funds reach 50%
     of its registered capital. In




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 1
     registered capital. In addition, any of the FF Group’s wholly foreign-owned subsidiaries in China
     may allocate a portion of its after-tax profits based on PRC accounting standards to enterprise
 2
     expansion funds and staff bonuses and welfare funds at its discretion, and its VIEs may allocate a
     portion of their after-tax profits based on PRC accounting standards to discretionary surplus funds
 3
     at their discretion. The statutory reserve funds and the discretionary funds are not distributable as
     cash dividends. Remittance of dividends by a wholly foreign-owned company out of China is
 4
     subject to examination by the banks designated by SAFE. The FF Group’s PRC subsidiaries have
     not paid dividends and will not be able to pay dividends until they generate accumulated profits and
 5
     meet the requirements for statutory reserve funds. Dividend distributions from the FF Group’s U.S.
     subsidiaries will be subject to U.S. withholding tax. However, the FF Group’s U.S. subsidiaries
 6
     have not paid dividends in the past and the FF Group has no plans for its U.S. subsidiaries to pay
     dividends in the foreseeable future.
 7
     Consolidation of Variable Interest Entities
 8
              The PRC government limits foreign ownership in PRC companies that operate in certain
 9
     areas of business, including value-added telecommunication services, internet technology services
     (except e-commerce) or vehicle manufacturing of whole vehicles. Effective on July 29, 2018, the
10
     restrictions on foreign investment in new electric manufacturers were lifted.
11
             In order to comply with these regulations, the FF Group control its entities in China through a
     set of contractual arrangements entered into among its WFOE, FF Automotive China and its VIE.
12
     Pursuant to such contractual arrangements, FF Automotive China is obligated to absorb a majority of
     the risk of loss and receive a majority of the residual returns from the VIE’s activities. Such
13
     arrangements also enable the FF Group to direct the activities that most significantly affect the
     economic performance of the VIE. Based on these contractual arrangements, the FF Group
14
     consolidates the VIE as required by the relevant rules, because the FF Group holds the variable
     interests of the VIE and is the primary beneficiary of the VIE.
15
                      Quantitative and Qualitative Disclosures about Market Risk
16
     Foreign Exchange Risk
17
            The FF Group’s reporting currency is U.S. dollars while its expenses are denominated in
18
     U.S. dollars, Renminbi. The FF Group has not used any derivative financial instruments to hedge
     exposure to foreign exchange risk. Although the FF Group’s exposure to foreign exchange risks
19
     should be limited in general, the value of the Trust Interest will be affected by the exchange rate
     between U.S. dollars and Renminbi because a substantial portion of the FF Group’s operating costs
20
     and expenses is effectively denominated in Renminbi, while FF Global’sIntelligent’s shares and the
     value of Trust Interest will be denominated in U.S. dollars.
21
              The conversion of Renminbi into foreign currencies, including U.S. dollars, is based on rates
22
     set by the People’s Bank of China. In July 2005, the PRC government changed its decades-old policy
     of pegging the value of Renminbi to the U.S. dollar, and Renminbi appreciated more than 20% against
23
     the U.S. dollar over the following three years. Between July 2008 and June 2010, this appreciation
     halted and the exchange rate between Renminbi and the U.S. dollar remained within a narrow band.
24
     Since June 2010, Renminbi has fluctuated against the U.S. dollar, at times significantly and
     unpredictably. With the development of the foreign exchange market and progress towards interest
25
     rate liberalization and Renminbi internationalization, the PRC government may in the future announce
26                                                   - 15 -

27
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     further changes to the Main
                            exchange rate system.Page
                                  Document         It is difficult
                                                         485 of 529to predict how market forces or PRC or
     U.S. government policy may impact the exchange rate between Renminbi and the U.S. dollar in the
     future. To the extent that FF GlobalIntelligent needs to convert U.S. dollars into Renminbi for its
     operations, appreciation of Renminbi against the U.S. dollar would have an adverse effect on the
     Renminbi amount the FF Group receives from the conversion. Conversely, if the FF Group




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 1
           decides to convert Renminbi into U.S. dollars for business purposes, appreciation of




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     the U.S. dollar against Renminbi would have a negative effect on U.S. dollars received from the
     conversion.
 2
     Interest Rate Risk
 3
             The FF Group has not been exposed to material risks due to changes in market interest rates,
 4
     and the FF Group has not used any derivative financial instruments to manage its interest risk
     exposure. The FF Group expects rising or falling interest rates may have a material impact on its
 5
     financial condition unless uncertainty about the direction and timing of interest rate changes
     materially affects the level of borrowing and lending activity in the economy.
 6
                                                            Taxation
 7
     Cayman Islands
 8
             FF GlobalIntelligent is incorporated in the Cayman Islands. The Cayman Islands currently
 9
     have no form of income, corporate or capital gains tax and no estate duty, inheritance tax or gift tax.
     There are no other taxes likely to be material to the FF Group levied by the government of the
10
     Cayman Islands except for stamp duties which may be applicable on instruments executed in, or,
     after execution, brought within, the jurisdiction of the Cayman Islands.
11
     United States Income Tax
12
           The FF Group is subject to taxation and files income tax returns with the U.S. federal
13
     government and the States of California and Oregon.
14
             As a result of losses incurred, the FF Group had immaterial income taxes for the year ended
     December 31, 2018. The recorded provision for income taxes differs from the expected provision
15
     for income taxes based on the federal statutory tax rate of 21% primarily due to the valuation
     allowance against deferred tax assets. The FF Group had net deferred tax assets of approximately
16
     $117.0 million as of December 31, 2018, which were comprised primarily of net operating loss and
     R&D carryforwards of $83.0 million, impairment of property and equipment of $21.0 million, and,
17
     to a lesser extent, temporary differences related to depreciation, accruals and stock-based
     compensation. The FF Group recognized a full valuation allowance of $117.0 million as of
18
     December 31, 2018 since, in the judgment of management, given the FF Group’s history of losses,
     the realization of these assets was not considered more likely than not. The valuation allowance
19
     increased by $34.0 million for the year ended December 31, 2018.
20
             The FF Group had U.S. federal R&D tax credit carryforwards of $3.7 million and state R&D
     tax credit carryforwards of $4.2 million as of December 31, 2018. The U.S. federal R&D tax credits
21
     will begin to expire in 2035, and the state tax credits do not expire and can be carried forward
     indefinitely.
22
             As of December 31, 2018, the FF Group had U.S. federal and foreign net operating loss
23
     carryforwards of $195.5 million and $136.8 million, respectively. The U.S. federal and foreign net
     operating losses will begin to expire in 2034 and 2019, respectively. The U.S. federal net operating
24
     loss carryforwards of $115.4 million generated after the effectiveness of the Tax Cuts and Jobs Act
25   [Different first page setting changed from off in original to on in modified.].
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26                                                            - 18 -

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 X may be carried forwardMain  indefinitely,
                                    Document subject to the 80%
                                                      Page   488taxable
                                                                 of 529income limitation on the utilization of
 H the carryforwards. The U.S. federal net operating loss carryforwards of $80.0 million generated prior
 I   to December 31, 2017 may be carried forward for 20 years. In accordance with Internal Revenue Code
 B Section 382 (“Section 382”) and Section 383 (“Section 383”), a corporation that undergoes an
 I   “ownership change” (generally defined as a cumulative change (by value) of more than 50% in the
 T equity ownership of certain stockholders over a rolling three-year period) is subject to limitations on
 C its ability to utilize its pre-change Net Operating Losses (“NOLs”) and R&D tax
 1
 1




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 1
     credits to offset post-change taxable income and post-change tax liabilities, respectively. The FF
     Group’s existing NOLs and R&D credits may be subject to limitations arising from previous
 2
     ownership changes, and the ability to utilize NOLs could be further limited by Section 382 and
     Section 383 of the Code. There is a strong possibility that the current restructuring under the Plan,
 3
     together with other changes in the direct and indirect ownership of FF GlobalIntelligent preceding
     the restructuring or in the future, could result in an ownership change under Section 382 and Section
 4
     383 of the Code.
 5
             As of December 31, 2018, the 2017 and 2016 tax years remained subject to examination for
     each jurisdiction. In accordance with ASC 740-10, Income Taxes - Overall, the impact of an
 6
     uncertain income tax position on the income tax return must be recognized at the largest amount
     that is more likely than not to be sustained upon audit by the relevant taxing authority. An uncertain
 7
     income tax position will not be recognized if it has less than a 50% likelihood of being sustained.
     The FF Group had no material uncertain tax positions at December 31, 2018. At December 31,
 8
     2018, there were no interest or penalties related to uncertain tax positions.
 9
     PRC
10
             Generally, the FF Group’s PRC subsidiaries are subject to enterprise income tax on their
     taxable income in China at a statutory rate of 25%. The enterprise income tax is calculated based
11
     on the entity’s global income as determined under PRC tax laws and accounting standards.
12
             The FF Group has not yet offered products and services or generated any revenue and
     therefore is not subject to value-added tax or subcharges on value-added tax payments
13
              Dividends paid by the FF Group’s PRC subsidiaries in China to the FF Group’s Hong Kong
14
     subsidiaries will be subject to a withholding tax rate of 10%, unless the relevant Hong Kong entity
     satisfies all the requirements under the Double Taxation Avoidance Arrangement and receives
15
     approval from the relevant tax authority. If the FF Group’s Hong Kong subsidiaries satisfy all the
     requirements under the tax arrangement and receive approval from the relevant tax authority, then
16
     the dividends paid to the Hong Kong subsidiaries would be subject to withholding tax at the standard
     rate of 5%. The above-mentioned approval requirement was abolished on November 1, 2015, but a
17
     Hong Kong entity is still required to file application package with the relevant tax authority, and
     settle the overdue taxes if the preferential 5% tax rate is denied based on the subsequent review of
18
     the application package by the relevant tax authority.
19
             If the FF Group or any of its subsidiaries outside of China were deemed to be a “resident
     enterprise” under the PRC Enterprise Income Tax Law, it would be subject to enterprise income tax
20
     on its worldwide income at a rate of 25%.
21
              Under the PRC Enterprise Income Tax Law, R&D expenses incurred by an enterprise in the
     course of carrying out R&D activities that have not formed intangible assets are included in the
22
     profit and loss account for the current year. In addition to deducting the actual amount of R&D
     expenses incurred, an enterprise is allowed an additional 75% deduction of such amount in
23
     calculating its taxable income for the relevant year. For R&D expenses that have formed intangible
     assets, the tax amortization is based on 175% of the costs of the intangible assets.
24

25

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 2                                   EXHIBIT D
 3                       Summary of Selected Financial Information
                                     of the FF Group
 4

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                                                             EXHIBIT D
 2C
 1
                             Summary of Selected Financial Information of the FF Group
 1            The consolidated financial statements of Smart King Ltd. (n/k/a FF Intelligent Mobility
 3
      Global Holdings Ltd.) (“Smart King”),1 the parent company of Faraday & Future Inc. (“FF” and
      collectively with other operational entities owned and/or controlled by Smart KingFF Intelligent
 4
      and together with Smart KingFF Intelligent, the “FF Group”) are prepared and presented in
      accordance with accounting principles generally accepted in the United States of America, or U.S.
 5
      GAAP. FF Group’s historical results are not necessarily indicative of results expected for future
      periods, and information for interim periods is subject to year-end adjustments. You should read
 6
      this Summary of Selected Financial Information of FF Group together with “Management’s
      Discussion and Analysis of Financial Condition and Results of Operations of FF Group” attached
 7
      as Exhibit C to the Disclosure Statement.
 8
            The following table presents FF Group’s selected consolidated statement of operations and
      comprehensive loss for the year ended December 31, 2018 and seven months ended July 31, 2019.
 9
                                                                                                           Seven months ended
                                                                                                                 July 31,
10                                                           Year ended December 31,
                                                                       2018                                      2019
11                                                                                      In thousands US$
         Selected Consolidated Statement of Operations
12         and Comprehensive Loss

          Operating Expenses
13
         Research and Development                                                   270,101                                      17,933
14       Sales and Marketing                                                         16,906                                       2,818
         General and administrative                                                 170,480                                      60,009
15       Total Operating Expenses                                                   457,487                                      80,760
         Loss from operations                                                       457,487                                      80,760
16       Other income, net                                                             29,019                                     4.417
         Interest expense                                                              49,369                                    26,709
17       Net loss                                                                   477,837                                     103,052
         Other comprehensive loss
18       Foreign Currency translation                                                   4,082                                     2,276
         Total comprehensive loss                                                   481,919                                     100,776
19
           The following table presents FF Group’s selected consolidated balance sheet data as of
20    December 31, 2018 and July 31, 2019.

21                                                                As of December 31,                          As of July 31,
                                                                           2018                                    2019
22                                                                     2018                                      2019
                                                                           In thousands US$, except for shares data
23        Selected Consolidated Balance Sheet
          Total Current Assets                                                          73,560                                   73,102
24          Assets Held for Sale                                                        29,038                                   29,038
          Property and equipment, net                                                  282,385                                  260,274
25                                                                          In thousands US$, except for shares data
         Selected Consolidated Balance Sheet
26       Total Current Assets                                                     73,560                                       73,102
            Assets Held for Sale                         29,038               29,038
27                                                                - 23 -
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     1Pursuant to the Sixth Amended   and Restated Memorandum
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                                                                           529 of Association of FF Intelligent Mobility
     Global Holdings Ltd. (f/k/a Smart King Ltd.) adopted February 10, 2020, Smart King was renamed as FF Intelligent
     Mobility Global Holdings Ltd. (“FF Intelligent”) to align the corporate names of the entities of the FF Group.




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 I
 B
 I     Property and equipment, net                                               282,385                                  260,274
 T     Land use rights                                                            60,497                                   59,767
 C
 1     Other noncurrent assets                                                      3,597                                   4,321
 1     Total assets                                                              420,039                                     397,464
       Current Liabilities
       Accounts payable                                                          136,596                                     159,304
       Accrued expenses and other current liabilities                            140,188                                     172,520
       Related party notes payable                                               315,700                                     310,757
       Notes payable                                                              60,168                                      91,325
       Total current liabilities                                                 652,652                                     734,305
       Capital leases, less current portion                                       12,746                                      14,550
       Deferred rent, less current portion                                          2,490                                           327
       Land use grant                                                             53,226                                      52,588
       Total Liabilities                                                         721,114                                     801,770
       Stockholder’s deficit
       Redeemable convertible preference shares, $0.00001
        par value; 480,588,235 shares and 470,588,235
        shares authorized, issued and outstanding on                             724,824                                     724,824
        December 31, 2018 and July 31, 2019, respectively;
        liquidation preference of $1,150,118
       Class B convertible preferred stock, $0.00001 par
        value; 600,000,000 shares authorized, 600,000,000
        and 600,000,000 shares issued and outstanding on                         924,149                                     924,149
        December 31, 2018 and July 31, 2019, respectively;
        liquidation preference of $1,466,400
       Additional paid-in capital                                                131,514                                      92,701
       Accumulated other comprehensive loss                                         2,291                                            24
       Accumulated deficit                                                      2,079,270                                   2,145,955
       Total stockholders’ deficit                                                    301,075                                404,306
       Total liabilities and stockholders’ deficit                                    420,039                                397,464


          The following table presents FF Group’s selected cash flow data for the year ended
     December 31, 2018 and the seven months ended July 31, 2019.
                                                             Year Ended December 31,                   Seven Months Ended July 31,
                                                                         2018                                     2019
                                                                                           In thousands US$
       Selected Consolidated Cash Flows Data
       Net cash used in operating activities                                    (512,668)                                    (28,600)
       Net cash (used in)/provided by investing activities                      (194,910)                                       7,435
       Net cash provided by financing activities                                519,074                                       27,300
       Effects of exchange rate changes on cash and
                                                                                       (4,513)                                         -
        restricted cash
                                                                                     200,441                                  7,424


       Net decrease in cash and restricted cash                                 (193,017)                                       (586)
       Cash and restricted cash at beginning of the
        year/period
       Cash and restricted cash at end of the year/period                          7,424                                        6,838




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 T
                                       EXHIBIT E
 C                    Simplified Organizational Chart of the FF Group
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                                                 FF Global Partners                   West Coast LLC
                                                  LLC (US – DE)                        (US – DE)
                                                    80%                                      20%


                                                            Pacific Technology Holding
                                                                       LLC (US – DE)

                                                            FF Peak Holding Limited (BVI)                      Evergrande (HK)


                                          ESOP                 FF Top Holding Ltd. (BVI)                  Season Smart Limited (BVI)
                                       27.2%                                40.8 __                                     32%




                                                           Smart Technology Holdings
                                                                    Ltd. (Cayman)



     FF Hong Kong Holding Limited                                                                      FF Inc. (US
                                                                                                           – CA)
         法法香港控股有限公司



     FF Automotive (China) Co., Ltd.                        Faraday Future LLC                     Faraday & Future                FF Manufacturing
                                                                 (US-DE)                           Inc. (US – CA)                   LLC (US-DE)
       法法汽车(中国)有限公司




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Recovery Analysis
                                                                                                                                                                                                       FF GLOBALINTELLIGENT VALUATION SCENARIOS (Footnote 1)
                                                                                                                                       EQUITY VALUATION SCENARIO:              No Equity Value   2018 Equity Value (Footnote 2)   5x 2018 Value    10x 2018 Value             20x 2018 Value
                                                                                                                                                             Equity Value                     $0              $2,500,000,000    $12,500,000,000   $25,000,000,000            $50,000,000,000
                                                                                                                                                     Valuation Multiplier              0                                     15                         10                         20
                                                                                                                                                    Dilution (Footnote 3)                     0%                          0%               58%               58%                        58%
                                                                                                                                           Equity Value to Existing Equity                    $0              $2,500,000,000     $5,250,000,000   $10,500,000,000            $21,000,000,000
Trust Assets:

Cash Balances                                                                      (A)          $30,84746,104                           Footnote 4                                $30,84746,104               $30,84746,104       $30,84746,104         $30,84746,104          $30,84746,104

Trust FF GlobalIntelligent Shares:
      Trust FF GlobalIntelligent Shares                                            (B)                    10% of FF Global equity       Footnote 5                                        $0.00    $250,000,000.0250,000,000 $498,750,000.0498,     $966,000,000.0966,    $1,932,000,000.01,9
                                                                                                                                                                                                                                       750,000                000,000             32,000,000

Preferred PT Units:                                                                                                                     Footnote 6
          a) Priority Distribution                                                 (C)            $815,700,000 cash                     Footnote 7                                           $0                $770,000,000        $815,700,000          $815,700,000           $815,700,000
          b) Special Distribution                                                  (D)                   10% of PT Value in SK          Footnote 8                                           $0                          $0         $53,565,000          $197,478,000           $495,006,000
          c) Pro Rata Distribution                                                 (E)                   20% of PT Value in SK          Footnote 9                                           $0                          $0         $96,417,000          $355,460,400           $891,010,800

Debtor Remainder China Assets                                                          (F)                   $0                         Footnote 10                                          $0                          $0                   $0                    $0                    $0

Yidao Claims                                                                       (G)                       $0                         Footnote 11                                          $0                          $0                   $0                    $0                    $0

Chapter 5 Actions                                                                  (H)                       $0                         Footnote 12                                          $0                          $0                   $0                    $0                    $0

Call Option                                                                            (I)                   $0                         Footnote 13                                          $0                          $0                   $0                    $0                    $0

Ford Field                                                                             (J)                   $0                         Footnote 14                                          $0                          $0                   $0                    $0                    $0

DIP Loan and Trust Financing                                                       (K)            $15,000,000                           Footnote 15                                  $5,900,000                 $15,000,000          $15,000,000           $15,000,000           $15,000,000

             Assets of the Creditor Trust (excluding FF GlobalIntelligent                                                                                                                                                      $830,730,847830,7    $830,730,847830,74    $830,730,847830,74
                                                                                       (L) A+C+F+G+H+I+J+K                                                                   $5,930,8475,946,104    $785,030,847785,046,104
             Shares)                                                                                                                                                                                                                      46,104                 6,104                 6,104

             FF GlobalIntelligent Equity Share Value of the Creditor Trust         (M)            B+D+E                                                                                      $0                $250,000,000        $648,732,000         $1,518,938,400        $3,318,016,800

                                                                                                                                                                                                                             $1,479,462,8471,47     $2,349,669,2472,34    $4,148,747,6474,14
             Total Value Available to the Creditor Trust                                            L+M                                                                      $5,930,8475,946,104 $1,035,030,8471,035,046,104
                                                                                                                                                                                                                                      9,478,104              9,684,504             8,762,904

CREDITOR PAYMENTS:

Creditor Trust Expenses (including all Administrative Claims and the DIP Note)                    $15,000,000                           Footnote 16                                          $0                 $15,000,000          $15,000,000           $15,000,000           $15,000,000

Administrative Claims and Trust Expenses                                                           $5,900,000                           Footnote 17                                  $5,900,000                          $0                   $0                    $0                    $0

Priority Tax Claims                                                                                          $0                         Footnote 18                                          $0                          $0                   $0                    $0                    $0

Priority Non-Tax Claims                                                                           $08,747,060                           Footnote 19                                 $08,747,060                 $08,747,060          $08,747,060           $08,747,060           $08,747,060

                                                                                             $2,732,6292,687,6                                                                                                               $2,732,6292,687,62     $2,732,6292,687,62    $2,732,6292,687,62
U.S. Secured Claims                                                                                                                     Footnotes 20                         $2,732,6292,687,629         $2,732,6292,687,629
                                                                                                           29                                                                                                                                 9                      9                     9

             Priority Creditor Claims                                            (N)                                                                            $8,632,629         $17,732,629                  $17,732,629                                $17,732,629           $17,732,629
             Priority Creditor Claims Payments                                                                                                                  $5,930,847         $17,732,629                  $17,732,629                                $17,732,629           $17,732,629
                                                                                                      PRIORITY CLAIMS RETURN %                                        69%                100%                         100%                                       100%                  100%

             Priority Creditor Claims                                            (N)                                                                                                $17,334,689                 $26,434,689          $26,434,689     $1,388,643,70726,4          $26,434,689
             Priority Creditor Claims Payments                                                                                                                                       $5,946,104                 $26,434,689          $26,434,689                 34,689          $26,434,689
                                                                                                                                              PRIORITY CLAIMS RETURN %                     34%                        100%                 100%      $2,215,339,78726,4                100%
                                                                                                                                                                                                                                                                 34,689
             Amounts Available to non-PriorityNon-Priority Claims                                    L+M-N                              Footnote 21                                          $0                $958,180,844    $966,433,3071,380                  100%     $3,924,464,2673,9
                                                                                                                                                                                                                                         ,391,244                                 16,211,804
             SCHEDUELED CLAIMS RETURN ANALYSIS:                                                                                                                                                                                                         $2,207,087,324



                                                                                               SCHEDUELED
                                                                                               C
                                                                                               Scheduled   Non-          Footnote 22                                                    $3,544,818,007        $3,544,818,007       $3,544,818,007        $3,544,818,007       $3,544,818,007
                                                                                               L
                                                                                               Priority Claims
                                                                                               Payment
                                                                                               A         to Scheduled                                                                               $0          $966,433,307       $1,388,643,707        $2,215,339,787       $3,544,818,007
                                                                                               Non-Priority
                                                                                               I
                                                                                               $3,544,818,007Claims -
                                                                                               Prior
                                                                                               M to Excess Trust
                                                                                               Value
                                                                                               S      Payout
                                                                                               R
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                                                                                               N
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 Scheduled  Non-Priority Claims                                           $3,587,040,883                   Footnote 2422                  $3,587,040,883 $3,587,040,883 $3,587,040,883  $3,587,040,883                              $189,823,1303,587
   Payment to Scheduled Non-Priority Claims - Prior to Excess Trust Value                                                                                                                                                                     ,040,883
  B                                                                                                                                                   $0  $958,180,844  $1,380,391,244  $2,207,087,324
  IPayout Excess Creditor Trust Value Payout to Scheduled Non-Priority                                     Footnote 23                                $0             $0             $0              $0
                                                                                                                                                                                                                                       $3,587,040,883


  TClaims (O) Total Payments to Scheduled Non-Priority Claims
                                                                          Excess Creditor Trust                                                       $0  $958,180,844  $1,380,391,244 $02,207,087,324
                                                                                                                                                                                                                                         $164,585,461

  C                                                                       Value Payout to
                                                                          Scheduled Non-
                                                                                                   SCHEDULED NON-PRIORITY CLAIMS RETURN %             0%            27%            38%             62%                                 $3,751,626,344
                                                                                                                                                                                                                                                 105%
  1                                                                          Priority Claims
  1                                                                          (O)L+M-N+O


                                                                             Total Payments to                                                                        $0      $966,433,307    $1,388,643,707       $2,215,339,787      $3,734,641,137
                                                                             Scheduled Non-             SCHEDULED NON-PRIORITY CLAIMS RETURN %                        0%               27%               39%                  62%                105%
                                                                             Priority Claims
                                                                             CLAIMS   RETURN
FILED CLAIMS RETURN ANALYSIS:                                                ANALYSIS:
                                                                             L+M-N+O
                                                                             Filed Non-Priority   Footnote 25                                              $7,711,892,882    $7,711,892,882   $7,711,892,882       $7,711,892,882      $7,711,892,882
                                                                             Claims
 Filed Non-Priority Claims                                                   $7,703,190,822                     Footnote 24                          $7,703,190,822         $7,703,190,822    $7,703,190,822      $7,703,190,822       $7,703,190,822
                                                                             $7,711,892,882
 Payment to Filed Non-Priority Claims - Prior to Excess Trust Value Payout                                                                                      $0           $958,180,844     $1,380,391,244      $2,207,087,324       $3,916,211,804
 Excess Creditor Trust Value Payout to Filed Non-Priority Claims (P)
                                                                                                                Footnote 23                                     $0                     $0                $0                   $0                   $0
 Total Payments to Filed Non-Priority Claims
                                                                             L+M-N+P                                                         `                  $0           $958,180,844     $1,380,391,244   $966,433,3072,207,   $2,215,339,7873,9
                                                                                                            FILED NON-PRIORITY CLAIMS RETURN %                  0%                    12%               18%              087,324           16,211,804
                                                                                                                                                                                                                                                  51%
                                                                                                                                                                                                                               $0
                                                                                                                                                                                                                                                  $0
                                                                                                                                                                                                               $1,388,643,70729%
                                                                                                                                                                                                                                       $3,924,464,267
                                                                                                                                                                                                                                                   $0

                                                                             Total Payments to                                                   `                    $0      $966,433,307    $1,388,643,707       $2,215,339,787      $3,924,464,267
                                                                             Filed Non-Priority                     FILED                                             0%               13%               18%                  29%                 51%
                                                                             Claims               NON-PRIORITY CLAIMS RETURN %


                                                                             L+M-N+P




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Footnote 1 – FF GlobalIntelligent Valuation Scenarios

        Scenario 1 – No equity value

       Scenario 2 – Equity value as of December 31, 2018 (“2018 Equity Value”) (See Footnote 2)

        Scenario 3 – Equity value of five times multiple (5x) of the 2018 Equity Value

        Scenario 4 – Equity value of ten times multiple (10x) of the 2018 Equity Value

        Scenario 5 – Equity value of twenty times multiple (20x) of the 2018 Equity Value
THE VALUATIONSVALUATION SCENARIOS SET FORTH HEREIN REPRESENT ESTIMATED
ENTERPRISE VALUES AND DO NOT NECESSARILY REFLECT VALUES THAT COULD BE ATTAINABLE
IN THE PUBLIC OR PRIVATE MARKETS. THE EQUITY VALUE ASCRIBED IN THE ANALYSIS DOES NOT
PURPORT TO BE AN ESTIMATE OF THE POST-REORGANIZATION MARKET VALUE. SUCH TRADING
VALUE, IF ANY, MAY BE MATERIALLY DIFFERENT FROM THE ENTERPRISE VALUE RANGES
ASSOCIATED WITH THE VALUATIONRECOVERY ANALYSIS.

Footnote 2
2018 Equity Value is based on the Season Smart restructuring of December 31, 2018 ($800 million
investment = 32% of the equity shares). See Article II.C.2.c of the Disclosure Statement entitled “Valuations
of FF GlobalIntelligent.”

Footnote 3
For FF GlobalIntelligent to execute its business plans, it will be necessary for the company to raise
substantial capital. It is assumed here that the necessary funding will lead to equity dilution of 33% from
one round of funding and 25% from another round of funding. Dilution of the existing equity may increase
significantly from these amounts depending on the difficulty of raising the funding the company
anticipates as necessary. In the scenariosFF Intelligent valuation scenario where the equity value is zero
or in the 2018 Equity Value scenario (see Footnote 1) there are no expected capital financings and no
estimated dilution.

Footnote 4

Per the Debtor’s JanuaryFebruary 2020 monthly operating report filed with the US Trustee, less
$100,000 deposited into the DIP Trust Account on February 28, 2020.

Footnote 5 – Direction of the Trust FF GlobalIntelligent Shares
YTThe Debtor has a contractual right to direct 147,058,823 (10%) of the issued and outstanding Class B
shares of FF GlobalIntelligent to the Trust (See Footnote 5a).

        Footnote 5a
        Under the Plan, at certain valuations for FF GlobalIntelligent, the Trust FF GlobalIntelligent Shares
        will be diluted by equity incentives awarded to the Debtor under the Future Equity Incentive Plan
        (See Footnote 2625).

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Footnote 6 – Priority Distribution




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Under
  T the Plan, the Trust shall receive the Preferred PT Units. The Preferred PT Units comprise 20% of the
currently
  C        issued and outstanding membership interests in Pacific Technology. Pacific Technology currently
holds 40.8% of the issued and outstanding Class B shares of FF GlobalIntelligent through its 100%
  1
  1
ownership    of FF Peak (which is the sole owner of FF Top – FF Top owning 40.8% of FF GlobalIntelligent).
All distributions to Allowed Debt Claims from the Preferred PT Units are subordinated to the FF GP Capital
Return (See Footnote 6a). (See also Footnotes 6b, 6c and 21).

        Footnote 6a
        The amount of the FF GP Capital Return as of December 31, 2019 is $184,800,000 which accrues
        interest at 8% per annum (for the purposes of this analysis no interest has been calculated).

        Footnote 6b
        The Preferred PT Units shall (after the payment of the FF GP Capital Return) be entitled to a Priority
        Distribution of up to $815,700,000 which accrues interest at 8% per annum (for the purposes of
        this analysis no interest has been calculated).

        Footnote 6c
        After the direction of the Trust FF GlobalIntelligent Shares to the Trust (see Footnote 5) the
        Preferred PT Units, but prior to any dilution from future financings (Footnote 3), Pacific
        Technology shall hold 30.8% of the issued and outstanding Class B shares of FF GlobalIntelligent.

Footnote 7
Does not factor in the cost of interest for the FF GP Capital Return or the receipt of interest on the Priority
Distribution.

Footnote 8 – Special Distribution
After the payment of the Priority Distribution (see Footnote 6b) to the Trust, the Trust shall be entitled to
receive a Special Distribution, which is 10% of the remaining assets of Pacific Technology. After Pacific
Technology has paid the FF GP Capital Return and the Priority Distribution and after the issuance of the Trust
FF GlobalIntelligent Shares (See Footnote 5), but prior to any dilution from future financings (Footnote 3),
Pacific Technology will ownshall hold 30.8% of the equity value of FF Global (See issued and outstanding
Class B shares of FF Intelligent (Footnote 6c). Implying a Special Distribution to the Trust of 3.08% of the
equity of FF Global (See issued and outstanding Class B shares of FF Intelligent (Footnotes 8a and 21).

        Footnote 8a
        Under the Plan, at certain valuations for FF GlobalIntelligent, the Special Distribution will be
        diluted by equity incentives awarded to the Debtor under the Future Equity Incentive Plan (See
        Footnote 2625).

Footnote 9 – Pro Rata Distribution
After the distribution of the Special Distribution (Footnote 8), the Trust shall be entitled to receive a Pro
Rata Distribution, based on its ownership of 20% of the remaining assets of Pacific Technology. After the
Special Distribution, but prior to any dilution from future financings (Footnote 3), Pacific Technology
ownsshall hold 27.72% of the equity of FF Global (See Footnote 8)issued and outstanding Class B shares
of FF Intelligent. Implying a Pro Rata Distribution to the Trust of 5.544% of the equity of FF Global (See
issued and outstanding Class B shares of FF Intelligent (Footnotes 9a and 21).
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        Footnote 9a
        Under the Plan, at certain valuations for FF GlobalIntelligent, the Pro Rata Distribution will be diluted
        by equity incentives awarded to the Debtor under the Future Equity Incentive Plan (See Footnote
        2625).

Footnote 10
Debtor Remainder China Assets (per the Disclosure Statement) of $225,905,725 are offset against China
Secured Claims (per Article 4.3 of the Plan) (See Footnote 22). (See also Footnote 2524).

Footnote 11
Since it is not possible to determine, with any precision, the value, if any, of a proceeding resulting from
the Yidao Claims, the value of these assets is estimated at $0.

Footnote 12
Since the existence of Chapter 5 Actions, if any, is unknown at this time, the value of these actions, if any,
is estimated at $0.

Footnote 13
On the effective date, the Call Option (as described in Article II.C.2.a of the Disclosure Statement) shall
constitute assets of the Trust. The Trust may transfer the Call Option to a third party for the purpose of
assisting with the financing of FF GlobalIntelligent. Any consideration paid for the Call Option will be paid
to the Trust. At this time it is not possible to know if the Call Option will be transferred and if there will be
any consideration paid to the Trust for the transfer. Given the most recent FF GlobalIntelligent equity
valuations (See Footnote 2) and the amount of money necessary to exercise the Call Option, the value of
the Call Option is estimated at $0.

Footnote 14

As it is a holding company with no assets, no value is assigned to the Debtor’s interest in Ford Field.

Footnote 15
The DIP Loan and Trust Financing is estimated to be $15 million. In the event of a scenario where the FF
GlobalIntelligent valuation is zero (See Footnote 1), the DIP Loan and Trust Financing will be an estimated
$5.9 million given the unlikelihood that additional financing in excess of the DIP Loan (as of the
confirmation date) would be acquired for the estate.

Footnote 16
The Creditor Trust Expenses of an estimated $15 million include Chapter 11 Administrative Expense Claims
(including the DIP Note of $6.4 million which accrues interest at 8.75% per annum) and which are
estimated to be $10 million.

Footnote 17
In the event of a scenario where the FF GlobalIntelligent valuation is zero (See Footnote 1), the
Administrative Claims and Trust Expenses will be an estimated $5.9 million.


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Footnote 18
The scheduled Priority Tax Claims are $0 (per the Disclosure Statement). Filed Priority Tax Claims, if any,
are not considered for this Recovery Analysis.

Footnote 19
The scheduled Priority Non-Tax Claims are $08,747,060 (per the Disclosure Statement). Filed Priority Non-
Tax Claims, if any, are not considered secured for this Recovery Analysis.

Footnote 20
Scheduled claim of Pacific Technology Holding LLC is $2,732,6292,687,629 and is considered secured. Filed
claims asserting a secured claim are not considered secured for the Recovery Analysis.

Footnote 21
Under the Plan, all payments to holders of Allowed Debt Claims above the amount of the Priority Creditor
Claims shall be 95% of the available amounts available to the Allowed Debt Claims up until the full amount
of the Allowed Debt Claims (less any Other Distributions received)-respective Debt Claim Distribution
Amount for such claims at which point all payments on behalf of the Allowed Debt Claims shall cease, with
the exception of any payments of Excess Trust Value. (See Footnote 2423).

Footnote 22
Scheduled non-Priority Claims (per the Disclosure Statement) (see Footnote 20) of $ $3,773,456,361 less
the value of theare $3,824,381,297. Scheduled Non-Priority Claims are the Scheduled Claims less Debtor
Remainder China Assets (See Footnote 10), scheduled Priority Non-Tax Claims (Footnote 19) and
scheduled US Secured Claims (Footnote 20).

Footnote 2423

After all holders of Allowed Debt Claims have received payments equal to their respective claims,
theDebt Claim
Distribution Amounts, the remaining value of the Trust (“Excess Trust Value”) shall be allocated to the
holders of Allowed Debt Claims, as follows:
         50% of the remaining value of the Trust between $0 and $1 billion
        30% of the remaining value of the Trust between $1 billion and $2 billion
        20% of the remaining value of the Trust between $2 billion and $3 billion
        10% of the remaining value of the Trust between $3 billion and $4 billion
        5% of the remaining Value of the Trust above $4 billion

Footnote 2524
Filed Claims of $7,940,531,236 have been received as of February 28, 2020. The Flied Non-Priority Claims
for the Recovery Analysis are these received claims less the value of the Debtor Remainder China Assets
of $225,905,725 (See (Footnote 10) and the Scheduled, scheduled Priority Non-Tax Claims (Footnote 19)
and scheduled US Secured Claim of $2,732,629 (See Claims (Footnote 20). The amounts of the filed claims
in this Recovery Analysis do not take into account any objections that may be filed with respect to any
claim.


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Footnote 2625
Under the Future Equity Incentive Plan, equity incentives shall be awarded to the Debtor under the
following schedule:




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          Total equity value of FF GlobalIntelligent:   % of total outstanding & reserved
                                   shares of FF GlobalIntelligent:
            Above $5 billion                          2.00% in total
            Above $10 billion                         5.00% in total
            Above $21 billion                         8.00% in total




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                                            Liquidation Analysis

While the numerical scenarios shown in the above recovery analysis may, at initial inspection, seem as if
they would be similar under either the Plan or a liquidation of the Debtor under chapter 7 of the
Bankruptcy Code (a “Liquidation”), there are key differences to the recoveries to creditors when
comparing the Plan and a Liquidation.

First, there are some numerical differences that should be considered.

    •   Under the Plan, non-priority claims (i.e., Debt Claims) are paid 95% of any distributions from the
        assets of the Trust. In a Liquidation, the chapter 7 trustee will require a payment of 3% of all
        distributions, if any, to all classes of creditors.

    •   In a Liquidation, the creditors will not have the ability to participate in any distributions over and
        above their claims as they would in the Plan.

    •   Under the Plan, the Debtor has the opportunity to participate in the Future Equity Incentive Plan.
        As would be expected for critical management of a multinational corporation, these equity
        incentives are necessary to reward executive performance in creating value at FF
        GlobalIntelligent. Under the Plan equity incentives would be awarded under the following
        schedule.

        Total equity value of FF GlobalIntelligent:         % total outstanding & reserved shares of FF
        GlobalIntelligent:

                Above $5 billion                            2.00% in total

                Above $10 billion                           5.00% in total

                Above $21 billion                           8.00% in total

        Under each of the levels necessary for awards under the Future Equity Incentive Plan, creditors will
        be in a position (through the Plan) to receive meaningful returns from the participation of the Trust
        in the equity value of FF GlobalIntelligent. As discussed below, the critical nature of the Debtor’s
        continued involvement in the management of FF GlobalIntelligent to the creation of equity value
        at FF GlobalIntelligent cannot be understated. In a Liquidation the future of FF GlobalIntelligent is
        questionable, sothus the specific terms of any future equity incentives for key management is
        unclear.

    •   While the recovery analysis does not show more than $17.726.4 million of priority claims (i.e.,
        Non-Debt Claims), it must be noted that there may be filed claims that are accorded priority status
        (including priority tax and non-tax claims or additional secured claims) that would be paid in full
        prior to any distributions to any non-priority claims (i.e., Debt Claims).




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Second, it is important to point out that there are logistical hurdles for creditors to achieve any of the
potential returns in a Liquidation that would be available to creditors under the Plan.

    •   Under the Plan, economic value of the Trust FF GlobalIntelligent Shares is provided to the Trust
        through Pacific Technology until the BVI Injunctions are resolved. In a Liquidation, the PT LLCA
        would not be amended to provide any economic value from the Trust FF GlobalIntelligent Shares
        to creditors.




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    •   The Preferred PT Units comprise 20% of the currently issued and outstanding membership
        interests in Pacific Technology. Holders of the Preferred PT Units do not have direct equity rights
        in FF GlobalIntelligent and have no control rights in Pacific Technology. Under the Plan, the
        managing member of Pacific Technology has agreed on the Effective Date to amend the PT LLCA
        to provide additional rights regarding the unitsPreferred PT Units. In addition to the economic
        value the amendments to the PT LLCA would provide to creditors under the Plan, the amendments
        will also provide certain information and approval rights and provide the Trustee of the Trust
        observer rights at FF GP. In a Liquidation, the PT LLCA would not be amended to provide creditors
        with any rights. This could mean that creditors may not be able to receive the benefit of the
        Preferred Unit Distribution RightsPT Units in a Liquidation.

    •   With each of the logistical hurdles that creditors will face in achieving any value from the primary
        sources of value under the Plan, it is up to the chapter 7 trustee to pursue and overcome these
        issues. It should be noted that in a Liquidation there are very few liquid assets or assets that could
        be quickly liquidated in order to provide the chapter 7 trustee with the funding necessary to pursue
        and successfully overcome these logistical issues or to pursue recoveries from any other sources.
        Adding, adding further impediment to the creditors receiving any meaningful recovery in a
        Liquidation. Conversely the Plan removes these logistical impediments to creditors’ recoveries.

Most critically, it is important to consider the rollrole of the Debtor in the continued existence and future
success of FF GlobalIntelligent. FF GlobalIntelligent is the primary vehicle for creditor recoveries under
the Plan and, notwithstanding the logistical issues outlined above, even for the creditors in a Liquidation.

    •   WithoutIn a Liquidation, without the Debtor's involvement in the operations of FF
        GlobalIntelligent or the financing efforts of FF GlobalIntelligent and with the future of the
        Debtor's economic interests in FF GlobalIntelligent unknown and under control of a chapter 7
        trustee, the probability of FF GlobalIntelligent successfully raising the necessary financing is
        meaningfully lower in a Liquidation than under the Plan. Given that the success of FF
        GlobalIntelligent will depend heavily on future financings, the probability of the success of FF
        GlobalIntelligent is lower in a Liquidation than under the Plan.

    •   For the same reasons set out in the point above, a future FF GlobalIntelligent financing in a
        Liquidation, if any, will most likely lead to greater dilution to the current equity holders as
        compared to a similar financing under the Plan.




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 C•   With the Debtor’s lack of involvement within the management of FF GlobalIntelligent in a
 1    Liquidation, the increased challenges of raising the necessary financing fornecessary to ensure
 1    the continued existence of FF GlobalIntelligent makes any FF GlobalIntelligent valuation
      estimates in the recovery analysis potentially much less achievable under a Liquidation than under
      the Plan.




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                                        EXHIBIT G
                              Five Year Cash Flow Projections
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           T            YUETING JIA CASH FLOW PROJECTIONS FOR THE 5 YEAR PERIOD: 2020-2024
           C
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           1                                                Year            Year              Year             Year             Year              Total
                                                          12/31/2020      12/31/2021        12/31/2022       12/31/2023       12/30/2024

 Cash Beginning of Year                                    $115,868.31      $14,470.27        $46,514.19       $36,576.75       $200,104.44       $413,533.97

RECEIPTS
  Wages (net)                                           $373,791.96      $747,583.92       $897,100.70     $986,810.77 $1,085,491.85       $4,090,779.21
    Interest and Dividend Income                               $0.00                             $0.00                                             $0.00
    Alimony & Child Support                                    $0.00                             $0.00                                             $0.00
    Social Security and Pension Income                         $0.00                             $0.00                                             $0.00
  Sale of Assets                                               $0.00                             $0.00                                             $0.00
    Rental Income                                       $306,670.00      $525,720.00       $525,720.00     $525,720.00            $0.00    $1,883,830.00
    DIP Loan Proceeds                                  $6,500,000.00                                                                       $6,500,000.00
    Exiting Finance                                    $3,500,000.00
                                                                                                                                       $0.00
      TOTAL RECEIPTS                                   $10,680,461.96 $1,273,303.92 $1,422,820.70 $1,512,530.77 $1,085,491.85 $15,974,609.21

 DISBURSEMENTS
    Mortgage Payment(s)                                                                                                                            $0.00
    Rental Payment(s) (residence)                                                          $541,498.14     $557,743.08      $574,475.38    $1,673,716.60
    Utilities                                                                                                                                      $0.00
    Insurance (health insurance deducted from wages)                                                                                               $0.00
    Transportation Expense                                $16,800.00      $16,800.00        $16,800.00      $16,800.00       $16,800.00       $84,000.00
    Insurance                                                  $0.00                                             $0.00                             $0.00
    Food and Household Expenses                           $37,200.00      $37,200.00        $37,200.00      $37,200.00       $37,200.00      $186,000.00
    Personal Care Products & Services                      $4,200.00       $4,200.00         $4,200.00       $4,200.00        $4,200.00       $21,000.00
    Medical and Dental Expenses                            $8,760.00       $8,760.00         $8,760.00       $8,760.00        $8,760.00       $43,800.00
    Child and Parental Support                           $462,000.00     $462,000.00       $462,000.00     $462,000.00      $462,000.00    $2,310,000.00
    Clothing, Laundry, Dry Cleaning                        $6,300.00       $6,300.00         $6,300.00       $6,300.00        $6,300.00       $31,500.00
    Charitable Contributions                                                                                                                       $0.00
    Taxes (income tax deducted from wages)                                                                                                         $0.00
    Alimony, Child Support, Garnishments                                                                                                           $0.00
    OTHER (ATTACH LIST)                                                                                                                            $0.00
       Subtotal: Personal Expenses                       $535,260.00     $535,260.00 $1,076,758.14 $1,093,003.08 $1,109,735.38             $4,350,016.60
    Payroll for Internal Team to Support Chapter
    11 Case                                              $130,000.00                                                                          $130,000.00
    Chapter 11 Related Expenses (includes travel
    for hearings, 341(a), IDI, etc)                        $8,000.00                                                                           $8,000.00
    Business Entertainment                                 $6,000.00       $6,000.00         $6,000.00       $6,000.00        $6,000.00       $30,000.00
    Ongoing Global Legal Expenses                                        $700,000.00       $350,000.00     $250,000.00      $100,000.00    $1,400,000.00
    Professional fees (Debtor and Committee)           $10,100,000.00
    U.S. Trustee Fees                                       $2,600.00                                                              $2,600.00
    TOTAL DISBURSEMENTS                                $10,781,860.00 $1,241,260.00 $1,432,758.14 $1,349,003.08 $1,215,735.38 $16,020,616.60

 NET CASH FLOW                                          ($101,398.04)     $32,043.92        ($9,937.44)    $163,527.69    ($130,243.53)       ($46,007.39)
 (RECEIPTS LESS DISBURSEMENTS)


 Cash End of Year                                         $14,470.27      $46,514.19        $36,576.75     $200,104.44       $69,860.92       $367,526.57




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                                       EXHIBIT H
                             Cash Flow Statement for 2018-2019
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       C       YUETING JIA CASH FLOW STATEMENT FOR 2018-2019
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       1                                                 Year           Year             Total
                                                       12/31/2018     12/31/2019

Cash Beginning of year                                $198,502.97     $602,283.11      $800,786.08

RECEIPTS
   Wages (net)                                        $477,400.84     $351,973.27      $829,374.11
   Interest and Dividend Income                              $0.00           $0.00            $0.00
   Alimony & Child Support                                   $0.00           $0.00            $0.00
    Social Security and Pension Income                       $0.00           $0.00            $0.00
    Sale of Assets                                   $2,410,000.00           $0.00    $2,410,000.00
   Rental income                                             $0.00    $762,151.43      $762,151.43
   Loan from Affiliates                                              $2,687,629.00
   Loan from Third Party                             $2,491,289.73    $605,946.46     $3,097,236.19

                                                                                              $0.00
      TOTAL RECEIPTS                                 $5,378,690.57   $4,407,700.16    $9,786,390.73

DISBURSEMENTS
   Mortgage Payment(s)                                                                        $0.00
   Rental Payment(s) (residence)                                                              $0.00
   Utilities                                                                                  $0.00
   Insurance (health insurance deducted from                                                  $0.00
   Transportation Expense
   wages                                                                                      $0.00
   Insurance                                                 $0.00          $0.00             $0.00
   Food and Household Expenses                               $0.00      $9,716.03         $9,716.03
   Personal Care Products & Services                      $153.70       $4,983.34         $5,137.04
   Medical and Dental Expenses                               $0.00          $0.00             $0.00
   Child and Parental Support                        $2,410,000.00    $590,898.20     $3,000,898.20
   Clothing, Laundry, Dry Cleaning                       $6,300.00      $6,300.00        $12,600.00
   Charitable Contributions                                                                   $0.00
   Taxes (income tax deducted from wages)                                                     $0.00
   Alimony, Child Support, Garnishments                                                       $0.00
   OTHER                                                $61,167.00      $14,469.83       $75,636.83
      Subtotal: Personal Expenses                    $2,477,620.70    $626,367.40     $3,103,988.10
   Business Entertainment                                $6,000.00       $3,848.63        $9,848.63
   Global Legal Expenses                             $2,491,289.73   $4,264,893.93    $6,756,183.66
   TOTAL DISBURSEMENTS                               $4,974,910.43   $4,895,109.96    $9,870,020.39

NET CASH FLOW                                          $403,780.14    ($487,409.80)     ($83,629.66)
(RECEIPTS LESS DISBURSEMENTS)


Cash End of Year                                       $602,283.11    $114,873.31      $717,156.42




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                                             EXHIBIT I
              Pre and Post-Effective Date Structure of FF GlobalIntelligent
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Pre-Effective Date Structure of FF              GlobalIntelligent


               YT            West Coast LLC             FF Global Partners

                    100%          20%                               80%

                                               Pacific Technology

                                                         100%

                                                  FF Peak, BVI
                                                         100%

                                                  FF TOP, BVI                          ESOP
             Season Smart




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                                                                       40.8% with 1:10 super voting
                   32%
                                                                       right
                                                                                                               27.2%                1
FF Peak, BVI             S                                                                                                          0
                         e                                                                                                          0
                         a                                    FF TOP, BVI                                                           %
                         s         FF Intelligent Mobility Global Holdings Ltd.
                         o
                         n   Actual control entity of FF Intelligent
                         S
                         m
                         a
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                         t

                                                                                                                             ESOP




                                                                              FF Intelligent Mobility Global Holdings Ltd.

                                         Actual control entity of FF Global




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Post-Effective Date Structure of FF                                      GlobalIntelligent
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                                                • The Trust will receive YT’s priority distribution of up to $815.7 million from Pacific Technology, and an additional 10% special
                                                  distribution.

     Actual control entity of FF Global         • New units of Pacific Technology will be issued to the Trust in place of the FF  GlobalIntelligent
       Actual control entity of FF                 shares until the BVI injunctions held by SLC are lifted and the warrant for such shares is
       Intelligent                                 exercised.

                                     FF Global Partners                                                             YT Creditor Trust
                                        80%                                                      4020%
                                                                  Pacific Technology
                                                                              100%

                                                                     FF Peak, BVI                                                                10%

                                                                              100%

           Season Smart                                              FF TOP, BVI                                       ESOP
                                                                             30.8% with 1:10 super voting right
                    34 3 2                                                                                                  47.4 27
                    %                                                                                                       .2%



                                                FF Intelligent Mobility Global Holdings Ltd.




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                                            PROOF OF SERVICE OF DOCUMENT
 I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                           10100 Santa Monica Boulevard, 13th Floor, Los Angeles, CA 90067

 A true and correct copy of the foregoing document entitled (specify): THIRD AMENDED DISCLOSURE STATEMENT
 WITH RESPECT TO DEBTOR’S SECOND AMENDED PLAN OF REORGANIZATION UNDER CHAPTER 11 OF
 THE BANKRUPTCY CODE will be served or was served (a) on the judge in chambers in the form and manner
 required by LBR 5005-2(d); and (b) in the manner stated below:

 1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
 Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
 March 2, 2020, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
 following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:


                                                                                            Service information continued on attached page

 2. SERVED BY UNITED STATES MAIL:
 On (date) March 2, 2020, I served the following persons and/or entities at the last known addresses in this bankruptcy
 case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
 first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
 judge will be completed no later than 24 hours after the document is filed.


                                                                                            Service information continued on attached page

 3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method for
 each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) March 2, 2020, I served the
 following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such
 service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that
 personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.


 VIA PERSONAL DELIVERY
 United States Bankruptcy Court
 Central District of California
 Attn: Hon. Vincent Zurzolo
 Edward R. Roybal Federal Bldg./Courthouse
 255 East Temple Street, Suite 1360
 Los Angeles, CA 90012
                                                                                            Service information continued on attached page


 I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 March 2, 2020                  Nancy H. Brown                                                  /s/ Nancy H. Brown
 Date                           Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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SERVICECINFORMATION FOR CASE NO. 2:19-bk-24804-VZ
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          1
1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF)

    •    Tanya Behnam tbehnam@polsinelli.com, tanyabehnam@gmail.com
    •    Jerrold L Bregman ecf@bg.law, jbregman@bg.law
    •    Jeffrey W Dulberg jdulberg@pszjlaw.com
    •    Stephen D Finestone sfinestone@fhlawllp.com
    •    Alexandra N Krasovec krasovec.alexandra@dorsey.com, claridge.vanessa@dorsey.com
    •    Ben H Logan blogan@omm.com
    •    David W. Meadows david@davidwmeadowslaw.com
    •    John A Moe john.moe@dentons.com, glenda.spratt@dentons.com
    •    Kelly L Morrison kelly.l.morrison@usdoj.gov
    •    Malhar S Pagay mpagay@pszjlaw.com, bdassa@pszjlaw.com
    •    Christopher E Prince cprince@lesnickprince.com, jmack@lesnickprince.com;cprince@ecf.courtdrive.com
    •    Randye B Soref rsoref@polsinelli.com, ccripe@polsinelli.com;ladocketing@polsinelli.com
    •    Benjamin Taylor btaylor@taylorlawfirmpc.com
    •    United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
    •    Emily Young pacerteam@gardencitygroup.com, rjacobs@ecf.epiqsystems.com;ECFInbox@epiqsystems.com




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                                   Summary report:
        Litera® Change-Pro for Word 10.9.0.460 Document comparison done on
                                 3/17/2020 9:09:46 PM
      Style name: OMM Standard
      Intelligent Table Comparison: Active
      Original filename: 3rd Amended Disclosure statement with Exhs Attached.pdf
      Modified filename: Fourth Compiled.pdf
      Changes:
      Add                                                         2201
      Delete                                                      2150
      Move From                                                   69
      Move To                                                     69
      Table Insert                                                67
      Table Delete                                                82
      Table moves to                                              0
      Table moves from                                            0
      Embedded Graphics (Visio, ChemDraw, Images etc.)            2
      Embedded Excel                                              0
      Format changes                                              0
      Total Changes:                                              4640
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                                                                   1                                                          Exhibit B

                                                                   2

                                                                   3        Article(s) of the Disclosure            Summary of Changes to the Third Amended Disclosure
                                                                                     Statement                                              Statement1
                                                                   4
                                                                           FN3                                  In response to the Tentative Ruling, the defined term for the entity
                                                                   5                                            known as FF Intelligent Mobility Global Holdings Ltd. was
                                                                                                                changed from “FF Global” to “FF Intelligent” to avoid any
                                                                   6                                            confusion between FF Intelligent and FF Global Partners LLC.
                                                                   7       Article I.B.1                        The estimated amount of Debt Claims was updated with data from
                                                                                                                Epiq Corporate Restructuring, LLC, the Debtor’s claims agent.
                                                                   8

                                                                   9       Article II.B                         The following amounts were revised in light of the filing of the
                                                                                                                Debtor’s Amended Schedules of Assets and Liabilities and
                                                                  10                                            Statement of Financial Affairs [Docket No. 427] (the “Amended
                                                                                                                Schedules”) and evaluation of filed proofs of claim
                                                                  11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                                                                1. Amount of scheduled Debt Claims;
                                                                  12
                                                                                                                2. Amount of alleged China Secured Claims and Debt Claims; and
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




                                                                                                                3. Amount of alleged China Secured Claims and Debt Claims on
                                                                  14                                            account of guarantees.
                                                                  15                                            A paragraph was added to describe the Debtor’s initial position
                                                                                                                regarding the claims asserted against him after the Debtor’s initial
                                                                  16
                                                                                                                review of the filed proofs of claim against the scheduled claims to
                                                                  17                                            exclude duplicative, invalid, or overstated claims.

                                                                  18       Articles II.C.3                      In response to the Tentative Ruling, the Debtor added additional
                                                                                                                disclosures regarding the following:
                                                                  19
                                                                                                                1. The Debtor’s options to dissolve the BVI Injunctions;
                                                                  20
                                                                                                                2. The legal standard that must be met to dissolve the BVI
                                                                  21                                            Injunctions;
                                                                  22                                            3. The potential cost and time necessary to dissolve the BVI
                                                                                                                Injunctions; and
                                                                  23
                                                                                                                4. An explanation why the dissolution of the BVI Injunctions is
                                                                  24                                            not a condition precedent to the Plan becoming effective.
                                                                  25
                                                                           Articles III.E & III.H               Additional disclosures were provided in light of recent filings in
                                                                  26                                            the chapter 11 case.

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                                                                           Capitalized terms used in this chart shall have the meanings used in the Fourth Amended Disclosure Statement.
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                                                                   1   Exhibit B - Amended Plan    In response to the Tentative Ruling, the Amended Plan Term
                                                                       Term Sheet                  Sheet was updated to reflect the execution of the Sixth Amended
                                                                   2                               and Restated Memorandum and Articles of Association of FF
                                                                   3                               Intelligent Mobility Global Holdings Ltd. (f/k/a Smart King Ltd.)
                                                                                                   adopted February 10, 2020, and all references to Smart King Ltd.
                                                                   4                               were replaced with “FF Intelligent” on behalf of FF Intelligent
                                                                                                   Mobility Global Holdings Ltd.
                                                                   5
                                                                       Exhibit D - Summary of      In response to the Tentative Ruling, Exhibit D was updated to
                                                                   6   Selected Financial          reflect the change of the defined term for the entity known as FF
                                                                       Information                 Intelligent Mobility Global Holdings Ltd. from “FF Global” to
                                                                   7
                                                                                                   “FF Intelligent.”
                                                                   8
                                                                       Exhibit F - Recovery        In response to the Tentative Ruling, Exhibit F was updated to
                                                                   9   Scenarios and Liquidation   reflect the change of the defined term for the entity known as FF
                                                                       Analysis                    Intelligent Mobility Global Holdings Ltd. from “FF Global” to
                                                                  10                               “FF Intelligent.”
                                                                  11                               In addition, Exhibit F was updated to reflect the updated amounts
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12                               of scheduled and filed claims as discussed above.
                                        LOS ANGELES, CALIFORNIA




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                                           ATTORNEYS AT LAW




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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                                    10100 Santa Monica Boulevard, 13th Floor, Los Angeles, CA 90067

A true and correct copy of the foregoing document entitled (specify): NOTICE OF FILING OF BLACKLINE VERSION OF
FOURTH AMENDED DISCLOSURE STATEMENT WITH RESPECT TO DEBTOR’S THIRD AMENDED PLAN OF
REORGANIZATION UNDER CHAPTER 11 OF THE BANKRUPTCY CODE will be served or was served (a) on the judge
in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
March 17, 2020, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:
                                                                           Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) ____________, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) March 17, 2020, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

 VIA HAND DELIVERY                                                         DANIEL J. SAVAL
 The Honorable Vincent P. Zurzolo                                          Email: daniel.saval@kobrekim.com
 United States Bankruptcy Court
 Central District of California                                            DONG NI (DONNA) XU
 255 East Temple Street, Suite 1360 / Courtroom 1368                       Email: donna.xu@kobrekim.com
 Los Angeles, CA 90012
                                                                           Luke A. Barefoot
                                                                           Email: lbarefoot@cgsh.com

                                                                           Thomas S. Kessler
                                                                           Email: tkessler@cgsh.com

                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

  March 17, 2020                 Mary de Leon                                                    /s/ Mary de Leon
  Date                           Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


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SERVICE INFORMATION FOR CASE NO. 19-bk-24804-VZ

    1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF)

        Tanya Behnam tbehnam@polsinelli.com, tanyabehnam@gmail.com
        Jerrold L Bregman ecf@bg.law, jbregman@bg.law
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        Lei Lei Wang Ekvall lekvall@swelawfirm.com,
         lgarrett@swelawfirm.com;gcruz@swelawfirm.com;jchung@swelawfirm.com
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            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


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